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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                   )
    In re:                                                         )      Chapter 11
                                                                   )
    DENBURY RESOURCES INC., et al.,1                               )      Case No. 20-33801 (DRJ)
                                                                   )
                                       Debtors.                    )      (Joint Administration Requested)
                                                                   )      (Emergency Hearing Requested)

                       DECLARATION OF CHRISTIAN S. KENDALL,
                CHIEF EXECUTIVE OFFICER OF DENBURY RESOURCES INC.,
             IN SUPPORT OF CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

             I, Christian S. Kendall, hereby declare under penalty of perjury:

             1.     I am the President and Chief Executive Officer of Denbury Resources Inc.

(“DNR”), a publicly traded oil and gas company, and the above-captioned debtors and debtors in

possession (collectively, the “Debtors,” “Denbury,” or the “Company”). I joined the Company as

Chief Operating Officer in September 2015, and was named President in October 2016. I have

served as a director and Chief Executive Officer of the Debtors since July 2017. I oversee the

Debtors’ day-to-day operations and I am familiar with the Company’s business and financial

affairs and books and records.

             2.     Prior to joining Denbury, I spent 14 years at Noble Energy in a wide range of

international and domestic leadership positions, most recently serving as the Senior Vice President



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Denbury Resources Inc. (7835); Denbury Air, LLC (7621); Denbury Brookhaven Pipeline
      Partnership, LP (6322); Denbury Brookhaven Pipeline, LLC (6471); Denbury Gathering & Marketing, Inc.
      (6150); Denbury Green Pipeline-Montana, LLC (6443); Denbury Green Pipeline-North Dakota, LLC (7725);
      Denbury Green Pipeline-Riley Ridge, LLC (2859); Denbury Green Pipeline-Texas, LLC (2301); Denbury Gulf
      Coast Pipelines, LLC (0892); Denbury Holdings, Inc. (1216); Denbury Onshore, LLC (7798); Denbury Operating
      Company (7620); Denbury Pipeline Holdings, LLC (0190); Denbury Thompson Pipeline, LLC (0976); Encore
      Partners GP Holdings, LLC (N/A); Greencore Pipeline Company, LLC (9605); Plain Energy Holdings, LLC
      (0543). The location of Debtor Denbury Resources Inc.’s principal place of business and the Debtors’ service
      address in these chapter 11 cases is 5320 Legacy Drive Plano, Texas 75024.




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of Global Operations Services. I have over three decades of experience in various international

and domestic operations roles in the oil and gas industry since beginning my career at Mobil Oil

Corporation in 1989. I hold a Bachelor of Science degree in Engineering, Civil Specialty, from

the Colorado School of Mines and I am a graduate of the Advanced Management Program at the

Harvard Business School. I am also a member of the National Petroleum Council.

       3.      I submit this declaration to assist the Court and parties in interest in understanding

the circumstances compelling the commencement of these chapter 11 cases and in support of

(a) the Debtors’ chapter 11 petitions and (b) the emergency relief that the Debtors have requested

pursuant to the motions and applications described herein.

       4.      Except as otherwise indicated herein, all facts set forth in this Declaration are based

upon my personal knowledge of the Debtors’ operations and finances, information learned from

my review of relevant documents, information supplied to me by other members of the Debtors’

management and the Debtors’ advisors, and/or my opinions based on my experience, knowledge,

and information concerning the Debtors’ operations and financial condition. I am authorized to

submit this Declaration on behalf of the Debtors, and, if called upon to testify, I could and would

testify competently to the facts set forth herein.

                                            Introduction

       5.      Headquartered in Plano, Texas, Denbury is an independent oil and natural gas

company with onshore production and development activities in the Gulf Coast and Rocky

Mountains regions. As the only United States-based public company of scale with a primary focus

on carbon dioxide (“CO2”) enhanced oil recovery (“EOR”), Denbury’s significant utilization of

industrial-sourced CO2 in its operations makes it uniquely situated to align with shifting social and

investor sentiment toward hydrocarbon production and climate risk associated with increasing

atmospheric CO2 levels. Through the utilization of over 3 million tons per year of industrial-



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sourced CO2—which means that CO2 is captured at industrial facilities rather than allowed to be

released into the atmosphere—the Company is already carbon-negative with respect to direct

emissions from its own operations and indirect emissions by others in connection with Denbury’s

operations. Denbury has set a target to be fully carbon-negative by the end of this decade, by fully

offsetting not only the direct and indirect emissions described above, but also the indirect

emissions associated with the refining and combustion of the hydrocarbons produced by Denbury.

       6.      The Company’s commitment to sustainability permeates every facet of its business,

from garnering industry safety awards to promoting employee volunteerism. Denbury chronicles

its progress and achievement across its four sustainability pillars—Company, People,

Environment, and Communities—in its Corporate Responsibility Report, published annually.




       7.      The Company confronted the turmoil in the oil and gas industry in recent years with

a sustained focus on strong execution, cost efficiency, and debt reduction. While many of its peers

sought chapter 11 relief when commodities prices first fell in 2015 and 2016, Denbury aggressively

pursued a variety of liability management efforts, including reducing debt, raising capital,




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optimizing operations, and reducing expenses. The Debtors reduced their leverage ratio by

approximately 59% to 3.7x at the close of 2019, down from a high of 9.0x in the second quarter

of 2017. Denbury was able to end 2019 with zero drawn on its revolving credit facility and began

2020 with cash-flow positive operations.

       8.       Denbury was in the process of preparing to take the next appropriate step in its

liability management strategy when, in March 2020, the one-two punch of the COVID-19

pandemic and the disagreement between Russia and OPEC caused oil prices to plummet. Though

prices have recovered from a record-breaking dip into negative territory, they continue to hover in

the low-$40s. Denbury is particularly affected by these depressed oil prices, as oil accounted for

97% of the Debtors’ production in 2019 and 98% of the Debtors’ proved reserves as of December

31, 2019.

       9.       During the period beginning in March 2020, Denbury came to the conclusion that

incremental liquidity management strategies alone would not suffice and that a comprehensive

balance sheet restructuring was required to enable the Company to endure over the long term.

After many months of arm’s-length, multi-party negotiations, the Debtors have reached an

agreement on the terms of a comprehensive, value-maximizing restructuring, embodied in the

Restructuring Support Agreement (attached hereto as Exhibit A), with holders of 100% of loans

outstanding under the secured revolver, approximately 67% of the second lien notes, and

approximately 73% of the convertible notes. The Restructuring Support Agreement contemplates

a swift “prepackaged” chapter 11 case, pursuant to which the Debtors will:

            •   equitize all $2.1 billion of their bond debt, deleveraging their balance sheet by
                approximately 90%;

            •   leave trade creditors unimpaired and, in concert with the Debtors’ requests for
                various “first-day” relief (which also are supported by the creditors party to the




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                  Restructuring Support Agreement), preserve operational continuity during these
                  chapter 11 cases;

              •   provide an opportunity to receive a recovery to out-of-the-money junior
                  stakeholders by making warrants available to holders of (a) subordinated notes, if
                  such class votes to accept the proposed plan, and (b) existing equity, if both the
                  subordinated notes and equity classes vote to accept the proposed plan; and

              •   refinance and extend the maturity of their RBL Facility (defined below) which
                  will “roll” into a functioning postpetition revolver and, upon emergence, into a new,
                  fully committed reserve-based revolving exit facility with initial availability of up
                  to $615 million.2

By rolling the RBL Facility into postpetition financing, the Debtors will not only be able to reduce

immediately the loans outstanding thereunder (and thus reduce their interest expense) after having

protectively drawn an extra $200 million before the filing, but also to keep their bank syndicate

intact for the length of the cases, thus ensuring that the Company has committed financing waiting

at emergence.

        10.       Having launched solicitation to noteholder classes of the Joint Chapter 11 Plan of

Reorganization of Denbury Resources Inc. and its Debtor Affiliates (the “Plan”) on July 29, 2020,

Denbury intends to move swiftly through this process. When the Debtors commenced solicitation,

they also sent notices of, among other things, their intention to commence these chapter 11 cases

and the key dates set forth herein to all creditors and equity holders, regardless of their ability to

vote on the Plan. Thus, the Debtors’ creditors and equity holders received 28 days’ notice of the

Plan objection deadline and 35 days’ notice of the proposed hearing to confirm the Plan. The

Restructuring Support Agreement contemplates confirmation of the Plan to occur on or before

September 6, 2020.




2
    The revolving exit facility is subject to a borrowing base redetermination at emergence.




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       11.     To familiarize the Court with the Debtors’ businesses, this Declaration is organized

into five sections. The first provides an overview of the Debtors’ corporate history, business

operations, and assets. The second offers detailed information on the Debtors’ prepetition capital

structure. The third describes the circumstances leading to the commencement of these chapter 11

cases. The fourth describes the Debtors’ Restructuring Support Agreement and the committed

DIP-to-Exit facility. The fifth summarizes the relief requested in, and facts supporting, the First

Day Motions.

                                           Discussion

I.     The Debtors’ History, Operations, and Assets.

               History and Corporate Structure.

       12.     DNR, originally a Canadian company, first listed its common stock on the National

Association of Securities Dealers Automated Quotations Exchange (“NASDAQ”) in August 1995.

The common stock remained listed on NASDAQ until May 1997, when it transferred to the New

York Stock Exchange (“NYSE”) and began trading under its current ticker, “DNR.”                The

Company remained incorporated in Canada until April 1999, when it moved its corporate domicile

to the United States as a Delaware corporation. In December 2003, Denbury Onshore, LLC, a

Delaware limited liability company (“Denbury Onshore”), became the primary operating entity

and today holds the majority of the Debtors’ assets and employees. DNR is a holding company

and the current parent entity of the Debtors. The Company’s pipelines are held by Denbury

Pipeline Holdings, LLC, through ownership interests in its various subsidiary pipeline entities.




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       13.     Below is an organizational chart:




               The Debtors’ Key Assets and Operations.

               1.      Historic Acquisitions.

       14.     The Debtors’ operations are focused primarily on development of oil fields in two

distinct geographic regions in the United States—the Gulf Coast and Rocky Mountains.

Denbury’s extensive use of CO2 flooding enables the Company to recover oil from fields that

would otherwise be left behind using traditional recovery methods. By using CO2 injection as a

means to enhance oil recovery from the reservoir, Denbury is also sustainably managing its carbon

footprint. Over two decades, Denbury has built a competitive edge in the oil and gas industry and

established itself as a leader in the field of CO2 enhanced oil recovery. This trajectory is marked

by a number of strategic historic acquisitions, including those set forth below:



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               •   November 1997: Denbury completed a series of 17 acquisitions for an
                   aggregate purchase price of $224.1 million. The largest of these acquisitions
                   was the purchase of the Heidelberg Field, located in Jasper County, Mississippi,
                   from Chevron U.S.A. for approximately $202 million (the “Chevron
                   Acquisition”). As a result of the acquisition, Denbury owned the largest field
                   in the Mississippi Salt Flats Basin. The Chevron Acquisition more than doubled
                   Denbury’s total reserves at the time.

               •   August 1999: Denbury acquired the Little Creek Field in Mississippi, the
                   Company’s first CO2 asset, in August 1999. Prior to the acquisition, Shell Oil
                   Company had implemented two phases of CO2 tertiary recovery and had begun
                   phase three. Denbury subsequently completed the third, fourth, and fifth phases
                   of the CO2 flooding project. The acquisition marked the Company’s entrance
                   into the CO2-enhanced oil extraction market. Over the next several years,
                   Denbury increased its ownership of strategic CO2 properties in Mississippi,
                   Louisiana, and Texas.

               •   February 2001: Denbury acquired 800 billion cubic feet of CO2 and a
                   183-mile pipeline, the North East Jackson Dome pipeline
                   (the “NEJD Pipeline”), originating in Jackson Dome, Mississippi from Airgas,
                   Inc. (the “Jackson Dome Acquisition”). The Jackson Dome Acquisition
                   marked an inflection point in the Debtors’ CO2 enhanced oil recovery
                   operations. Taking advantage of its newly acquired abundance of natural CO2,
                   Denbury breathed new life into mature oilfields, which resulted in explosive
                   growth.

               •   March 2010: Denbury acquired Encore Acquisition Company, including
                   certain strategic assets in the Rocky Mountain region, through a merger
                   (the “Encore Merger”). The Encore Merger positioned Denbury as one of the
                   largest crude oil-focused, independent exploration and production companies
                   in North America, with oil constituting approximately 75% of its reserves at the
                   time. The Encore Merger also created one of the largest CO2 enhanced oil
                   recovery platforms in both the Gulf Coast and Rocky Mountain regions,
                   complimenting Denbury’s ownership and control of Jackson Dome.

       15.     Today, Denbury is the only U.S. public company of scale that injects CO2 into the

ground to produce oil as its primary business. The Debtors are also planning to expand the carbon

capture, use, and storage business (“CCUS”), whereby industrial CO2 is captured and stored in

nonhydrocarbon underground reservoirs. Considering the Debtors’ two decades of technical and

operational experience with industrial CO2, and their extensive, strategically located CO2 pipeline

infrastructure, they are uniquely qualified to become a leader in the field.




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                 2.      Oil and Gas Production.

        16.      The Debtors’ oil and gas assets are currently concentrated in the Gulf Coast and

Rocky Mountain regions. A map illustrating the Debtors’ assets is shown below.




        17.      As of June 30, 2020, the Debtors (i) held interests in approximately 2,946 gross

(2,197 net) producing wells, of which all but 636 gross and 150 net wells are Debtor-operated, and

(ii) had approximately 951,711 gross (510,602 net) total acres under lease.                              As of

December 31, 2019, the Debtors had estimated proved developed reserves of approximately 206.9

MMBOE of oil and condensate, natural gas, and NGLs, with such estimates based on Securities

and Exchange Commission parameters.3 In 2019, the Debtors’ activities yielded total production

of 21,248 MBOE and had an adjusted EBITDAX of $607 million.




3
    The Debtors have not included any proved undeveloped reserves in such figures due to their financial condition
    in accordance with applicable accounting rules.




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                              a.      CO2 Enhanced Oil Recovery.

       18.     The Debtors’ primary focus is CO2 enhanced oil recovery (CO2 EOR), which is an

efficient means of tertiary recovery that can result in the recovery of crude oil volumes rivaling

primary and secondary recovery, and which generates the majority of the Debtors’ oil production

revenue. Denbury’s oil and gas assets are primarily mature, liquids-rich oil fields. For many years,

oil has been produced using a variety of different production techniques, typically occurring in

three phases: primary, secondary, and tertiary oil recovery. Primary oil recovery is limited to

hydrocarbons that rise to the surface naturally or through the use of artificial lift equipment;

secondary production typically involves injecting water to re-pressure the target formation and

sweep additional hydrocarbons to the wellbore for recovery. Utilizing only primary and secondary

recovery methods can leave up to 70% of the original oil in place (“OOIP”). Tertiary production

typically occurs after both primary and secondary recovery production is complete. CO2 enhanced

oil recovery is a proven tertiary technique and involves injecting CO2 into underground rock

formations to act somewhat like a solvent for oil, removing it from the oil-bearing formation as

the CO2 travels through the reservoir rock. This process can recover, on average, an additional

10% to 20% of the OOIP.




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       19.     While the time between initial investment and first production from tertiary

development is greater than in primary oil recovery in most circumstances, it has several offsetting

and unique benefits, including:     (a) low exploration risk; (b) low production decline rates;

(c) reasonable return metrics at anticipated long-term prices; (d) limited competition in the

Debtor’s geographical areas of operations; (e) less disruptive operations due to further developing

existing oil fields rather than initiating new development; and (f) incidental storage of CO2 in the

same underground formations that previously trapped and stored oil and natural gas.

       20.     The Debtors began their CO2 enhanced oil recovery operations in 1999 when they

acquired Little Creek Field in Mississippi, followed by the acquisition of Jackson Dome CO2

reserves and the NEJD Pipeline in 2001. Based on the success at Little Creek Field and Jackson

Dome, the Debtors began transitioning their capital spending and acquisition efforts to focus

predominantly on CO2 enhanced oil recovery. Today, the Debtors’ oil and gas properties that

utilize enhanced oil recovery operations include interests in approximately 14 oil and gas fields in

the Gulf Coast region and three oil and gas fields in the Rocky Mountain region. One of the



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Debtors’ current projects involves expanding their CO2 enhanced oil recovery activities in the

Rocky Mountain region through the development of a new CO2 flood at the Company’s Cedar

Creek Anticline oilfield, which the Debtors anticipate could be ready for CO2 injections in 2023.

The Debtors’ tertiary operations have grown such that, as of the Petition Date: (a) 60% of their

proved reserves are proved tertiary oil reserves; (b) 64% of their 2019 total production was related

to tertiary oil operations (on a BOE basis); and (c) 63% of their 2019 capital expenditures

(excluding acquisitions) were related to tertiary oil operations.

               3.      Carbon Sources and Carbon Capture Use and Storage (CCUS)

       21.     The Debtors’ ownership and control of both extensive CO2 pipeline infrastructure

and significant sources of CO2 in the Gulf Coast and Rocky Mountain regions benefit their oil and

gas operations due to easy accessibility and predictable CO2 costs. In the Gulf Coast region, the

Debtors used approximately 84% of their natural and industrial CO2 production during 2019 in

their own oil and gas operations and the remaining balance is delivered to third-parties, generating

approximately $20 million in annual revenue.

       22.     The Company believes that CCUS will become an increasingly essential business,

and that Denbury’s assets and expertise provide an opportunity for the Company to be a leader as

this market continues to develop. CCUS is a new and evolving industry that includes capturing

industrial-sourced CO2, and depositing it into safe and secure long-term storage locations where it

will not enter the atmosphere, i.e., underground geological formations. CCUS thus prevents the

release of large quantities of CO2 into the atmosphere and provides an integral tool for the Debtors

in their goal of fully offsetting their carbon emissions.

       23.     The Debtors do not only consider their Scope 1 emissions (direct emissions from

owned or controlled sources) and Scope 2 emissions (indirect emissions from the generation of

purchased electricity, steam, heating and cooling consumed) associated with their operations when



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accounting for their carbon footprint, but also their Scope 3 emissions (all other emissions

generated other than Scope 1 or Scope 2 emissions) associated with the refining and combustion

of the hydrocarbons.        The Debtors’ extensive use of industrial-sourced CO2 in their EOR

operations prevents the release of that CO2 into the atmosphere while allowing them to reduce

their use of naturally-occurring CO2. The Debtors’ Scope 1 and Scope 2 emissions associated with

their operations are currently carbon negative, as they more than offset those emissions by annually

injecting over three million tons of industrial-sourced CO2 into the ground as part of their CO2

enhanced oil recovery process. As the CCUS industry continues evolving, the Debtors have set a

target to fully offset their emissions within this decade, and the Company believes that reaching

carbon negative emissions on a Scope 3 level company-wide is both achievable and sustainable.

                                  a.       Gulf Coast Region.

        24.      The Debtors acquired their primary Gulf Coast natural CO2 resource, Jackson

Dome, located near Jackson, Mississippi, in 2001 as part of the Jackson Dome Acquisition. This

acquisition also resulted in the ownership and control by the Debtors of the NEJD Pipeline.4 The

NEJD Pipeline spans 183 miles from Jackson Dome to a location near Donaldsonville, Louisiana.

Since 2001, the Debtors have acquired or constructed nearly 750 miles of additional CO2 pipelines

in the Gulf Coast region giving them the ability to deliver CO2 from Mississippi to Texas. One of

the Debtors’ most significant expansions was the completion of the Green Pipeline, which

connects to the NEJD Pipeline in Louisiana and expands into Texas for a total of 320 miles of CO2

pipeline. In addition to the Debtors’ ownership of naturally-occurring CO2 sourced from the

Jackson Dome, the Debtors are party to two long-term contracts to purchase CO2 from industrial



4
    As further explained herein, the Debtors subsequently sold the NEJD Pipeline to Genesis and currently lease it
    back pursuant to the Pipeline Lease.




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plants in Port Arthur, Texas and Geismar, Louisiana. The Debtors’ CO2 pipelines deliver CO2

from both naturally-occurring and industrial sources to their oil fields in a cost-effective manner.




                       b.     Rocky Mountain Region.

       25.     In connection with the Encore Merger in 2010, the Debtors expanded their CO2

operations to the Rocky Mountain region. The key CO2 resources in this area come from the

Debtors’ one-third ownership interest in ExxonMobil’s CO2 reserves in LaBarge Field, Wyoming

and their supply contract relative to the Lost Cabin gas plant operated by ConocoPhillips.

Currently, the Debtors own one CO2 pipeline in the Rocky Mountain region, the Greencore

Pipeline, and have begun the process of building a second to connect to the Cedar Creek Anticline.




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                  4.     The Debtors’ Business Strategy.

       26.        The Debtors’ vision is “to be recognized as the world leader in CO2 Enhanced Oil

Recovery.” To that end, the Debtors have focused on operating safely and responsibly, driving

organic enhanced oil recovery growth, expanding their exploitation opportunity set, progressing

their Cedar Creek Anticline enhanced oil recovery development, generating significant free cash

flow, and strengthening their balance sheet. In 2019, the Debtors had strong results in all of these

key objectives.




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       27.     The Debtors’ core business strategies led to successful financial results prior to the

confluence of the COVID-19 pandemic and the March 2020 oil market crash. The Debtors are

industry-leading in oil weighting and in the first quarter of 2020 generated $35 million of free cash

flow. In addition, the Debtors’ focus on CO2 EOR has made them an industry leader in reducing

their carbon footprint.   For example, from 2018 to 2019, the Debtors’ operations utilized

approximately 3.2 million metric tons of CO2—keeping the equivalent of annual greenhouse gas

emissions from approximately 700,000 cars from being emitted into the atmosphere.




       28.     The Debtors believe that the Plan and Restructuring Support Agreement, and the

transactions embodied therein, will position the reorganized Company to grow its significant CO2

enhanced oil recovery operations, maximize their valuable oil and gas assets, and continue

executing their business plan.

II.    Debtors’ Prepetition Capital Structure.

       29.     As of the Petition Date, the Debtors had approximately $2.4 billion in total

outstanding principal amount of funded debt obligations and, as of June 30, 2020, approximately

507,725,516 shares of outstanding common stock. The Debtors’ prepetition capital structure is as

follows:




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                                                                    Annual Interest
                                                                                        Approx. Principal
                     Obligation                     Maturity           Expense
                                                                                        Amount (millions)
                                                                      (millions)
       Pipeline Financing Lease Agreement
                                                  May 30, 2028            N/A                 $111.9
       (the “Pipeline Lease”)

       RBL Credit Agreement                       Dec. 9, 20215           N/A                 $230.0
       9.00% Senior Secured Second Lien
                                                  May 15, 2021           $52.6                $584.7
       Notes (the “9.00% Notes”)
       9.25% Senior Secured Second Lien
                                                  Mar. 31, 2021          $42.1                $455.7
       Notes (the “9.25% Notes”)

       7.50% Senior Secured Second Lien
                                                  Feb. 15, 2024           $1.5                 $20.6
       Notes (the “7.50% Notes”)
       7.75% Senior Secured Second Lien
                                                  Feb. 15, 2024          $41.2                $531.8
       Notes (the “7.75% Notes”)
                                            Total Secured Debt           $137.5              $1,934.7
       6.375% Convertible Senior Notes
                                                  Dec. 31, 2024          $14.4                $225.7
       (the “Convertible Notes”)
       6.375% Senior Subordinated Notes
                                                  Aug. 15, 2021           $3.3                 $51.3
       (the “6.375% Notes”)

       5.50% Senior Subordinated Notes
                                                  May 1, 2022             $3.2                 $58.4
       (the “5.50% Notes”)

       4.625% Senior Subordinated Notes
                                                  July 15, 2023           $6.3                $136.0
       (the “4.625% Notes”)
                                          Total Unsecured Debt           $27.2                $471.4
                                                          Total:         $164.7              $2,406.1

                Prepetition Debt Exchanges and Repurchases.

       30.      In 2019 and early 2020, the Debtors completed a series of debt exchanges and

repurchases to extend the maturities of their outstanding long-term debt and reduce their debt

principal, as further explained herein. Beginning in June of 2019, the Debtors extended the

maturities of $348.4 million of their outstanding long-term debt to 2024 and reduced their debt

principal by $120.0 million.         The debtholders exchanged approximately $468.4 million of

subordinated notes for the following: (a) $245.5 million aggregate principal amount of 6.375%



5
    The RBL Facility’s maturity date may spring to an earlier date, as further explained herein.




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Convertible Notes; (b) $102.6 million aggregate principal amount of 7.75% Notes; and

(c) $120.0 million of cash. During June and July 2019, the Debtors exchanged $429.2 million

aggregate principal amount of 7.75% Notes for $429.4 million of previously outstanding 7.50%

Notes. As a result of all of the above June and July note exchanges, the Debtors recognized a net

gain on debt extinguishment of $100.5 million.

       31.     Between August and November of 2019, the Debtors repurchased approximately

$112.1 million of their outstanding senior subordinated notes in exchange for $16.4 million of cash

and issuance of 38.3 million shares of DNR common stock. This transaction resulted in a net gain

on debt extinguishment of approximately $55.5 million.         During March 2020, the Debtors

repurchased a total of $30.2 million aggregate principal amount of 9.00% Notes in open market

transactions for a total purchase price of $14.2 million, excluding accrued interest.         This

transaction resulted in a net gain on debt extinguishment of $19.0 million.

               The Pipeline Financing Lease.

       32.     On May 30, 2008, Denbury Onshore, as lessee, entered into the Pipeline Lease with

Genesis NEJD Pipeline, LLC (“Genesis NEJD”), as lessor, for a principal amount of $175 million.

The Pipeline Lease is guaranteed by DNR and matures on May 30, 2028. As of the Petition Date,

there is approximately $111.9 million outstanding under the Pipeline Lease. Pursuant to the

Pipeline Lease, Denbury Onshore holds the exclusive right to continue using the NEJD Pipeline

system for transportation of CO2 for the duration of the Pipeline Lease and makes quarterly rent

payments (approximately $20.7 million per year). Upon maturity of the Pipeline Lease on

May 30, 2028, Denbury Onshore has the right to purchase the NEJD Pipeline from Genesis NEJD

for $1.00. Because DNR’s credit rating was downgraded, on March 4, 2016, pursuant to the terms

of the Pipeline Lease, DNR provided a letter of credit for $41.3 million to Genesis NEJD. The

Pipeline Lease is guaranteed by DNR and secured by (i) the NEJD Pipeline, (ii) all proceeds from



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the sale of the NEJD Pipeline, and (iii) all rents, income, or related fees for transportation of CO2

or any other substance through the NEJD Pipeline.

               RBL Credit Agreement.

       33.     On December 9, 2014, DNR entered into that certain Amended and Restated Credit

Agreement (as amended, restated, amended and restated, supplemented or otherwise modified

prior to the date hereof, the “RBL Credit Agreement”) among DNR, as borrower, the lenders party

thereto from time to time (the “RBL Lenders”), and JPMorgan Chase Bank, N.A., as administrative

agent (the “RBL Agent”), which provides the Company with revolving credit, letter of credit, and

swingline facilities (collectively, the “RBL Facility”). Pursuant to that certain Amended and

Restated Guarantee Agreement, dated as of December 9, 2014 (as amended, restated, amended

and restated, supplemented or otherwise modified prior to the date hereof), the RBL Facility is

guaranteed by each of the Debtors other than DNR. Pursuant to (a) that certain Amended and

Restated Pledge Agreement, dated as of December 9, 2014 (as amended, restated, amended and

restated, supplemented or otherwise modified prior to the date hereof), by the Debtors in favor of

the RBL Agent and (b) the mortgages granted by certain Debtors in favor of the RBL Agent, the

RBL Facility is secured (subject to certain customary exceptions) on a first priority basis by

security interests in (i) equity in DNR’s subsidiaries, (ii) hedge agreements, (iii) certain deposit

accounts, securities accounts and commodities accounts, (iv) the proceeds of the foregoing clauses

(i) through (iii) above, and (v) substantially all of the Debtors’ oil and gas properties.

       34.     As of June 30, 2020, the Borrowing Base (as defined in the RBL Credit Agreement)

and aggregate commitments under the RBL Facility are $615 million. The RBL Facility matures

on December 9, 2021; provided that such maturity date may be earlier if any of the following

occurs: (a) February 12, 2021, if on such date Liquidity (as defined in the RBL Credit Agreement)

is less than 120% of the outstanding amounts then owed under the 9.00% Notes; (b) May 14, 2021,



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if on or before such date, the 9.00% Notes have not been repaid, exchanged, refinanced or

otherwise redeemed in full; (c) May 14, 2021, if on such date Liquidity is less than 120% of the

outstanding amounts then owed under the 6.375% Notes; or (d) August 13, 2021, if on or before

such date, the 6.375% Notes have not been repaid, exchanged, refinanced or otherwise redeemed

in full. The Borrowing Base is subject to redetermination on May 1st and November 1st of each

year.6 Pursuant to that certain Eighth Amendment to the RBL Credit Agreement, dated as of June

26, 2020, by and among DNR, the RBL Agent, and the RBL Lenders, until the November 1, 2020

borrowing base redetermination, the availability under the RBL Facility was reduced to

$275,000,000 plus the aggregate amount outstanding under the Letters of Credit (not to exceed

$100 million) in effect at such time.

        35.     Under the RBL Credit Agreement, letters of credit are available in an aggregate

amount not to exceed $100 million and swingline loans are available in an aggregate amount not

to exceed $25 million. Loans made under the RBL Credit Agreement are subject to the following

interest rates: ABR + 1.75% to 2.75% per annum for ABR loans; and LIBOR + 2.75% to 3.75%

per annum for LIBOR loans, as well as a commitment fee of 0.50% on the undrawn portion of the

commitments. As of the Petition Date, the Debtors have $94.7 million letters of credit and

approximately $230 million of loans outstanding under the RBL Facility.

                Derivatives and Hedging Activities.

        36.     To provide protection against volatility in commodity prices, the Debtors have

historically entered into hedging transactions covering a portion of the Debtors’ anticipated

production levels. The Debtors’ hedging transactions have primarily consisted of financially



6
    The Borrowing Base under the RBL Facility was reaffirmed at $615 million for the May 1, 2020 Scheduled
    Redetermination (as defined in the RBL Credit Agreement).




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settled crude oil and natural gas option contracts—generally comprised of a mixture of costless

collars, 3-way collars, and swaps—with 13 financial institutions, all of which are lenders under

the RBL Facility. For the year ending December 2020, approximately 70% of the Debtors’

currently estimated total oil and natural gas production is hedged by derivative contracts. As of

July 30, 2020, the Debtors’ derivative contracts represent a net asset of approximately $40 million

on a mark-to-market basis. Pursuant to the Hedging Motion,7 the Debtors will seek authorization

to maintain their prepetition hedge contracts and enter into postpetition hedges in the ordinary

course of business.

                Senior Secured Second Lien Notes.

                1.       The 9.00% Notes

        37.     In May 2016, DNR issued $614.9 million in aggregate principal amount of the

9.00% Notes under an indenture dated as of May 10, 2016 (the “9.00% Notes Indenture”), by and

among DNR, as issuer, each other Debtor, as guarantor parties thereto, and Wilmington Trust,

National Association, as trustee and collateral trustee. Pursuant to the 9.00% Notes Indenture, the

9.00% Notes were issued at par, bear interest at a rate of 9.00% per year, payable semi-annually

in arrears on May 15 and November 15 of each year, and mature on May 15, 2021. As of the

Petition Date, there is $584.7 million in principal and $9 million in accrued interest outstanding

under the 9.00% Notes.

        38.     The 9.00% Notes are guaranteed jointly and severally by each of the Debtors (other

than DNR) and are secured by second-priority liens on all assets and property of the Debtors




7
    As used herein, the “Hedging Motion” means Debtors’ Emergency Motion for Entry of Interim and Final Orders
    (I) Authorizing the Debtors to (A) Perform Under and/or Amend Prepetition Hedging Arrangements, (B) Enter
    Into, and Perform Under, Postpetition Hedging Arrangements, (C) Grant Liens and Superpriority Administrative
    Expense Claims, and (II) Granting Related Relief, filed contemporaneously herewith.




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securing the RBL Facility, subordinated to the liens that secure the RBL Facility and any future

priority lien debt.

                 2.       The 9.25% Notes

         39.     In December 2017 and January 2018, DNR issued $381.6 million and $74.1

million, respectively, in aggregate principal amount of the 9.25% Notes under an indenture dated

as of December 6, 2017 (the “9.25% Notes Indenture”), by and among DNR, as issuer, each other

Debtor, as guarantor parties thereto, and Wilmington Trust, National Association, as trustee and

collateral trustee. Pursuant to the 9.25% Notes Indenture, the 9.25% Notes were issued at par,8

bear interest at a rate of 9.25% per year, payable semi-annually in arrears on March 31 and

September 30 of each year, and mature on March 31, 2022. As of the Petition Date, there is

$455.7 million in principal and $11.5 million in accrued interest outstanding under the 9.25%

Notes.

         40.     The 9.25% Notes are guaranteed jointly and severally by each of the Debtors (other

than DNR) and are secured by second-priority liens on all assets and property of the Debtors

securing the RBL Facility, subordinated to the liens that secure the RBL Facility and any future

priority lien debt.

                 3.       The 7.50% Notes

         41.     In August 2018, DNR issued $450.0 million in aggregate principal amount of the

7.50% Notes (together with the 9.00% Notes, 9.25% Notes, and 7.75% Notes, the “Second Lien

Notes”) under an indenture dated as of August 21, 2018 (the “7.50% Notes Indenture”), by and


8
    The December 2017 issuance, in addition to an $84.7 million issuance of 3.5% Convertible Senior Notes, was in
    exchange for $609.8 million aggregate of Denbury’s existing senior subordinated notes. The January 2018
    issuance, in addition to a $59.4 million issuance of 2023 Convertible Senior Notes, was in exchange for $174.3
    million of Denbury’s existing senior subordinated notes. In April and May 2018, the holders of $84.7 million in
    aggregate principal amount of the 3.5% Convertible Senior Notes and $59.4 million of the 2023 Convertible
    Senior Notes were converted to 55.2 million shares of Denbury’s common stock.




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among DNR, as issuer, each other Debtor, as guarantor parties thereto, and Wilmington Trust,

National Association, as trustee and collateral trustee. Pursuant to the 7.50% Notes Indenture, the

7.50% Notes were issued at par, bear interest at a rate of 7.50% per year, payable semi-annually

in arrears on February 15 and August 15 of each year, and mature on February 15, 2024. As of

the Petition Date, there is approximately $20.6 million in principal and $0.6 million in accrued

interest outstanding under the 7.50% Notes.

        42.     The 7.50% Notes are guaranteed jointly and severally by each of the Debtors (other

than DNR) and are secured by second-priority liens on all assets and property of the Debtors

securing the RBL Facility, subordinated to the liens that secure the RBL Facility and any future

priority lien debt.

                4.     The 7.75% Notes

        43.     In June 2019, DNR issued $528.0 million in aggregate principal amount of the

7.75% Notes under an indenture dated as of June 19, 2019 (the “7.75% Notes Indenture”), by and

among DNR, as issuer, each other Debtor, as guarantor parties thereto, and Wilmington Trust,

National Association, as trustee and collateral trustee. The 7.75% Notes were issued as part of an

exchange for certain senior subordinated notes and existing 7.50% Notes. The 7.75% Notes bear

interest at a rate of 7.75% per year, payable semi-annually in arrears on February 15 and August

15 of each year, and mature on February 15, 2024. In July 2019, DNR issued an additional $3.8

million of 7.75% Notes in exchange for $4.0 million of 7.50% Notes, which were recorded at par.

As of the Petition Date, there is approximately $531.8 million in principal and $15.5 million in

accrued interest outstanding under the 7.75% Notes.

        44.     The 7.75% Notes are guaranteed jointly and severally by each of the Debtors (other

than DNR) and are secured by second-priority liens on all assets and property of the Debtors




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securing the RBL Facility, subordinated to the liens that secure the RBL Facility and any future

priority lien debt.

                Convertible Senior Notes.

        45.     In June 2019, DNR issued $245.5 million in aggregate principal amount of

Convertible Notes under an indenture dated as of June 19, 2019 (the “Convertible Notes

Indenture”), by and among DNR, as issuer, and Wilmington Trust, National Association, as trustee

and collateral trustee. The Convertible Notes bear interest at a rate of 6.375% per year, payable

semi-annually in arrears on June 30 and December 30 of each year, and mature on December 31,

2024. As of the Petition Date, there is approximately $225.7 million in principal and $8.4 million

in accrued interest outstanding under the Convertible Notes.         The Convertible Notes are

convertible into shares of DNR’s common stock at any time, at the option of the Holders, at a rate

of 370 shares of common stock per $1,000 principal amount of the Convertible Notes, which is

the equivalent of approximately 83.5 million shares. The Convertible Notes automatically convert

to shares of common stock if the trading price equals or exceeds $2.43 per share for 10 trading

days in any period of 15 consecutive days, subject to certain other conditions.

        46.     The Convertible Notes are guaranteed jointly and severally by each of the Debtors

(other than DNR).

                The Senior Subordinated Notes

        47.     Each of the indentures governing the 6.375% Notes, the 5.50% Notes and the

4.625% Notes (collectively, the “Senior Subordinated Notes”) contains a provision that expressly

subordinates the Senior Subordinated Notes in right of payment to Senior Indebtedness (as defined

in the indentures), which includes the RBL Facility, Second Lien Notes, and Convertible Notes.

Upon a bankruptcy or reorganization (among other things), the Senior Indebtedness is entitled to

receive payment in full before holders of Senior Subordinated Notes are entitled to any payment



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of principal or interest—and until the Senior Indebtedness is in fact paid in full, any payment or

distribution received by holders of Senior Subordinated Notes must be held in trust for, and turned

over to, the Holders of Senior Indebtedness.

               1.     The 6.375% Notes

       48.     In February 2011, DNR issued $400 million in aggregate principal amount of the

6.375% Notes under an indenture dated as of February 17, 2011 (the “6.375% Notes Indenture”),

by and among DNR, as issuer, and Wilmington Trust, National Association, as trustee. Pursuant

to the 6.375% Notes Indenture, the 6.375% Notes were issued at par, bear interest at a rate of

6.375% per year, payable semi-annually on February 15 and August 15 of each year, and mature

on August 15, 2021. As of the Petition Date, there is approximately $51.3 million in principal and

$1.5 million in accrued interest outstanding under the 6.375% Notes.

       49.     The 6.375% Notes are guaranteed jointly and severally on a senior subordinated

basis by each of the Debtors (other than DNR).

               2.     The 5.50% Notes

       50.     In April 2014, DNR issued $1.25 billion in aggregate principal amount of the 5.50%

Notes under an indenture dated as of April 30, 2014 (the “5.50% Notes Indenture”), by and among

DNR, as issuer, and Wilmington Trust, National Association, as trustee. Pursuant to the 5.50%

Notes Indenture, the 5.50% Notes were issued at par, bear interest at a rate of 5.50% per year,

payable semi-annually on May 1 and November 1 of each year, and mature on May 1, 2022. As

of the Petition Date, there is approximately $58.4 million in principal and $0.8 million in accrued

interest outstanding under the 5.50% Notes.

       51.     The 5.50% Notes are guaranteed jointly and severally on a senior subordinated

basis by each of the Debtors (other than DNR).




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               3.      The 4.625% Notes

       52.     In February 2013, DNR issued $1.2 billion in aggregate principal amount of the

4.625% Notes (together with the 6.375% Notes and the 5.50% Notes, the “Subordinated Notes”)

under an indenture dated as of February 5, 2013 (the “4.625% Notes Indenture”), by and among

DNR, as issuer, and Wilmington Trust, National Association, as trustee. Pursuant to the 4.625%

Notes Indenture, the 4.625% Notes were issued at par, bear interest at a rate of 4.625% per year,

payable semi-annually on January 15 and July 15 of each year, and mature on July 15, 2023. As

of the Petition Date, there is approximately $136.0 million in principal and $3.4 million in accrued

interest outstanding under the 4.625% Notes.

       53.     The 4.625% Notes are guaranteed jointly and severally on a senior subordinated

basis by each of the Debtors (other than DNR).

               Existing Equity Interests.

       54.     DNR’s certificate of incorporation authorizes two classes of stock: common stock

and preferred stock. As of June 30, 2020, DNR had approximately 507,725,516 shares of common

stock outstanding and no shares of preferred stock outstanding. DNR has not paid a stock dividend

since the fourth quarter of 2015. In addition, the RBL Facility, Second Lien Notes, Convertible

Notes, and Subordinated Notes all include in their agreements and indentures that certain financial

covenants must be satisfied at the time dividend payments are made.

       55.     On March 5, 2020, the NYSE issued DNR a formal notice that its stock price had

fallen below $1.00 per share over a period of 30 consecutive trading days, which is the minimum

average share price for continued listing on the NYSE. DNR initially had six months to regain

compliance with the minimum share price requirement, but due to recent market turmoil the NYSE

filed a rule change, effective April 20, 2020, tolling the compliance periods for price-based listing

requirements through June 30, 2020, which extended DNR’s compliance period by approximately



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two months. To regain compliance with the minimum share price requirement, DNR’s common

stock share price must be at least $1.00 on the last trading day of any month during the cure period

and have an average stock price of at least $1.00 over the previous 30 trading-day period.

         56.   On July 20, 2020, Asia Presswire, a global press release distribution service,

distributed a fraudulent press release that had purportedly been submitted on Denbury’s behalf,

announcing that DNR had received “an official corporate buyout offer.”              The Company

immediately reported the fraudulent activity to the NYSE and released a statement clarifying that

the release was fabricated and not authorized by the Debtors.

         57.   DNR’s stock had continued to trade on the NYSE during the cure period, but

recently halted on July 29, 2020 with a closing price of $0.24 per share.

III.     Circumstances Leading to These Chapter 11 Cases.

               Prolonged Market Decline and Industry-Specific Challenges.

         58.   Exploration and production companies have been challenged by volatile

commodity prices for years. During the past nine years, the NYMEX WTI oil price has ranged

from a high of $113.39 per Bbl in April 2011 to a low of negative $37.63 per Bbl on April 20,

2020, and traded at $41.14 as of July 24, 2020. These markets will likely continue to be volatile

in the future, especially given the current geopolitical conditions. Additionally, NYMEX futures

curves for crude oil indicate an expectation among traders in the derivatives market that

commodity prices are expected to remain at the current depressed levels over the next several

years.




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                                   WTI Crude Oil Closing Prices
          $120.00

          $100.00

             $80.00

             $60.00

             $40.00

             $20.00

                $-

          ($20.00)

          ($40.00)
                Jan-09       Dec-10     Nov-12     Oct-14    Sep-16     Aug-18     Jul-20


       59.        These market conditions have affected oil and gas companies at every level of the

industry around the world. Independent oil and gas companies have been especially hard-hit,

however, as their revenues are generated from the sale of unrefined oil and gas. Since the

beginning of 2020, over 23 oil and gas companies have filed for chapter 11 protection. Numerous

other oil and gas companies have defaulted on their debt obligations, negotiated amendments or

covenant relief with their creditors to avoid defaulting, or have effectuated out-of-court

restructurings.

       60.        In early 2015, to address the effects of both the developing industry downturn as

well as their over-levered capital structure, the Debtors began evaluating and subsequently

implementing a liquidity protection and liability management strategy that focused on, among

other things, adapting to a prolonged low-price commodity environment. The Debtors thereafter

pursued transactions to extend their liquidity runway by increasing short and long-term cash flows

and reducing expenditures, as further detailed below. Additionally, the Debtors have reduced




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headcount by approximately 837 employees since the end of 2014 through a combination of

workforce reductions and a voluntary separation program.

       61.      Over the past two years, through initiatives by the management team, the Debtors

have closely scrutinized their operating performance and made extensive changes to the

organization and operating procedures to improve production results and operating efficiency.

Following the precipitous drop in commodity prices in March 2020, the Debtors reduced their

budgeted 2020 capital spending by 44%, deferred certain development projects, implemented

changes in their workforce to better align with current and projected needs, and restructured certain

hedge contracts to further increase downside protection.

                Capital Structure Rationalization Efforts.

       62.      Beginning in 2016, the Debtors completed a number of deleveraging transactions

to manage their liabilities in a sustained low oil price environment, issuing $450 million of new

notes to facilitate an RBL extension, and conducting numerous open-market repurchase

transactions to reduce leverage and extend runway. As a result of these efforts, the Debtors

ultimately reduced their leverage ratio from 9.0x at June 30, 2017 to 3.7x at the close of 2019—

by the end of 2019 the Debtors had eliminated approximately $1.3 billion of funded debt since

December 31, 2014. The Debtors’ significant liability management transactions are set forth in

the graphic below.     Over 2018 and 2019 alone, the Debtors completed eight significant

deleveraging transactions, and as a result, the Debtors closed 2019 with no borrowings under the

RBL Facility.




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       63.     In addition to the liability management transactions set forth above, over the last

couple of years the Debtors have divested certain assets. In July 2019, the Debtors sold the

Citronelle Field for approximately $10 million, and in March 2020, completed a transaction to sell

nearly half of their 100% working positions in four southeast Texas oil fields for $40 million net

cash and a carried interest in ten wells to be drilled by the purchaser. Furthermore, through the

end of 2019, the Company sold $20 million in surface acreage and currently has $32 million of

additional surface acreage parcels under contract for sale.

       64.     The Debtors intended to continue these liability management and liquidity

enhancement efforts through 2020 to further right-size their capital structure. Indeed, in late 2019

and early 2020, the Company and its legal and financial advisors were exploring several potential

opportunities to address the Company’s balance sheet out of court. However, the confluence of a

worldwide reduction in oil demand due to the global COVID-19 pandemic and the price war

among Russia, the Kingdom of Saudi Arabia, and other countries a part of the Organization of

Petroleum Exporting Countries (“OPEC”) caused oil prices to plummet, significantly constraining




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liquidity for all independent oil and gas companies, including Denbury, and swiftly evaporating

potential out-of-court solutions.

               The COVID-19 Pandemic and Oil Price War.

       65.     As COVID-19 spread globally in early 2020, global economic activity and

transportation demand decreased, causing a decline in oil prices. In response, OPEC, led by the

Kingdom of Saudi Arabia, called for additional cuts in oil production, subject to agreement by

Russia. However, initial discussions were not successful, and the parties failed to reach an

agreement on production levels. Instead, both the Kingdom of Saudi Arabia and Russia announced

that they would each increase, rather than decrease, production, resulting in surplus supply amidst

already decreasing demand for oil. Meanwhile, the COVID-19 pandemic continued to spread,

causing governments across the world to institute strict public health and safety measures including

quarantine orders, stay-at-home orders, and social distancing guidelines that precipitously

decreased oil demand globally, driving down oil prices. The result has been another sustained,

historic downturn.

       66.     On July 15, 2020, an alliance of certain OPEC nations led by Saudi Arabia agreed

to increase oil production starting in August, citing theoretically increased demand due to the

relaxing of COVID-19 restrictions. OPEC itself said it expected that the world’s demand for oil

would increase by 7 million barrels a day next year, after a forecasted 8.9 million-barrel-a-day

decline in 2020. However, regardless of slight increased demand in the coming months, additional

supply is likely to constrain price increases. On April 20, 2020, the West Texas Intermediate

(“WTI”) index, the benchmark for U.S.-based oil exploration and production companies, declined

over 300% in a single day, dropping below zero for the first time in history. As of the Petition

Date, benchmark oil prices have partially rebounded from the record low and are hovering around




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$41 per barrel, which represents approximately a 30% decline from average oil prices for the

twenty-four months prior.

       67.     Low oil prices and industry volatility are likely to continue through the near and

long-term, affected by the domestic and foreign supply of oil and natural gas, the ability of OPEC

members to comply with agreed-upon production cuts, social unrest and political instability in

major producing regions outside the United States, pressure to reduce fossil fuel use as a means of

reducing atmospheric CO2 levels, and the levels and growth of domestic and global economic

activity. In particular, the U.S. “Shale Revolution”—the implementation of horizontal drilling and

hydraulic fracking techniques to unlock oil and natural gas from previously non-producible shale

formations—has resulted in a dramatic increase in U.S. crude oil and natural gas production,

greatly increasing supply at a time of uncertain demand.

       68.     Over the past several years, the Debtors have taken a number of steps to reduce

expenditures and forestall the need for a chapter 11 filing in a low-commodity-price environment,

even while many of their peers pursued in-court restructurings. These efforts included both a series

of liquidity and credit enhancing transactions, including debt repurchases and exchanges, and steps

to reduce general and administrative costs and streamline operations. Since 2014, Denbury has

reduced its workforce by approximately 55% and has significantly curtailed capital spending to

preserve and manage liquidity. Most recently, in late March 2020, the Company significantly

reduced its planned capital spending for 2020 and, in May, implemented a reduction in force,

including furloughing certain employees for several months.

       69.     Despite the Debtors’ proactive efforts, the Company’s leverage remains elevated

and the Debtors’ face a substantial maturity wall in 2021, with the need to address approximately

$636 million in maturities for certain Second Lien Notes and Senior Subordinated Notes. The




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yields on the Company’s notes indicate that a regular-way refinancing is unlikely without dramatic

improvements in oil prices. If current market conditions persist, the Debtors will not be able to

continue to service their $165 million in aggregate interest payments due annually under the

Company’s notes. Consequently, a substantial balance sheet deleveraging is necessary to allow

the Debtors to withstand the current low commodity price environment and to continue to

maximize the value of their assets. In March 2020, recognizing the need for a long-term solution,

the Debtors directed their advisors, Kirkland & Ellis LLP and Evercore Group L.L.C., to explore

strategic alternatives that included a comprehensive restructuring, and in May 2020 retained

Alvarez & Marsal North America, LLC as restructuring advisor.

IV.    Restructuring Support Agreement and Committed Exit Facility.

       70.     Beginning in March 2020, the Debtors began to evaluate strategic alternatives that

would comprehensively address the Company’s balance sheet and strongly position Denbury to

weather the new industry landscape. The Company also began to engage with a committee of

certain holders of Second Lien Notes, represented by Paul Weiss, Rifkind, Wharton &

Garrison LLP (the “Second Lien Ad Hoc Committee”) on the general contours of a potential

transaction. In May 2020, the Debtors and the Second Lien Ad Hoc Committee began to exchange

term sheets and, as those negotiations progressed, the Debtors concurrently commenced

discussions with the RBL Agent and RBL Lenders regarding financing for any restructuring. The

Debtors’ focus was building consensus and being able to move swiftly through any formal process.

To that end, the Debtors made a $26.3 million coupon payment on the 9.00% Notes on

May 15, 2020 to facilitate discussions.

       71.     This led to robust, arm’s-length negotiations with the Second Lien Ad Hoc

Committee and, later, a group of certain holders of Convertible Notes, represented by Akin Gump

(the “Convertible Ad Hoc Group”) and the RBL Agent and certain RBL Lenders regarding the



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terms of a potential comprehensive restructuring that focused on fully equitizing the Company’s

bond debt pursuant to a prepackaged chapter 11 plan of reorganization and rolling the existing

indebtedness under the RBL Facility to the DIP Facility and ultimately to the Exit Facility upon

emergence. Those efforts culminated with the execution of a Restructuring Support Agreement

on July 28, 2020 by holders of 100% of loans outstanding under the RBL Facility, approximately

67% in principal outstanding under the Second Lien Notes, and approximately 73% in principal

outstanding under the Convertible Notes. The Restructuring Support Agreement and the Plan

reflect a number of valuable concessions by both the Second Lien Noteholders and the Convertible

Noteholders and contemplate the consensual use of cash collateral and the use of proceeds of the

DIP Facility and the Exit Facility to facilitate the Debtors’ restructuring. The key pillars of the

restructuring are:

               •      equitization of all $2.1 billion of the Company’s bond debt, while leaving
                      trade and operational creditors unimpaired, providing a meaningful
                      recovery to holders of unsecured Convertible Notes, and offering an
                      opportunity for a recovery to out-of-the-money junior debt and equity
                      holders; and

               •      access to a $615 million DIP Facility provided by the Debtors’ prepetition
                      lenders that will roll into a fully committed revolving exit facility to finance
                      the reorganized Debtors’ operations, with agreement by certain hedge
                      counterparties to leave their hedging arrangements with the Company in
                      place.

These transactions will allow the Debtors to swiftly emerge from chapter 11 with an approximately

90% delivered capital structure.




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                                      Capital Structure ($mm)
         $3,000


         $2,500


         $2,000


         $1,500


         $1,000


             $500


              $-
                                Prepetition                             Postpetition

        Pipeline Lease Claim   Prepetition RBL        Second Lien              Convertible Notes

        Subordinated Notes     Exit RBL Drawn         Exit Facility Capacity



       72.      Speed is also a key feature of the reorganization. The RBL Lenders’ willingness to

provide a committed exit facility and the Second Lien Ad Hoc Committee’s support for the

Restructuring Support Agreement and compromises therein are both predicated on a short stay in

chapter 11. To ensure compliance with the milestones set forth in the DIP documents and

Restructuring Support Agreement, the Debtors propose the following case timeline.




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       73.     The proposed transactions will maximize value for stakeholders and ensure a viable

enterprise upon emergence, and represent a significant achievement for the Debtors given the

current industry environment. A right-sized capital structure will allow the Debtors to develop

their assets and grow their CO2 enhanced oil recovery operations and related businesses. In

addition, the compromises and settlements embodied in the Restructuring Support Agreement, and

to be implemented by the Plan, preserve value by enabling the Debtors to avoid protracted, value-

destructive litigation over potential recoveries that could delay the Debtors’ emergence from

chapter 11.

V.     First Day Motions.

       74.     Contemporaneously herewith, the Debtors have filed a number of First Day

Motions seeking orders granting various forms of relief intended to stabilize the Debtors business




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operations, facilitate the efficient administration of these chapter 11 cases, and expedite a swift

and smooth restructuring of the Debtors, including:

       Administrative Motions:

       •       “Joint Administration Motion”: Debtors’ Emergency Motion for Entry of an Order
               (I) Directing Joint Administration of Chapter 11 Cases and (II) Granting Related
               Relief.

       •       “Scheduling Motion”: Debtors’ Emergency Motion for Entry of an Order
               (I) Scheduling a Combined Disclosure Statement Approval and Plan Confirmation
               Hearing, (II) Conditionally Approving the Disclosure Statement, (III) Establishing
               Plan and Disclosure Statement Objection and Reply Deadlines and Related
               Procedures, (IV) Approving the Solicitation Procedures, (V) Approving the
               Combined Notice, and (IV) Waiving the Requirements that the U.S. Trustee
               Convene a Meeting of Creditors and the Debtors File Schedules and SOFAs.

       •       “Creditor Matrix Motion”: Debtors’ Emergency Motion for Entry of an Order
               (I) Authorizing the Debtors to File a Consolidated List of Creditors and a
               Consolidated List of the 30 Largest Unsecured Creditors, (II) Waiving the
               Requirement to File a List of Equity Security Holders, (III) Authorizing the Debtors
               to Redact Certain Personal Identification Information, and (IV) Granting Related
               Relief.

       •       “Claims, Noticing, Solicitation, and Administrative Agent Application”: Debtors’
               Emergency Application for Entry of an Order Appointing Epiq Corporate
               Restructuring, LLC as Claims, Noticing, Solicitation, and Administrative Agent.

       Finance Motions:

       •       “Cash Management Motion”: Debtors’ Emergency Motion for Entry of Interim
               and Final Orders (I) Authorizing the Debtors to (A) Continue to Operate Their
               Cash Management System and Maintain Existing Bank Accounts, (B) Continue to
               Perform Intercompany Transactions, and (C) Maintain Existing Business Forms
               and (II) Granting Related Relief.

       •       “DIP Motion”: Debtors’ Emergency Motion for Entry of Interim and Final Orders
               (I) Authorizing the Debtors to (A) Obtain Postpetition Financing Secured by Senior
               Priming Lines and (B) Use Cash Collateral, (II) Granting Liens and Providing
               Superpriority Administrative Expense Status, (III) Granting Adequate Protection,
               (IV) Modifying the Automatic Stay, (V) Scheduling a Final Hearing, and
               (VI) Granting Related Relief.




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Operational Motions:

•     “Wages Motion”: Debtors’ Emergency Motion for Entry of an Order
      (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Salaries, Other
      Compensation, and Reimbursable Expenses and (B) Continue Employee Benefits
      Programs and (II) Granting Related Relief.

•     “Lienholder Motion”: Debtors’ Emergency Motion for Entry of Interim and Final
      Orders (I) Authorizing the Payment of Specified Lienholder and Other Trade
      Claims, (II) Confirming Administrative Expense Priority of Outstanding Orders,
      and (III) Granting Related Relief.

•     “Royalty Payments Motion”: Debtors’ Emergency Motion for Entry of an Order
      (I) Authorizing Mineral Payments, Working Interest Disbursements, and
      Non-Operating Working Interest Expenses and (II) Granting Related Relief.

•     “Equity Trading Motion”: Debtors’ Emergency Motion for Entry of Interim and
      Final Orders (I) Approving Notification and Hearing Procedures for Certain
      Transfers of and Declarations of Worthlessness with Respect to Common Stock,
      and (II) Granting Related Relief.

•     “Insurance Motion”: Debtors’ Emergency Motion for Entry of an Order
      (I) Authorizing the Debtors to (A) Continue Insurance Coverage Entered into
      Prepetition and Satisfy Prepetition Obligations Related Thereto, (B) Renew,
      Amend, Supplement, Extend, or Purchase Insurance Policies, and (II) Granting
      Related Relief.

•     “Surety Bond Motion”: Debtors’ Emergency Motion for Entry of an Order
      (I) Authorizing the Debtors to Continue Their Surety Bond Program and
      (II) Granting Related Relief.

•     “Taxes Motion”:       Debtors’ Emergency Motion for Entry of an Order
      (I) Authorizing the Payment of Certain Prepetition Taxes and Fees and
      (II) Granting Related Relief.

•     “Utilities Motion”: Debtors’ Emergency Motion for Entry of an Order
      (I) Approving the Debtors’ Proposed Adequate Assurance of Payment for Future
      Utility Services, (II) Prohibiting Utility Providers from Altering, Refusing, or
      Discontinuing Services, (III) Approving the Debtors’ Proposed Procedures for
      Resolving Additional Assurance Requests, (IV) Authorizing Certain Fee Payments
      for Services Performed, and (V) Granting Related Relief.

•     “Hedging Motion”: Debtors’ Emergency Motion for Entry of Interim and Final
      Orders (I) Authorizing the Debtors to (A) Perform Under and/or Amend Prepetition
      Hedging Arrangements, (B) Enter Into, and Perform Under, Postpetition Hedging
      Arrangements, (C) Grant Liens and Superpriority Administrative Expense Claims,
      and (II) Granting Related Relief.



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        75.     I have consulted with advisors regarding and understand each of the First Day

Motions and the relief requested therein. To the best of my knowledge and belief, the factual

statements contained in each of the First Day Motions are true and accurate and each such factual

statement is incorporated herein by reference.

        76.     I believe that the relief requested in the First Day Motions is necessary, in the best

interests of the Debtors’ estates, their creditors, and all other parties in interest, and will allow the

Debtors to operate with minimal disruption and maximum value preservation during the pendency

of these chapter 11 cases. Failure to grant the relief requested in any of the First Day Motions may

result in immediate and irreparable harm to the Debtors, their businesses, and their estates.

Accordingly, for the reasons set forth herein and in each respective First Day Motion, the Court

should grant the relief requested in each of the First Day Motions.



                            [Remainder of page intentionally left blank]




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.

 Dated: July 30, 2020                          /s/ Christian S. Kendall
                                               Christian S. Kendall
                                               President and Chief Executive Officer
                                               Denbury Resources Inc.
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                                     Certificate of Service

        I certify that on July 30, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
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                             Exhibit A

                  Restructuring Support Agreement
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                                                                                                          Execution Version


THIS RESTRUCTURING SUPPORT AGREEMENT IS NOT AN OFFER,
SOLICITATION, OR ACCEPTANCE WITH RESPECT TO ANY SECURITIES OR A
SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN THE
MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER OR
SOLICITATION WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS
AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING CONTAINED IN
THIS RESTRUCTURING SUPPORT AGREEMENT SHALL BE AN ADMISSION OF
FACT OR LIABILITY OR, UNTIL THE OCCURRENCE OF THE AGREEMENT
EFFECTIVE DATE ON THE TERMS DESCRIBED IN THIS AGREEMENT, DEEMED
BINDING ON ANY OF THE PARTIES TO THIS AGREEMENT.


                               RESTRUCTURING SUPPORT AGREEMENT

       This RESTRUCTURING SUPPORT AGREEMENT (including all exhibits, annexes, and
schedules hereto and as amended, supplemented, or otherwise modified from time to time in
accordance with Section 13 hereof, this “Agreement”), is made and entered into as of
July 28, 2020 (the “Execution Date”), by and among the following parties (each of the following
described in sub clauses (i) through (iv) of this preamble, and any person or Entity that becomes a
party hereto in accordance with the terms hereof, collectively, the “Parties”):1

        i.        Denbury Resources Inc., Denbury Air, LLC, Denbury Brookhaven Pipeline
                  Partnership, LP, Denbury Brookhaven Pipeline, LLC, Denbury Gathering &
                  Marketing, Inc., Denbury Green Pipeline-Montana, LLC; Denbury Green Pipeline-
                  North Dakota, LLC, Denbury Green Pipeline-Riley Ridge, LLC, Denbury Green
                  Pipeline-Texas, LLC, Denbury Gulf Coast Pipelines, LLC; Denbury Holdings, Inc.,
                  Denbury Onshore, LLC, Denbury Operating Company, Denbury Pipeline
                  Holdings, LLC, Denbury Thompson Pipeline, LLC, Encore Partners GP Holdings,
                  LLC, Greencore Pipeline Company, LLC, and Plain Energy Holdings, LLC
                  (collectively, the “Company Parties” or the “Debtors”);

        ii.       the RBL Lenders that have executed and delivered to Counsel to the Company
                  Parties counterpart signature pages to this Agreement, a Joinder, or a Transfer
                  Agreement (collectively, the “Consenting RBL Lenders”);

        iii.      the beneficial holders of, or investment advisors, sub-advisors, or managers of
                  discretionary accounts that hold, Second Lien Notes that have executed and
                  delivered to Counsel to the Company Parties counterpart signature pages to this
                  Agreement, a Joinder, or a Transfer Agreement (collectively, the “Consenting
                  Second Lien Noteholders”); and

        iv.       the beneficial holders of, or investment advisors, sub-advisors, or managers of
                  discretionary accounts that hold, Convertible Notes that have executed and
                  delivered to Counsel to the Company Parties counterpart signature pages to this


1   Capitalized terms used, but not defined in this Agreement, have the meanings given to them in Section 1 of this Agreement or
    the Plan (as defined herein), as applicable.
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               Agreement, a Joinder, or a Transfer Agreement (collectively,
               the “Consenting Convertible Noteholders” and, together with the RBL Agent,
               the Consenting RBL Lenders and the Consenting Second Lien Noteholders,
               the “Consenting Creditors”).

                                          RECITALS

         WHEREAS, the Company Parties and the Consenting Creditors have in good faith and at
arm’s length negotiated or been apprised of certain restructuring transactions with respect to the
Company Parties’ capital structure on the terms set forth in this Agreement and as specified in
(i) the prepackaged chapter 11 plan of reorganization attached hereto as Annex 1 (the “Plan”),
(ii) the financing term sheet attached hereto as Annex 2 (the “DIP-to-Exit Facility Term Sheet”)
and the Exit Commitment Letter (as defined below) attached hereto as Annex 2(a), (iii) the
warrants term sheet attached hereto as Annex 3 (as may be amended, supplemented, or otherwise
modified from time to time in accordance with the terms hereof, the “Warrants Term Sheet”),
and, (iv) the governance term sheet attached hereto as Annex 4 (the “Governance Term Sheet”,
and such transactions described in this Agreement, the Plan, the DIP-to-Exit Facility Term Sheet,
the Exit Commitment Letter, the Warrants Term Sheet, the Governance Term Sheet, and all
attachments thereto, the “Restructuring”);

        WHEREAS, the Debtors will implement the Restructuring through prepackaged voluntary
reorganization cases (the “Chapter 11 Cases”) filed under chapter 11 of title 11 of the United
States Code, 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”), in the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”);

       WHEREAS, as of the Execution Date, the Consenting RBL Lenders hold, in the aggregate,
100 percent of the aggregate principal amount outstanding of the RBL Loans;

       WHEREAS, as of the Execution Date, the Consenting Second Lien Noteholders hold, in
the aggregate, approximately 67.2 percent of the aggregate principal amount outstanding of the
Second Lien Notes Claims;

       WHEREAS, as of the Execution Date, the Consenting Convertible Noteholders hold, in
the aggregate, approximately 70.8 percent of the aggregate principal amount outstanding of the
Convertible Notes Claims;

       WHEREAS, the Parties agree that this Agreement and the Restructuring are the product
of arm’s-length and good-faith negotiations among all of the Parties; and

        WHEREAS, the Parties have agreed to take certain actions in support of the Restructuring
on the terms and conditions set forth in this Agreement and the Plan.

      NOW, THEREFORE, in consideration of the covenants and agreements contained in this
Agreement, and for other valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, each Party, intending to be legally bound by this Agreement, agrees as follows:




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                                           AGREEMENT

Section 1.     Definitions and Interpretation.

       1.01.   Definitions. The following terms have the following definitions:

       (a)    “Agreement” has the meaning set forth in the preamble to this Agreement and, for
the avoidance of doubt, includes all the exhibits, annexes, and schedules attached to this
Agreement in accordance with Section 14.04 hereof (including the annexes and exhibits hereto).

        (b)    “Agreement Effective Date” means the date on which the conditions set forth in
Section 2 hereof have been satisfied or waived by the appropriate Party or Parties in accordance
with this Agreement.

      (c)    “Agreement Effective Period” means, with respect to a Party, the period from the
Agreement Effective Date until the Termination Date applicable to such Party.

        (d)      “Alternative Restructuring Proposal” means any plan, inquiry, proposal, offer,
bid, term sheet, discussion, or agreement with respect to a sale, disposition, new-money
investment, restructuring, reorganization, merger, amalgamation, acquisition, consolidation,
dissolution, debt investment, equity investment, liquidation, asset sale, share issuance, tender offer,
exchange offer, consent solicitation, recapitalization, plan of reorganization, share exchange,
business combination, joint venture, or similar transaction involving any one or more Company
Parties or the debt, equity, or other interests in any one or more Company Parties that is an
alternative to, in whole or in part, or is inconsistent with the terms of the Restructuring.

       (e)     “Bankruptcy Code” has the meaning set forth in the recitals to this Agreement.

        (f)     “Bankruptcy Court” has the meaning set forth in the recitals to this Agreement,
and for the avoidance of doubt, includes any other court having jurisdiction over the Chapter 11
Cases, including to the extent of the withdrawal of reference under 28 U.S.C. § 157, the United
States District Court for the Southern District of Texas.

        (g)    “Business Day” means any day other than a Saturday, Sunday, or “legal holiday”
(as defined in Bankruptcy Rule 9006(a)).

       (h)     “Chapter 11 Cases” has the meaning set forth in the recitals to this Agreement.

        (i)     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code,
against any of the Debtors.

        (j)    “Company Claims” means any Claim against a Company Party. Company Claims
shall expressly exclude any Interest in a Company Party.

       (k)     “Company Parties” has the meaning set forth in the recitals to this Agreement.




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       (l)     “Confidentiality Agreement” means an executed confidentiality agreement,
including with respect to the issuance of a “cleansing letter” or other agreement relating to public
disclosure of material non-public information, in connection with any proposed Restructuring.

        (m)    “Confirmation Order” means the order of the Bankruptcy Court confirming the
Plan.

        (n)   “Consenting Convertible Noteholders” has the meaning set forth in the preamble
to this Agreement.

      (o)      “Consenting Creditors” has the meaning set forth in the preamble to this
Agreement.

      (p)      “Consenting RBL Lenders” has the meaning set forth in the preamble to this
Agreement.

        (q)   “Consenting Second Lien Noteholders” has the meaning set forth in the preamble
to this Agreement.

        (r)    “Convertible Notes” has the meaning set forth in the Plan.

        (s)    “Convertible Notes Claims” has the meaning set forth in the Plan.

        (t)    “Counsel to the Company Parties” means Kirkland & Ellis LLP.

        (u)    “Definitive Documents” means the documents set forth in Section 3.01.

       (v)     “DIP Agent” means JPMorgan Chase Bank, N.A., or any successor thereto, as
administrative agent under the DIP Facility, solely in its capacity as such.

        (w)   “DIP Facility” means the debtor-in-possession financing facility on terms and
conditions consistent in all material respects with this Agreement (including the DIP-to-Exit
Facility Term Sheet) and the DIP Orders and otherwise in form and substance acceptable to the
Company Parties and the DIP Lenders, and reasonably acceptable to the Required Consenting
Second Lien Noteholders.

        (x)     “DIP Facility Documents” means any documents governing or related to the DIP
Facility (including the DIP Orders), which documents shall be consistent in all material respects
with the Plan, this Agreement (including the DIP-to-Exit Facility Term Sheet) and the DIP Orders
and otherwise in form and substance acceptable to the Company Parties and the DIP Agent and
the DIP Lenders as to such documents and to the Company Parties and the DIP Agent as to the
DIP Orders, and reasonably acceptable to the Required Consenting Second Lien Noteholders.

       (y)     “DIP Final Order” means the final order authorizing use of cash collateral and
debtor-in-possession financing on terms consistent with the DIP-to-Exit Facility Term Sheet, and
in form and substance acceptable to the Company Parties and the DIP Agent, and reasonably
acceptable to the Required Consenting Second Lien Noteholders.



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        (z)    “DIP Interim Order” means the interim order authorizing use of cash collateral
and debtor-in-possession financing on terms consistent with the DIP-to-Exit Facility Term Sheet,
and in form and substance acceptable to the Company Parties and the DIP Agent, and reasonably
acceptable to the Required Consenting Second Lien Noteholders.

       (aa)    “DIP Lenders” means the lenders under the DIP Facility.

       (bb)    “DIP Orders” means, collectively, the DIP Interim Order and the DIP Final Order.

       (cc) “DIP-to-Exit Facility Term Sheet” has the meaning set forth in the preamble to
this Agreement.

        (dd) “Disclosure Statement” means the disclosure statement with respect to the Plan
that is prepared and distributed in accordance with, among other things, sections 1125, 1126(b),
and 1145 of the Bankruptcy Code, Bankruptcy Rule 3018, and other applicable Law, and all
exhibits, schedules, supplements, modifications and amendments thereto, all of which shall be
consistent in all material respects with this Agreement

       (ee) “Disclosure Statement Order” means the order approving the Disclosure
Statement, which order shall be consistent in all material respects with this Agreement.

       (ff)    “Execution Date” has the meaning set forth in the preamble to this Agreement.

         (gg) “Existing Equity Interests” means the common stock of the Company Parties that
is existing as of the Petition Date.

        (hh) “Exit Commitment Letter” means the commitment letter attached as Annex 2(a)
hereto, and the related fee letters with respect thereto.

       (ii)    “Exit Facility” means the revolving credit facility in an aggregate maximum
principal amount of up to $615,000,000, subject to a conforming borrowing base to be set forth in
the Exit Facility Documents and on such other terms and conditions consistent in all material
respects with this Agreement, the DIP-to-Exit Facility Term Sheet, the Exit Commitment Letter,
and the Exit Facility Term Sheet, and otherwise in form and substance acceptable to the Debtors
and the Exit Facility Lenders, and reasonably acceptable to the Required Consenting Second Lien
Noteholders.

        (jj)   “Exit Facility Documents” has the meaning set forth in the Plan, and each of which
shall be consistent in all material respects with the Plan, this Agreement, the DIP-to-Exit Facility
Term Sheet, the Exit Facility Term Sheet, and the Exit Commitment Letter, and otherwise in form
and substance acceptable to the Debtors and the Exit Facility Lenders, and reasonably acceptable
to the Required Consenting Second Lien Noteholders.

       (kk)    “Exit Facility Lenders” means the lenders under the Exit Facility.

        (ll)   “Exit Facility Term Sheet” means the financing term sheet attached as Exhibit A
to the Exit Commitment Letter.



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       (mm) “First Day Pleadings” means the first-day pleadings that the Company Parties file
with the Bankruptcy Court upon the commencement of the Chapter 11 Cases.

      (nn)     “Governance Term Sheet” has the meaning set forth in the preamble to this
Agreement.

        (oo) “Hedge Contract” means any futures contract, forward contract, swap contract,
derivative contract, hedging contract or other like instrument with a Company Party.

       (pp) “Interest” means any equity security (as defined in section 101(16) of the
Bankruptcy Code) in any Debtor and any other rights, options, warrants, stock appreciation rights,
phantom stock rights, restricted stock units, redemption rights, repurchase rights, convertible,
exercisable or exchangeable Securities or other agreements, arrangements or commitments of any
character relating to, or whose value is related to, any such interest or other ownership interest in
any Debtor.

        (qq) “Joinder” means a joinder to this Agreement substantially in the form attached
hereto as Exhibit B.

        (rr)    “Law” means any federal, state, local, or foreign law (including common law),
statute, code, ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly
adopted, promulgated, issued, or entered by a governmental authority of competent jurisdiction
(including the Bankruptcy Court).

       (ss)   “Management Compensation Term Sheet” means the term sheet setting forth the
terms of the Management Incentive Plan, which shall be included in the Plan Supplement.

        (tt)    “Management Incentive Plan” means any equity incentive program for the
members of the management team of the Reorganized Debtors to be established as contemplated
in the Plan, and in accordance with this Agreement and the Definitive Documents.

       (uu)    “Milestones” means the milestones set forth in Section 4 hereof.

       (vv)    “New DNR Equity” has the meaning set forth in the Plan.

       (ww) “New Organizational Documents” has the meaning set forth in the Plan.

       (xx)    “Parties” has the meaning set forth in the preamble to this Agreement.

       (yy) “Permitted Transfer” means each transfer of any Company Claims that meet the
requirements of Section 9.01 hereof.

       (zz) “Permitted Transferee” means each transferee of any Company Claims who
meets the requirements of Section 9.01 hereof.

     (aaa) “Petition Date” means the first date on which any of the Company Parties
commences a Chapter 11 Case.



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        (bbb) “Plan” has the meaning set forth in the recitals to this Agreement.

       (ccc) “Plan Effective Date” means the date on which the Plan becomes effective in
accordance with its terms.

        (ddd) “Plan Supplement” means the compilation of documents and forms and/or term
sheets of documents, schedules, and exhibits to the Plan that will be filed by the Company Parties
with the Bankruptcy Court, each of which shall be consistent in all material respects with this
Agreement (to the extent applicable) and subject to the consent rights set forth in Section 3.02.

        (eee) “Qualified Marketmaker” means an Entity that (i) holds itself out to the public or
the applicable private markets as standing ready in the ordinary course of business to purchase
from customers and sell to customers Company Claims (or enter with customers into long and
short positions in Company Claims), in its capacity as a dealer or market maker in Company
Claims and (ii) is, in fact, regularly in the business of making a market in Claims against issuers
or borrowers (including debt securities or other debt).

        (fff) “RBL Agent” means JPMorgan Chase Bank, N.A., and any successor thereto,
solely in its capacity as successor administrative agent under the RBL Credit Agreement.

        (ggg) “RBL Claims” has the meaning set forth in the Plan.

        (hhh) “RBL Credit Agreement” has the meaning set forth in the Plan.

       (iii)  “RBL Facility Documents” means any documents governing or related to the
revolving credit facility governed by the RBL Credit Agreement, including the RBL Credit
Agreement, and provided by the RBL Lenders to certain of the Company Parties.

        (jjj)   “RBL Lenders” means the lenders under the RBL Credit Agreement, from time to
time.

        (kkk) “RBL Loans” has the meaning set forth in the Plan.

       (lll)   “Required Consenting Convertible Noteholders” means, as of any time of
determination, the Consenting Convertible Noteholders holding at least 50.01% of the aggregate
outstanding principal amount of the Convertible Notes that are held by all Consenting Convertible
Noteholders.

      (mmm)“Required Consenting Creditors” means, collectively, the Required Consenting
RBL Lenders, the Required Consenting Second Lien Noteholders, and the Required Consenting
Convertible Noteholders.

      (nnn) “Required Consenting RBL Lenders” means, as of any time of determination,
the Consenting RBL Lenders holding at least 50.01% of the aggregate outstanding principal
amount of RBL Loans that are held by all Consenting RBL Lenders.

       (ooo) “Required Consenting Second Lien Noteholders” means, as of any time of
determination, the Consenting Second Lien Noteholders (a) holding at least 50.01% of the


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aggregate outstanding principal amount of Second Lien Notes that are held by all Consenting
Second Lien Noteholders that are members of the Second Lien Ad Hoc Committee and
(b) constituting at least two (2) members2 of the Second Lien Ad Hoc Committee.

       (ppp) “Required Parties” means the Company Parties and the Required Consenting
Creditors.

        (qqq)      “Restructuring” has the meaning set forth in the recitals to this Agreement.

       (rrr) “Second Lien Ad Hoc Committee” means the ad hoc committee of holders of
Second Lien Notes represented by Paul, Weiss, Rifkind, Wharton & Garrison LLP, PJT Partners
LP, and any local or foreign advisors.

        (sss)     “Second Lien Notes” has the meaning set forth in the Plan.

        (ttt)     “Second Lien Notes Claims” has the meaning set forth in the Plan.

        (uuu) “Securities Act” means the Securities Act of 1933, as amended, or any similar
federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations
promulgated thereunder.

        (vvv) “Securities Rules” means Rules 501(a)(1), (2), (3), and (7) promulgated under the
Securities Act.

        (www) “Solicitation Materials” means all solicitation materials in respect of the Plan.

        (xxx) “Subordinated Notes” has the meaning set forth in the Plan.

        (yyy) “Termination Date” means the date on which termination of this Agreement as to
a Party is effective in accordance with Section 12 hereof.

        (zzz) “Transfer” means to sell, resell, reallocate, use, pledge, assign, transfer,
hypothecate, participate, donate, or otherwise encumber or dispose of, directly or indirectly
(including through derivatives, options, swaps, pledges, forward sales, or other transactions).

       (aaaa) “Transfer Agreement” means an executed form of the transfer agreement
providing, among other things, that the transferee is bound by the terms of this Agreement,
substantially in the form attached hereto as Exhibit A.

        (bbbb) “Warrants Documentation” means the definitive documentation with respect to
the issuance of the Warrants, which shall be included in the Plan Supplement, on terms and
conditions consistent in all material respects with the Plan and the Warrants Term Sheet.




2   For the purposes of determining the number of Consenting Second Lien Noteholders in the Second Lien Ad Hoc Committee,
    each member thereof, together with any of its affiliates or managed funds, shall be counted as one Consenting Second Lien
    Noteholder in the Second Lien Ad Hoc Committee.



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      (cccc) “Warrants Term Sheet” has the meaning set forth in the recitals to this
Agreement.

       1.02.   Interpretation. For purposes of this Agreement:

        (a)    in the appropriate context, each term, whether stated in the singular or the plural,
shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or
neuter gender shall include the masculine, feminine, and the neuter gender;

        (b)    capitalized terms defined only in the plural or singular form shall nonetheless have
their defined meanings when used in the opposite form;

        (c)     unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit shall mean such document, schedule, or exhibit, as it may have been or may be amended,
restated, supplemented, or otherwise modified from time to time in accordance with this
Agreement; provided that any capitalized terms herein that are defined with reference to another
agreement, are defined with reference to such other agreement as of the date of this Agreement,
without giving effect to any termination of such other agreement or amendments to such
capitalized terms in any such other agreement following the Execution Date;

       (d)      unless otherwise specified, all references herein to “Sections” are references to
Sections of this Agreement;

        (e)     the words “herein,” “hereof,” and “hereto” refer to this Agreement in its entirety
rather than to any particular portion of this Agreement;

       (f)      captions and headings to Sections are inserted for convenience of reference only
and are not intended to be a part of or to affect the interpretation of this Agreement;

        (g)      references to “shareholders,” “directors,” and/or “officers” shall also include
“members” and/or “managers,” as applicable, as such terms are defined under the applicable
limited liability company Laws; and

       (h)     the use of “include” or “including” is without limitation, whether stated or not.

Section 2.     Effectiveness of this Agreement.

         2.01. This Agreement shall become effective and binding upon each of the Parties at
12:00 a.m., prevailing Eastern Time, on the Agreement Effective Date, which is the date on which
all of the following conditions have been satisfied or waived in accordance with this Agreement:

       (a)     each of the Company Parties shall have executed and delivered counterpart
signature pages of this Agreement to counsel to each of the other Parties;

       (b)     holders of at least 100 percent of the aggregate outstanding principal amount of
RBL Loans shall have executed and delivered counterpart signature pages of this Agreement to
counsel to each of the other Parties;



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       (c)    holders of at least 66.67 percent of the aggregate outstanding principal amount of
the Second Lien Notes shall have executed and delivered counterpart signature pages of this
Agreement to counsel to each of the other Parties;

      (d)     holders of at least 66.67 percent of the aggregate outstanding principal amount of
the Convertible Notes shall have executed and delivered counterpart signature pages of this
Agreement to counsel to each of the other Parties;

        (e)     each Consenting RBL Lender that is participating in the Exit Facility as of the
Execution Date shall have executed and delivered the Exit Commitment Letter with respect to its
ratable share of the Exit Facility; and

        (f)     Counsel to the Company Parties shall have given notice to counsel to the other
Parties in the manner set forth in Section 14.12 (by email or otherwise) that the conditions to the
Agreement Effective Date set forth in this Section 2 have occurred or are otherwise waived.

Section 3.     Definitive Documents.

       3.01.   The Definitive Documents governing the Restructuring shall consist of the
following:

       (a)     the DIP Orders;

       (b)     the DIP Facility Documents;

       (c)     the Disclosure Statement, its exhibits, and any pleadings filed in support of the
Disclosure Statement;

       (d)     the Solicitation Materials, and the order approving the Solicitation Materials;

       (e)     the Disclosure Statement Order;

        (f)     the Plan, Plan Supplement, and all material documents, annexes, schedules,
exhibits, amendments, modifications, or supplements thereto, or other documents contained
therein, including any schedules of rejected contracts;

       (g)     the First Day Pleadings, and orders granting requested relief;

       (h)     the Confirmation Order, and any pleadings filed in support of Confirmation;

       (i)     the Exit Facility Documents;

       (j)     the Warrants Documentation;

       (k)   any new Hedge Contracts or amendments to existing Hedge Contracts entered into
by the Company Parties during the Agreement Effective Period;

       (l)     the Management Incentive Plan, Management Compensation Term Sheet, and all
additional documents or agreements thereto;


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        (m)     the New Organizational Documents;

        (n)     this Agreement; and

       (o)     the motions seeking approval of each of the above (and, to the extent applicable
and not otherwise noted, the orders approving each of the above) and any other document
necessary to implement or achieve the Restructuring not otherwise listed above.

         3.02. The Definitive Documents not executed or not in a form attached to this Agreement
as of the Execution Date remain subject to negotiation and completion and, except as expressly
contemplated in this Agreement (including as set forth in the exhibits and annexes hereto), shall
be consistent with this Agreement and otherwise in form and substance reasonably acceptable to
the Company Parties or Debtors, as applicable, and the Required Consenting Second Lien
Noteholders; provided that (a) (1) the DIP Facility Documents (other than the DIP Orders) shall
also be in form and substance acceptable to the Company Parties or Debtors, as applicable, and
the DIP Lenders, (2) the DIP Orders shall also be in form and substance acceptable to the Company
Parties or Debtors, as applicable, and the DIP Agent, (3) the Plan and Confirmation Order shall
also be in form and substance acceptable to the Company Parties or Debtors, as applicable, and
the Consenting RBL Lenders and DIP Agent, (4) the Exit Facility Documents shall also be in form
and substance acceptable to the Company Parties or Debtors, as applicable, and the Exit Facility
Lenders, and (5) to the extent any First Day Pleadings and orders granting requested relief affect
the RBL Lenders, the DIP Lenders, or the Exit Facility Lenders, as applicable, such First Day
Pleadings and orders, shall also be in form and substance acceptable to the Company Parties or
Debtors, as applicable, and the Consenting RBL Lenders, DIP Agent, or Exit Facility Lenders, as
applicable, (b) any new Hedge Contracts or amendments to existing Hedge Contracts entered into
by the Parties during the Agreement Effective Period shall also be in form and substance
acceptable to the Debtors and the counterparty to such Hedge Contracts or amendments, and (c) the
Warrants Documentation shall also be in form and substance reasonably acceptable to the Required
Consenting Convertible Noteholders, the Required Consenting RBL Lenders, and the Exit Facility
Agent. Upon completion, the Definitive Documents and every other document, deed, agreement,
filing, notification, letter, or instrument related to the Restructuring shall contain terms, conditions,
representations, warranties, and covenants consistent with the terms of this Agreement (including
the exhibits and annexes hereto), as they may be modified, amended, or supplemented in
accordance with Section 13.

         3.03. The Company Parties acknowledge and agree that they will use commercially
reasonable efforts to provide advance initial draft copies of the Definitive Documents to counsel
for the Consenting Creditors at least three (3) Business Days prior to the date when any Company
Parties intend to file the applicable Definitive Documents with the Bankruptcy Court; provided
that if three (3) Business Days in advance is not reasonably practicable, such initial draft Definitive
Document shall be provided as soon as reasonably practicable prior to filing, but in no event later
than twenty-four (24) hours in advance of any filing hereof.




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Section 4.     Milestones.

       (a)    On and after the Agreement Effective Date, the Company Parties shall use
commercially reasonable efforts to implement the Restructuring in accordance with the following
Milestones:

                 (i)    no later than July 29, 2020, the Company Parties shall have commenced
solicitation of the Plan;

              (ii)   no later than July 30, 2020, the Company Parties shall have commenced the
Chapter 11 Cases and filed the Plan and Disclosure Statement;

              (iii)    no later than August 1, 2020, the Bankruptcy Court shall have entered the
DIP Interim Order;

              (iv)    no later than September 6, 2020, the Bankruptcy Court shall have entered
an order approving the Disclosure Statement and the Confirmation Order;

                (v)     no later than the earlier of (a) the entry of the Confirmation Order or (b) 35
days after the Petition Date (unless the Plan Effective Date has already occurred), the Bankruptcy
Court shall have entered the DIP Final Order; and

               (vi)    no later than 14 days after entry of the Confirmation Order, the Plan
Effective Date shall have occurred.

        (b)    The Milestones may be extended or waived by the Company Parties with the prior
written consent, with email from counsel being sufficient, of the Required Consenting Second Lien
Noteholders and the Required Consenting RBL Lenders.

Section 5.     Commitments of the Consenting Creditors.

       5.01.   General Commitments, Forbearances, and Waivers.

       (a)    Affirmative Commitments. During the Agreement Effective Period, each
Consenting Creditor agrees, severally, and not jointly, in respect of all of its Company Claims
presently owned and hereafter acquired to:

                (i)    support the Restructuring, and vote and exercise any powers or rights
available to it (including in any board, shareholders’, or creditors’ meeting or in any process
requiring voting or approval to which it is legally entitled to participate) in each case in favor of
any matter requiring approval to the extent necessary to implement the Restructuring;

                (ii)  use commercially reasonable efforts to cooperate with and assist the
Company Parties in obtaining additional support for the Agreement and Restructuring from (1) in
the case of the Consenting RBL Lenders, the other RBL Lenders, (2) in the case of the Consenting
Second Lien Noteholders, the other Second Lien Noteholders, and (3) in the case of the Consenting
Convertible Noteholders, the other Convertible Noteholders;



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              (iii)   take all steps reasonably necessary to consummate the Restructuring in
accordance with this Agreement;

               (iv)    subject to Section 3, support, and not oppose, entry of the DIP Orders;

                (v)    give any notice, order, instruction, or direction to the applicable trustee(s)
or agent(s) reasonably necessary to consummate the Restructuring, provided that in no event shall
the Consenting Creditors be required to provide an indemnity or bear responsibility for any out of
pocket costs related to any such notice, order, instruction, or direction;

               (vi)   negotiate in good faith and use commercially reasonable efforts to execute
and implement the Definitive Documents to which it is required to be a party or to which it has
consent rights pursuant to Section 3.02; and

              (vii) negotiate in good faith any additional or alternative provisions or
agreements to address any legal, financial, or structural impediment that may arise that would
reasonably be expected to prevent, hinder, impede, delay, or are necessary to effectuate the
consummation of the Restructuring.

        (b)     Negative Commitments. Notwithstanding anything to the contrary herein, during
the Agreement Effective Period, each Consenting Creditor agrees severally, and not jointly, in
respect of all of its Company Claims presently owned and hereafter acquired that it shall not
directly or indirectly:

              (i)   object to, delay, impede, or take any other action to interfere with
acceptance, implementation, or consummation of the Restructuring;

               (ii)    propose, file, support, or vote for any Alternative Restructuring Proposal;

               (iii)   file any motion, pleading, or other document with the Bankruptcy Court or
any other court (including any modifications or amendments thereof) that, in whole or in part, is
not materially consistent with this Agreement, or the Plan;

              (iv)    exercise any right or remedy for the enforcement, collection, or recovery of
any of the Company Claims other than to enforce this Agreement, the DIP Orders, the DIP Facility
Documents, the Plan, the Confirmation Order, or any other Definitive Document or as otherwise
permitted under this Agreement;

                (v)     initiate, or have initiated on its behalf, any litigation or proceeding of any
kind with respect to the Chapter 11 Cases, this Agreement, or any of the transactions implementing
the Restructuring as contemplated in this Agreement, against the Company Parties or the other
Parties other than to enforce this Agreement, the DIP Orders, the DIP Facility Documents, the
Plan, the Confirmation Order, or any other Definitive Document or as otherwise permitted under
this Agreement;

              (vi)  object to, delay, impede or take any other action to interfere with
Bankruptcy Court approval of any retention application or fee application filed in the Chapter 11
Cases for Evercore Group L.L.C., as investment banker and financial advisor to the Company


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Parties, provided that the terms of such applications do not substantively differ from the
engagement letter dated March 26, 2020;

               (vii) object to, delay, impede, or take any other action to interfere with the
Company Parties’ ownership and possession of their assets, wherever located, or interfere with the
automatic stay arising under section 362 of the Bankruptcy Code; provided, however, that nothing
in this Agreement shall limit the right of any Party to exercise any right or remedy provided under
this Agreement, the DIP Orders, the DIP Facility Documents, the Plan, the Confirmation Order,
or any other Definitive Document or as otherwise permitted under this Agreement; or

               (viii) object to, delay, impede, or take any other action that would reasonably be
expected to interfere with, any motion or other pleading or document filed by a Company Party in
the Bankruptcy Court that is consistent with this Agreement.

        (c)     Financing Commitments.

                (i)    During the Agreement Effective Period, and subject in each case to the
terms and conditions of the DIP Facility Documents and the DIP Order, each Consenting RBL
Lender shall, (A) no later than the entry of the DIP Interim Order, make available for funding its
ratable share of the DIP Commitments (as defined in the DIP-to-Exit Facility Term Sheet), with a
maximum amount of up to the New Money Interim Cap (as defined in the DIP-to-Exit Facility
Term Sheet) available to be drawn from the New Money DIP Commitment (as defined in the
DIP-to-Exit Facility Term Sheet), and (B) no later than the entry of the DIP Final Order, make
available for funding its ratable share of the DIP Commitments (as defined in the DIP-to-Exit
Facility Term Sheet), in each case as consistent with the DIP-to-Exit Facility Term Sheet, attached
hereto as Annex 2; and

               (ii)   Each Consenting RBL Lender agrees to enter into the Exit Facility, and
subject in each case to the terms and conditions of the Exit Facility Documents, shall make
available for funding its ratable share of the RBL Commitment (as defined in the Exit Facility
Term Sheet) upon the terms and conditions set forth in the Exit Commitment Letter attached hereto
as Annex 2(a) and consistent with the Exit Facility Term Sheet attached as Exhibit A to the Exit
Commitment Letter.

        5.02.   Commitments with Respect to Chapter 11 Cases.

        (a) During the Agreement Effective Period, each Consenting Creditor that is entitled to
vote to accept or reject the Plan pursuant to its terms, severally, and not jointly, agrees that it shall,
subject to receipt by such Consenting Creditor, whether before or after the commencement of the
Chapter 11 Cases, of the Solicitation Materials:

                (i)    vote each of its Company Claims to accept the Plan by delivering its duly
executed and completed ballot(s) accepting the Plan to the Company’s solicitation agent on a
timely basis following the commencement of the solicitation of the Plan and its actual receipt of
the Solicitation Materials and the ballot(s);




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               (ii)    not object to the releases set forth in the Plan and, to the extent it is permitted
to elect whether to opt out of the releases set forth in the Plan, not select on its ballot(s) the “opt-
out” with respect to the releases set forth in the Plan; and

             (iii)  not change, withdraw, amend, or revoke (or cause to be changed,
withdrawn, amended, or revoked) any vote or election referred to in clauses (a)(i) and (ii) above.

        (b)    During the Agreement Effective Period, each Consenting Creditor, in respect of
each of its Company Claims, severally, and not jointly, will not object to any motion or other
pleading or document filed by a Company Party in the Chapter 11 Cases in furtherance of the
Restructuring that is consistent with this Agreement, including for the avoidance of doubt, Section
3 of this Agreement.

Section 6.       Additional Provisions Regarding the Consenting Creditors’ Commitments.

        6.01. The Parties understand that the Consenting RBL Lenders are engaged in a wide
range of financial services and businesses. In furtherance of the foregoing, the Parties
acknowledge and agree that, to the extent a Consenting RBL Lender expressly indicates on its
signature page hereto that it is executing this Agreement on behalf of specific trading desk(s)
and/or business group(s) of such Consenting RBL Lender, the obligations set forth in this
Agreement shall only apply to such trading desk(s) and/or business group(s) and shall not apply to
any other trading desk or business group of the Consenting RBL Lenders until such trading desk
or business group is or becomes a party to this Agreement.

         6.02.   Notwithstanding anything contained in this Agreement, nothing in this Agreement
shall:

        (a)     be construed to prohibit any Consenting Creditor from appearing as a party in
interest in any matter to be adjudicated in a Chapter 11 Case, so long as such appearance and the
positions advocated in connection therewith are not inconsistent with this Agreement and are not
for the purpose of delaying, interfering, impeding, or taking any other action to delay, interfere, or
impede, directly or indirectly, the Restructuring;

        (b)     affect the ability of any Consenting Creditor to consult with any other Consenting
Creditor, the Company Parties, or any other party in interest in the Chapter 11 Cases (including
any official committee and the United States Trustee) in a manner consistent with its obligations
under Section 5.01(a); provided that before disclosing any confidential material of the Company
Parties to any such third party, such third party must have signed a Confidentiality Agreement in
form and substance acceptable to the Company Parties;

        (c)   impair or waive the rights of any Consenting Creditor to assert or raise any
objection permitted under this Agreement in connection with the Restructuring;

       (d)     prevent any Consenting Creditor from enforcing this Agreement, the DIP Orders,
the DIP Facility Documents, the Plan, the Confirmation Order, or any other Definitive Document,
or from contesting whether any matter, fact, or thing is a breach of, or is inconsistent with, such
documents;



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         (e)    (i) prevent any Consenting Creditor from taking any action which is required by
applicable Law, (ii) require any Consenting Creditor to take any action which is prohibited by
applicable Law or to waive or forego the benefit of any applicable legal professional privilege, or
(iii) require any Consenting Creditor to incur any expenses, liabilities, or other obligations, or
agree to any commitments, undertakings, concessions, indemnities, or other arrangements that
could result in expenses, liabilities, or other obligations; provided, however, that if any Consenting
Creditor proposes to take any action that is otherwise inconsistent with this Agreement in order to
comply with applicable Law, such Consenting Creditor shall, to the extent practicable, provide
advance reasonable notice to the Company Parties, and Counsel to the Company Parties;

        (f)     prevent any Consenting Creditor by reason of this Agreement or the transactions
implementing the Restructuring from making, seeking, or receiving any regulatory filings,
notifications, consents, determinations, authorizations, permits, approvals, licenses, or the like; or

        (g)    prevent any Consenting Creditor from taking any customary perfection step or other
action as is necessary to preserve or defend the validity, existence, or priority of its Company
Claims in accordance with the terms of the DIP Facility Documents or the RBL Facility
Documents (including, without limitation, the filing of a proof of claim against any Company
Party).

Section 7.     Commitments of the Company Parties.

        7.01. Affirmative Commitments. Except as set forth in Section 8, during the Agreement
Effective Period, the Company Parties agree to:

        (a)    do all things reasonably necessary to (i) support and take all steps to consummate
the Restructuring in accordance with this Agreement, (ii) prosecute and defend any appeals
relating to the Confirmation Order, and (iii) comply with each Milestone set forth in this
Agreement;

       (b)     to the extent any legal or structural impediment arises that would prevent, hinder,
or delay the consummation of the Restructuring contemplated herein, support and take all steps
reasonably necessary and desirable to address any such impediment;

        (c)    use commercially reasonable efforts to obtain any and all required regulatory and/or
third-party approvals reasonably necessary or required for implementation or consummation of the
Restructuring or approval by the Bankruptcy Court of the Definitive Documents as provided
herein;

        (d)    negotiate in good faith and use commercially reasonable efforts to execute and
deliver the Definitive Documents and any other required agreements to effectuate and consummate
the Restructuring as contemplated by this Agreement;

         (e)    actively oppose and object to the efforts of any person seeking to object to, delay,
impede, or take any other action to interfere with the acceptance, implementation, or
consummation of the Restructuring (including, if applicable, the filing of timely filed objections
or written responses) to the extent such opposition or objection is reasonably necessary or desirable
to facilitate implementation of the Restructuring;


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      (f)    upon reasonable request of any Consenting Creditor, inform the advisors to such
Consenting Creditor as to:

             (i)       the material business and financial (including liquidity) performance of the
Company Parties;

               (ii)    the status and progress of the negotiations of the Definitive Documents; and

               (iii)   the status of obtaining any necessary or desirable authorizations (including
consents) from any competent judicial body, governmental authority, banking, taxation,
supervisory, or regulatory body or any stock exchange;

      (g)    inform counsel to the Consenting Creditors as soon as reasonably practicable after
becoming aware of:

               (i)     any event or circumstance that has occurred, or that is reasonably likely to
occur (and if it did so occur), that would permit any Party to terminate, or would result in the
termination of, this Agreement with respect to such Party;

              (ii)   any matter or circumstance which they know, or suspect is likely, to be a
material impediment to the implementation or consummation of the Restructuring;

               (iii)   any notice of any commencement of any material involuntary insolvency
proceeding, legal suit for payment of debt, or enforcement of a security interest by any person in
respect of any Company Party;

               (iv)    any breach of this Agreement (including a breach by any Company Party);

             (v)    any representation or statement made or deemed to be made by them under
this Agreement which is or proves to have been materially incorrect or misleading in any respect
when made or deemed to be made; and

               (vi)    any material operations or financial developments of the Company Parties.

      (h)      make commercially reasonable efforts to maintain their good standing under the
Laws of the state or other jurisdiction in which they are incorporated or organized;

        (i)     (i) provide counsel for the Consenting Second Lien Noteholders, the RBL Agent,
and the DIP Agent a reasonable opportunity to review draft copies of all material substantive
motions, documents, and other pleadings to be filed in the Chapter 11 Cases (for the avoidance of
doubt, the following are not material substantive motions, documents, or other pleadings:
ministerial notices and similar ministerial documents; retention applications; fee applications; fee
statements; any similar pleadings or motions relating to the retention or fees of any professional;
and statements of financial affairs and schedules of assets and liabilities), and (ii) to the extent
materially affected by such material substantive filings, provide counsel to the Consenting
Convertible Noteholders a reasonable opportunity to review draft copies of such filings, in each
case (i) and (ii), the Company Parties shall consult in good faith with the applicable Consenting
Creditors regarding the form and substance of such material substantive filings;


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       (j)     operate their businesses in the ordinary course, taking into account the
Restructuring and the Chapter 11 Cases;

       (k)    comply with the terms, conditions, and obligations of the DIP Facility Documents
and the DIP Orders, once approved or entered, as applicable, by the Bankruptcy Court;

        (l)    timely file a formal objection, in form and substance reasonably acceptable to the
Consenting Creditors, to any motion filed with the Bankruptcy Court by a third party seeking the
entry of an order (i) directing the appointment of a trustee or examiner (with expanded powers
beyond those set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code), (ii) converting any
of the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code, or (iii) dismissing any
of the Chapter 11 Cases; and

         (m)    timely file a formal objection, in form and substance reasonably acceptable to the
Consenting Creditors, to any motion filed with the Bankruptcy Court by a third party seeking the
entry of an order modifying or terminating the Company Parties’ exclusive right to file and/or
solicit acceptances of a plan reorganization, as applicable.

        7.02. Negative Commitments. Except as set forth in Section 8, during the Agreement
Effective Period, each of the Company Parties shall not directly or indirectly:

      (a)    object to, delay, impede, or take any other action to interfere with acceptance,
implementation, or consummation of the Restructuring;

        (b)    take any action that is inconsistent in any material respect with, or is intended to
frustrate or impede approval, implementation, and consummation of the Restructuring described
in this Agreement or the Plan;

      (c)     modify the Plan, in whole or in part, in a manner that is not consistent with this
Agreement in all material respects; or

       (d)     file any motion, pleading, or Definitive Documents with the Bankruptcy Court or
any other court (including any modifications or amendments thereof) that, in whole or in part, is
not materially consistent with this Agreement, the Plan, and the Definitive Documents.

Section 8.     Additional Provisions Regarding Company Parties’ Commitments.

       8.01. Notwithstanding anything to the contrary in this Agreement, nothing in this
Agreement shall require a Company Party or the board of directors, board of managers, or similar
governing body of a Company Party, after consulting with counsel, to take any action or to refrain
from taking any action with respect to the Restructuring to the extent taking or failing to take such
action would be inconsistent with applicable Law or its fiduciary obligations under applicable
Law, and any such action or inaction pursuant to this Section 8.01 shall not be deemed to constitute
a breach of this Agreement.

        8.02. Notwithstanding anything to the contrary in this Agreement, but subject to the terms
of Section 8.01 and Section Section 12 each Company Party and its respective directors, officers,



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employees, investment bankers, attorneys, accountants, consultants, and other advisors or
representatives shall have the right to:

        (a)     consider, respond to, and facilitate any Alternative Restructuring Proposals (or
inquiries or indications of interest with respect thereto), provided that if any Company Party
receives a written or oral proposal or expression of interest regarding any Alternative Restructuring
Proposal, within two (2) Business Days of receipt thereof, the Company Party shall notify (with
email being sufficient) counsel to the RBL Agent, the DIP Agent, Second Lien Ad Hoc Committee,
and Convertible Ad Hoc Group of any such proposal or expression of interest, with such notice to
include a copy of such proposal if it is in writing, or otherwise a summary of the material terms
thereof;

        (b)     provide access to non-public information concerning any Company Party to any
person or Entity or enter into Confidentiality Agreements or nondisclosure agreements with any
person or Entity in connection with any Alternative Restructuring Proposal (or inquiries or
indications of interest with respect thereto);

       (c)     engage in discussions or negotiations with respect to Alternative Restructuring
Proposals (or inquiries or indications of interest with respect thereto); and

        (d)      enter into or continue discussions or negotiations with holders of Company Claims
or Interests (including any Consenting Creditor), any other party in interest in the Chapter 11 Cases
(including any official committee or the United States Trustee), or any other person or Entity
regarding the Restructuring or Alternative Restructuring Proposals; provided that the Company
Parties shall, with respect to any Alternative Restructuring Proposal that a majority of a Company
Party’s Board of Directors determines in good faith and following consultation with counsel is a
bona fide committed proposal that represents a higher or otherwise better economic recovery to
the Company’s stakeholders than the Restructuring taken as a whole, (x) provide a copy of any
such Alternative Restructuring Proposal, if it is in writing or otherwise a summary of the material
terms thereof, to the advisors to the RBL Agent, the DIP Agent, and the Second Lien Ad Hoc
Committee within two (2) Business Days of such determination, and (y) provide such information
necessary to the advisors to the RBL Agent, the DIP Agent, and the Second Lien Ad Hoc
Committee regarding such discussions as necessary to keep the RBL Agent, the DIP Agent, and
the Second Lien Ad Hoc Committee contemporaneously informed as to the status and substance
of such discussions. Upon any determination by any Company Party to exercise a fiduciary out,
the other Parties to this Agreement shall be immediately and automatically relieved of any
obligation to comply with their respective covenants and agreements herein in accordance with
Section 12.05 hereof.

       8.03.   Nothing in this Agreement shall:

       (a)    impair or waive the rights of any Company Party to assert or raise any objection
permitted under this Agreement in connection with the implementation of the Restructuring; or

      (b)      prevent any Company Party from enforcing this Agreement or contesting whether
any matter, fact, or thing is a breach of, or is inconsistent with, this Agreement.




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        8.04. Payment of Accrued Second Lien Notes Interest. On the Execution Date, or as
soon as reasonably practicable thereafter, but in any event prior to the Petition Date, the Company
Parties shall pay accrued and unpaid interest under the Second Lien Notes up to $8,000,000.00 in
the aggregate as follows: (a) $1,965,923.11 ratable to each Holder of 9.00% Notes Due 2021;
(b) $2,519,384.69 ratable to each Holder of 9.25% Notes Due 2022; (c) $127,232.75 ratable to
each Holder of 7.50% Notes Due 2024; and (d) $3,387,459.45 ratable to each Holder of 7.75%
Notes Due 2024. The Company Parties agree and acknowledge in connection with the payments
described in this Section 8.04 that the Company Parties are a “customer” of Wilmington Trust,
National Association, in its capacity as trustee for the Second Lien Notes, as such term is defined
in 11 U.S.C. § 741(2).

Section 9.     Transfer of Interests and Securities.

       9.01. During the Agreement Effective Period, a Consenting Creditor shall not Transfer
any ownership (including any beneficial ownership as defined in the Rule 13d-3 promulgated
under the Securities Exchange Act of 1934, as amended) in any Company Claims (other than any
RBL Claims or any claims arising under the DIP Facility to the extent provided in the RBL Credit
Agreement or the DIP Facility Documents, as applicable) to any affiliated or unaffiliated party,
including any party in which it may hold a direct or indirect beneficial interest, unless:

        (a)     in the case of any Company Claims, the authorized transferee is either (1) a
qualified institutional buyer as defined in Rule 144A promulgated under the Securities Act, (2) a
non-U.S. person in an offshore transaction as defined in Regulation S promulgated under the
Securities Act, (3) an institutional accredited investor (as defined in the Securities Rules), or (4) a
Consenting Creditor;

        (b)   either (i) the transferee executes and delivers to Counsel to the Company Parties, at
or before the time of the proposed Transfer, a Transfer Agreement or (ii) the transferee is a
Consenting Creditor and the transferee provides notice of such Transfer (including the amount and
type of Company Claims Transferred) to Counsel to the Company Parties at or before the time of
the proposed Transfer; and

       (c)     with respect to the Transfer of any Company Claims, such Transfer shall not violate
the terms of any order entered by the Bankruptcy Court with respect to preservation of net
operating losses or other tax attributes.

        9.02. Upon compliance with the requirements of Section 9.01, the transferor shall be
deemed to relinquish its rights (and be released from its obligations) under this Agreement to the
extent of the rights and obligations in respect of such transferred Company Claims. Any Transfer
in violation of Section 9.01 shall be void ab initio.

        9.03. This Agreement shall in no way be construed to preclude any Consenting Creditor
from acquiring additional Company Claims; provided, however, that (a) such additional Company
Claims shall automatically and immediately upon acquisition by a Consenting Creditor be deemed
subject to the terms of this Agreement (regardless of when or whether notice of such acquisition
is given to Counsel to the Company Parties or counsel to the Consenting Creditors) and (b) such
Consenting Creditor must provide notice of such acquisition (including the amount and type of


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Company Claims acquired) either (i) to Counsel to the Company Parties or (ii) if such Company
Claims are Second Lien Notes Claims, counsel to the Second Lien Ad Hoc Committee (who shall
promptly notify counsel to the Company Parties), within fifteen (15) Business Days of such
acquisition.

       9.04. This Section 9 shall not impose any obligation on any Company Party to issue any
“cleansing letter” or otherwise publicly disclose information for the purpose of enabling a
Consenting Creditor to Transfer any of its Company Claims. Notwithstanding anything to the
contrary herein, to the extent a Company Party and another Party have entered into a
Confidentiality Agreement, the terms of such Confidentiality Agreement shall continue to apply
and remain in full force and effect after any Transfer according to its terms, and this Agreement
does not supersede any rights or obligations otherwise arising under such Confidentiality
Agreements.

        9.05. Notwithstanding Section 9.01, a Qualified Marketmaker that acquires any
Company Claims of a Consenting Creditor with the purpose and intent of acting as a Qualified
Marketmaker for such Company Claims shall not be required to execute and deliver a Transfer
Agreement in respect of such Company Claims if (a) such Qualified Marketmaker subsequently
Transfers such Company Claims within fifteen (15) Business Days of its acquisition to a transferee
that is an Entity that is not an affiliate, affiliated fund, or affiliated Entity with a common
investment advisor; (b) the transferee otherwise is a Permitted Transferee under Section 9.01; and
(c) the Transfer otherwise is a Permitted Transfer under Section 9.01 hereof. Notwithstanding
Section 9.01 and Section 9.03, to the extent that a Consenting Creditor is acting in its capacity as
a Qualified Marketmaker, it may Transfer any right, title or interests in Company Claims that the
Qualified Marketmaker acquires from a holder of the Company Claims who is not a Consenting
Creditor without the requirement that the transferee be a Permitted Transferee. To the extent that
a Qualified Marketmaker that is not otherwise a Party to this Agreement acquires Company Claims
of a Consenting Creditor and such Qualified Marketmaker is eligible and entitled to vote such
Company Claims acquired pursuant to this Section 9.05, and such Qualified Marketmaker is not
otherwise precluded from voting such Company Claims in favor of the Plan, and receives a
separate ballot for such Company Claims, such Qualified Marketmaker shall vote such Company
Claims to accept the Plan on a timely basis as contemplated hereunder.

        9.06. Notwithstanding anything to the contrary in this Section 9, the restrictions on
Transfers set forth in this Section 9 shall not apply to the grant of any liens or encumbrances on
any Company Claims in favor of a bank or broker dealer holding custody of such claims and
interests in the ordinary course of business and which lien or encumbrance is released upon the
Transfer of such claims and interests.

Section 10. Representations and Warranties of Consenting Creditors. Each Consenting
Creditor (other than the Consenting RBL Lenders solely with respect to subsection (e) below)
severally, and not jointly, represents and warrants that, as of the date such Consenting Creditor
executes and delivers this Agreement and as of the Agreement Effective Date:

        (a)     it is the beneficial or record owner of the face amount of the Company Claims or is
the nominee, investment manager, or advisor for beneficial holders of the Company Claims
reflected in, and having made reasonable inquiry is not the beneficial or record owner of any


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Company Claims other than those reflected in, such Consenting Creditor’s signature page to this
Agreement, a Joinder, or a Transfer Agreement, as applicable (as may be updated pursuant to
Section 9);

       (b)    it has the full power and authority to act on behalf of, vote, and consent to matters
concerning such Company Claims;

        (c)    such Company Claims are free and clear of any pledge, lien, security interest,
charge, Claim, equity, option, proxy, voting restriction, right of first refusal, or other limitation on
disposition, Transfer, or encumbrances of any kind, that would adversely affect in any way such
Consenting Creditor’s ability to perform any of its obligations under this Agreement at the time
such obligations are required to be performed;

        (d)     it has the full power to vote, approve changes to, Transfer, and compromise all of
its Company Claims as contemplated by this Agreement subject to applicable Law and, with
respect to the RBL Claims, the RBL Credit Agreement; and

        (e)     (i) it is either (A) a qualified institutional buyer as defined in Rule 144A
promulgated under the Securities Act, (B) not a U.S. person (as defined in Regulation S
promulgated under the Securities Act), or (C) an institutional accredited investor (as defined in the
Securities Rules), and (ii) any securities acquired by the Consenting Creditor in connection with
the Restructuring will have been acquired for investment and not with a view to distribution or
resale in violation of the Securities Act.

Section 11. Mutual Representations, Warranties, and Covenants. Each of the Parties,
severally and not jointly, represents, warrants, and covenants to each other Party, as of the date
such Party executes and delivers this Agreement:

        (a)     it is validly existing and in good standing under the Laws of the jurisdiction of its
organization, and this Agreement is a legal, valid, and binding obligation of such Party,
enforceable against it in accordance with its terms, except as enforcement may be limited by
applicable Laws relating to or limiting creditors’ rights generally or by equitable principles relating
to enforceability;

       (b)     except as expressly provided in this Agreement, no consent or approval is required
by any other person or Entity in order for it to effectuate the Restructuring contemplated by, and
perform its respective obligations under, this Agreement;

        (c)     the entry into and performance by it of, and the transactions contemplated by, this
Agreement do not, and will not, conflict in any material respect with any Law or regulation
applicable to it or with any of its articles of association, memorandum of association or other
constitutional documents;

        (d)     except as expressly provided in this Agreement, it has (or will have, at the relevant
time) all requisite corporate or other power and authority to enter into, execute, and deliver this
Agreement and, with respect to the Company Parties, subject to the necessary approvals of the
Bankruptcy Court to effectuate the Restructuring contemplated by, and perform its respective
obligations under, this Agreement; and


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       (e)     except as expressly provided by this Agreement, it is not party to any restructuring
or similar agreements or arrangements with the other Parties to this Agreement regarding the
Company Parties that have not been disclosed to all Parties to this Agreement.

Section 12.    Termination Events.

        12.01. Consenting Creditor Termination Events. This Agreement may be terminated
(x) with respect to the Consenting RBL Lenders, by the Required Consenting RBL Lenders,
(y) with respect to the Consenting Second Lien Noteholders, by the Required Consenting Second
Lien Noteholders and (z) with respect to the Consenting Convertible Noteholders, by the Required
Consenting Convertible Noteholders (such Consenting Creditors seeking to terminate,
the “Terminating Consenting Creditors”), in each case by the delivery to the Company Parties of
a written notice in accordance with Section 14.12 upon the occurrence of the following events:

       (a)     the breach in any material respect by a Company Party of any of the representations,
warranties, or covenants of the Company Parties set forth in this Agreement that (i) is, or could
reasonably be expected to be, adverse to the Terminating Consenting Creditors and (ii) remains
uncured (to the extent curable) for five (5) Business Days after the Terminating Consenting
Creditors transmit a written notice in accordance with Section 14.12 detailing any such breach;

        (b)    the breach in any material respect by (i) the Consenting Creditors holding an
aggregate principal amount outstanding of the RBL Loans that would result in non-breaching
Consenting RBL Lenders holding less than two-thirds of the aggregate principal amount
outstanding of the RBL Loans or (ii) the Consenting Creditors holding an amount of the Second
Lien Notes Claims that would result in non-breaching Consenting Second Lien Noteholders
holding less than two-thirds of the aggregate principal amount outstanding of the Second Lien
Notes Claims, in each case of any provision set forth in this Agreement that remains uncured for
a period of five (5) Business Days after the Terminating Consenting Creditors transmit a written
notice in accordance with Section 14.12 detailing any such breach;

        (c)    the issuance by any governmental authority, including any regulatory authority or
court of competent jurisdiction, of any final, non-appealable ruling, judgment, or order that (i)
enjoins the consummation of a material portion of the Restructuring and (ii) either (A) such ruling,
judgment, or order has been issued at the request of any of the Company Parties in contravention
of any obligations set forth in this Agreement or (B) remains in effect for fifteen (15) Business
Days after the Terminating Consenting Creditors transmit a written notice in accordance with
Section 14.12 detailing any such issuance; notwithstanding the foregoing, this termination right
may not be exercised by any Party that sought or requested such ruling or order in contravention
of any obligation set out in this Agreement;

        (d)    the Bankruptcy Court enters an order denying confirmation of the Plan and such
order remains in effect for five (5) Business Days after entry of such order or the Confirmation
Order is reversed, stayed, dismissed, vacated, or reconsidered, in each case without the written
consent of the Required Consenting RBL Lenders, the Required Consenting Second Lien
Noteholders, or the Required Consenting Convertible Noteholders;




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        (e)    the Bankruptcy Court enters an order, or any Company Party files a motion or
application seeking an order (without the prior written consent of the Required Consenting
Creditors, which consent is not to be unreasonably withheld), (i) converting one or more of the
Chapter 11 Cases to a case under chapter 7 of the Bankruptcy Code, (ii) appointing an examiner
with expanded powers beyond those set forth in sections 1106(a)(3) and (4) of the Bankruptcy
Code or a trustee in one or more of the Chapter 11 Cases of a Company Party, (iii) dismissing one
or more of the Chapter 11 Cases of a Company Party, (iv) terminating exclusivity under
section 1121 of the Bankruptcy Code, or (v) rejecting this Agreement;

        (f)    the failure to meet a Milestone, which has not been waived or extended in a manner
consistent with Section 4, unless such failure is the result of any act, omission, or delay on the part
of the Terminating Consenting Creditors in violation of its obligations under this Agreement;

        (g)    the Bankruptcy Court grants relief that is inconsistent in any material respect with
this Agreement, the Definitive Documents or the Restructuring, and such inconsistent relief is not
dismissed, vacated or modified to be consistent with this Agreement and the Restructuring within
five (5) Business Days following written notice thereof to the Company Parties by the Required
Consenting Creditors;

         (h)   any Company Party (i) files, amends, or modifies, files a pleading seeking approval
of, or otherwise makes public any Definitive Document or authority to amend or modify any
Definitive Document, in a manner or form that is materially inconsistent with, or constitutes a
material breach of, this Agreement and is adverse to the Terminating Consenting Creditors
(including with respect to the consent rights afforded the Consenting Creditors under this
Agreement), without the prior written consent of the Consenting Creditors with consent rights with
respect to such Definitive Document, (ii) withdraws the Plan without the prior consent of the
Required Consenting Creditors, or (iii) publicly announces its intention to take any such acts listed
in the foregoing clause (i) or (ii), in the case of each of the foregoing clauses (i) through (iii), which
remains uncured (to the extent curable) for five (5) Business Days after such terminating
Consenting Creditors transmit a written notice in accordance with Section 14.12 detailing any such
breach;

        (i)    any Company Party files, or publicly announces that it will file, with the
Bankruptcy Court any plan of reorganization other than the Plan, or files with the Bankruptcy
Court any motion or application seeking authority to sell any material assets, without the prior
written consent of the Required Consenting Second Lien Noteholders or the Required Consenting
RBL Lenders;

        (j)      a determination is made with respect to any Company Party that (i) its continued
support of the Restructuring would be inconsistent with its fiduciary obligations under applicable
law or (ii) in the exercise of its fiduciary duties, to pursue an Alternative Restructuring Proposal
and the continued support of the Restructuring is inconsistent with the Company Party’s fiduciary
duties or applicable Law;

       (k)   any Company Party files, or publicly announces that it will file, with the
Bankruptcy Court a motion, application, or adversary proceeding (or any Company Party supports
any such motion, application, or adversary proceeding filed or commenced by any third party)


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(i) challenging the validity, enforceability, or priority of, or seeking the avoidance, disallowance,
subordination, or recharacterization, as applicable, of the liens of the RBL Agent or the DIP Agent,
the claims arising on account of the DIP Facility, the RBL Claims, Second Lien Notes Claims, or
Convertible Notes Claims, or (ii) asserting any other cause of action against the Consenting
Creditors;

       (l)     the Bankruptcy Court enters an order providing relief against any of the Consenting
Creditors with respect to any of the causes of action or proceedings specified in Section 12.01(k)
and such order remains in effect for five (5) Business Days after entry of such order;

       (m)     the occurrence of any termination event or event of default under the DIP Orders
or DIP Facility Documents, that has not been cured (if susceptible to cure) or waived in accordance
with the terms thereof;

        (n)    any Company Party (i) voluntarily commences any case or files any petition
seeking bankruptcy, winding up, dissolution, liquidation, administration, moratorium,
receivership, reorganization or other relief under any federal, state or foreign bankruptcy,
insolvency, administrative receivership or similar law now or hereafter in effect, except as
expressly contemplated by this Agreement, (ii) consents to the institution of, or fails to contest in
a timely and appropriate manner, any involuntary proceeding or petition described in the preceding
subsection (i), (iii) applies for or consents to the appointment of a receiver, administrator,
administrative receiver, trustee, custodian, sequestrator, conservator or similar official with respect
to any Company Party or for a substantial part of such Company Party’s assets, (iv) makes a
general assignment or arrangement for the benefit of creditors, or (v) takes any corporate action
for the purpose of authorizing any of the foregoing; or

      (o)      the Company Parties terminate their obligations under and in accordance with this
Agreement.

        (p)     Notwithstanding anything to the contrary herein, if there is an order of the
Bankruptcy Court providing that the giving of notice under and/or termination of this Agreement
in accordance with its terms is prohibited by the automatic stay imposed by section 362 of the
Bankruptcy Code, the occurrence of any of the Consenting Creditor Termination Events in this
Section 12.01 shall result in an automatic termination of this Agreement, to the extent the Required
Consenting Creditors would otherwise have the ability to terminate this Agreement in accordance
with this Section 12.01, five (5) Business Days following such occurrence unless waived
(including retroactively) in writing by the Required Consenting Creditors.

       12.02. Company Party Termination Events. Any Company Party may terminate this
Agreement as to any Party upon prior written notice to all Parties in accordance with Section 14.12
upon the occurrence of any of the following events:

       (a)    with respect to the Consenting RBL Lenders, the breach in any material respect by
the Consenting Creditors holding an aggregate principal amount outstanding of the RBL Loans
that would result in non-breaching Consenting RBL Lenders holding less than two-thirds of the
aggregate principal amount outstanding of the RBL Loans, of any provision set forth in this




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Agreement that remains uncured for a period of five (5) Business Days after the receipt by counsel
to RBL Agent of notice of such breach;

        (b)    with respect to the Consenting Second Lien Noteholders, the breach in any material
respect by the Consenting Creditors holding an amount of Second Lien Notes that would result in
non-breaching Consenting Second Lien Noteholders holding less than two-thirds of the aggregate
principal amount of the Second Lien Notes, of any provision set forth in this Agreement that
remains uncured for a period of five (5) Business Days after the receipt by counsel to the Second
Lien Ad Hoc Committee of notice of such breach;

        (c)    with respect to the Consenting Convertible Noteholders, the breach in any material
respect by the Consenting Creditors holding an amount of Convertible Notes that would result in
non-breaching Consenting Convertible Noteholders holding less than two-thirds of the aggregate
principal amount of the Convertible Notes, of any provision set forth in this Agreement that
remains uncured for a period of five (5) Business Days after the receipt by counsel to the
Consenting Convertible Noteholders of notice of such breach;

         (d)     the board of directors, board of managers, or such similar governing body of any
Company Party determines, after consulting with counsel, (i) that proceeding with any of the
Restructuring would be inconsistent with the exercise of its fiduciary duties or applicable Law or
(ii) in the exercise of its fiduciary duties, to pursue an Alternative Restructuring Proposal, and the
continued support of the Restructuring pursuant to this Agreement would be inconsistent with its
fiduciary obligations;

        (e)    the issuance by any governmental authority, including any regulatory authority or
court of competent jurisdiction, of any final, non-appealable ruling or order that (i) enjoins the
consummation of a material portion of the Restructuring and (ii) remains in effect for fifteen (15)
Business Days after such terminating Company Party transmits a written notice in accordance with
Section 14.12 detailing any such issuance; notwithstanding the foregoing, this termination right
shall not apply to or be exercised by any Company Party that sought or requested such ruling or
order in contravention of any obligation or restriction set out in this Agreement; or

        (f)    the Bankruptcy Court enters an order denying confirmation of the Plan and such
order remains in effect for five (5) Business Days after entry of such order.

       12.03. Mutual Termination. This Agreement, and the obligations of all Parties hereunder,
may be terminated by mutual written agreement among all of the following: (a) each Company
Party; (b) the Required Consenting RBL Lenders; (c) the Required Consenting Second Lien
Noteholders; and (d) the Required Consenting Convertible Noteholders.

        12.04. Automatic Termination. This Agreement shall terminate automatically without any
further required action or notice immediately after the Plan Effective Date.

        12.05. Effect of Termination. Upon the occurrence of a Termination Date as to a Party,
this Agreement shall be of no further force and effect as to such Party and each Party subject to
such termination shall be released from its commitments, undertakings, and agreements under or
related to this Agreement and shall have the rights and remedies that it would have had, had it not
entered into this Agreement, and shall be entitled to take all actions, whether with respect to the

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Restructuring or otherwise, that it would have been entitled to take had it not entered into this
Agreement, including with respect to any and all Claims or causes of action. Upon the occurrence
of a Termination Date prior to entry of the Confirmation Order by the Bankruptcy Court, any and
all consents or ballots tendered before the Termination Date by the Parties subject to such
termination shall be deemed, for all purposes, to be null and void ab initio and shall not be
considered or otherwise used in any manner by the Parties in connection with the Restructuring
and this Agreement or otherwise. Nothing in this Agreement shall be construed as prohibiting any
Party from contesting whether any termination of this Agreement by any other Party is in
accordance with its terms or to seek enforcement of any rights under this Agreement that arose or
existed before the applicable Termination Date. Except as expressly provided in this Agreement,
nothing herein is intended to, or does, in any manner waive, limit, impair, or restrict (a) any right
or the ability of any Company Party to protect and preserve its rights (including rights under this
Agreement), remedies, and interests, including its Claims against any Consenting Creditor, or
(b) any right or the ability of any Consenting Creditor to protect and preserve its rights (including
rights under this Agreement), remedies, and interests, including its Claims against any Company
Party or any other Party. No purported termination of this Agreement, except a termination
pursuant to Section 12.02(d), shall be effective under this Section 12.05 or otherwise if the Party
seeking to terminate this Agreement is in material breach of this Agreement. Nothing in this
Section 12.05 shall restrict any Company Party’s right to terminate this Agreement in accordance
with Section 12.02(d).

Section 13.    Amendments and Waivers.

       (a)    This Agreement may not be modified, amended, or supplemented, and no condition
or requirement of this Agreement may be waived, in any manner except in accordance with this
Section 13.

        (b)     This Agreement may be modified, amended, or supplemented, or a condition or
requirement of this Agreement may be waived, in a writing signed by: (a) each Company Party
and (b) the following Parties: (i) the Required Consenting Second Lien Noteholders, and (ii) solely
with respect to any modification, amendment, waiver, or supplement that alters the rights of such
Parties (which, for the avoidance of doubt, includes any change to this Section 13 affecting such
Parties), the Required Consenting RBL Lenders and the Required Consenting Convertible
Noteholders. Notwithstanding the foregoing, the consent of each such affected Consenting
Creditor shall also be required to effectuate any modification, amendment, waiver, or supplement
if the proposed modification, amendment, waiver, or supplement (x) has a material,
disproportionate (as compared to other Consenting Creditors holding Claims within the same class
as provided for in the Plan) adverse effect on any of the Company Claims held by a Consenting
Creditor, or (y) changes the economic treatment provided to any Consenting Creditor.

        (c)    Any proposed modification, amendment, waiver, or supplement that does not
comply with this Section 13 shall be ineffective and void ab initio as to any non-consenting Party
affected thereby.

       (d)     The waiver by any Party of a breach of any provision of this Agreement shall not
operate or be construed as a further or continuing waiver of such breach or as a waiver of any other
or subsequent breach. No failure on the part of any Party to exercise, and no delay in exercising,


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any right, power or remedy under this Agreement shall operate as a waiver of any such right, power
or remedy or any provision of this Agreement, nor shall any single or partial exercise of such right,
power or remedy by a Party preclude any other or further exercise of such right, power or remedy
or the exercise of any other right, power or remedy by such Party. All remedies under this
Agreement are cumulative and are not exclusive of any other remedies provided by Law.

        (e)    Any consent or waiver contemplated in this Section 13 may be provided by
electronic mail from counsel to the relevant Parties.

       (f)     Notwithstanding Section 13(a) of this Agreement, any modification, amendment or
change to the definition of “Required Consenting RBL Lenders” shall require the consent of the
Company Parties and each Required Consenting RBL Lender.

       (g)     Notwithstanding Section 13(a) of this Agreement, any modification, amendment or
change to the definition of “Required Consenting Second Lien Noteholders” shall require the
consent of the Company Parties and each member of the Second Lien Ad Hoc Committee holding
Second Lien Notes Claims that was a Consenting Creditor and member of the Second Lien Ad Hoc
Committee, as of the date of such modification, amendment, or change.

Section 14.    Miscellaneous.

        14.01. Confidentiality. The Parties understand and acknowledge that this Agreement may
be disclosed and filed with the Bankruptcy Court as an exhibit to the Disclosure Statement and
included in the Solicitation Materials; provided that in such disclosure the executed signature pages
to this Agreement shall be redacted and no individual holdings information shall be included,
except as may be required by law. The Company Parties shall not disclose to any person the
amount or percentage of Claims held by any individual Consenting Creditor, except as may be
required by law. If in either case such disclosure is required by law, the Company Parties shall
provide each Consenting Creditor with advanced notice of the intent to disclose and shall afford
each Consenting Creditor a reasonable opportunity to (i) seek a protective order or other
appropriate remedy or (ii) review and comment upon any such disclosure prior to the Company
Parties making such disclosure.

        14.02. Fees and Expenses. The Company Parties shall pay and reimburse all reasonable
and documented fees and expenses when due (including travel costs and expenses) and all
outstanding and unpaid amounts incurred in connection with the Restructuring since the inception
of the applicable fee or engagement letters of the attorneys, advisors, and consultants of (a) the
Second Lien Ad Hoc Committee (whether incurred directly or on their behalf and regardless of
whether such fees and expenses are incurred before or after the Petition Date), including the fees
and expenses of (i) Paul, Weiss, Rifkind, Wharton & Garrison LLP, as counsel, (ii) PJT Partners
LP, as investment banker (including any success or transaction fees when earned), and (iii) one
local counsel, (b) the Convertible Ad Hoc Group (whether incurred directly or on their behalf and
regardless of whether such fees and expenses are incurred before or after the Petition Date), limited
to the fees and expenses of Akin Gump Strauss Hauer & Feld LLP, (c) the Consenting RBL
Lenders (whether incurred directly or on their behalf and regardless of whether such fees and
expenses are incurred before or after the Petition Date), including the fees and expenses of
(i) Vinson & Elkins LLP, as counsel to the RBL Agent, (ii) Opportune LLP, as financial advisor


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to the RBL Agent, (iii) one local counsel, and (iv) and any fees and expenses provided for under
the DIP Orders and DIP Facility Documents, and (d) each Hedge Contract counterparty that is, or
whose affiliate is, a Party to this Agreement, to the extent provided for under the DIP Orders and
DIP Facility Documents; provided that all invoices of such advisors for such fees and expenses
outstanding as of the Agreement Effective Date that are received at least three (3) Business Days
prior to the Petition Date shall be paid in full prior to the Petition Date; provided, further, that the
Company Parties shall not be obligated to pay any fees and expenses under this Section 14.01 and
the Agreement that have accrued after the Termination Date; provided, further, that nothing herein
shall relieve the Company Parties from any such payment or reimbursement obligations under the
RBL Facility Documents or the DIP Facility Documents.

        14.03. Acknowledgement. Notwithstanding any other provision of this Agreement, this
Agreement is not and shall not be deemed to be an offer with respect to any securities or solicitation
of votes for the acceptance of a plan of reorganization for purposes of sections 1125 and 1126 of
the Bankruptcy Code or otherwise. Any such offer or solicitation will be made only in compliance
with all applicable securities Laws, provisions of the Bankruptcy Code, and/or other applicable
Law.

        14.04. Annexes Incorporated by Reference; Conflicts. Each of the exhibits, annexes,
signatures pages, and schedules attached hereto is expressly incorporated herein and made a part
of this Agreement, and all references to this Agreement shall include such exhibits, annexes, and
schedules. In the event of any inconsistency between this Agreement (without reference to the
exhibits, annexes, and schedules hereto) and the exhibits, annexes, and schedules hereto, this
Agreement (without reference to the exhibits, annexes, and schedules thereto) shall govern.

        14.05. Further Assurances. Subject to the other terms of this Agreement, during the
Agreement Effective Period, the Parties agree to execute and deliver such other instruments and
perform such acts, in addition to the matters specified in this Agreement, as may be reasonably
appropriate or necessary, or as may be required by order of the Bankruptcy Court, from time to
time, to effectuate the Restructuring, as applicable.

        14.06. Complete Agreement. Except as otherwise explicitly provided herein, this
Agreement constitutes the entire agreement among the Parties with respect to the subject matter
hereof and supersedes all prior agreements, oral or written, among the Parties with respect thereto,
other than any Confidentiality Agreement. The Parties acknowledge and agree that they are not
relying on any representations or warranties other than as set forth in this Agreement.

         14.07. GOVERNING LAW; SUBMISSION TO JURISDICTION; SELECTION OF
FORUM. THIS AGREEMENT IS TO BE GOVERNED BY AND CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK APPLICABLE TO
CONTRACTS MADE AND TO BE PERFORMED IN NEW YORK, WITHOUT GIVING
EFFECT TO ITS CONFLICT OF LAWS PRINCIPLES. Each Party to this Agreement agrees
that it shall bring any action or proceeding in respect of any claim arising out of or related to this
Agreement, to the extent possible, in federal or state courts located in the City of New York,
Borough of Manhattan. Notwithstanding the foregoing consent to jurisdiction, upon the
commencement of the Chapter 11 Cases, each of the Parties hereby agrees that, if the Chapter 11
Cases are pending, the Bankruptcy Court shall have exclusive jurisdiction over all matters arising


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out of or in connection with this Agreement. Each Party hereto agrees that it shall bring any action
or proceeding in respect of any claim arising out of or related to this Agreement, to the extent
possible, in the Bankruptcy Court, and solely in connection with claims arising under this
Agreement: (a) irrevocably submits to the exclusive jurisdiction of the Bankruptcy Court;
(b) waives any objection to laying venue in any such action or proceeding in the Bankruptcy Court;
(c) waives any objection that the Bankruptcy Court is an inconvenient forum or does not have
jurisdiction over any Party hereto; and (d) consents to entry of a Final Order or judgment by the
Bankruptcy Court.

      14.08. TRIAL BY JURY WAIVER. EACH PARTY HERETO IRREVOCABLY
WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY.

        14.09. Execution of Agreement. This Agreement may be executed and delivered in any
number of counterparts and by way of electronic signature and delivery, each such counterpart,
when executed and delivered, shall be deemed an original, and all of which together shall constitute
the same agreement; provided that signature pages executed by the Consenting Creditors shall be
delivered in a form consistent with Section 2.01. Except as expressly provided in this Agreement,
each individual executing this Agreement on behalf of a Party has been duly authorized and
empowered to execute and deliver this Agreement on behalf of said Party.

        14.10. Rules of Construction. This Agreement is the product of negotiations among the
Company Parties and the Consenting Creditors and in the enforcement or interpretation hereof, is
to be interpreted in a neutral manner, and any presumption with regard to interpretation for or
against any Party by reason of that Party having drafted or caused to be drafted this Agreement, or
any portion hereof, shall not be effective in regard to the interpretation hereof. The Company
Parties and the Consenting Creditors were each represented by counsel during the negotiations and
drafting of this Agreement and continue to be represented by counsel.

        14.11. Successors and Assigns; Third Parties. This Agreement is intended to bind and
inure to the benefit of the Parties and their respective successors and permitted assigns, as
applicable. There are no third party beneficiaries under this Agreement, and the rights or
obligations of any Party under this Agreement may not be assigned, delegated, or Transferred to
any other person or Entity except as set forth in Section 9.

       14.12. Notices. All notices hereunder shall be deemed given if in writing and delivered,
by electronic mail, courier, or registered or certified mail (return receipt requested), to the
following addresses (or at such other addresses as shall be specified by like notice):

       (a)     if to a Company Party, to:

               Denbury Resources Inc.
               5320 Legacy Drive
               Plano, Texas 75024
               Attention: Jim Matthews
               Email: jim.matthews@denbury.com


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               with copies to:

               Kirkland & Ellis LLP
               601 Lexington Avenue
               New York, New York 10022
               Attention: Joshua A. Sussberg, P.C., Christopher Marcus, P.C., and Rebecca
               Blake Chaikin
               E-mail address: jsussberg@kirkland.com, cmarcus@kirkland.com, and
               rebecca.chaikin@kirkland.com

               and

               Kirkland & Ellis LLP
               300 North LaSalle Street
               Chicago, IL 60654
               Attention:    David Eaton
               E-mail:       david.eaton@kirkland.com


       (b)     if to the RBL Agent, to:

               Vinson & Elkins, LLP
               2001 Ross Avenue
               Suite 3900
               Dallas, TX 75201
               Attention: Erec Winandy and Bill Wallander
               Email: ewinandy@velaw.com; bwallander@velaw.com

       (c)     if to a Consenting Second Lien Noteholder, to:

               Paul, Weiss, Rifkind, Wharton & Garrison LLP
               1285 Avenue of the Americas
               New York, NY 10019-6064
               Attention: Andrew N. Rosenberg, Elizabeth R. McColm, and Michael Turkel
               E-mail address: arosenberg@paulweiss.com; emccolm@paulweiss.com;
               mturkel@paulweiss.com

       (d)     if to a Consenting Convertible Noteholder, to:

               Akin Gump Strauss Hauer & Feld LLP
               One Bryant Park
               Bank of America Tower
               New York, NY 10036-6745
               Attention: Michael S. Stamer
               E-mail address: mstamer@akingump.com

Any notice given by delivery, mail, or courier shall be effective when received.



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       14.13. Independent Due Diligence and Decision Making. Each of the Consenting
Creditors hereby confirms that its decision to execute and deliver this Agreement has been based
upon its independent investigation of the operations, businesses, financial and other conditions,
and prospects of the Company Parties.

        14.14. Enforceability of Agreement. The Parties hereby acknowledge and agree: (i) that
the provision of any notice or exercise of termination rights under this Agreement is not prohibited
by the automatic stay provisions of the Bankruptcy Code, (ii) each Party waives any right to assert
that the exercise of any notice or termination rights under this Agreement is subject to the
automatic stay provisions of the Bankruptcy Code and expressly stipulates and consents hereunder
to the prospective modification of the automatic stay provisions of the Bankruptcy Code for
purposes of exercising notice and termination rights under this Agreement, to the extent the
Bankruptcy Court determines that such relief is required, (iii) that they shall not take a position to
the contrary of this Section 14.14 in the Bankruptcy Court or any other court of competent
jurisdiction and (iv) they will not initiate, or assert in, any litigation or other legal proceeding that
this Section 14.14 is illegal, invalid, or unenforceable, in whole or in part. Notwithstanding
anything herein to the contrary, following the commencement of the Chapter 11 Cases and unless
and until there is an unstayed order of the Bankruptcy Court providing that the giving of notice
under and/or termination of this Agreement in accordance with its terms is not prohibited by the
automatic stay imposed by section 362 of the Bankruptcy Code, the occurrence of any of the
termination events in Sections 12.01, 12.03, and 12.04, shall result in automatic termination of this
Agreement, to the extent any of the Terminating Consenting Creditors would otherwise have the
ability to terminate this Agreement in accordance with Sections 12.01, 12.03, 12.04, five (5)
calendar days following such occurrence unless waived in writing by all of the Terminating
Consenting Creditors.

        14.15. Waiver. If the Restructuring is not consummated, or if this Agreement is terminated
for any reason, the Parties fully reserve any and all of their respective rights. Pursuant to Federal
Rule of Evidence 408 and any other applicable rules of evidence, this Agreement and all
negotiations relating hereto shall not be admissible into evidence in any proceeding other than a
proceeding to enforce its terms or the payment of damages to which a Party may be entitled under
this Agreement.

        14.16. Specific Performance. It is understood and agreed by the Parties that money
damages would be an insufficient remedy for any breach of this Agreement by any Party, and each
non-breaching Party shall be entitled to specific performance and injunctive or other equitable
relief (without the posting of any bond and without proof of actual damages) as a remedy of any
such breach, including an order of a court of competent jurisdiction requiring any Party to comply
promptly with any of its obligations hereunder.

        14.17. Damages. Notwithstanding anything to the contrary in this Agreement, none of the
Parties shall claim or seek to recover from any other Party on the basis of anything in this
Agreement any punitive, special, indirect, or consequential damages or damages for lost profits.

      14.18. Relationship Among Parties. Notwithstanding anything herein to the contrary, the
agreements, representations, warranties, and obligations of the Consenting Creditors under this
Agreement are, in all respects, several and not joint. No Party shall have any responsibility by


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virtue of this Agreement for any trading by any other Entity or person. No prior history, pattern,
or practice of sharing confidences among or between the Parties shall in any way affect or negate
this Agreement. The Parties hereto acknowledge that this Agreement does not constitute an
agreement, arrangement, or understanding with respect to acting together for the purpose of
acquiring, holding, voting, or disposing of any equity securities of the Company Parties and the
Consenting Creditors do not constitute a “group” within the meaning of Rule 13d-5 under the
Securities Exchange Act of 1934, as amended. No action taken by any Consenting Creditor
pursuant to this Agreement shall be deemed to constitute or to create a presumption by any of the
Parties that any of the Consenting Creditors are in any way acting in concert or as such a “group.”

        14.19. Severability and Construction. If any provision of this Agreement shall be held by
a court of competent jurisdiction to be illegal, invalid, or unenforceable, the remaining provisions
shall remain in full force and effect if essential terms and conditions of this Agreement for each
Party remain valid, binding, and enforceable.

        14.20. Remedies Cumulative. All rights, powers, and remedies provided under this
Agreement or otherwise available in respect hereof at Law or in equity shall be cumulative and
not alternative, and the exercise of any right, power, or remedy thereof by any Party shall not
preclude the simultaneous or later exercise of any other such right, power, or remedy by such Party.

        14.21. Capacities of Consenting Creditors. Each Consenting Creditor has entered into this
Agreement on account of all Company Claims that it holds (directly or through discretionary
accounts that it manages or advises) and, except where otherwise specified in this Agreement, shall
take or refrain from taking all actions that it is obligated to take or refrain from taking under this
Agreement with respect to all such Company Claims.

        14.22. Email Consents. Where a written consent, acceptance, approval, or waiver is
required pursuant to or contemplated by this Agreement, pursuant to Section 3.02 or Section 13,
or otherwise, including a written approval by the Company Parties, RBL Agent, the DIP Agent,
the DIP Lenders, the Exit Facility Lenders, the Required Consenting RBL Lenders, the Required
Consenting Second Lien Noteholders, or the Required Consenting Convertible Noteholders, such
written consent, acceptance, approval, or waiver shall be deemed to have occurred if, by agreement
between counsel to the Parties submitting and receiving such consent, acceptance, approval, or
waiver, it is conveyed in writing (including electronic mail) between each such counsel without
representations or warranties of any kind on behalf of such counsel.

       14.23. Several, Not Joint, Claims. Except where otherwise specified, the agreements
representations, warranties, duties, and obligations of the Parties under this Agreement are, in all
respects, several and not joint.

       14.24. Settlement Discussions. This Agreement is part of a proposed settlement of matters
that could otherwise be the subject of litigation among the Parties. Nothing in this Agreement
shall be deemed an admission of any kind. Pursuant to Federal Rule of Evidence 408, any
applicable state rules of evidence and any other applicable law, foreign or domestic, this
Agreement, and all negotiations relating thereto shall not be admissible into evidence in any
proceeding other than to prove the existence of this Agreement or in a proceeding to enforce the
terms of this Agreement.


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        14.25. Good Faith Cooperation; Further Assurances. The Parties shall cooperate with each
other in good faith and shall coordinate their activities (to the extent reasonably practicable) in
respect of all matters concerning the implementation and consummation of the Restructuring.
Further, each of the Parties shall take such action (including executing and delivering any other
agreements and making and filing any required regulatory filings) as may be reasonably necessary
to carry out the purposes and intent of this Agreement.

                                    [Signature pages follow.]




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                             Annex 1

                              Plan
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                                                                                                    Solicitation Version


                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION
                                                )
     In re:                                     )    Chapter 11
                                                )
     DENBURY RESOURCES INC., et al.,1           )    Case No. 20-_____ (__)
                                                )
                           Debtors.             )
                                                )

                        JOINT CHAPTER 11 PLAN OF REORGANIZATION
                   OF DENBURY RESOURCES INC. AND ITS DEBTOR AFFILIATES

     THIS CHAPTER 11 PLAN IS BEING SOLICITED FOR ACCEPTANCE OR REJECTION IN
     ACCORDANCE WITH SECTION 1125 OF THE BANKRUPTCY CODE AND WITHIN THE MEANING
     OF SECTION 1126 OF THE BANKRUPTCY CODE. THIS CHAPTER 11 PLAN WILL BE SUBMITTED
     TO THE BANKRUPTCY COURT FOR APPROVAL FOLLOWING SOLICITATION AND THE
     DEBTORS’ FILING FOR CHAPTER 11 BANKRUPTCY.


Joshua A. Sussberg, P.C. (pro hac vice admission pending)              David L. Eaton (pro hac vice admission pending)
Christopher Marcus, P.C. (pro hac vice admission pending)              KIRKLAND & ELLIS LLP
Rebecca Blake Chaikin (pro hac vice admission pending)                 KIRKLAND & ELLIS INTERNATIONAL LLP
KIRKLAND & ELLIS LLP                                                   300 North LaSalle Street
KIRKLAND & ELLIS INTERNATIONAL LLP                                     Chicago, Illinois 60654
601 Lexington Avenue                                                   Telephone:        (312) 862-2000
New York, New York 10022                                               Facsimile:        (312) 862-2200
Telephone:          (212) 446-4800                                     Email:            david.eaton@kirkland.com
Facsimile:          (212) 446-4900
Email:             joshua.sussberg@kirkland.com                        -and-
                   christopher.marcus@kirkland.com
                   rebecca.chaikin@kirkland.com                        Matthew D. Cavenaugh (TX Bar No. 24062656)
                                                                       JACKSON WALKER L.L.P.
                                                                       1401 McKinney Street, Suite 1900
                                                                       Houston, Texas 77010
                                                                       Telephone:        (713) 752-4284
                                                                       Facsimile:        (713) 308-4184
                                                                       Email:            mcavenaugh@jw.com

Proposed Co-Counsel to the Debtors and Debtors in Possession

Dated: July 28, 2020



1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, include: Denbury Resources Inc. (7835); Denbury Air, LLC (7621); Denbury Brookhaven Pipeline
       Partnership, LP (6322); Denbury Brookhaven Pipeline, LLC (6471); Denbury Gathering & Marketing, Inc.
       (6150); Denbury Green Pipeline-Montana, LLC (6443); Denbury Green Pipeline-North Dakota, LLC (7725);
       Denbury Green Pipeline-Riley Ridge, LLC (2859); Denbury Green Pipeline-Texas, LLC (2301); Denbury Gulf
       Coast Pipelines, LLC (0892); Denbury Holdings, Inc. (1216); Denbury Onshore, LLC (7798); Denbury Operating
       Company (7620); Denbury Pipeline Holdings, LLC (0190); Denbury Thompson Pipeline, LLC (0976); Encore
       Partners GP Holdings, LLC (N/A); Greencore Pipeline Company, LLC (9605); Plain Energy Holdings, LLC
       (0543). The location of Debtor Denbury Resources Inc.’s principal place of business and the Debtors’ service
       address in these chapter 11 cases is 5320 Legacy Drive, Plano, Texas 75024.


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                                                 INTRODUCTION

          Denbury Resources Inc., Denbury Air, LLC, Denbury Brookhaven Pipeline Partnership, LP, Denbury
Brookhaven Pipeline, LLC, Denbury Gathering & Marketing, Inc., Denbury Green Pipeline-Montana, LLC, Denbury
Green Pipeline-North Dakota, LLC, Denbury Green Pipeline-Riley Ridge, LLC, Denbury Green Pipeline-Texas, LLC,
Denbury Gulf Coast Pipelines, LLC, Denbury Holdings, Inc., Denbury Onshore, LLC, Denbury Operating Company,
Denbury Pipeline Holdings, LLC, Denbury Thompson Pipeline, LLC, Encore Partners GP Holdings, LLC, Greencore
Pipeline Company, LLC, and Plain Energy Holdings, LLC (each a “Debtor” and, collectively, the “Debtors”) propose
this joint prepackaged chapter 11 plan of reorganization (the “Plan”) for the resolution of the outstanding claims
against, and equity interests in, the Debtors. Although proposed jointly for administrative purposes, the Plan
constitutes a separate Plan for each Debtor. Holders of Claims or Interests may refer to the Disclosure Statement for
a discussion of the Debtors’ history, businesses, assets, results of operations, historical financial information, risk
factors, a summary and analysis of this Plan, the Restructuring, and certain related matters. The Debtors are the
proponents of the Plan within the meaning of section 1129 of the Bankruptcy Code.

      ALL HOLDERS OF CLAIMS AGAINST OR INTERESTS IN THE DEBTORS, TO THE EXTENT
APPLICABLE, ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

                                            ARTICLE I.
                             DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

         1.       “Administrative Claim” means a Claim for costs and expenses of administration of the Chapter 11
Cases pursuant to sections 327, 328, 330, 365, 503(b), 507(a), 507(b), or 1114(e)(2) of the Bankruptcy Code,
including: (a) the actual and necessary costs and expenses of preserving the Estates and operating the businesses of
the Debtors incurred on or after the Petition Date and through the Effective Date; (b) Allowed Professional Fee Claims;
(c) any adequate protection Claim provided for in the DIP Orders; and (d) all fees and charges assessed against the
Estates under chapter 123 of the Judicial Code.

         2.       “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

          3.       “Allowed” means, with respect to a Claim, any Claim (or portion thereof) that (a) is not Disputed
within the applicable period of time, if any, fixed by the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy
Court, (b) is allowed, compromised, settled, or otherwise resolved pursuant to the terms of the Plan, in any stipulation
that is approved by a Final Order of the Bankruptcy Court, or pursuant to any contract, instrument, indenture, or other
agreement entered into or assumed in connection herewith, or (c) has been allowed by a Final Order of the Bankruptcy
Court. For the avoidance of doubt, (x) there is no requirement to file a Proof of Claim (or move the Bankruptcy Court
for allowance) to have a Claim Allowed for the purposes of the Plan except as provided in Article V.B of this Plan,
(y) the Debtors may deem any Unimpaired Claim to be Allowed in an asserted amount for the purposes of the Plan,
and (z) any Claim (or portion thereof) that has been disallowed pursuant to a Final Order shall not be an “Allowed”
Claim.

        4.       “Assumed Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory
Contracts and Unexpired Leases to be assumed by the Debtors pursuant to the Plan, which shall be included in the
Plan Supplement, as the same may be amended, modified, or supplemented from time to time.

         5.       “Avoidance Actions” means any and all actual or potential avoidance, recovery, subordination, or
other Claims, Causes of Action, or remedies that may be brought by or on behalf of the Debtors or their Estates or
other authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy law, including Claims,


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Causes of Action, or remedies under sections 502, 510, 542, 544, 545, 547 through 553, and 724(a) of the Bankruptcy
Code or under similar local, state, federal, or foreign statutes and common law, including fraudulent transfer laws.

           6.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532.

          7.       “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas
presiding over the Chapter 11 Cases, or any other court having jurisdiction over the Chapter 11 Cases, including to
the extent of the withdrawal of reference under 28 U.S.C. § 157, the United States District Court for the Southern
District of Texas.

         8.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court, each, as
amended from time to time.

        9.      “Business Day” means any day other than a Saturday, Sunday, or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).

        10.       “Cash” means cash in legal tender of the United States of America and cash equivalents, including
bank deposits, checks, and other similar items.

          11.       “Cause of Action” or “Causes of Action” means any claims, interests, damages, remedies, causes of
action, demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers, privileges, licenses,
Liens, indemnities, guaranties, and franchises of any kind or character whatsoever, whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, contingent or non-contingent, liquidated or unliquidated,
secured or unsecured, assertable, directly or derivatively, matured or unmatured, suspected or unsuspected, in contract,
tort, law, equity, or otherwise. Causes of Action also include: (a) all rights of setoff, counterclaim, or recoupment and
claims under contracts or for breaches of duties imposed by law; (b) the right to object to or otherwise contest Claims
or Interests; (c) claims pursuant to section 362 or chapter 5 of the Bankruptcy Code; (d) such claims and defenses as
fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of the Bankruptcy Code; and (e) any
state or foreign law fraudulent transfer or similar claims.

          12.      “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending
for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference
to all the Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

           13.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of the
Debtors.

          14.      “Claims and Balloting Agent” means Epiq Corporate Restructuring, LLC, the notice, claims, and
solicitation agent proposed to be retained by the Debtors in the Chapter 11 Cases.

           15.     “Claims Register” means the official register of Claims maintained by the Claims and Balloting
Agent.

         16.      “Class” means a class of Claims or Interests as set forth in Article III hereof pursuant to
section 1122(a) of the Bankruptcy Code.

           17.     “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

           18.     “Company” means DNR and each of its direct and indirect subsidiaries.

        19.       “Compensation and Benefits Programs” means all employee employment, wages, compensation,
and benefits plans and policies, workers’ compensation programs, savings plans, retirement plans, supplemental
executive retirement plans, deferred compensation plans, healthcare plans, disability plans, employment and severance
agreements and policies, severance benefit plans, policies, and guidelines (including the Severance Protection Plan),
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incentive and retention plans (including the plans approved by the board of directors of DNR on June 3, 2020), life
and accidental death and dismemberment insurance plans, and programs of the Debtors, and all amendments and
modifications thereto, applicable to any of the Debtors’ employees, former employees, retirees, non-employee
directors, and other individual service provides, in each case existing with the Debtors as of the immediately prior to
the Effective Date.

        20.      “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

       21.      “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

          22.      “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court on confirmation of
the Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing
may be continued from time to time.

         23.      “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code, consistent with the Restructuring Support Agreement (and subject to the
consent, approval and consultation rights set forth therein), and approving the Disclosure Statement.

       24.        “Consenting Second Lien Noteholders” has the meaning set forth in the Restructuring Support
Agreement.

        25.    “Convertible Ad Hoc Group” means the ad hoc group of Holders of Convertible Notes represented
by Akin Gump Strauss Hauer & Feld LLP.

        26.      “Convertible Notes” means the 6⅜% Convertible Senior Notes Due 2024 issued under the
Convertible Notes Indenture.

         27.      “Convertible Notes Claims” means any Claims on account of the Convertible Notes.

        28.      “Convertible Notes Indenture” means that certain indenture governing the Convertible Notes, dated
June 19, 2019, by and among DNR, as issuer, the subsidiary guarantors named therein, as guarantors, and the
Convertible Notes Trustee.

        29.      “Convertible Notes Trustee” means Wilmington Trust, National Association, as Trustee under the
Convertible Notes Indenture.

        30.     “Convertible Notes Warrant Package” means 100% of the Series A Warrants, as defined in the
Warrants Term Sheet, attached to the Restructuring Support Agreement as Annex 3.

         31.      “Consummation” means the occurrence of the Effective Date.

         32.      “Cure Amounts” means all amounts, including an amount of $0.00, required to cure any monetary
defaults under any Executory Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the
parties under an Executory Contract or Unexpired Lease) that is to be assumed by the Debtors pursuant to sections
365 or 1123 of the Bankruptcy Code.

         33.      “Debtor Release” means the release set forth in Article VIII.B of the Plan.

         34.      “D&O Liability Insurance Policies” means all insurance policies of any of the Debtors for
directors’, managers’, and officers’ liability existing as of the Petition Date (including any “tail policy”) and all
agreements, documents, or instruments relating thereto.



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         35.     “DIP Agent” means JPMorgan Chase Bank, N.A., or any successor thereto, as administrative agent
under the DIP Facility, solely in its capacity as such.

          36.       “DIP Facility” means the debtor-in-possession financing facility on terms and conditions consistent
in all material respects with the Restructuring Support Agreement (including the DIP-to-Exit Facility Term Sheet) and
the DIP Orders and otherwise in form and substance acceptable to the Debtors, the DIP Agent, and the DIP Lenders,
and reasonably acceptable to the Required Consenting Second Lien Noteholders.

         37.       “DIP Facility Claims” means any Claim derived from, based upon, or secured by the DIP Facility
Documents or DIP Orders, including claims for all principal amounts outstanding, interest, fees, expenses, costs, and
other charges arising under or related to the DIP Facility.

        38.       “DIP Facility Documents” means any documents governing or related to the DIP Facility (including
the DIP Orders), which documents shall be consistent in all material respects with the Restructuring Support
Agreement (including the DIP-to-Exit Facility Term Sheet) and the DIP Orders and otherwise in form and substance
acceptable to the Debtors, the DIP Agent, and the DIP Lenders as to such documents and to the Debtors and the DIP
Agent as to the DIP Orders, and reasonably acceptable to the Required Consenting Second Lien Noteholders.

         39.     “DIP Final Order” means the final order authorizing use of cash collateral and debtor-in-possession
financing on terms consistent with the DIP-to-Exit Facility Term Sheet, and in form and substance acceptable to the
Debtors and the DIP Agent, and reasonably acceptable to the Required Consenting Second Lien Noteholders.

         40.      “DIP Interim Order” means the interim order authorizing use of cash collateral and debtor-in-
possession financing on terms consistent with the DIP-to-Exit Facility Term Sheet, and in form and substance
acceptable to the Debtors and the DIP Agent, and reasonably acceptable to the Required Consenting Second Lien
Noteholders.

         41.      “DIP Lenders” means the lenders under the DIP Facility, solely in their capacity as such.

         42.      “DIP Orders” means the collectively, the DIP Interim Order and the DIP Final Order.

          43.      “DIP-to-Exit Facility Term Sheet” means the term sheet describing the material terms of the DIP
Facility, attached as Annex 2 to the Restructuring Support Agreement.

          44.     “Disclosure Statement” means the disclosure statement with respect to the Plan that is prepared and
distributed in accordance with, among other things, sections 1125, 1126(b), and 1145 of the Bankruptcy Code,
Bankruptcy Rule 3018 and other applicable Law, and all exhibits, schedules, supplements, modifications and
amendments thereto, all of which shall be consistent in all material respects with the Restructuring Support Agreement
and the Plan.

          45.     “Disputed” means, as to a Claim or an Interest, a Claim or an Interest (or portion thereof) (a) that an
objection to such Claim or Interest (or portion thereof) has been filed on or before the Effective Date; (b) for which a
Proof of Claim is filed; or (c) that is not disallowed under the Plan, the Bankruptcy Code, or a Final Order, as
applicable; provided that in no event shall a Claim or an Interest (or portion thereof) that is deemed Allowed pursuant
to the Plan be a Disputed Claim.

        46.      “Distribution Agent” means the Reorganized Debtors or the Entity or Entities selected by the
Debtors or the Reorganized Debtors, as applicable, to make or facilitate distributions pursuant to the Plan.

         47.     “Distribution Date” means, except as otherwise set forth herein, the date or dates determined by the
Debtors or the Reorganized Debtors, on or after the Effective Date, with the first such date occurring on or as soon as
is reasonably practicable after the Effective Date, upon which the Distribution Agent shall make distributions to
Holders of Allowed Claims or Interests entitled to receive distributions under the Plan.



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         48.      “Distribution Record Date” means, other than with respect to publicly held Securities, the record
date for purposes of making distributions under the Plan on account of Allowed Claims, which date shall be the first
day of the Confirmation Hearing.

         49.      “DNR” means Denbury Resources Inc.

         50.       “Effective Date” means the date on which all conditions precedent to the occurrence of the Effective
Date set forth in Article IX.A of the Plan have been satisfied or waived in accordance with Article IX.B of the Plan.
Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

         51.      “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

         52.       “Estate” means, as to each Debtor, the estate created for such Debtor in its Chapter 11 Case pursuant
to section 541 of the Bankruptcy Code upon the commencement of such Debtor’s Chapter 11 Case.

        53.       “Exchange Act” means the Securities Exchange Act of 1934, 15 U.S.C. § 78a, et seq., as amended
from time to time.

         54.      “Exculpated Parties” means collectively, and in each case in its capacity as such: (a) the Debtors;
(b) the Reorganized Debtors; (c) the RBL Agent; (d) the RBL Lenders; (e) the Second Lien Notes Trustee; (f) the
Second Lien Ad Hoc Committee and all members thereof; (g) the Convertible Notes Trustee; (h) the Convertible Ad
Hoc Group and all members thereof; (i) the DIP Agent; (j) the DIP Lenders; (k) the Exit Facility Agent; (l) the Exit
Facility Lenders; (m) with respect to each of the foregoing parties in clauses (a) through (l), each of such party’s
current and former predecessors, successors, participants, Affiliates (regardless of whether such interests are held
directly or indirectly), assigns, subsidiaries, direct and indirect equity holders or beneficiaries, funds, portfolio
companies, and management companies; and (n) with respect to each of the foregoing parties in clauses (a) through
(m), each of such party’s current and former directors, officers, members, employees, partners, managers, general
partners, limited partners, managing members, independent contractors, agents, representatives, principals,
professionals, consultants, financial advisors, attorneys, accountants, investment bankers, advisory board members,
investment advisors or sub advisors, and other professionals.

        55.       “Executory Contract” means a contract to which one or more of the Debtors is a party that is subject
to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

         56.     “Existing Equity Interests” means the common Interests of DNR, together with any and all
outstanding and unexercised or unvested warrants, options, or rights to acquire DNR’s currently outstanding equity.

        57.     “Existing Equity Warrants Package” means 45.45% of the Series B Warrants, as defined in the
Warrants Term Sheet, attached to the Restructuring Support Agreement as Annex 3.

        58.    “Exit Commitment Letter” means the commitment letter attached as Annex 2(a) to the Restructuring
Support Agreement, and the related fee letters with respect thereto.

         59.     “Exit Facility” means the revolving credit facility in an aggregate maximum principal amount up to
$615,000,000, subject to a conforming borrowing base to be set forth in the Exit Facility Documents and on such other
terms and conditions consistent in all material respects with the Restructuring Support Agreement, the DIP-to-Exit
Facility Term Sheet, the Exit Commitment Letter, and the Exit Facility Term Sheet, and otherwise in form and
substance acceptable to the Debtors, the Exit Facility Agent, and the Exit Facility Lenders, and reasonably acceptable
to the Required Consenting Second Lien Noteholders.

        60.       “Exit Facility Agent” means JPMorgan Chase, N.A., as administrative agent for the Exit Facility, or
any successor thereto, solely in its capacity as such.

        61.       “Exit Facility Documents” means the documents governing the Exit Facility and any other
guarantee, security agreement, deed of trust, mortgage, and relevant documentation with respect to the Exit Facility,
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which shall be consistent in all material respects with the Plan, Restructuring Support Agreement, the DIP-to-Exit
Facility Term Sheet, the Exit Commitment Letter, and the Exit Facility Term Sheet, and otherwise in form and
substance acceptable to the Debtors, the Exit Facility Agent, and the Exit Facility Lenders, and reasonably acceptable
to the Required Consenting Second Lien Noteholders.

          62.      “Exit Facility Lenders” means those lenders from time to time party to the Exit Facility Documents,
solely in their capacity as such.

         63.      “Exit Facility Term Sheet” means the term sheet describing the material terms of the Exit Facility,
attached as Exhibit A to the Exit Commitment Letter.

         64.      “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

        65.       “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its authorized
designee in the Chapter 11 Cases.

          66.      “Final Order” means as applicable, an order or judgment of the Bankruptcy Court or other court of
competent jurisdiction with respect to the relevant subject matter that has not been reversed, stayed, modified, or
amended, and as to which the time to appeal or seek certiorari has expired and no appeal or petition for certiorari has
been timely taken, or as to which any appeal that has been taken or any petition for certiorari that has been or may be
filed has been resolved by the highest court to which the order or judgment could be appealed or from which certiorari
could be sought or the new trial, reargument, or rehearing shall have been denied, resulted in no modification of such
order, or has otherwise been dismissed with prejudice.

         67.       “General Unsecured Claim” means any unsecured Claim other than (a) a DIP Facility Claim; (b) an
Administrative Claim; (c) a Professional Fee Claim; (d) a Priority Tax Claim; (e) an Other Secured Claim; (f) an Other
Priority Claim; (g) a Pipeline Lease Claim; (h) a Hedge Claim; (i) an RBL Claim; (j) a Second Lien Notes Claim;
(k) a Convertible Notes Claim; (l) a Subordinated Notes Claim; or (m) an Existing Equity Interest, against one or more
of the Debtors.

         68.     “Governance Term Sheet” means the term sheet attached to the Restructuring Support Agreement
as Annex 4 setting forth the terms of certain agreements related to the corporate governance of the Reorganized
Debtors.

         69.      “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

         70.      “Holder” means an Entity holding a Claim or Interest, as applicable.

        71.    “Hedge Claim” means any Claim arising from commodity hedge transactions pursuant to an ISDA
Master Agreement and Schedules thereto.

         72.      “Impaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests that
is impaired within the meaning of section 1124 of the Bankruptcy Code.

          73.       “Indemnification Obligations” means each of the Debtors’ indemnification provisions in place,
whether in the Debtors’ bylaws, certificates of incorporation, other formation documents, board resolutions,
management or indemnification agreements, employment contracts, or otherwise, for the current and former directors,
officers, managers, employees, attorneys, other professionals, and agents of the Debtors and such current and former
directors’, officers’, and managers’ respective Affiliates.

          74.     “Intercompany Claim” means any Claim held by a Debtor or an Affiliate against a Debtor or an
Affiliate.

        75.      “Intercompany Interest” means any Interest in a Debtor held by another Debtor and, for the
avoidance of doubt, excludes the Existing Equity Interests.
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        76.      “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code) in any
Debtor and any other rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units,
redemption rights, repurchase rights, convertible, exercisable or exchangeable Securities or other agreements,
arrangements or commitments of any character relating to, or whose value is related to, any such interest or other
ownership interest in any Debtor.

          77.     “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as amended from
time to time.

         78.       “Law” means any federal, state, local, or foreign law (including common law), statute, code,
ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly adopted, promulgated, issued, or
entered by a governmental authority of competent jurisdiction (including the Bankruptcy Court).

         79.      “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

      80.      “Management Compensation Term Sheet” means the term sheet setting forth the terms of the
Management Incentive Plan, which shall be included in the Plan Supplement.

         81.      Management Employment Agreements” means, collectively, the employment agreements between
the Debtors and the Debtors’ Chief Executive Officer and Chief Financial Officer in the forms agreed to and in effect
on the Petition Date.

         82.      “Management Incentive Plan” means any equity incentive program for the members of the
management team of the Reorganized Debtors to be established as contemplated in the Plan, and in accordance with
the Restructuring Support Agreement and the Definitive Documents.

         83.      “New Board” means the board of directors of the Reorganized Debtors appointed in accordance
with the terms of the Governance Term Sheet. The identities of directors on the New Board shall be set forth in the
Plan Supplement.

         84.      “New DNR Equity” means the common equity in Reorganized DNR.

         85.      “New Organizational Documents” means the documents providing for corporate governance of the
Reorganized Debtors, including charters, bylaws, operating agreements, or other organizational documents, as
applicable, which shall be consistent with the Restructuring Support Agreement (and subject to the consent, approval
and consultation rights set forth therein), the Governance Term Sheet, this Plan, and section 1123(a)(6) of the
Bankruptcy Code (as applicable), and shall be included in the Plan Supplement.

        86.        “Other Priority Claim” means any Claim, other than an Administrative Claim or a Priority Tax
Claim, entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

          87.     “Other Secured Claim” means any Secured Claim, other than a DIP Facility Claim, Hedge Claim,
RBL Claim, Pipeline Lease Claim, or Second Lien Notes Claim, including any Claim arising under, derived from, or
based upon any letter of credit issued in favor of one or more Debtors, the reimbursement obligation for which is
either secured by a Lien on collateral or is subject to a valid right of setoff pursuant to section 553 of the Bankruptcy
Code.

         88.      “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         89.      “Petition Date” means the first date on which any of the Debtors commences a Chapter 11 Case.

         90.      “Pipeline Lease” means that certain Pipeline Financing Agreement, dated as of May 30, 2008
(as amended, restated, amended and restated, supplemented, or otherwise modified) by and between Genesis NEJD
Pipeline, LLC, as lessor, and Denbury Onshore, LLC as lessee.

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          91.     “Pipeline Lease Claim” means any Claim arising under, derived from, based on, or secured pursuant
to the Pipeline Lease.

          92.       “Plan Distribution” means a payment or distribution to Holders of Allowed Claims, Allowed
Interests, or other eligible Entities under and in accordance with this Plan.

         93.      “Plan Objection Deadline” means the date the Bankruptcy Court establishes as the deadline to File
an objection to Confirmation of the Plan.

          94.      “Plan Supplement” means the compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented from time
to time in accordance with the terms hereof and consistent with the Restructuring Support Agreement (and subject to
the consent, approval and consultation rights set forth therein) and in accordance with the Bankruptcy Code and
Bankruptcy Rules) to be Filed by the Debtors no later than seven (7) days before the Plan Objection Deadline or such
later date as may be approved by the Bankruptcy Court on notice to parties in interest, including the following, as
applicable: (a) the New Organizational Documents; (b) to the extent known, the identities of the members of the New
Board; (c) the Assumed Executory Contracts and Unexpired Leases Schedule; (d) the Rejected Executory Contracts
and Unexpired Leases Schedule; (e) the Schedule of Retained Causes of Action; (f) the Exit Facility Documents;
(g) the Management Compensation Term Sheet; (h) the Warrants Agreement; and (i) the Registration Rights
Agreement. The Debtors shall have the right to alter, amend, modify, or supplement the documents contained in the
Plan Supplement through the Effective Date as set forth in this Plan and in accordance with the Restructuring Support
Agreement (and subject to the consent, approval and consultation rights set forth therein).

        95.       “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in section
507(a)(8) of the Bankruptcy Code.

          96.     “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular Class
bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class.

         97.     “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance
with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or on
the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or (b) awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

         98.       “Professional Fee Amount” means the aggregate amount of Professional Fee Claims and other
unpaid fees and expenses that the Professionals estimate they have incurred or will incur in rendering services to the
Debtors as set forth in Article II.B hereof.

        99.     “Professional Fee Claim” means a Claim by a professional seeking an award by the Bankruptcy
Court of compensation for services rendered or reimbursement of expenses incurred through and including the
Confirmation Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

        100.     “Professional Fee Escrow Account” means an interest-bearing account funded by the Debtors with
Cash on the Effective Date in an amount equal to the Professional Fee Amount.

         101.     “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases.

         102.     “RBL Agent” means JPMorgan Chase Bank, N.A., and any successor thereto, solely in its capacity
as successor agent under the RBL Credit Agreement.

        103.    “RBL Credit Agreement” means that certain Amended and Restated Credit Agreement, dated as of
December 9, 2014 (as amended, restated, amended, and supplemented or otherwise modified prior to the date hereof),
by and among DNR, as borrower, the RBL Lenders, as lenders, and the RBL Agent.



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       104.     “RBL Claim” means any Claim arising under, derived from, based on, or secured pursuant to the
RBL Credit Agreement.

         105.      “RBL Lenders” means the lenders under the RBL Credit Agreement, from time to time.

         106.      “RBL Loans” means any loan made under the RBL Credit Agreement.

         107.     “Registration Rights Agreement” means the registration rights agreement to be entered into on the
Effective Date by Reorganized DNR and the Registration Rights Parties, the terms of which shall be consistent in all
material respects with the Governance Term Sheet.

        108.   “Registration Rights Parties” means the Consenting Second Lien Noteholders and any recipient of
New DNR Equity that receives (together with its affiliates and related funds) 4% or more of the voting Securities of
Reorganized DNR issued pursuant to this Plan.

         109.      “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and Interests, that the
Claim or Interest shall not be discharged hereunder and the Holder’s legal, equitable, and contractual rights on account
Hof such Claim or Interest shall remain unaltered by Consummation in accordance with section 1124(1) of the
Bankruptcy Code.

          110.    “Rejected Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory
Contracts and Unexpired Leases to be rejected by the Debtors pursuant to the Plan, which schedule shall be included
in the Plan Supplement, as the same may be amended, modified, or supplemented from time to time.

          111.     “Released Party” means each of the following, solely in its capacity as such: (a) each of the Debtors;
(b) each of the Reorganized Debtors; (c) the RBL Agent; (d) the RBL Lenders; (e) the Second Lien Notes Trustee;
(f) the Second Lien Noteholders; (g) the Second Lien Ad Hoc Committee, and all members thereof; (h) the Convertible
Notes Trustee; (i) the Convertible Noteholders; (j) the Convertible Ad Hoc Group, and all members thereof; (k) the
Subordinated Notes Trustee; (l) the Subordinated Noteholders; (m) the DIP Agent; (n) the DIP Lenders; (o) the Exit
Facility Agent; (p) the Exit Facility Lenders; (q) with respect to each of the foregoing parties in clauses (a) through
(p), each of such party’s current and former predecessors, successors, participants, Affiliates (regardless of whether
such interests are held directly or indirectly), assigns, subsidiaries, direct and indirect equity holders or beneficiaries,
funds, portfolio companies, and management companies; (r) with respect to each of the foregoing parties in clauses
(a) through (q), each of such party’s current and former directors, officers, members, employees, partners, managers,
general partners, limited partners, managing members, independent contractors, agents, representatives, principals,
professionals, consultants, financial advisors, attorneys, accountants, investment bankers, advisory board members,
investment advisors, and other professionals; and (s) all Holders of Claims or Interests, provided that any Holder of a
Claim or Interest that (x) validly opts out of the releases contained in the Plan, (y) files an objection to the releases
contained in the Plan by the Plan Objection Deadline, or (z) timely votes to reject the Plan shall not be a “Released
Party.”

         112.      “Releasing Parties” means each of the following, solely in its capacity as such: (a) the RBL Agent;
(b) the RBL Lenders; (c) the Second Lien Notes Trustee; (d) the Second Lien Noteholders; (e) the Second Lien Ad
Hoc Committee, and all members thereof; (f) the Convertible Notes Trustee; (g) the Convertible Noteholders; (h) the
Convertible Ad Hoc Group, and all members thereof; (i) the Subordinated Notes Trustee; (j) the Subordinated
Noteholders; (k) the DIP Agent; (l) the DIP Lenders; (m) the Exit Facility Agent; (n) the Exit Facility Lenders; (o) with
respect to the foregoing clauses (a) through (n), each of such party’s current and former predecessors, successors,
participants, Affiliates (regardless of whether such interests are held directly or indirectly), assigns, subsidiaries, direct
and indirect equity Holders or beneficiaries, funds, portfolio companies, and management companies; (p) with respect
to each of the foregoing parties in clauses (a) through (o), each of such party’s current and former directors, officers,
members, employees, partners, managers, general partners, limited partners, managing members, independent
contractors, agents, representatives, principals, professionals, consultants, financial advisors, attorneys, accountants,
investment bankers, advisory board members, investment advisors, and other professionals; and (q) all Holders of
Claims or Interests; provided that any Holder of a Claim or Interest that (x) validly opts out of the releases contained


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in the Plan, (y) files an objection to the releases contained in the Plan by the Plan Objection Deadline, or (z) timely
votes to reject the Plan shall not be a “Releasing Party.”

         113.     “Reorganized Debtors” means collectively, a Debtor, or any successor or assign thereto, by merger,
consolidation, or otherwise, on and after the Effective Date, including any new entity established in connection with
the implementation of the Restructuring.

         114.     “Reorganized DNR” means DNR, as reorganized pursuant to and under the Plan, on and after the
Effective Date, or any successor or assign thereto.

         115.     “Required Consenting Convertible Noteholders” means, as of any time of determination, beneficial
Holders of (or investment advisors, sub-advisors, or managers of discretionary accounts that hold) at least 50.01% of
the aggregate outstanding principal amount of the Convertible Notes subject to the Restructuring Support Agreement.

        116.    “Required Consenting Creditors” means, collectively, the Required Consenting RBL Lenders, the
Required Consenting Second Lien Noteholders, and the Required Consenting Convertible Noteholders.

         117.    “Required Consenting RBL Lenders” means, as of any time of determination, beneficial Holders of
(or investment advisors, sub-advisors, or managers of discretionary accounts that hold) at least 50.01% of the
aggregate outstanding principal amount of the RBL Loans subject to the Restructuring Support Agreement.

         118.     “Required Consenting Second Lien Noteholders” means, as of any time of determination,
(a) beneficial Holders of (or investment advisors, sub-advisors, or managers of discretionary accounts that hold) at
least 50.01% of the aggregate outstanding principal amount of the Second Lien Notes subject to the Restructuring
Support Agreement that are members of the Second Lien Ad Hoc Committee and (b) constituting at least two (2)
members of the Second Lien Ad Hoc Committee, as set forth in the Restructuring Support Agreement.

         119.      “Restructuring” means any transaction and any actions as may be necessary or appropriate to effect
a corporate restructuring of the Debtors’ and the Reorganized Debtors’ respective businesses or a corporate
restructuring of the overall corporate structure of the Debtors on the terms set forth in the Plan, and the Restructuring
Support Agreement, including the issuance of all Securities, notes, instruments, certificates, and other documents
required to be issued pursuant to the Plan, one or more inter-company mergers, consolidations, amalgamations,
arrangements, continuances, restructurings, conversions, dissolutions, transfers, liquidations, or other corporate
transactions, as described in Article IV.B hereof.

         120.     “Restructuring Expenses” means, collectively, all reasonable and documented fees and expenses to
be paid pursuant to section 14.02 of the Restructuring Support Agreement.

         121.     “Restructuring Support Agreement” means that certain Restructuring Support Agreement, dated as
of July 28, 2020, by and among (a) the Debtors, and (b) each RBL Lender, Second Lien Noteholder, and Convertible
Noteholder that executes a signature page to the Restructuring Support Agreement, as may be further amended,
modified, or supplemented from time to time, in accordance with its terms.

         122.     “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the
Debtors that are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or
supplemented from time to time.

         123.    “Second Lien Ad Hoc Committee” means the ad hoc committee of Holders of Second Lien Notes
represented by Paul, Weiss, Rifkind, Wharton & Garrison LLP, PJT Partners LP, and any local or foreign advisors.

         124.     “Second Lien Notes” means collectively, the: (a) 9% Senior Secured Second Lien Notes Due 2021,
issued under the Indenture, dated as of May 10, 2016, (b) 9¼% Senior Secured Second Lien Notes Due 2022, issued
under the Indenture, dated as of December 6, 2017, (c) 7½% Senior Secured Second Lien Notes Due 2024, issued
under the Indenture, dated as of August 21, 2018, and (d) 7¾% Senior Secured Second Lien Notes Due 2024, issued


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under the Indenture, dated as of June 19, 2019, each by and among DNR, certain of its subsidiaries, and the Second
Lien Notes Trustee.

         125.      “Second Lien Notes Claims” means any Claims on account of Second Lien Notes.

          126.      “Second Lien Notes Indentures” means those certain indentures governing the Second Lien Notes,
dated as of May 10, 2016, December 6, 2017, August 21, 2018, and June 19, 2019, each by and among DNR, certain
of its subsidiaries, and the Second Lien Notes Trustee.

         127.      “Second Lien Notes Trustee” means Wilmington Trust, National Association as Trustee and
Collateral Trustee under the Second Lien Notes.

          128.    “Secured Claim” means a Claim: (a) secured by a valid, perfected, and enforceable Lien on
collateral to the extent of the value of such collateral, as determined in accordance with section 506(a) of the
Bankruptcy Code or (b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

         129.     “Securities Act” means the Securities Act of 1933, as amended, or any similar federal, state, or local
law, as now in effect or hereafter amended, and the rules and regulations promulgated thereunder.

         130.      “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

         131.    “Series A Warrants” has the meaning set forth in the Warrants Term Sheet, attached to the
Restructuring Support Agreement as Annex 3.

         132.    “Series B Warrants” has the meaning set forth in the Warrants Term Sheet, attached to the
Restructuring Support Agreement as Annex 3.

         133.     “Subordinated Notes” means, collectively, the: (a) 6⅜% Senior Subordinated Notes Due 2021,
issued under the Indenture, dated as of February 17, 2011, (b) 5½% Senior Subordinated Notes Due 2022, issued
under the Indenture, dated as of April 30, 2014, and (c) 4⅝% Senior Subordinated Notes Due 2023, issued under the
Indenture, dated as of February 5, 2013, each by and among DNR, certain of its subsidiaries, and the Subordinated
Notes Trustee.

         134.      “Subordinated Notes Claims” means any Claims on account of the Subordinated Notes.

         135.       “Subordinated Notes Indentures” means those certain indentures governing the Subordinated Notes,
dated as of February 17, 2011, April 30, 2014, and February 5, 2013, each as supplemented and by and among DNR,
certain of its subsidiaries, and the Subordinated Notes Trustee.

         136.    “Subordinated Notes Trustee” means Wilmington Trust, National Association, as successor trustee
under the Subordinated Notes.

        137.    “Subordinated Notes Warrant Package” means 54.55% of the Series B Warrants, as defined in the
Warrants Term Sheet, attached to the Restructuring Support Agreement as Annex 3.

         138.      “Third-Party Release” means the releases set forth in Article VIII.C of the Plan.

         139.      “U.S. Trustee” means the United States Trustee for the Southern District of Texas.

          140.     “Unclaimed Distribution” means any distribution under the Plan on account of an Allowed Claim
or Interest to a Holder that has not: (a) accepted a particular distribution or, in the case of distributions made by check,
negotiated such check; (b) given notice to the Reorganized Debtors of an intent to accept a particular distribution; (c)
responded to the Debtors’ or Reorganized Debtors’ requests for information necessary to facilitate a particular
distribution; or (d) taken any other action necessary to facilitate such distribution.

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        141.      “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is subject to
assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

          142.    “Unimpaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         143.       “Warrants” mean the warrants issued by the Debtors on the Effective Date in accordance with the
terms set forth in the Warrants Term Sheet, attached to the Restructuring Support Agreement as Annex 3.

         144.     “Warrants Agreement” means that certain agreement providing for, among other things, the issuance
and terms of the Warrants, which shall be included in the Plan Supplement, on terms and conditions consistent in all
material respects with the Plan and the Warrants Term Sheet.

         145.    “Warrants Term Sheet” means the term sheet governing the issuance of Warrants attached to the
Restructuring Support Agreement as Annex 3.

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; (3) unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit, whether or not Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it
may thereafter be amended, modified, or supplemented; (4) any reference to an Entity as a Holder of a Claim or
Interest includes that Entity’s successors and assigns; (5) unless otherwise specified, all references herein to “Articles”
are references to Articles hereof or hereto; (6) unless otherwise specified, all references herein to exhibits are
references to exhibits in the Plan Supplement; (7) unless otherwise specified, the words “herein,” “hereof,” and
“hereto” refer to the Plan in its entirety rather than to a particular portion of the Plan; (8) subject to the provisions of
any contract, certificate of incorporation, by-law, instrument, release, or other agreement or document entered into in
connection with the Plan, the rights and obligations arising pursuant to the Plan shall be governed by, and construed
and enforced in accordance with the applicable Law, including the Bankruptcy Code and Bankruptcy Rules;
(9) captions and headings to Articles are inserted for convenience of reference only and are not intended to be a part
of or to affect the interpretation of the Plan; (10) any effectuating provisions may be interpreted by the Debtors or the
Reorganized Debtors in such a manner that is consistent with the overall purpose and intent of the Plan and without
further notice to or action, order, or approval of the Bankruptcy Court or any other Entity; (11) unless otherwise
specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (12) any term
used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may
be; (13) all references to docket numbers of documents Filed in the Chapter 11 Cases are references to the docket
numbers under the Bankruptcy Court’s CM/ECF system; (14) all references to statutes, regulations, orders, rules of
courts, and the like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases, unless
otherwise stated; (15) the words “include” and “including,” and variations thereof, shall not be deemed to be terms of
limitation, and shall be deemed to be followed by the words “without limitation”; (16) references to “Proofs of
Claim,” “holders of Claims,” “Disputed Claims,” and the like shall include “Proofs of Interest,” “holders of Interests,”
“Disputed Interests,” and the like, as applicable; (17) any immaterial effectuating provisions may be interpreted by
the Reorganized Debtors in such a manner that is consistent with the overall purpose and intent of the Plan all without
further notice to or action, order, or approval of the Bankruptcy Court or any other Entity; and (18) all references
herein to consent, acceptance, or approval may be conveyed by counsel for the respective parties that have such
consent, acceptance, or approval rights, including by electronic mail.




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C.       Computation of Time.

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next succeeding
Business Day. Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable
after the Effective Date.

D.       Governing Law.

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to the principles
of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General Obligations Law), shall
govern the rights, obligations, construction, and implementation of the Plan, any agreements, documents, instruments,
or contracts executed or entered into in connection with the Plan (except as otherwise set forth in those agreements,
in which case the governing law of such agreement shall control), and corporate governance matters; provided,
however, that corporate governance matters relating to the Debtors or the Reorganized Debtors, as applicable, not
incorporated in New York shall be governed by the laws of the state of incorporation or formation of the relevant
Debtor or the Reorganized Debtors, as applicable.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.

F.       Reference to the Debtors or the Reorganized Debtors.

          Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the Debtors or
the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the context
requires.

G.       Controlling Document.

         In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement document
or in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and the Plan, the
Confirmation Order shall control.

H.       Consent Rights.

         Notwithstanding anything herein to the contrary, any and all consultation, information, notice, and consent
rights of the parties to the Restructuring Support Agreement set forth in the Restructuring Support Agreement
(including the annexes and exhibits thereto) with respect to the form and substance of this Plan, all exhibits to the
Plan, and the Plan Supplement, and all other Definitive Documents (as defined in the Restructuring Support
Agreement), including any amendments, restatements, supplements, or other modifications to such agreements and
documents, and any consents, waivers, or other deviations under or from any such documents, shall be incorporated
herein by this reference (including to the applicable definitions in Article I.A hereof) and fully enforceable as if stated
in full herein. Failure to reference the rights referred to in this paragraph as such rights relate to any document
referenced in the Restructuring Support Agreement shall not impair such rights or obligations.




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                                           ARTICLE II.
                           ADMINISTRATIVE CLAIMS AND PRIORITY CLAIMS

          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional Fee
Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of Claims and
Interests set forth in Article III hereof.

A.       Administrative Claims.

          Except with respect to the Professional Fee Claims and Claims for fees and expenses pursuant to section
1930 of chapter 123 of title 28 of the United States Code, and except to the extent that a Holder of an Allowed
Administrative Claim and the Debtors against which such Allowed Administrative Claim is asserted agree to less
favorable treatment for such Holder, or such Holder has been paid by any Debtor on account of such Allowed
Administrative Claim prior to the Effective Date, each Holder of such an Allowed Administrative Claim will receive
in full and final satisfaction of its Allowed Administrative Claim an amount of Cash equal to the amount of such
Allowed Administrative Claim in accordance with the following: (1) if an Administrative Claim is Allowed on or
prior to the Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or, if not then due,
when such Allowed Administrative Claim is due or as soon as reasonably practicable thereafter); (2) if such
Administrative Claim is not Allowed as of the Effective Date, no later than thirty (30) days after the date on which an
order allowing such Administrative Claim becomes a Final Order, or as soon as reasonably practicable thereafter;
(3) if such Allowed Administrative Claim is based on liabilities incurred by the Debtors in the ordinary course of their
business after the Petition Date in accordance with the terms and conditions of the particular transaction giving rise to
such Allowed Administrative Claim without any further action by the Holders of such Allowed Administrative Claim;
(4) at such time and upon such terms as may be agreed upon by such Holder and the Debtors or the Reorganized
Debtors, as applicable; or (5) at such time and upon such terms as set forth in an order of the Bankruptcy Court.

B.       Professional Fee Claims.

         1.   Final Fee Applications and Payment of Professional Fee Claims.

         All requests for payment of Professional Fee Claims for services rendered and reimbursement of expenses
incurred prior to the Confirmation Date must be Filed no later than 45 days after the Effective Date. The Bankruptcy
Court shall determine the Allowed amounts of such Professional Fee Claims after notice and a hearing in accordance
with the procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay Professional Fee Claims
in Cash in the amount the Bankruptcy Court allows, including from the Professional Fee Escrow Account, which the
Reorganized Debtors will establish in trust for the Professionals and fund with Cash equal to the Professional Fee
Amount on the Effective Date.

         2.   Professional Fee Escrow Account.

         As soon as possible after Confirmation and not later than the Effective Date, the Debtors shall establish and
fund the Professional Fee Escrow Account with Cash equal to the Professional Fee Escrow Amount. The Professional
Fee Escrow Account shall be maintained in trust for the Professionals. Such funds shall not be considered property
of the Estates of the Debtors or the Reorganized Debtors. The Professional Fee Claims shall be paid in Cash to the
Professionals from the Professional Fee Escrow Account as soon as reasonably practicable after such Professional Fee
Claims are Allowed. When such Allowed Professional Fee Claims have been paid in full, any remaining amount in
the Professional Fee Escrow Account shall promptly be paid to the Reorganized Debtors without any further action
or order of the Bankruptcy Court.

         3.   Professional Fee Amount.

         Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid fees and
expenses incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such
estimate to the Debtors no later than five days before the Effective Date; provided, however, that such estimate shall
not be deemed to limit the amount of the fees and expenses that are the subject of each Professional’s final request for
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payment in the Chapter 11 Cases. If a Professional does not provide an estimate, the Debtors or Reorganized Debtors
may estimate the unpaid and unbilled fees and expenses of such Professional.

         4.   Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses related
to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

C.       DIP Facility Claims

         On the Plan Effective Date, each Holder of a DIP Facility Claim shall be deemed to hold an Allowed Claim
and shall receive its pro rata share of participation in the Exit Facility.

D.       Priority Tax Claims.

          Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim,
each Holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code.

                                        ARTICLE III.
                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Classification of Claims and Interests.

          This Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article II
hereof, all Claims and Interests are classified in the Classes set forth below in accordance with sections 1122 and
1123(a)(1) of the Bankruptcy Code. A Claim or an Interest is classified in a particular Class only to the extent that
the Claim or Interest fits within the description of that Class and is classified in other Class(es) to the extent that any
portion of the Claim or Interest fits within the description of such other Class(es). A Claim or an Interest also is
classified in a particular Class for the purpose of receiving distributions under the Plan only to the extent that such
Claim or Interest is an Allowed Claim or Interest in that Class and has not been paid, released, or otherwise satisfied
prior to the Effective Date.

         The classification of Claims and Interests against the Debtors pursuant to the Plan is as follows:

                Class           Claims and Interests                Status           Voting Rights
                                                                                 Not Entitled to Vote
              Class 1     Other Secured Claims                   Unimpaired
                                                                                 (Deemed to Accept)
                                                                                 Not Entitled to Vote
              Class 2     Other Priority Claims                  Unimpaired
                                                                                 (Deemed to Accept)
                                                                                 Not Entitled to Vote
              Class 3     Pipeline Lease Claims                  Unimpaired
                                                                                 (Deemed to Accept)
                                                                                 Not Entitled to Vote
              Class 4     RBL Claims / Hedge Claims              Unimpaired
                                                                                 (Deemed to Accept)
              Class 5     Second Lien Notes Claims               Impaired        Entitled to Vote

              Class 6     Convertible Notes Claims               Impaired        Entitled to Vote

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                Class             Claims and Interests              Status           Voting Rights
              Class 7     Subordinated Notes Claims              Impaired       Entitled to Vote
                                                                                Not Entitled to Vote
              Class 8     General Unsecured Claims               Unimpaired
                                                                                (Deemed to Accept)
                                                                                Not Entitled to Vote
                                                                 Unimpaired /
              Class 9     Intercompany Claims                                   (Deemed to Accept or
                                                                 Impaired
                                                                                Reject)
                                                                                Not Entitled to Vote
                                                                 Unimpaired /
              Class 10    Intercompany Interests                                (Deemed to Accept or
                                                                 Impaired
                                                                                Reject)
                                                                                Entitled to Vote
              Class 11    Existing Equity Interests              Impaired

B.       Treatment of Claims and Interests.

         Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the
treatment described below in full and final satisfaction, settlement, release, and discharge of and in exchange for such
Holder’s Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the Reorganized
Debtors and the Holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated, the
Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the Effective Date (or,
if payment is not then due, in accordance with its terms in the ordinary course of business) or as soon as reasonably
practicable thereafter.

         1.   Class 1 – Other Secured Claims

                  (a)      Classification: Class 1 consists of all Other Secured Claims.

                  (b)      Treatment: Each Holder of an Allowed Other Secured Claim shall receive, at the option of
                           the applicable Debtor:

                           (i)         payment in full in Cash of its Allowed Other Secured Claim;

                           (ii)        the collateral securing its Allowed Other Secured Claim;

                           (iii)       Reinstatement of its Allowed Other Secured Claim; or

                           (iv)        such other treatment that renders its Allowed Other Secured Claim Unimpaired in
                                       accordance with section 1124 of the Bankruptcy Code.

                  (c)      Voting: Class 1 is Unimpaired under the Plan. Holders of Claims in Class 1 are
                           conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                           Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                           Plan.

         2.   Class 2 – Other Priority Claims

                  (a)      Classification: Class 2 consists of all Other Priority Claims.

                  (b)      Treatment: Each Holder of an Allowed Other Priority Claim shall receive, at the option of
                           the applicable Debtor:

                           (i)         payment in full in Cash of its Allowed Other Priority Claim; or

                           (ii)        such other treatment that renders its Allowed Other Priority Claim Unimpaired in
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                           accordance with section 1124 of the Bankruptcy Code, or as otherwise permitted
                           by section 1129(a)(9) of the Bankruptcy Code.

         (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Claims in Class 2 are
                  conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                  Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                  Plan.

3.   Class 3 – Pipeline Lease Claims

         (a)      Classification: Class 3 consists of all Pipeline Lease Claims.

         (b)      Treatment: Each Holder of an Allowed Pipeline Lease Claim shall receive, at the option
                  of the applicable Debtor:

                  (i)      payment in full in Cash of its Allowed Pipeline Lease Claim;

                  (ii)     the collateral securing its Allowed Pipeline Lease Claim;

                  (iii)    Reinstatement of its Allowed Pipeline Lease Claim; or

                  (iv)     such other treatment to render such Allowed Pipeline Lease Claim Unimpaired in
                           accordance with section 1124 of the Bankruptcy Code.

         (c)      Voting: Class 3 is Unimpaired under the Plan. Holders of Claims in Class 3 are
                  conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                  Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                  Plan.

4.   Class 4 – RBL Claims and Hedge Claims

         (a)      Classification: Class 4 consists of all RBL Claims and Hedge Claims.

         (b)      Allowance: On the Effective Date:

                  (i)      the RBL Claims shall be Allowed in the aggregate principal amount of not less
                           than $[●], plus any accrued and unpaid interest on such principal amount as of the
                           Petition Date at the applicable contractual interest rate and any unpaid fees and
                           expenses payable in accordance with the RBL Credit Agreement; and

                  (ii)     the Hedge Claims shall be Allowed in the aggregate amount of not less than $[●],
                           plus any unpaid fees and expenses payable in accordance with any ISDA Master
                           Agreement.

         (c)      Treatment: Each Holder of an Allowed RBL Claim or Allowed Hedge Claim shall receive
                  payment in full in Cash or such other treatment rendering its Allowed RBL Claim or
                  Allowed Hedge Claim, as applicable, Unimpaired in accordance with section 1124 of the
                  Bankruptcy Code.

         (d)      Voting: Class 4 is Unimpaired under the Plan. Holders of Claims in Class 4 are
                  conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                  Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                  Plan.


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5.   Class 5 – Second Lien Notes Claims

         (a)     Classification: Class 5 consists of all Second Lien Notes Claims.

         (b)     Allowance: On the Effective Date, the Second Lien Notes Claims shall be Allowed in the
                 aggregate principal amount of not less than $[1,592,839,000], plus any accrued and unpaid
                 interest on such principal amount as of the Petition Date at the applicable contractual
                 interest rate and any unpaid fees and expenses payable in accordance with the Second Lien
                 Notes Indentures.

         (c)     Treatment: Each Holder of an Allowed Second Lien Notes Claim shall receive its Pro
                 Rata share of 95% of the New DNR Equity, subject to dilution by the Warrants and the
                 Management Incentive Plan.

         (d)     Voting: Class 5 is Impaired under the Plan. Holders of Claims in Class 5 are entitled to
                 vote to accept or reject the Plan.

6.   Class 6 – Convertible Notes Claims

         (a)     Classification: Class 6 consists of all Convertible Notes Claims.

         (b)     Allowance: On the Effective Date, the Convertible Notes Claims shall be Allowed in the
                 aggregate principal amount of not less than $[225,663,000], plus any accrued and unpaid
                 interest on such principal amount as of the Petition Date at the applicable contractual
                 interest rate and any unpaid fees and expenses payable in accordance with the Convertible
                 Notes Indenture.

         (c)     Treatment: Each Holder of an allowed Convertible Notes Claim shall receive its Pro Rata
                 share of:

                 (i)      5% of the New DNR Equity, subject to dilution by the Warrants and the
                          Management Incentive Plan; and

                 (ii)     the Convertible Notes Warrant Package.

         (d)     Voting: Class 6 is Impaired under the Plan. Holders of Claims in Class 6 are entitled to
                 vote to accept or reject the Plan.

7.   Class 7 – Subordinated Notes Claims

         (a)     Classification: Class 7 consists of all Subordinated Notes Claims.

         (b)     Allowance: On the Effective Date, the Subordinated Notes Claims shall be Allowed in the
                 aggregate principal amount of not less than $[245,690,000], plus any accrued and unpaid
                 interest on such principal amount as of the Petition Date at the applicable contractual
                 interest rate and any unpaid fees and expenses payable in accordance with the Subordinated
                 Notes Indentures.

         (c)     Treatment:

                 (i)      if Class 7 votes to accept the Plan, each Holder of an Allowed Subordinated
                          Notes Claim shall receive its Pro Rata share of the Subordinated Notes Warrant
                          Package.

                 (ii)     if Class 7 votes to reject the Plan, Holders of Subordinated Notes Claims will
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                          not receive any distribution on account of such Claims, which will be canceled,
                          released, and extinguished as of the Effective Date, and will be of no further force
                          or effect.

         (d)     Voting: Class 7 is Impaired under the Plan. Holders of Claims in Class 7 are entitled to
                 vote to accept or reject the Plan.

8.   Class 8 – General Unsecured Claims

         (a)     Classification: Class 8 consists of all General Unsecured Claims.

         (b)     Treatment: Each Holder of an Allowed General Unsecured Claim shall receive, at the
                 option of the applicable Debtor:

                 (i)      payment in full in Cash;

                 (ii)     Reinstatement; or

                 (iii)    such other treatment rendering such Allowed General Unsecured Claim
                          Unimpaired.

         (c)     Voting: Class 8 is Unimpaired under the Plan. Holders of Claims in Class 8 are
                 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                 Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                 Plan.

9.   Class 9 – Intercompany Claims

         (a)     Classification: Class 9 consists of all Intercompany Claims.

         (b)     Treatment: Each Allowed Intercompany Claim shall be, at the option of the applicable
                 Debtor, either:

                 (i)      Reinstated;

                 (ii)     canceled, released, and extinguished, and will be of no further force or effect; or

                 (iii)    otherwise addressed at the option of each applicable Debtor such that Holders of
                          Class 9 Intercompany Claims will not receive any distribution on account of such
                          Class 9 Claims.

         (c)     Voting: Class 9 is conclusively deemed to have accepted the Plan pursuant to
                 section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                 the Bankruptcy Code. Class 9 is not entitled to vote to accept or reject the Plan.

10. Class 10 – Intercompany Interests

         (a)     Classification: Class 10 consists of all Intercompany Interests.

         (b)     Treatment: Each Intercompany Interest shall be Reinstated as of the Effective Date or, at
                 the Debtors’ or the Reorganized Debtors’ option, shall be cancelled. No distribution shall
                 be made on account of any Intercompany Interests.




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                  (c)      Voting: Class 10 is conclusively deemed to have accepted the Plan pursuant to
                           section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                           the Bankruptcy Code. Class 10 is not entitled to vote to accept or reject the Plan.

         11. Class 11 – Existing Equity Interests

                  (a)      Classification: Class 11 consists of all Existing Equity Interests.

                  (b)      Treatment:

                           (i)      if (A) Class 7 votes to accept the Plan and (B) Class 11 votes to accept the
                                    Plan, each Holder of Existing Equity Interests shall receive its Pro Rata share of
                                    the Existing Equity Warrant Package.

                           (ii)     if either Class 7 or Class 11 votes to reject the Plan, Holders of Existing Equity
                                    Interests will not receive any distribution on account of such Interests, which will
                                    be canceled, released, and extinguished as of the Effective Date, and will be of no
                                    further force or effect.

                  (c)      Voting: Class 11 is Impaired under the Plan. Holders of Interests in Class 11 are entitled
                           to vote to accept or reject the Plan.

C.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights regarding any Unimpaired Claim, including, all rights regarding legal and equitable defenses to or
setoffs or recoupments against any such Unimpaired Claim.

D.       Elimination of Vacant Classes.

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote and no Holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the Holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests.

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by Holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes
of administrative convenience and due to the importance of maintaining the prepetition corporate structure for the
ultimate benefit of the Holders of New DNR Equity, and in exchange for the Debtors’ and Reorganized Debtors’
agreement under the Plan to make certain distributions to the Holders of Allowed Claims.

G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

          Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors reserve
the right to modify the Plan in accordance with Article X hereof to the extent, if any, that Confirmation pursuant to
section 1129(b) of the Bankruptcy Code requires modification, including by modifying the treatment applicable to a
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Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent permitted by the
Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are Impaired,
the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the Confirmation
Date.

I.       Subordinated Claims and Interests.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights relating
thereto, whether arising under general principles of equitable subordination, section 510(b) of the Bankruptcy Code,
or otherwise. Pursuant to section 510 of the Bankruptcy Code, and subject to the Restructuring Support Agreement,
the Reorganized Debtors reserve the right to re-classify any Allowed Claim or Allowed Interest in accordance with
any contractual, legal, or equitable subordination relating thereto.

                                            ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests.

           As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to section 1123
of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases,
and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good
faith compromise and settlement of all Claims, Interests, Causes of Action, and controversies released, settled,
compromised, discharged, satisfied, or otherwise resolved pursuant to the Plan, including (1) any challenge to the
amount, validity, perfection, enforceability, priority or extent of the Pipeline Lease Claims, RBL Claims, Hedge
Claims, Second Lien Notes Claims, Convertible Notes Claims, or the Subordinated Notes Claims, and (2) any claim
to avoid, subordinate, or disallow any Pipeline Lease Claim, RBL Claim, Hedge Claim, Second Lien Notes Claim,
Convertible Notes Claim, or Subordinated Notes Claim, whether under any provision of chapter 5 of the Bankruptcy
Code, on any equitable theory (including equitable subordination, equitable disallowance, or unjust enrichment) or
otherwise. The Plan shall be deemed a motion to approve the good faith compromise and settlement of all such
Claims, Interests, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of such compromise and settlement under section 1123 of the Bankruptcy
Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and compromise
is fair, equitable, reasonable and in the best interests of the Debtors and their Estates. Subject to Article VI hereof, all
distributions made to Holders of Allowed Claims or Allowed Interests (as applicable) in any Class are intended to be
and shall be final.

B.       Restructuring.

         On or before the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into and shall
take any actions as may be necessary or appropriate to effect the Restructuring. The actions to implement the
Restructuring may include, in accordance with the consent rights in the Restructuring Support Agreement: (1) the
execution and delivery of appropriate agreements or other documents of merger, amalgamation, consolidation,
restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase, or liquidation
containing terms that are consistent with the terms of the Plan and that satisfy the applicable requirements of applicable
Law and any other terms to which the applicable Entities may agree; (2) the execution and delivery of appropriate
instruments of transfer, assignment, assumption, or delegation of any asset, property, right, liability, debt, or obligation
on terms consistent with the terms of the Plan and having other terms for which the applicable parties agree; (3) the
filing of appropriate certificates or articles of incorporation, formation, reincorporation, merger, consolidation,
conversion, amalgamation, arrangement, continuance, or dissolution pursuant to applicable state or provincial law;

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(4) such other transactions that are required to effectuate the Restructuring; and (5) all other actions that the applicable
Entities determine to be necessary, including making filings or recordings that may be required by applicable Law in
connection with the Plan. The Confirmation Order shall, and shall be deemed to, pursuant to sections 363 and 1123
of the Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to effect any
transaction described in, contemplated by, or necessary to effectuate the Plan.

C.       Reorganized Debtors.

          On the Effective Date, the New Board shall be established, and the Reorganized Debtors shall adopt their
New Organizational Documents, which shall be consistent with the Governance Term Sheet. The Reorganized
Debtors shall be authorized to adopt any other agreements, documents, and instruments and to take any other actions
contemplated under the Plan as necessary to consummate the Plan. Cash payments to be made pursuant to the Plan
will be made by the Debtors or Reorganized Debtors, as applicable. The Debtors and Reorganized Debtors will be
entitled to transfer funds between and among themselves as they determine to be necessary or appropriate to enable
the Debtors or Reorganized Debtors, as applicable, to satisfy their obligations under the Plan. Except as set forth
herein, any changes in intercompany account balances resulting from such transfers will be accounted for and settled
in accordance with the Debtors’ historical intercompany account settlement practices and will not violate the terms of
the Plan.

          From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations set forth in
any post-Effective Date agreement, shall have the right and authority without further order of the Bankruptcy Court
to raise additional capital and obtain additional financing as the boards of directors of the applicable Reorganized
Debtors deem appropriate.

D.       Sources of Consideration for Plan Distributions.

         The Debtors and the Reorganized Debtors, as applicable, shall fund distributions under the Plan with:
(1) Cash on hand, including Cash from operations; (2) the proceeds from the Exit Facility; (3) the New DNR Equity;
and (4) the Warrants, as applicable.

         1.   Exit Facility.

         On the Effective Date, the Reorganized Debtors shall enter into the Exit Facility, the terms of which will be
set forth in the Exit Facility Documents, provided that the Debtors or the Reorganized Debtors, as applicable,
determine that entry into the Exit Facility is in the best interests of the Reorganized Debtors, provided, further, such
determination is reasonably acceptable to the Required Consenting Second Lien Noteholders.
         To the extent applicable, Confirmation of the Plan shall be deemed (a) approval of the Exit Facility
(including the transactions and related agreements contemplated thereby, and all actions to be taken, undertakings to
be made, and obligations to be incurred and fees and expenses to be paid by the Debtors or the Reorganized Debtors,
as applicable, in connection therewith), to the extent not approved by the Bankruptcy Court previously, and
(b) authorization for the Debtors or the Reorganized Debtors, as applicable, to, without further notice to or order of
the Bankruptcy Court, (i) execute and deliver those documents and agreements necessary or appropriate to pursue or
obtain the Exit Facility, including the Exit Facility Documents, and incur and pay any fees and expenses in connection
therewith, and (ii) act or take action under applicable Law, regulation, order, or rule or vote, consent, authorization,
or approval of any Person, subject to such modifications as the Debtors or the Reorganized Debtors, as applicable,
may deem to be necessary to consummate the Exit Facility; provided that such modifications are acceptable to the
Exit Facility Lenders and reasonably acceptable to the Required Consenting Second Lien Noteholders.
         As of the Effective Date, upon the granting of Liens in accordance with the Exit Facility Documents, such
Liens shall constitute valid, binding, enforceable, and automatically perfected Liens in the collateral specified in the
Exit Facility Documents. To the extent provided in the Exit Facility Documents, the Exit Facility Agent or Holder(s)
of Liens under the Exit Facility Documents are authorized to file with the appropriate authorities mortgages, financing
statements and other documents, and to take any other action in order to evidence, validate, and perfect such Liens or
security interests. The guarantees, mortgages, pledges, Liens, and other security interests granted to secure the
obligations arising under the Exit Facility Documents shall be granted in good faith, for legitimate business purposes,

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and for reasonably equivalent value as an inducement to the Exit Facility Lenders to extend credit thereunder shall be
deemed not to constitute a fraudulent conveyance or fraudulent transfer and shall not otherwise be subject to
avoidance, recharacterization, or subordination, and the priorities of such Liens and security interests shall be as set
forth in the Exit Facility Documents.
         2.   Issuance of New DNR Equity.

         The issuance of the New DNR Equity, including options or other equity awards, if any, reserved for the
Management Incentive Plan and the Warrants, by the Reorganized Debtors shall be authorized without the need for
any further corporate action or without any further action by the Holders of Claims or Interests. The Reorganized
Debtors shall be authorized to issue a certain number of shares, units, or equity interests (as the case may be based on
how the New DNR Equity is denominated and the identity of the Reorganized Debtor issuing such shares, units, or
equity interests) of New DNR Equity required to be issued under the Plan and pursuant to their New Organizational
Documents. On the Effective Date, the Debtors or Reorganized Debtors, as applicable, shall issue all Securities, notes,
instruments, certificates, and other documents required to be issued pursuant to the Plan.

         All of the shares, units, or equity interests (as the case may be based on how the New DNR Equity is
denominated) of New DNR Equity issued pursuant to the Plan shall be duly authorized, validly issued, fully paid, and
non-assessable. Each distribution and issuance referred to in Article VI hereof shall be governed by the terms and
conditions set forth in the Plan applicable to such distribution or issuance and by the terms and conditions of the
instruments evidencing or relating to such distribution or issuance, which terms and conditions shall bind each Entity
receiving such distribution or issuance.

         3.   Issuance of Warrants.

          On the Effective Date, the applicable Reorganized Debtor will issue the Warrants only to the extent required
to provide for distributions to Holders of Convertible Notes Claims, Subordinated Notes Claims, and Existing Equity
Interests, as contemplated by this Plan. All of the Warrants issued pursuant to the Plan shall be duly authorized without
the need for any further corporate action and without any further action by the Debtors or Reorganized Debtors, as
applicable, validly issued, fully paid, and non-assessable. Each distribution and issuance referred to in Article VI
hereof shall be governed by the terms and conditions set forth in the Plan applicable to such distribution or issuance
and by the terms and conditions of the instruments evidencing or relating to such distribution or issuance, which terms
and conditions shall bind each Entity receiving such distribution or issuance without the need for execution by any
party thereto other than the applicable Reorganized Debtor(s).

E.       Holders of Working and Similar Interests.

          The legal and equitable rights, interests, defenses, and obligations of lessors under the Debtors’ oil and gas
leases, Holders of certain other mineral interests related to the Debtors’ oil and gas properties, owners of non-operating
working interests in the Debtors’ oil and gas properties, counterparties to the Debtors’ joint operating agreements, and
Holders of claims related to joint-interest billings and other similar working interests shall not be impaired in any
manner by the provisions of this Plan. Nor shall anything in this Plan impair the related legal and equitable rights,
interests, defenses, or obligations of the Debtors or the Reorganized Debtors. To the extent applicable, such Claims
or Interests shall be Reinstated pursuant to this Plan.

        Notwithstanding the foregoing, nothing in this Article IV.E hereof shall limit the Debtors’ rights to reject any
Executory Contract or Unexpired Lease in accordance with the Bankruptcy Code or pursuant to Article V hereof.

F.       Corporate Existence.

          Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated in
the Plan or the Plan Supplement, each Debtor shall continue to exist after the Effective Date as a separate corporate
entity, limited liability company, partnership, or other form, as the case may be, with all the powers of a corporation,
limited liability company, partnership, or other form, as the case may be, pursuant to the applicable Law in the
jurisdiction in which each applicable Debtor is incorporated or formed and pursuant to the respective certificate of
incorporation and bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent
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such certificate of incorporation and bylaws (or other formation documents) are amended under the Plan or otherwise,
in each case, consistent with the Restructuring Support Agreement (and subject to the consent, approval and
consultation rights set forth therein), and to the extent such documents are amended, such documents are deemed to
be amended pursuant to the Plan and require no further action or approval (other than any requisite filings required
under applicable state, provincial, or federal law). After the Effective Date, the respective certificate of incorporation
and bylaws (or other formation documents) of one or more of the Reorganized Debtors may be amended or modified
without supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules. After the Effective Date, one or more of the Reorganized Debtors may be disposed of, dissolved,
wound down, or liquidated without supervision or approval by the Bankruptcy Court and free of any restrictions of
the Bankruptcy Code or Bankruptcy Rules.

G.       Vesting of Assets in the Reorganized Debtors.

          Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated in,
or entered into in connection with or pursuant to, the Plan or Plan Supplement, including the Exit Facility Documents,
on the Effective Date, all property in each Estate, all Causes of Action, and any property acquired by any of the
Debtors pursuant to the Plan shall vest in each respective Reorganized Debtor, free and clear of all Liens, Claims,
charges, or other encumbrances. On and after the Effective Date, except as otherwise provided in the Plan, each
Reorganized Debtor may operate its business and may use, acquire, or dispose of property and compromise or settle
any Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy Court and free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules.

H.       Cancellation of Existing Securities and Agreements.

         On the Effective Date, except to the extent otherwise provided in the Plan, all notes, instruments, certificates,
credit agreements, indentures, and other documents evidencing Claims or Interests, shall be cancelled and the
obligations of the Debtors thereunder or in any way related thereto shall be deemed satisfied in full, cancelled,
discharged, and of no force or effect. Holders of or parties to such cancelled instruments, Securities, and other
documentation will have no rights arising from or relating to such instruments, Securities, and other documentation,
or the cancellation thereof, except the rights provided for pursuant to this Plan. Notwithstanding anything to the
contrary herein, but subject to any applicable provisions of Article VI hereof, the Second Lien Notes Indentures,
Convertible Notes Indenture, and the Subordinated Notes Indentures shall continue in effect solely to the extent
necessary to: (1) permit Holders of Claims under the Second Lien Notes Indentures, the Convertible Notes Indenture,
or the Subordinated Notes Indentures to receive their respective Plan Distributions; and (2) permit the Reorganized
Debtors and the Distribution Agent, as applicable, to make Plan Distributions on account of the Allowed Claims under
the Second Lien Notes Indentures, the Convertible Notes Indenture, and the Subordinated Notes Indentures, as
applicable. Except as provided in this Plan (including Article VI hereof), on the Effective Date, the agents and trustees
under the Second Lien Notes Indentures, the Convertible Notes Indenture, and the Subordinated Notes Indentures,
and their respective agents, successors, and assigns, shall be automatically and fully discharged of all of their duties
and obligations associated with the Second Lien Notes Indentures, the Convertible Notes Indenture, and the
Subordinated Notes Indentures. The commitments and obligations (if any) of the Second Lien Noteholders, the
Convertible Noteholders, or the Subordinated Noteholders to extend any further or future credit or financial
accommodations to any of the Debtors, any of their respective subsidiaries or any of their respective successors or
assigns under the Second Lien Notes Indentures, the Convertible Notes Indenture, or the Subordinated Notes
Indentures, as applicable, shall fully terminate and be of no further force or effect on the Effective Date.

I.       Corporate Action.

          Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including: (1) adoption or assumption, as applicable, of the Compensation and Benefit Programs;
(2) selection of the directors and officers for the Reorganized Debtors; (3) the issuance and distribution of the New
DNR Equity; (4) implementation of the Restructuring; (5) issuance and distribution of the Warrants; (6) entry into the
Registration Rights Agreement, the Warrants Agreement and the Exit Facility Documents, as applicable; (7) all other
actions contemplated under the Plan (whether to occur before, on, or after the Effective Date); (8) adoption of or entry
into the New Organizational Documents; (9) the rejection, assumption, or assumption and assignment, as applicable,

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of Executory Contracts and Unexpired Leases; and (10) all other acts or actions contemplated or reasonably necessary
or appropriate to promptly consummate the Restructuring contemplated by the Plan (whether to occur before, on, or
after the Effective Date). All matters provided for in the Plan involving the corporate structure of the Debtors or the
Reorganized Debtors, and any corporate, partnership, limited liability company, or other governance action required
by the Debtors or the Reorganized Debtor, as applicable, in connection with the Plan shall be deemed to have occurred
and shall be in effect, without any requirement of further action by the Security Holders, members, directors, or
officers of the Debtors or the Reorganized Debtors, as applicable. On or (as applicable) prior to the Effective Date,
the appropriate officers of the Debtors or the Reorganized Debtors, as applicable, shall be authorized and (as
applicable) directed to issue, execute, and deliver the agreements, documents, Securities, and instruments
contemplated under the Plan (or necessary or desirable to effect the transactions contemplated under the Plan) in the
name of and on behalf of the Reorganized Debtors, including the New DNR Equity, the New Organizational
Documents, the Warrants and the Warrants Agreement (as applicable), the Exit Facility Documents, and any and all
other agreements, documents, Securities, and instruments relating to the foregoing. The authorizations and approvals
contemplated by this Article IV.I shall be effective notwithstanding any requirements under non-bankruptcy Law.

J.       New Organizational Documents.

         On or immediately prior to the Effective Date, the New Organizational Documents shall be automatically
adopted by the applicable Reorganized Debtors. To the extent required under the Plan or applicable non-bankruptcy
Law, each of the Reorganized Debtors will file its New Organizational Documents with the applicable Secretaries of
State and/or other applicable authorities in its respective state or country of organization if and to the extent required
in accordance with the applicable Laws of the respective state or country of organization. The New Organizational
Documents will prohibit the issuance of non-voting equity Securities, to the extent required under section 1123(a)(6)
of the Bankruptcy Code. For the avoidance of doubt, the New Organizational Documents shall be consistent with the
Governance Term Sheet. After the Effective Date, the Reorganized Debtors may amend and restate their respective
New Organizational Documents, and the Reorganized Debtors may file such amended certificates or articles of
incorporation, bylaws, or such other applicable formation documents, and other constituent documents as permitted
by the applicable Laws of the respective states, provinces, or countries of incorporation and the New Organizational
Documents.

K.       Indemnification Provisions in Organizational Documents.

          As of the Effective Date, the New Organizational Documents of each Reorganized Debtor shall, to the fullest
extent permitted by applicable Law, provide for the indemnification, defense, reimbursement, exculpation, and/or
limitation of liability of, and advancement of fees and expenses to, the Debtors’ and the Reorganized Debtors’ current
and former managers, directors, officers, employees, or agents at least to the same extent as the certificate of
incorporation, bylaws, or similar organizational document of each of the respective Debtors on the Petition Date,
against any claims or causes of action whether direct or derivative, liquidated or unliquidated, fixed or contingent,
disputed or undisputed, matured or unmatured, known or unknown, foreseen or unforeseen, or asserted or unasserted.
Notwithstanding anything in the Plan to the contrary, none of the Reorganized Debtors will amend and/or restate the
New Organizational Documents before or after the Effective Date to terminate or adversely affect any of the
Reorganized Debtors’ obligations to provide such indemnification rights or such managers’, directors’, officers’,
employees’, or agents’ indemnification rights with respect to any claims relating to acts or omissions occurring at or
prior to the Effective Date.

L.       Directors and Officers of the Reorganized Debtors.

          As of the Effective Date, the term of the current members of the board of directors of DNR shall expire, and
all of the directors for the initial term of the New Board shall be appointed in accordance with the Governance Term
Sheet. The New Board shall initially consist of 7 members. In subsequent terms, the directors shall be selected in
accordance with the New Organizational Documents of the Reorganized Debtors. To the extent known, the identity
of the members of the New Board will be disclosed in the Plan Supplement or prior to the Confirmation Hearing,
consistent with section 1129(a)(5) of the Bankruptcy Code. Each director and officer of the Reorganized Debtors
shall serve from and after the Effective Date pursuant to the terms of the applicable New Organizational Documents
and other constituent documents.

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M.       Effectuating Documents; Further Transactions.

         On and after the Effective Date, the Reorganized Debtors, and their respective officers, directors, members,
or managers (as applicable), are authorized to and may issue, execute, deliver, file, or record such contracts, Securities,
instruments, releases, and other agreements or documents and take such actions as may be necessary or appropriate to
effectuate, implement, and further evidence the terms and conditions of the Plan and the Securities issued pursuant to
the Plan in the name of and on behalf of the Reorganized Debtors, without the need for any approvals, authorization,
or consents except for those expressly required pursuant to the Plan.

N.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the issuance,
distribution, transfer, or exchange of any debt, equity, Security, or other interest in the Debtors or the Reorganized
Debtors; (2) the Restructuring; (3) the creation, modification, consolidation, termination, refinancing, and/or recording
of any mortgage, deed of trust, or other security interest, or the securing of additional indebtedness by such or other
means; (4) the making, assignment, or recording of any lease or sublease; (5) the grant of collateral as security for the
Reorganized Debtors’ obligations under and in connection with the Exit Facility; or (6) the making, delivery, or
recording of any deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan, including
any deeds, bills of sale, assignments, or other instrument of transfer executed in connection with any transaction arising
out of, contemplated by, or in any way related to the Plan, shall not be subject to any document recording tax, stamp
tax, conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, personal property transfer tax,
sales or use tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or
recording fee, or other similar tax or governmental assessment, and upon entry of the Confirmation Order, the
appropriate state or local governmental officials or agents shall forego the collection of any such tax or governmental
assessment and accept for filing and recordation any of the foregoing instruments or other documents without the
payment of any such tax, recordation fee, or governmental assessment. All filing or recording officers (or any other
Person with authority over any of the foregoing), wherever located and by whomever appointed, shall comply with
the requirements of section 1146(a) of the Bankruptcy Code, shall forego the collection of any such tax or
governmental assessment, and shall accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax or governmental assessment.

O.       Registration Rights Agreement

        On the Effective Date, Reorganized DNR and the Registration Rights Parties shall enter into the Registration
Rights Agreement. The Registration Rights Agreement shall provide the Registration Rights Parties with
commercially reasonable demand and piggyback registration rights and other customary terms and conditions.

P.       Director and Officer Liability Insurance.

         Notwithstanding anything in the Plan to the contrary, the Reorganized Debtors shall be deemed to have
assumed all of the Debtors’ D&O Liability Insurance Policies pursuant to section 365(a) of the Bankruptcy Code
effective as of the Effective Date. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval
of the Reorganized Debtors’ foregoing assumption of each of the unexpired D&O Liability Insurance Policies.
Notwithstanding anything to the contrary contained in the Plan, Confirmation of the Plan shall not discharge, impair,
or otherwise modify any indemnity obligations assumed by the foregoing assumption of the D&O Liability Insurance
Policies, and each such indemnity obligation will be deemed and treated as an Executory Contract that has been
assumed by the Debtors under the Plan as to which no Proof of Claim need be filed.

          In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or otherwise reduce the
coverage under any D&O Liability Insurance Policies (including any “tail policy”) in effect on or after the Petition
Date, with respect to conduct occurring prior thereto, and all directors and officers of the Debtors who served in such
capacity at any time prior to the Effective Date shall be entitled to the full benefits of any such policy for the full term
of such policy, to the extent set forth therein, regardless of whether such directors and officers remain in such positions
after the Effective Date.

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Q.       Management Incentive Plan.

          On the Effective Date, the Reorganized Debtors shall implement the Management Incentive Plan, the
principal terms of which shall be set forth in the Management Compensation Term Sheet Filed with the Plan
Supplement. The New DNR Equity provided in connection with the Management Incentive Plan will dilute all of the
New DNR Equity equally. The Management Incentive Plan will (i) reserve exclusively for participants in the
Management Incentive Plan a pool of equity interests of Reorganized DNR (or another entity designated pursuant to
the Plan to issue equity interests on the Plan Effective Date) of up to 10.0% of New DNR Equity, which may take the
form of awards of equity, options, restricted stock units, or other equity instruments, determined on a fully diluted and
fully distributed basis (i.e., assuming conversion of all outstanding convertible securities (including the Warrants) and
full distribution of such equity pool), (ii) grant a portion of such equity pool no later than 60 days following the
Effective Date, with the remainder of such equity pool to be available for future grants to participants in the
Management Incentive Plan, each in amounts and on terms to be determined by the New Board in consultation with
the Chief Executive Officer and the Chief Financial Officer of DNR (and such other consultants as the New Board
determines), and (iii) include other terms and conditions customary for similar type equity plans.

R.       Employee and Retiree Matters and Benefits.

         Unless otherwise provided herein, and subject to Article V of the Plan, all Compensation and Benefits
Programs shall be assumed by the Reorganized Debtors (and assigned to the Reorganized Debtors, if necessary,
pursuant to section 365(a) of the Bankruptcy Code) and shall remain in place as of the Effective Date, and the
Reorganized Debtors will continue to honor such agreements, arrangements, programs, and plans. Notwithstanding
the foregoing, pursuant to section 1129(a)(13) of the Bankruptcy Code, from and after the Effective Date, all retiree
benefits (as such term is defined in section 1114 of the Bankruptcy Code), if any, shall continue to be paid in
accordance with applicable Law. The foregoing does not curtail the Reorganized Debtors’ ability to enter into
additional or supplemental agreements, arrangements, programs, or plans regarding employee wages, compensation,
and benefit programs.

S.       Preservation of Causes of Action.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, each
Reorganized Debtor, as applicable, shall retain and may enforce all rights to commence and pursue, as appropriate,
any and all Causes of Action of the Debtors, whether arising before or after the Petition Date, including any actions
specifically enumerated in the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to
commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of the
Effective Date, other than the Causes of Action released by the Debtors pursuant to the releases and exculpations
contained in the Plan, including in Article VIII hereof, which shall be deemed released and waived by the Debtors and
the Reorganized Debtors as of the Effective Date.

          The Reorganized Debtors may pursue such retained Causes of Action, as appropriate, in accordance with the
best interests of the Reorganized Debtors. No Entity (other than the Released Parties) may rely on the absence of
a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action
against it as any indication that the Debtors or the Reorganized Debtors, as applicable, will not pursue any and
all available Causes of Action of the Debtors against it. The Debtors and the Reorganized Debtors expressly
reserve all rights to prosecute any and all Causes of Action against any Entity, except as otherwise expressly
provided in the Plan, including Article VIII hereof. Unless otherwise agreed upon in writing by the parties to
the applicable Cause of Action, all objections to the Schedule of Retained Causes of Action must be Filed with
the Bankruptcy Court on or before thirty (30) days after the Effective Date. Any such objection that is not
timely filed shall be disallowed and forever barred, estopped, and enjoined from assertion against any
Reorganized Debtor, without the need for any objection or responsive pleading by the Reorganized Debtors or
any other party in interest or any further notice to or action, order, or approval of the Bankruptcy Court. The
Reorganized Debtors may settle any such objection without any further notice to or action, order, or approval of the
Bankruptcy Court. If there is any dispute regarding the inclusion of any Cause of Action on the Schedule of Retained
Causes of Action that remains unresolved by the Debtors or Reorganized Debtors, as applicable, and the objection
party for thirty (30) days, such objection shall be resolved by the Bankruptcy Court. Unless any Causes of Action of

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the Debtors against an Entity are expressly waived, relinquished, exculpated, released, compromised, or settled in the
Plan or a Final Order, the Reorganized Debtors expressly reserve all Causes of Action, for later adjudication, and,
therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Causes of Action upon, after, or
as a consequence of the Confirmation or Consummation.

         The Reorganized Debtors reserve and shall retain such Causes of Action of the Debtors notwithstanding the
rejection or repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the
Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold
against any Entity shall vest in the Reorganized Debtors, except as otherwise expressly provided in the Plan, including
Article VIII hereof. The applicable Reorganized Debtors, through their authorized agents or representatives, shall
retain and may exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the
exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the
foregoing without the consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court.

T.       Restructuring Expenses.

          Promptly following the receipt of an invoice therefor, the Restructuring Expenses incurred, or estimated to
be incurred, up to and including the Effective Date, shall be paid in full in Cash on the Effective Date or as soon as
reasonably practicable thereafter (to the extent not previously paid during the course of the Chapter 11 Cases) in
accordance with, and subject to, the terms of the Restructuring Support Agreement, without any requirement to file a
fee application with the Bankruptcy Court, without the need for itemized time detail, or without any requirement for
Bankruptcy Court review or approval. All such Restructuring Expenses to be paid on the Effective Date shall be
calculated or estimated as of the Effective Date, as applicable, and invoices documenting such Restructuring Expenses
shall be delivered to the Debtors at least two (2) Business Days prior to the anticipated Effective Date; provided that
such estimates shall not be considered an admission or limitation with respect to such fees and expenses. On or as
soon as reasonably practicable after the Effective Date, final invoices for all Restructuring Expenses incurred prior to
and as of the Effective Date shall be submitted to the Debtors or Reorganized Debtors, as applicable, and such invoices
shall be paid in full in Cash in accordance with, and subject to, the terms of the Restructuring Support Agreement.

                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

         On the Effective Date, except as otherwise provided in Article V.I.1 and elsewhere herein, all Executory
Contracts or Unexpired Leases not otherwise assumed or rejected will be deemed assumed by the applicable
Reorganized Debtor in accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy
Code, other than those that are: (1) identified on the Rejected Executory Contracts and Unexpired Leases Schedule;
(2) previously expired or terminated pursuant to their own terms; (3) have been previously assumed or rejected by the
Debtors pursuant to a Final Order; (4) are the subject of a motion to reject that is pending on the Effective Date; or
(5) have an ordered or requested effective date of rejection that is after the Effective Date, provided that
notwithstanding anything to the contrary herein, no Executory Contract or Unexpired Lease shall be assumed, assumed
and assigned, or rejected without the written consent of the Required Consenting Second Lien Noteholders (such
consent not to be unreasonably withheld); provided that approval of the Assumed Executory Contracts and Unexpired
Leases Schedule and the Rejected Executory Contracts and Unexpired Leases Schedule shall be sufficient consent
with respect to the Executory Contracts and Unexpired Leases listed therein. The assumption of Executory Contracts
and Unexpired Leases hereunder may include the assignment of certain of such contracts to Affiliates.

        Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the assumptions,
assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases as set forth in the Plan,
the Assumed Executory Contract and Unexpired Leases Schedule, or the Rejected Executory Contracts and Unexpired
Leases Schedule, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise specifically set

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forth herein, assumptions or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective
as of the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by Bankruptcy
Court order but not assigned to a third party before the Effective Date shall re-vest in and be fully enforceable by the
applicable contracting Reorganized Debtor in accordance with its terms, except as such terms may have been modified
by the provisions of the Plan or any order of the Bankruptcy Court authorizing and providing for its assumption. Any
motions to assume Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject to approval
by a Final Order on or after the Effective Date but may be withdrawn, settled, or otherwise prosecuted by the
Reorganized Debtors.

         Except as otherwise provided herein or agreed to by the Debtors and the applicable counterparty, each
assumed Executory Contract or Unexpired Lease shall include all modifications, amendments, supplements,
restatements, or other agreements related thereto, and all rights related thereto, if any, including all easements, licenses,
permits, rights, privileges, immunities, options, rights of first refusal, and any other interests. Modifications,
amendments, supplements, and restatements to prepetition Executory Contracts and Unexpired Leases that have been
executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter the prepetition nature of the
Executory Contract or Unexpired Lease or the validity, priority, or amount of any Claims that may arise in connection
therewith.

         To the maximum extent permitted by Law, to the extent any provision in any Executory Contract or
Unexpired Lease assumed or assumed and assigned pursuant to the Plan restricts or prevents, or purports to restrict or
prevent, or is breached or deemed breached by, the assumption or assumption and assignment of such Executory
Contract or Unexpired Lease (including any “change of control” provision), then such provision shall be deemed
modified such that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate
such Executory Contract or Unexpired Lease or to exercise any other default-related rights with respect thereto.

         If certain, but not all, of a non-Debtor counterparty’s Executory Contracts or Unexpired Leases are assumed
pursuant to the Plan, the Confirmation Order shall be a determination that such counterparty’s Executory Contracts
and/or Unexpired Leases that are being rejected pursuant to the Plan are severable agreements that are not integrated
with those Executory Contracts and/or Unexpired Leases that are being assumed pursuant to the Plan. Parties seeking
to contest this finding with respect to their Executory Contracts or Unexpired Leases must file a timely objection to
the Plan on the grounds that their agreements are integrated and not severable, and any such dispute shall be resolved
by the Bankruptcy Court at the Confirmation Hearing (to the extent not resolved by the parties prior to the
Confirmation Hearing).

          Notwithstanding anything to the contrary in the Plan, the Debtors or the Reorganized Debtors, as applicable,
reserve the right to alter, amend, modify, or supplement the Assumed Executory Contracts and Unexpired Leases
Schedule and the Rejected Executory Contracts and Unexpired Leases Schedule at any time up to forty-five (45) days
after the Effective Date, so long as such alteration, amendment, modification, or supplement is consistent with the
Restructuring Support Agreement (and subject to the consent, approval and consultation rights set forth therein).

B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

          Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Bankruptcy Court within thirty (30) days after the later of: (a) the
date of entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection, (b) the
effective date of such rejection, or (c) the Effective Date. Any Claims arising from the rejection of an Executory
Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be automatically
disallowed, forever barred from assertion, and shall not be enforceable against the Debtors or the Reorganized
Debtors, the Estates, or their property without the need for any objection by the Reorganized Debtors or
further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim
arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied,
released, and discharged, notwithstanding anything in the Proof of Claim to the contrary. All Allowed Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be classified as General
Unsecured Claims and shall be treated in accordance with Article III.B.8 of this Plan.

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C.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         No later than seven (7) calendar days before the Plan Objection Deadline, the Debtors shall provide notices
of proposed Cure Amounts to the counterparties to the agreements listed on the Assumed Executory Contracts and
Unexpired Leases Schedule, which shall include a description of the procedures for objecting to the proposed Cure
Amounts or the Reorganized Debtors’ ability to provide “adequate assurance of future performance thereunder”
(within the meaning of section 365 of the Bankruptcy Code). Unless otherwise agreed in writing by the parties in the
applicable Executory Contract or Unexpired Lease, any objection by a counterparty to an Executory Contract or
Unexpired Lease to a proposed assumption or related Cure Amount must be Filed, served, and actually received by
the counsel to the Debtor no later than the date and time specified in the notice. Any counterparty to an Executory
Contract or Unexpired Lease that fails to object timely to the proposed assumption or Cure Amount will be deemed
to have assented to such assumption or Cure Amount. Notwithstanding anything herein to the contrary, in the event
that any Executory Contract or Unexpired Lease is added to the Assumed Executory Contracts and Unexpired Leases
Schedule after such 7-day deadline, a notice of proposed Cure Amounts with respect to such Executory Contract or
Unexpired Lease will be sent promptly to the counterparty thereof.

         Unless otherwise agreed upon in writing by the parties to the applicable Executory Contract or Unexpired
Lease, all requests for payment of Cure Amount that differ from the amounts paid or proposed to be paid by the
Debtors or the Reorganized Debtors to a counterparty must be Filed with the Bankruptcy Court no later than the date
and time specified in the notice. Any such request that is not timely filed shall be disallowed and forever barred,
estopped, and enjoined from assertion, and shall not be enforceable against any Reorganized Debtor, without the need
for any objection by the Reorganized Debtors or any other party in interest or any further notice to or action, order, or
approval of the Bankruptcy Court. Any Cure Amount shall be deemed fully satisfied, released, and discharged upon
payment by the Debtors or the Reorganized Debtors of the Cure Amount; provided that nothing herein shall prevent
the Reorganized Debtors from paying any Cure Amount despite the failure of the relevant counterparty to file such
request for payment of such Cure Amount. The Reorganized Debtors also may settle any Cure Amount without any
further notice to or action, order, or approval of the Bankruptcy Court.

          The Debtors or the Reorganized Debtors, as applicable, shall pay the Cure Amounts, if any, on the Effective
Date or as soon as reasonably practicable thereafter, or on such other terms as the parties to such Executory Contracts
or Unexpired Leases may agree. If there is any dispute regarding any Cure Amount, the ability of the Reorganized
Debtors or any assignee to provide “adequate assurance of future performance” within the meaning of section 365 of
the Bankruptcy Code, or any other matter pertaining to assumption, then payment of the applicable Cure Amount shall
occur as soon as reasonably practicable after entry of a Final Order resolving such dispute, approving such assumption
(and, if applicable, assignment), or as may be agreed upon by the Debtors or the Reorganized Debtors, as applicable,
and the counterparty to the Executory Contract or Unexpired Lease.

         If the Bankruptcy Court determines that the Allowed Cure Amount with respect to any Executory Contract
or Unexpired Lease is greater than the amount set forth in the applicable Cure Notice, the Debtors or Reorganized
Debtors, as applicable, will have the right to add such Executory Contract or Unexpired Lease to the Schedule of
Rejected Executory Contracts and Unexpired Leases, in which case such Executory Contract or Unexpired Lease will
be deemed rejected as of the Effective Date.

         Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall result in
the full release and satisfaction of any Cure Amounts, Claims, or defaults, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest composition or any bankruptcy-
related defaults, arising at any time prior to the effective date of assumption. Any and all Proofs of Claim based
upon Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases, including
pursuant to the Confirmation Order, shall be deemed disallowed and expunged as of the later of (1) the date of
entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such assumption,
(2) the effective date of such assumption or (3) the Effective Date without the need for any objection thereto or
any further notice to or action, order, or approval of the Bankruptcy Court.




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D.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not constitute
a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as applicable, under such
Executory Contracts or Unexpired Leases. In particular, notwithstanding any applicable non-bankruptcy Law to the
contrary, the Reorganized Debtors expressly reserve and do not waive any right to receive, or any continuing
obligation of a counterparty to provide, warranties or continued maintenance obligations with respect to goods
previously purchased by the Debtors pursuant to rejected Executory Contracts or Unexpired Leases.

E.       Indemnification Obligations.

          On and as of the Effective Date, the Indemnification Obligations will be assumed, irrevocable with respect
to any claims relating to acts or omissions occurring at or prior to the Effective Date, and will survive the effectiveness
of the Plan.

F.       Insurance Policies.

         Notwithstanding anything in the Plan to the contrary, each of the Debtors’ insurance policies and any
agreements, documents, or instruments relating thereto, are treated as Executory Contracts under the Plan. Unless
otherwise provided in the Plan, on the Effective Date, (1) the Debtors shall be deemed to have assumed all insurance
policies and any agreements, documents, and instruments relating to coverage of all insured Claims and (2) such
insurance policies and any agreements, documents, or instruments relating thereto shall revest in the Reorganized
Debtors.

G.       Reservation of Rights.

         Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtors or any
other party that any contract or lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized
Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have
forty-five (45) days following entry of a Final Order resolving such dispute to alter their treatment of such contract or
lease.

H.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section 365(d)(4) of the
Bankruptcy Code.

I.       Employee Compensation and Benefits.

         1.   Compensation and Benefit Programs.

        Subject to the provisions of the Plan, all Compensation and Benefits Programs shall be treated as Executory
Contracts under the Plan and deemed assumed on the Effective Date pursuant to the provisions of sections 365
and 1123 of the Bankruptcy Code, except for:




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                  (a)      all employee equity or equity-based incentive plans, and any provisions set forth in the
                           Compensation and Benefits Programs that provide for rights to acquire Interests in any of
                           the Debtors; and

                  (b)      any Compensation and Benefits Programs that, as of the entry of the Confirmation Order,
                           have been specifically waived by the beneficiaries of any Compensation and Benefits
                           Programs plan or contract.

         Any assumption of Compensation and Benefits Programs pursuant to the terms herein shall not be deemed
to trigger any applicable change of control, immediate vesting, termination, or similar provisions therein. No
counterparty shall have rights under a Compensation and Benefits Program assumed pursuant to the Plan other than
those applicable immediately prior to such assumption.

         On the Effective Date, pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code, the
Management Employment Agreements shall be deemed assumed, and the Debtors and the Reorganized Debtors shall
not seek to reject the Management Employment Agreements after the Effective Date.

         2.       Workers’ Compensation Programs.

          As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the Reorganized Debtors
shall continue to honor their obligations under: (a) all applicable workers’ compensation laws in states in which the
Reorganized Debtors operate; and (b) the Debtors’ written contracts, agreements, agreements of indemnity,
self-insured workers’ compensation bonds, policies, programs, and plans for workers’ compensation and workers’
compensation insurance. All Proofs of Claims on account of workers’ compensation shall be deemed withdrawn
automatically and without any further notice to or action, order, or approval of the Bankruptcy Court; provided that
nothing in the Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized Debtors’ defenses, Causes of
Action, or other rights under applicable non-bankruptcy Law with respect to any such contracts, agreements, policies,
programs, and plans; provided further that nothing herein shall be deemed to impose any obligations on the Debtors
in addition to what is provided for under applicable state law.

J.       Contracts or Leases Entered Into After the Petition Date.

         Contracts or leases entered into after the Petition Date by any Debtor, including any Executory Contracts and
Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized Debtors
in the ordinary course of their business. Accordingly, such contracts or leases (including any assumed Executory
Contracts and Unexpired Leases) will survive and remain unaffected by entry of the Confirmation Order.

                                             ARTICLE VI.
                                 PROVISIONS GOVERNING DISTRIBUTIONS

A.       Distributions on Account of Claims or Interests Allowed as of the Effective Date.

          Except as otherwise provided herein, in a Final Order, or as otherwise agreed to by the Debtors or the
Reorganized Debtors, as the case may be, and the Holder of the applicable Allowed Claim or Interest on the first
Distribution Date, the Reorganized Debtors shall make initial distributions under the Plan on account of Claims or
Interests Allowed on or before the Effective Date, subject to the Reorganized Debtors’ right to object to any Claims
or Interests; provided that (1) Allowed Administrative Claims with respect to liabilities incurred by the Debtors in the
ordinary course of business during the Chapter 11 Cases or assumed by the Debtors prior to the Effective Date shall
be paid or performed in the ordinary course of business in accordance with the terms and conditions of any controlling
agreements, course of dealing, course of business, or industry practice, (2) Allowed Priority Tax Claims shall be paid
in accordance with Article II.D of the Plan, and (3) Allowed General Unsecured Claims against the Debtors shall be
paid in accordance with Article III.B.8 of the Plan. To the extent any Allowed Priority Tax Claim is not due and
owing on the Effective Date, such Claim shall be paid in full in Cash in accordance with the terms of any agreement
between the Debtors and the Holder of such Claim or as may be due and payable under applicable non-bankruptcy


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Law or in the ordinary course of business. Thereafter, a Distribution Date shall occur no less frequently than once in
every ninety (90) days, as necessary, in the Reorganized Debtors’ sole discretion.

B.       Distribution Agent.

         All distributions under the Plan shall be made by the Reorganized Debtors. The Distribution Agent shall not
be required to give any bond or surety or other security for the performance of its duties unless otherwise ordered by
the Bankruptcy Court. Additionally, in the event that the Distribution Agent is so otherwise ordered, all costs and
expenses of procuring any such bond or surety shall be borne by the Reorganized Debtors.

C.       Rights and Powers of Distribution Agent.

         1.   Powers of the Distribution Agent.

         The Distribution Agent shall be empowered to: (a) effect all actions and execute all agreements, instruments,
and other documents necessary to perform its duties under the Plan; (b) make all distributions contemplated hereby;
(c) employ professionals to represent it with respect to its responsibilities; and (d) exercise such other powers as may
be vested in the Distribution Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Distribution Agent to be necessary and proper to implement the provisions hereof.

         2.   Expenses Incurred On or After the Effective Date.

          Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Distribution Agent on or after the Effective Date (including taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the Distribution Agent
shall be paid in Cash by the Reorganized Debtors.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record holders listed on the Claims
Register as of the close of business on the Distribution Record Date. If a Claim, other than one based on a publicly
traded Security, is transferred twenty (20) or fewer days before the Distribution Record Date, the Distribution Agent
shall make distributions to the transferee only to the extent practical and, in any event, only if the relevant transfer
form contains an unconditional and explicit certification and waiver of any objection to the transfer by the transferor.

         2.   Delivery of Distributions in General.

         Except as otherwise provided herein, the Distribution Agent shall make distributions to Holders of Allowed
Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the address for each such Holder
as indicated on the Debtors’ records as of the date of any such distribution; provided, however, that the manner of
such distributions shall be determined at the discretion of the Reorganized Debtors.

        3. Delivery of Distributions on Second Lien Notes Claims, Convertible Notes Claims, and Subordinated
Notes Claims.

         The Second Lien Notes Trustee shall be deemed to be the Holder of all Allowed Class 5 Claims, the
Convertible Notes Trustee shall be deemed to be the Holder of all Allowed Class 6 Claims, and the Subordinated
Notes Trustee shall be deemed to be the Holder of all Allowed Class 7 Claims, for purposes of distributions to be
made hereunder, and all distributions on account of such Allowed Claims shall be deemed to have been made at the
direction of the applicable indenture trustee, and subject to the Indenture Trustees’ Charging Liens. Notwithstanding
anything in the Plan to the contrary, and without limiting the exculpation and release provisions of the Plan, the Second
Lien Notes Trustee, the Convertible Notes Trustee, or the Subordinated Notes Trustee shall not have any liability to
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any Entity with respect to distributions directed to be made by the Second Lien Notes Trustee, Convertible Notes
Trustee, or the Subordinated Notes Trustee.

         4.   Minimum Distributions.

          No fractional shares of New DNR Equity or Warrants shall be distributed and no Cash shall be distributed in
lieu of such fractional amounts. When any distribution pursuant to the Plan on account of an Allowed Claim or
Allowed Interest (as applicable) would otherwise result in the issuance of a number of shares of New DNR Equity or
Warrants that is not a whole number, the actual distribution of shares of New DNR Equity or Warrants shall be rounded
as follows: (a) fractions of one-half (½) or greater shall be rounded to the next higher whole number and (b) fractions
of less than one-half (½) shall be rounded to the next lower whole number with no further payment therefor. The total
number of authorized shares of New DNR Equity or Warrants to be distributed to Holders of Allowed Claims and
Allowed Interests hereunder shall be adjusted as necessary to account for the foregoing rounding.

         5.   Undeliverable Distributions and Unclaimed Property.

         In the event that any distribution to any Holder of Allowed Claims or Allowed Interests (as applicable) is
returned as undeliverable, no distribution to such Holder shall be made unless and until the Distribution Agent has
determined the then-current address of such Holder, at which time such distribution shall be made to such Holder
without interest; provided, however, that such distributions shall be deemed unclaimed property under section 347(b)
of the Bankruptcy Code at the expiration of six months from the Effective Date. After such date, all Unclaimed
Distributions shall revest in the applicable Reorganized Debtor automatically and without need for a further order by
the Bankruptcy Court (notwithstanding any applicable federal, provincial or state escheat, abandoned, or unclaimed
property laws to the contrary) and, to the extent such Unclaimed Distribution is comprised of New DNR Equity, such
New DNR Equity shall be canceled. Upon such revesting, the Claim of the Holder or its successors with respect to
such property shall be canceled, discharged, and forever barred notwithstanding any applicable federal or state escheat,
abandoned, or unclaimed property laws, or any provisions in any document governing the distribution that is an
Unclaimed Distribution, to the contrary.

          If any distribution to a Holder of an Allowed Claim is returned to the Distribution Agent as undeliverable,
no further distributions shall be made to such Holder unless and until the Distribution Agent is notified in writing of
such Holder’s then-current address or other necessary information for delivery, at which time all currently due missed
distributions shall be made to such Holder on the next Distribution Date. Undeliverable distributions shall remain in
the possession of the Reorganized Debtors until such time as a distribution becomes deliverable, or such distribution
reverts to the Reorganized Debtors or is canceled pursuant to this Article VI.D.5 of the Plan, and shall not be
supplemented with any interest, dividends, or other accruals of any kind.

         6.   Surrender of Canceled Instruments or Securities.

          On the Effective Date or as soon as reasonably practicable thereafter, each Holder of a certificate or
instrument evidencing a Claim or an Interest shall be deemed to have surrendered such certificate or instrument to the
Distribution Agent. Such surrendered certificate or instrument shall be cancelled solely with respect to the Debtors,
and such cancellation shall not alter the obligations or rights of any non-Debtor third parties vis-à-vis one another with
respect to such certificate or instrument, including with respect to any indenture or agreement that governs the rights
of the Holder of a Claim or Interest, which shall continue in effect for purposes of allowing Holders to receive
distributions under the Plan, charging liens, priority of payment, and indemnification rights. Notwithstanding anything
to the contrary herein, this paragraph shall not apply to certificates or instruments evidencing Claims that are
Unimpaired under the Plan.




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E.       Manner of Payment.

         1. All distributions of the New DNR Equity and Warrants to the Holders of the applicable Allowed Claims
or Allowed Interests under the Plan shall be made by the Distribution Agent on behalf of the Debtors or Reorganized
Debtors, as applicable.

         2. All distributions of Cash to the Holders of the applicable Allowed Claim under the Plan shall be made
by the Distribution Agent on behalf of the applicable Debtor or Reorganized Debtor.

          3. At the option of the Distribution Agent, any Cash payment to be made hereunder may be made by check
or wire transfer or as otherwise required or provided in applicable agreements.

F.       Section 1145 Exemption.

          Pursuant to section 1145 of the Bankruptcy Code, the offering, issuance, and distribution of the New DNR
Equity and the Warrants, as contemplated by Article III.B hereof, shall be exempt from, among other things, the
registration requirements of section 5 of the Securities Act and any other applicable Law requiring registration prior
to the offering, issuance, distribution, or sale of Securities. In addition, under section 1145 of the Bankruptcy Code,
such New DNR Equity and the Warrants will be freely tradable in the U.S. by the recipients thereof, subject to the
provisions of (i) section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section
2(a)(11) of the Securities Act, (ii) compliance with applicable securities laws and any rules and regulations of the
Securities and Exchange Commission, if any, applicable at the time of any future transfer of such Securities, and
(iii) any restrictions in the New Organizational Documents.

G.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, the Debtors, Reorganized Debtors, Distribution Agent,
and any applicable withholding agent shall comply with all tax withholding and reporting requirements imposed on
them by any Governmental Unit, and all distributions made pursuant to the Plan shall be subject to such withholding
and reporting requirements. Notwithstanding any provision in the Plan to the contrary, such parties shall be authorized
to take all actions necessary or appropriate to comply with such withholding and reporting requirements, including
liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to facilitate such distributions,
or establishing any other mechanisms they believe are reasonable and appropriate. The Debtors and Reorganized
Debtors reserve the right to allocate all distributions made under the Plan in compliance with all applicable wage
garnishments, alimony, child support, and similar spousal awards, Liens, and encumbrances. Notwithstanding any
other provision of the Plan to the contrary, each Holder of an Allowed Claim or Interest shall have the sole and
exclusive responsibility for the satisfaction and payment of any tax obligations imposed by any Governmental Unit,
including income, withholding, and other tax obligations, on account of such distribution.

H.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims (as
determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal amount of
the Claims, to any portion of such Claims for accrued but unpaid interest.

I.       No Postpetition Interest on Claims.

          Unless otherwise specifically provided for in the Plan or by order of the Bankruptcy Court, postpetition
interest shall not accrue or be paid on any prepetition Claims, and no Holder of a Claim shall be entitled to interest
accruing on or after the Petition Date on any Claim or right. Additionally, and without limiting the foregoing, interest
shall not accrue or be paid on any Disputed Claim with respect to the period from the Effective Date to the date a final
distribution is made on account of such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.



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J.       Foreign Currency Exchange Rate.

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the
exchange rate for the applicable currency as published in The Wall Street Journal, National Edition, on the Effective
Date.

K.       Setoffs and Recoupment.

         Except as expressly provided in this Plan, each Reorganized Debtor may, pursuant to section 553 of the
Bankruptcy Code, set off and/or recoup against any Plan Distributions to be made on account of any Allowed Claim,
any and all claims, rights, and Causes of Action that such Reorganized Debtor may hold against the Holder of such
Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount among the relevant Reorganized
Debtor(s) and the Holder of the Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court or another court
of competent jurisdiction; provided, however, that neither the failure to effectuate a setoff or recoupment nor the
allowance of any Claim hereunder shall constitute a waiver or release by a Reorganized Debtor or its successor of any
and all claims, rights, and Causes of Action that such Reorganized Debtor or its successor may possess against the
applicable Holder. In no event shall any Holder of a Claim be entitled to recoup such Claim against any claim, right,
or Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless such Holder actually has
performed such recoupment and provided notice thereof in writing to the Debtors in accordance with Article XII.G
hereof on or before the Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that such
Holder asserts, has, or intends to preserve any right of recoupment.

L.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall be
disallowed without a Claims objection having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account of such Claim
from a party that is not a Debtor or a Reorganized Debtor. Subject to the last sentence of this paragraph, to the extent
a Holder of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
Debtor or a Reorganized Debtor on account of such Claim, such Holder shall, within fourteen (14) days of receipt
thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the Holder’s total recovery
on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
any such distribution under the Plan. The failure of such Holder to timely repay or return such distribution shall result
in the Holder owing the applicable Reorganized Debtor annualized interest at the Federal Judgment Rate on such
amount owed for each Business Day after the fourteen (14) day grace period specified above until the amount is repaid.

         2.   Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the Holder of such Allowed Claim has exhausted all remedies with respect
to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such insurers’
agreement, the applicable portion of such Claim may be expunged without a Claims objection having to be Filed and
without any further notice to or action, order, or approval of the Bankruptcy Court.

         3.   Applicability of Insurance Policies.

         Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall be in accordance
with the provisions of any applicable insurance policy. Nothing contained in the Plan shall constitute or be deemed a
waiver of any Cause of Action that the Debtors or any Entity may hold against any other Entity, including insurers
under any policies of insurance, nor shall anything contained herein constitute or be deemed a waiver by such insurers
of any defenses, including coverage defenses, held by such insurers.
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                                            ARTICLE VII.
                               PROCEDURES FOR RESOLVING CONTINGENT,
                                 UNLIQUIDATED, AND DISPUTED CLAIMS

A.       Disputed Claims Process.

         There is no requirement to file a Proof of Claim (or move the Bankruptcy Court for allowance) to have a
Claim Allowed for the purposes of the Plan, except as provided in Article V.B of the Plan. On and after the Effective
Date, except as otherwise provided in this Plan, all Allowed Claims shall be satisfied in the ordinary court of business
of the Reorganized Debtors. The Debtors and the Reorganized Debtors, as applicable, shall have the exclusive
authority to (i) determine, without the need for notice to or action, order, or approval of the Bankruptcy Court, that a
claim subject to any Proof of Claim that is Filed is Allowed and (ii) file, settle, compromise, withdraw, or litigate to
judgment any objections to Claims as permitted under this Plan. If the Debtors or Reorganized Debtors dispute any
Claim, such dispute shall be determined, resolved, or adjudicated, as the case may be, in the manner as if the
Chapter 11 Cases had not been commenced and shall survive the Effective Date as if the Chapter 11 Cases had not
been commenced; provided that the Debtors or Reorganized Debtors may elect, at their sole option, to object to any
Claim (other than Claims expressly Allowed by this Plan) and to have the validity or amount of any Claim adjudicated
by the Bankruptcy Court; provided, further, that Holders of Claims may elect to resolve the validity or amount of any
Claim in the Bankruptcy Court. If a Holder makes such an election, the Bankruptcy Court shall apply the Law that
would have governed the dispute if the Chapter 11 Cases had not been filed. All Proofs of Claim Filed in the
Chapter 11 Cases shall be considered objected to and Disputed without further action by the Debtors. Except as
otherwise provided herein, all Proofs of Claim Filed after the Effective Date shall be disallowed and forever
barred, estopped, and enjoined from assertion, and shall not be enforceable against any Reorganized Debtor,
without the need for any objection by the Reorganized Debtors or any further notice to or action, order, or
approval of the Bankruptcy Court.

B.       Allowance of Claims.

         After the Effective Date, each of the Reorganized Debtors shall have and retain any and all rights and defenses
such Debtor had with respect to any Claim or Interest immediately prior to the Effective Date. The Debtors may
affirmatively determine to deem Unimpaired Claims Allowed to the same extent such Claims would be allowed under
applicable non-bankruptcy Law.

C.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the Reorganized Debtors shall
have the sole authority: (1) to File, withdraw, or litigate to judgment, objections to Claims or Interests; (2) to settle or
compromise any Disputed Claim without any further notice to or action, order, or approval by the Bankruptcy Court;
and (3) to administer and adjust the Claims Register to reflect any such settlements or compromises without any further
notice to or action, order, or approval by the Bankruptcy Court. For the avoidance of doubt, except as otherwise
provided herein, from and after the Effective Date, each Reorganized Debtor shall have and retain any and all rights
and defenses such Debtor had immediately prior to the Effective Date with respect to any Disputed Claim or Interest,
including the Causes of Action retained pursuant to Article IV.S of the Plan.

         Any objections to Claims and Interests other than General Unsecured Claims shall be served and filed on or
before the 180th day after the Effective Date or by such later date as ordered by the Bankruptcy Court. All Claims
and Interests other than General Unsecured Claims not objected to by the end of such 180-day period shall be deemed
Allowed unless such period is extended upon approval of the Bankruptcy Court.

        Notwithstanding the foregoing, the Debtors and Reorganized Debtors shall be entitled to dispute and/or
otherwise object to any General Unsecured Claim in accordance with the Bankruptcy Code or any applicable non-
bankruptcy Law. If the Debtors, or Reorganized Debtors dispute any General Unsecured Claim, such dispute shall be
determined, resolved, or adjudicated, as the case may be, in the manner as if the Chapter 11 Cases had not been
commenced. In any action or proceeding to determine the existence, validity, or amount of any General Unsecured


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Claim, any and all claims or defenses that could have been asserted by the applicable Debtor(s) or the Entity holding
such General Unsecured Claim are preserved as if the Chapter 11 Cases had not been commenced.

D.       Adjustment to Claims or Interests without Objection.

         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or superseded
may be adjusted or expunged on the Claims Register by the Reorganized Debtors without the Reorganized Debtors
having to File an application, motion, complaint, objection, or any other legal proceeding seeking to object to such
Claim or Interest and without any further notice to or action, order, or approval of the Bankruptcy Court.

E.       Estimation of Claims.

          Before, on, or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, may (but are
not required to) at any time request that the Bankruptcy Court estimate any Claim pursuant to applicable Law,
including pursuant to section 502(c) of the Bankruptcy Code and/or Bankruptcy Rule 3012 for any reason, regardless
of whether any party previously has objected to such Claim or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court shall retain jurisdiction to estimate any such Claim, including during the litigation
of any objection to any Claim or during the pendency of any appeal relating to such objection. Notwithstanding any
provision to the contrary in the Plan, a Claim that has been expunged from the Claims Register, but that either is
subject to appeal or has not been the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless
otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any Claim and does not
provide otherwise, such estimated amount shall constitute a maximum limitation on such Claim for all purposes under
the Plan (including for purposes of distributions and discharge) and may be used as evidence in any supplemental
proceedings, and the Debtors or Reorganized Debtors may elect to pursue any supplemental proceedings to object to
any ultimate distribution on such Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall
any Holder of a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise be
entitled to seek reconsideration of such estimation unless such Holder has Filed a motion requesting the right to seek
such reconsideration on or before seven (7) days after the date on which such Claim is estimated. Each of the foregoing
Claims and objection, estimation, and resolution procedures are cumulative and not exclusive of one another. Claims
may be estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by the
Bankruptcy Court.

F.       Disallowance of Claims or Interests.

          All Claims and Interests of any Entity from which property is sought by the Debtors under sections 542, 543,
550, or 553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is a transferee of a transfer
that is avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code shall be
disallowed if: (a) the Entity, on the one hand, and the Debtors or the Reorganized Debtors, as applicable, on the other
hand, agree or the Bankruptcy Court has determined by Final Order that such Entity or transferee is liable to turn over
any property or monies under any of the aforementioned sections of the Bankruptcy Code; and (b) such Entity or
transferee has failed to turn over such property by the date set forth in such agreement or Final Order.

G.       No Distributions Pending Allowance.

          Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a Disputed Claim or
Interest, as applicable, no payment or distribution provided hereunder shall be made on account of such Claim or
Interest unless and until such Disputed Claim or Interest becomes an Allowed Claim or Interest; provided that if only
the Allowed amount of an otherwise valid Claim or Interest is Disputed, such Claim or Interest shall be deemed
Allowed in the amount not Disputed and payment or distribution shall be made on account of such undisputed amount.

H.       Distributions After Allowance.

          To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest, distributions
(if any) shall be made to the Holder of such Allowed Claim or Interest in accordance with the provisions of the Plan.
As soon as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
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Disputed Claim or Interest becomes a Final Order, the Distribution Agent shall provide to the Holder of such Claim
or Interest the distribution (if any) to which such Holder is entitled under the Plan as of the Effective Date, without
any interest to be paid on account of such Claim or Interest.

                                       ARTICLE VIII.
                 SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Plan or in any contract, instrument, or other agreement or document created or entered into pursuant to the Plan, the
distributions, rights, and treatment that are provided in the Plan shall be in complete satisfaction, discharge, and
release, effective as of the Effective Date, of Claims (including any Intercompany Claims resolved or compromised
after the Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever,
including any interest accrued on Claims or Interests from and after the Petition Date, whether known or unknown,
against, liabilities of, Liens on, obligations of, rights against, and interests in, the Debtors or any of their assets or
properties, regardless of whether any property shall have been distributed or retained pursuant to the Plan on account
of such Claims and Interests, including demands, liabilities, and Causes of Action that arose before the Effective Date,
any liability (including withdrawal liability) to the extent such Claims or Interests relate to services performed by
employees of the Debtors prior to the Effective Date and that arise from a termination of employment, any contingent
or non-contingent liability on account of representations or warranties issued on or before the Effective Date, and all
debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not:
(1) a Proof of Claim based upon such debt or right is Filed or deemed Filed pursuant to section 501 of the Bankruptcy
Code; (2) a Claim or Interest based upon such debt, right, or interest is Allowed pursuant to section 502 of the
Bankruptcy Code; or (3) the Holder of such a Claim or Interest has accepted the Plan. The Confirmation Order shall
be a judicial determination of the discharge of all Claims (other than the Reinstated Claims) and Interests (other than
the Intercompany Interests that are Reinstated) subject to the occurrence of the Effective Date.

B.       Releases by the Debtors.

         Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the
Bankruptcy Code, for good and valuable consideration, on and after the Effective Date, each Released Party is
deemed released and discharged by the Debtors, the Reorganized Debtors, and their Estates from any and all
Claims and Causes of Action, whether known or unknown, including any derivative claims asserted on behalf
of the Debtors, that the Debtors, the Reorganized Debtors, or their Estates (as applicable) would have been
legally entitled to assert in their own right (whether individually or collectively) or on behalf of the holder of
any Claim against, or Interest in, a Debtor or other Entity, or that any holder of any Claim against, or Interest
in, a Debtor or other Entity could have asserted on behalf of the Debtors, based on or relating to, or in any
manner arising from, in whole or in part: the Debtors (including the management, ownership, or operation
thereof), any securities issued by the Debtors and the ownership thereof, the Debtors’ restructuring efforts, any
Avoidance Actions (but excluding Avoidance Actions brought as counterclaims or defenses to Claims asserted
against the Debtors), any intercompany transactions, the Chapter 11 Cases, the formulation, preparation,
dissemination, solicitation, negotiation, entry into, or filing of the Restructuring Support Agreement, the DIP
Facility, the Disclosure Statement, the Plan, the Plan Supplement, the Exit Facility, or any Restructuring
Transaction, contract, instrument, release, or other agreement or document (including any legal opinion
requested by any Entity regarding any transaction, contract, instrument, document, or other agreement
contemplated by the Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu
of such legal opinion) created or entered into in connection with the Restructuring Support Agreement, the
DIP Facility, the Disclosure Statement, the Plan, the Plan Supplement, the Exit Facility, the Chapter 11 Cases,
the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of securities pursuant to
the Plan, or the distribution of property under the Plan or any other related agreement, or upon any other
related act or omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release (a) any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring

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transaction, or any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan or the Restructuring or (b) any individual from any claim or Causes of Action
related to an act or omission that is determined in a Final Order by a court competent jurisdiction to have
constituted actual fraud, willful misconduct, or gross negligence.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related provisions and
definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding that the Debtor
Release is: (a) in exchange for the good and valuable consideration provided by the Released Parties, including,
without limitation, the Released Parties’ contributions to facilitating the Restructuring and implementing the
Plan; (b) a good faith settlement and compromise of the Claims released by the Debtor Release; (c) in the best
interests of the Debtors and all holders of Claims and Interests; (d) fair, equitable, and reasonable; (e) given
and made after due notice and opportunity for hearing; and (f) a bar to any of the Debtors, the Reorganized
Debtors, or the Debtors’ Estates asserting any Claim or Cause of Action released pursuant to the Debtor
Release.

C.      Releases by the Releasing Parties.

         Notwithstanding anything contained in the Plan to the contrary, as of the Effective Date, each
Releasing Party is deemed to have released and discharged each Debtor, Reorganized Debtor, and Released
Party from any and all Claims and Causes of Action, whether known or unknown, including any derivative
claims, asserted on behalf of the Debtors, the Reorganized Debtors, or their Estates (as applicable), that such
Entity would have been legally entitled to assert (whether individually or collectively), based on or relating to,
or in any manner arising from, in whole or in part, the Debtors (including the management, ownership or
operation thereof), any securities issued by the Debtors and the ownership thereof, the Debtors’ restructuring
efforts, any Avoidance Actions (but excluding Avoidance Actions brought as counterclaims or defenses to
Claims asserted against the Debtors), intercompany transactions, the Chapter 11 Cases, the formulation,
preparation, dissemination, solicitation, negotiation, entry into, or filing of the Restructuring Support
Agreement, the DIP Facility, the Disclosure Statement, the Plan, the Exit Facility, the Plan Supplement, or any
Restructuring Transaction, contract, instrument, release, or other agreement or document (including any legal
opinion requested by any Entity regarding any transaction, contract, instrument, document or other agreement
contemplated by the Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu
of such legal opinion) created or entered into in connection with the Restructuring Support Agreement, the
DIP Facility, the Disclosure Statement, the Plan, the Exit Facility, the Plan Supplement, the Chapter 11 Cases,
the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of securities pursuant to
the Plan, or the distribution of property under the Plan or any other related agreement, or upon any other
related act or omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release (a) any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring
transaction, or any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan or the Restructuring or (b) any individual from any claim or Causes of Action
related to an act or omission that is determined in a Final Order by a court competent jurisdiction to have
constituted actual fraud, willful misconduct, or gross negligence.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference each of the related provisions
and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding that the
Third-Party Release is: (a) consensual; (b) essential to the confirmation of the Plan; (c) given in exchange for
the good and valuable consideration provided by the Released Parties; (d) a good faith settlement and
compromise of the Claims released by the Third-Party Release; (e) in the best interests of the Debtors and their
Estates; (f) fair, equitable, and reasonable; (g) given and made after due notice and opportunity for hearing;
and (h) a bar to any of the Releasing Parties asserting any claim or Cause of Action released pursuant to the
Third-Party Release.


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D.      Exculpation.

         Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur liability
for and each Exculpated Party is hereby released and exculpated from any Cause of Action for any claim
related to any act or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the
formulation, preparation, dissemination, negotiation, filing, or termination of the Restructuring Support
Agreement and related prepetition transactions, the DIP Facility, the Disclosure Statement, the Plan, the Exit
Facility, the Plan Supplement, or any Restructuring Transaction, contract, instrument, release, or other
agreement or document (including any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document or other agreement contemplated by the Plan or the reliance by any Released
Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in connection
with the Restructuring Support Agreement, the DIP Facility, the Disclosure Statement, the Plan, the Exit
Facility, the Plan Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including the
issuance or distribution of securities pursuant to the Plan, or the distribution of property under the Plan or any
other related agreement, or upon any other related act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date, except for claims related to any act or omission that is
determined in a Final Order by a court competent jurisdiction to have constituted actual fraud, willful
misconduct, or gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the
advice of counsel with respect to their duties and responsibilities pursuant to the Plan.

         The Exculpated Parties have, and upon confirmation of the Plan shall be deemed to have, participated
in good faith and in compliance with the applicable laws with regard to the solicitation of votes and distribution
of consideration pursuant to the Plan and, therefore, are not, and on account of such distributions shall not be,
liable at any time for the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Plan or such distributions made pursuant to the Plan.

E.      Injunction.

         Except as otherwise expressly provided in the Plan or for obligations issued or required to be paid
pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or may hold Claims or
Interests that have been released, discharged, or are subject to exculpation are permanently enjoined, from
and after the Effective Date, from taking any of the following actions against, as applicable, the Debtors, the
Reorganized Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or continuing in any
manner any action, suit or other proceeding of any kind on account of or in connection with or with respect to
any such Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner or means any
judgment, award, decree, or order against such Entities on account of or in connection with or with respect to
any such Claims or Interests; (3) creating, perfecting, or enforcing any encumbrance of any kind against such
Entities or the property or the estates of such Entities on account of or in connection with or with respect to
any such Claims or Interests; (4) asserting any right of setoff, subrogation, or recoupment of any kind against
any obligation due from such Entities or against the property of such Entities on account of or in connection
with or with respect to any such Claims or Interests unless such Holder has Filed a motion requesting the right
to perform such setoff on or before the Effective Date, and notwithstanding an indication of a Claim or Interest
or otherwise that such Holder asserts, has, or intends to preserve any right of setoff pursuant to applicable Law
or otherwise; and (5) commencing or continuing in any manner any action or other proceeding of any kind on
account of or in connection with or with respect to any such Claims or Interests released or settled pursuant to
the Plan.

        Upon entry of the Confirmation Order, all Holders of Claims and Interests and their respective current
and former employees, agents, officers, directors, principals, and direct and indirect Affiliates shall be enjoined
from taking any actions to interfere with the implementation or Consummation of the Plan. Each Holder of
an Allowed Claim or Allowed Interest, as applicable, by accepting, or being eligible to accept, distributions
under or Reinstatement of such Claim or Interest, as applicable, pursuant to the Plan, shall be deemed to have
consented to the injunction provisions set forth in this Article VIII.E.


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F.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Entities, shall not discriminate against the Reorganized Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
Reorganized Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of the
Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11
Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is dischargeable in the
Chapter 11 Cases.

G.       Release of Liens.

           Except as otherwise specifically provided in the Plan, the Exit Facility Documents, or in any contract,
instrument, release, or other agreement or document created pursuant to the Plan, on the Effective Date and
concurrently with the applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date, except for Other
Secured Claims that the Debtors elect to Reinstate or Hedge Claims with respect to which the applicable counterparty
has agreed to Reinstatement in accordance with the Plan, all mortgages, deeds of trust, Liens, pledges, or other security
interests against any property of the Estates shall be automatically and fully released and discharged, and all of the
right, title, and interest of any Holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall
revert to the Reorganized Debtors and their successors and assigns, in each case, without any further approval or order
of the Bankruptcy Court and without any action or Filing being required to be made by the Debtors or the Reorganized
Debtors, or any other Holder of a Secured Claim. Any Holder of such Secured Claims (and the applicable agent for
such Holder) shall be authorized and directed to release any collateral or other property of the Debtors (including any
cash collateral and possessory collateral) held by such Holders (and the applicable agent for such Holders), and to take
such actions as may be reasonably requested by the Reorganized Debtors to evidence the release of such Liens and/or
security interests, including the execution, delivery, and filing or recording of all documents reasonably requested by
the Debtors, Reorganized Debtors, or the Exit Facility Agent to evidence the release of such mortgages, deeds of trust,
Liens, pledges, and other security interests. The presentation or filing of the Confirmation Order to or with any federal,
state, provincial, or local agency, records office, or department shall constitute good and sufficient evidence of, but
shall not be required to effect, the termination of such mortgages, deeds of trust, Liens, pledges, and other security
interests.

          To the extent that any Holder of a Secured Claim that has been satisfied or discharged in full pursuant to the
Plan, or any agent for such Holder, has filed or recorded publicly any Liens and/or security interests to secure such
Holder’s Secured Claim, then as soon as practicable on or after the Effective Date, such Holder (or the agent for such
Holder) shall take any and all steps requested by the Debtors, the Reorganized Debtors, or Exit Facility Agent that are
necessary or desirable to record or effectuate the cancellation and/or extinguishment of such Liens and/or security
interests, including the making of any applicable filings or recordings, and the Reorganized Debtors shall be entitled
to make any such filings or recordings on such Holder’s behalf. Notwithstanding the foregoing paragraph, this Article
VIII.G shall not apply to any Secured Claims that are Reinstated pursuant to the terms of this Plan.

H.       Document Retention.

         On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the Reorganized
Debtors.

I.       Reimbursement or Contribution.

        If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to section
502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of allowance or
disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of the Bankruptcy
Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent or (2) the relevant

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Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final Order has been
entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                                ARTICLE IX.
                                  CONDITIONS PRECEDENT TO CONFIRMATION
                                     AND CONSUMMATION OF THE PLAN

A.         Conditions Precedent to the Effective Date.

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied or waived
pursuant to the provisions of Article IX.B hereof:

              1.         the Bankruptcy Court shall have entered the Confirmation Order, which shall:

                   (a)     be in form and substance consistent with the Restructuring Support Agreement (and subject to
                           the consent, approval and consultation rights set forth therein);

                   (b)     authorize the Debtors to take all actions necessary to enter into, implement, and consummate
                           the contracts, instruments, releases, leases, indentures, and other agreements or documents
                           created in connection with the Plan;

                   (c)     decree that the provisions of the Confirmation Order and the Plan are nonseverable and
                           mutually dependent;

                   (d)     authorize the Debtors and Reorganized Debtors, as applicable or necessary, to, among other
                           things: (i) implement the Restructuring; (ii) issue and distribute the Warrants and the New
                           DNR Equity pursuant to the exemption from registration under the Securities Act provided by
                           section 1145 of the Bankruptcy Code or other exemption from such registration or pursuant to
                           one or more registration statements; (iii) make all distributions and issuances as required under
                           the Plan, including Cash, the Warrants, and the New DNR Equity; and (iv) enter into any
                           agreements and transactions as necessary to effectuate the Restructuring, including the Exit
                           Facility and the Management Incentive Plan;

                   (e)     authorize the implementation of the Plan in accordance with its terms;

                   (f)     provide that, pursuant to section 1146 of the Bankruptcy Code, the issuance or exchange of any
                           Security, assignment or surrender of any lease or sublease, and the delivery of any deed or other
                           instrument or transfer order, in furtherance of, or in connection with the Plan shall not be subject
                           to any stamp, real estate transfer, mortgage recording, or other similar tax; and

                   (g)     be a Final Order;

              2.       the Definitive Documents (as defined in the Restructuring Support Agreement) will contain terms
     and conditions consistent in all material respects with the Restructuring Support Agreement and will otherwise be
     subject to the consent of the applicable Consenting Creditors in accordance with section 3 of the Restructuring
     Support Agreement (such consent not to be unreasonably withheld);

             3.        the Debtors shall have obtained all governmental and third-party authorizations, consents,
     approvals, rulings, or documents that are necessary to implement and effectuate the Plan;

              4.       the final version of all schedules, documents, and exhibits in the Plan Supplement shall have been
     Filed in a manner consistent in all material respects with the Restructuring Support Agreement, including the
     consent rights provided for therein and in the Plan;

              5.         the Restructuring Support Agreement shall remain in full force and effect;
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              6.       adoption or assumption, as applicable, of the Compensation and Benefits Programs;

              7.       assumption of the Management Employment Agreements;

              8.       all actions, documents, certificates, and agreements necessary to implement the Plan (including
     any documents contained in the Plan Supplement) shall have been effected or executed and delivered to the
     applicable parties, and, to the extent required, filed with the applicable Governmental Units, in accordance with
     applicable Laws, and shall comply with the consent rights set forth in the Restructuring Support Agreement;

             9.       all professional fees and expenses of retained professionals required to be approved by the
     Bankruptcy Court shall have been paid in full or amounts sufficient to pay such fees and expenses after the Effective
     Date have been placed in the Professional Fee Escrow Account in accordance with Article II.B hereof pending
     approval by the Bankruptcy Court;

             10.       the Debtors shall have paid the Restructuring Expenses in accordance with the terms of Article
     IV.T hereof, the Restructuring Support Agreement, and the DIP Orders, as applicable;

               11.      the Exit Facility Documents shall have been duly executed and delivered by all of the Entities that
     are parties thereto and all conditions precedent (other than any conditions related to the occurrence of the Effective
     Date) to the effectiveness of the Exit Facility shall have been satisfied or duly waived in writing; and

              12.      the Debtors and Reorganized Debtors, as applicable, shall have implemented the Restructuring
     (including the Exit Facility) and all transactions contemplated herein, in a manner consistent with the Restructuring
     Support Agreement (and subject to the consent, approval and consultation rights set forth therein), the Plan, and the
     Plan Supplement.

B.         Waiver of Conditions.

         The conditions to Consummation set forth in this Article IX may be waived by the Debtors with the consent
of the Required Consenting Second Lien Noteholders, without notice, leave, or order of the Bankruptcy Court or any
formal action other than proceedings to confirm or consummate the Plan; provided that any waiver of the conditions
to Consummation set forth in Article IX.A.3, Article IX.A.5, Article IX.A.8, Article IX.A.10, Article IX.A.11, and
Article IX.A.12, and solely to the extent they affect the DIP Facility Documents, the DIP Orders, or the Exit Facility
Documents and consistent with the Restructuring Support Agreement (and subject to the consent, approval, and
consultation rights set forth therein), Article IX.A.1, Article IX.A.2, and Article IX.A.4 shall also require the consent
of the Required Consenting RBL Lenders.

C.         Effect of Non-Occurrence of Conditions.

         If Consummation does not occur, the Plan shall be null and void in all respects and nothing contained in the
Plan, the Disclosure Statement, or Restructuring Support Agreement shall: (1) constitute a waiver or release of any
Claims, Interests, or Causes of Action by any Entity; (2) prejudice in any manner the rights of the Debtors, any Holders
of Claims or Interests, or any other Entity; or (3) constitute an admission, acknowledgment, offer, or undertaking by
the Debtors, any Holders of Claims or Interests, or any other Entity.

D.         Substantial Consummation

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on the
Effective Date.




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                                          ARTICLE X.
                     MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.         Modification and Amendments.

          Except as otherwise specifically provided in this Plan and subject to the consent rights set forth in the
Restructuring Support Agreement, the Debtors reserve the right to modify the Plan, whether such modification is
material or immaterial, and seek Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit
votes on such modified Plan. Subject to those restrictions on modifications set forth in the Plan and the requirements
of section 1127 of the Bankruptcy Code, Rule 3019 of the Federal Rules of Bankruptcy Procedure, and, to the extent
applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly reserves its
respective rights to revoke or withdraw, or to alter, amend, or modify the Plan with respect to such Debtor, one or
more times, after Confirmation, and, to the extent necessary may initiate proceedings in the Bankruptcy Court to so
alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any inconsistencies in the Plan, the
Disclosure Statement, or the Confirmation Order, in such matters as may be necessary to carry out the purposes and
intent of the Plan; provided that each of the foregoing actions shall not violate the Restructuring Support Agreement.

B.         Effect of Confirmation on Modifications.

          Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.         Revocation or Withdrawal of Plan.

          To the extent permitted by the Restructuring Support Agreement, the Debtors reserve the right to revoke or
withdraw the Plan prior to the Confirmation Date and to File subsequent plans of reorganization. If the Debtors revoke
or withdraw the Plan, or if Confirmation or Consummation does not occur, then: (1) the Plan shall be null and void
in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing or limiting to an amount
certain of any Claim or Interest or Class of Claims or Interests), assumption or rejection of Executory Contracts or
Unexpired Leases effected under the Plan, and any document or agreement executed pursuant to the Plan, shall be
deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or
Interests; (b) prejudice in any manner the rights of such Debtor or any other Entity; or (c) constitute an admission,
acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.

                                                 ARTICLE XI.
                                          RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

             1.        allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or
     unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment of any
     Administrative Claim and the resolution of any and all objections to the secured or unsecured status, priority,
     amount, or allowance of Claims or Interests;

              2.        decide and resolve all matters related to the granting and denying, in whole or in part, any
     applications for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to
     the Bankruptcy Code or the Plan;

              3.        resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of
     any Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be
     liable and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including Cures pursuant
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to section 365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract or
Unexpired Lease that is assumed; (c) the Reorganized Debtors amending, modifying, or supplementing, after the
Effective Date, pursuant to Article V hereof, any Executory Contracts or Unexpired Leases to the list of Executory
Contracts and Unexpired Leases to be assumed or rejected or otherwise; and (d) any dispute regarding whether a
contract or lease is or was executory or expired;

        4.      ensure that distributions to Holders of Allowed Claims and Allowed Interests (as applicable) are
accomplished pursuant to the provisions of the Plan;

         5.     adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters,
and any other matters, and grant or deny any applications involving a Debtor that may be pending on the
Effective Date;

         6.       adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

         7.      enter and implement such orders as may be necessary to execute, implement, or consummate the
provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or documents
created in connection with the Plan, the Confirmation Order, or the Disclosure Statement, including the
Restructuring Support Agreement;

         8.       grant any consensual request to extend the deadline for assuming or rejecting Unexpired Leases
pursuant to section 365(d)(4) of the Bankruptcy Code;

        9.      enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of
the Bankruptcy Code;

         10.    resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection
with the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in connection
with the Plan;

          11.       issue injunctions, enter and implement other orders, or take such other actions as may be necessary
to restrain interference by any Entity with Consummation or enforcement of the Plan;

         12.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
injunctions, exculpations, and other provisions contained in Article VIII hereof and enter such orders as may be
necessary or appropriate to implement such releases, injunctions, and other provisions;

         13.       resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment
or return of distributions and the recovery of additional amounts owed by the Holder of a Claim or Interest for
amounts not timely repaid pursuant to Article VI.L hereof;

        14.       enter and implement such orders as are necessary if the Confirmation Order is for any reason
modified, stayed, reversed, revoked, or vacated;

         15.     determine any other matters that may arise in connection with or relate to the Plan, the Plan
Supplement, the Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or
other agreement or document created in connection with the Plan or the Disclosure Statement, including the
Restructuring Support Agreement;

         16.      enter an order or final decree concluding or closing the Chapter 11 Cases;

         17.      adjudicate any and all disputes arising from or relating to distributions under the Plan;

         18.      consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;
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              19.      determine requests for the payment of Claims and Interests entitled to priority pursuant to
     section 507 of the Bankruptcy Code;

             20.      hear and determine disputes arising in connection with the interpretation, implementation, or
     enforcement of the Plan or the Confirmation Order, including disputes arising under agreements, documents, or
     instruments executed in connection with the Plan;

              21.      hear and determine matters concerning state, local, and federal taxes in accordance with
     sections 346, 505, and 1146 of the Bankruptcy Code;

              22.      hear and determine all disputes involving the existence, nature, scope, or enforcement of any
     exculpations, discharges, injunctions, and releases granted in the Plan, including under Article VIII hereof,
     regardless of whether such termination occurred prior to or after the Effective Date;

             23.      enforce all orders previously entered by the Bankruptcy Court; and

             24.      hear any other matter not inconsistent with the Bankruptcy Code.

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the New Organizational
Documents and the Exit Facility and any documents related thereto shall be governed by the jurisdictional provisions
therein and the Bankruptcy Court shall not retain jurisdiction with respect thereto.

                                                ARTICLE XII.
                                         MISCELLANEOUS PROVISIONS

A.         Immediate Binding Effect.

         Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise,
upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt, the documents
and instruments contained in the Plan Supplement) shall be immediately effective and enforceable and deemed binding
upon the Debtors, the Reorganized Debtors, any and all Holders of Claims or Interests (irrespective of whether such
Holders of Claims or Interests have, or are deemed to have accepted the Plan), all Entities that are parties to or are
subject to the settlements, compromises, releases, discharges, and injunctions described in the Plan, each Entity
acquiring property under the Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired Leases
with the Debtors.

B.         Additional Documents.

          On or before the Effective Date, and consistent in all respects with the terms of the Restructuring Support
Agreement, the Debtors may file with the Bankruptcy Court such agreements and other documents as may be
necessary to effectuate and further evidence the terms and conditions of the Plan and the Restructuring Support
Agreement. The Debtors or the Reorganized Debtors, as applicable, and all Holders of Claims or Interests receiving
distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute, and deliver
any agreements or documents and take any other actions as may be necessary or advisable to effectuate the provisions
and intent of the Plan.

C.         Payment of Statutory Fees.

         All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized Debtors (or the
Distribution Agent on behalf of each of the Reorganized Debtors) for each quarter (including any fraction thereof)
until the earlier of entry of a final decree closing such Chapter 11 Cases or an order of dismissal or conversion,
whichever comes first.



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D.       Statutory Committee and Cessation of Fee and Expense Payment.

           On the Effective Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve
automatically and the members thereof shall be released and discharged from all rights, duties, responsibilities, and
liabilities arising from, or related to, the Chapter 11 Cases and under the Bankruptcy Code. The Debtors (or
Reorganized Debtors, as applicable) shall no longer be responsible for paying any fees or expenses incurred by the
members of or advisors to any statutory committee after the Effective Date.

E.       Reservation of Rights.

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date does
not occur. None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any action
by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed
to be an admission or waiver of any rights of any Debtor with respect to the Holders of Claims or Interests prior to the
Effective Date.

F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager, director,
agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

G.       Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:

                        Debtors                                               Counsel to the Debtors
 Denbury Resources Inc.                                    Kirkland & Ellis LLP
 5320 Legacy Drive                                         601 Lexington Avenue
 Plano, Texas 75024                                        New York, New York 10022
 Attention: Jim Matthews                                   Attention: Joshua A. Sussberg, P.C. Christopher Marcus,
                                                           P.C., and Rebecca Blake Chaikin
                                                           Email: jsussberg@kirkland.com; cmarcus@kirkland.com;
                                                           rebecca.chaikin@kirkland.com
                                                           - and -
                                                           Kirkland & Ellis LLP
                                                           300 North LaSalle
                                                           Chicago, Illinois 60654
                                                           Attention: David Eaton
                                                           Email: deaton@kirkland.com
                                                           - and -
                                                           Jackson Walker LLP
                                                           1401 McKinney Street, Suite 1900
                                                           Houston, TX 77010
                                                           Attention: Matthew D. Cavenaugh
                                                           Email: mcavenaugh@jw.com



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                United States Trustee                         Counsel to the Second Lien Ad Hoc Committee
 Office of The United States Trustee                    Paul, Weiss, Rifkind, Wharton & Garrison LLP
 515 Rusk Street, Suite 3516                            1285 Avenue of the Americas
 Houston, TX 77002                                      New York, NY 10019-6064
                                                        Attention: Andrew N. Rosenberg, Elizabeth R. McColm,
                                                        and Michael Turkel
                                                        Email: arosenberg@paulweiss.com;
                                                        emccolm@paulweiss.com; mturkel@paulweiss.com


             Counsel to the RBL Agent                           Counsel to the Convertible Ad Hoc Group
 Vinson & Elkins, LLP                                   Akin Gump Strauss Hauer & Feld LLP
 2001 Ross Avenue                                       One Bryant Park
 Suite 3900                                             Bank of America Tower
 Dallas, TX 75201                                       New York, NY 10036-6745
 Attention: Erec Winandy and Bill Wallander             Attention: Michael S. Stamer
 Email: ewinandy@velaw.com;                             Email: mstamer@akingump.com
 bwallander@velaw.com


          After the Effective Date, the Reorganized Debtors have the authority to send a notice to Entities that to
continue to receive documents pursuant to Bankruptcy Rule 2002, such Entity must file a renewed request to receive
documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Reorganized Debtors are authorized to
limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such
renewed requests.

H.       Term of Injunctions or Stays.

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

I.       Entire Agreement.

         Except as otherwise indicated, and without limiting the effectiveness of the Restructuring Support
Agreement, the Plan (including, for the avoidance of doubt, the documents and instruments in the Plan Supplement)
supersedes all previous and contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.

J.       Exhibits.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at https://dm.epiq11.com/Denbury or the Bankruptcy Court’s
website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is inconsistent with the terms of
the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan shall
control.




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K.       Nonseverability of Plan Provisions.

          If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated by such holding,
alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing, is:
(1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified without the
Debtors’ or Reorganized Debtors’ consent, as applicable; provided that any such deletion or modification must be
consistent with the Restructuring Support Agreement (and subject to the consent, approval and consultation rights set
forth therein); and (3) nonseverable and mutually dependent.

L.       Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with section 1125(g) of the Bankruptcy Code, and pursuant to section 1125(e) of the
Bankruptcy Code, the Debtors and each of their respective Affiliates, agents, representatives, members, principals,
shareholders, officers, directors, employees, advisors, and attorneys will be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of securities offered and sold
under the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the Reorganized
Debtors will have any liability for the violation of any applicable Law, rule, or regulation governing the solicitation
of votes on the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any
previous plan.

M.       Closing of Chapter 11 Cases.

          The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court
to close the Chapter 11 Cases.

N.       Waiver or Estoppel.

          Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court
prior to the Confirmation Date.




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Dated: July 28, 2020                 DENBURY RESOURCES INC.

                                     on behalf of itself and all other Debtors



                                     /s/ Christian S. Kendall
                                     Christian S. Kendall
                                     President and Chief Executive Officer
                                     Denbury Resources Inc.




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                              Annex 2

                   DIP-to-Exit Facility Term Sheet
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                                                                                          CONFIDENTIAL



                                      DENBURY RESOURCES INC.

       $615,000,000 Senior Secured Super Priority Debtor-in-Possession Revolving Credit Facility
                             Summary of Principal Terms and Conditions

Unless specifically defined herein, capitalized terms used herein shall have the meanings ascribed to such
terms in the Amended and Restated Credit Agreement dated as of December 9, 2014 (as amended,
restated, amended and restated, supplemented or otherwise modified prior to the Petition Date (as defined
below), the “Pre-Petition Credit Agreement”), among Denbury Resources Inc, a Delaware corporation
(the “Borrower”), the lenders party thereto (the “Pre-Petition Lenders”) and JPMorgan Chase Bank,
N.A., as administrative agent for the Pre-Petition Lenders (the “Pre-Petition Agent”).

Borrower:                                  Denbury Resources Inc., a Delaware corporation.

Debtors:                                   The Borrower and each of its direct and indirect subsidiaries
                                           (collectively, the “Debtors”).

Post-Petition Agent / Post-Petition        JPMorgan Chase Bank, N.A. (“JPMCB”) in its capacity as
Lenders:                                   administrative agent and collateral agent (in such capacities, the
                                           “Post-Petition Agent”) in respect of the DIP Facility (as
                                           hereinafter defined) for the Pre-Petition Lenders under the Pre-
                                           Petition Credit Agreement participating in the DIP Facility
                                           (together with JPMCB, the “Post-Petition Lenders). To the
                                           extent that all of the Pre-Petition Lenders participate in the Post-
                                           Petition Credit Agreement, their respective commitments
                                           thereunder will be in accordance with their pro rata
                                           commitments under the Pre-Petition Credit Agreement as in
                                           effect immediately prior to the Petition Date.

Joint Bookrunners and Lead Arrangers:      JPMCB, Bank of America, N.A., Wells Fargo Securities, LLC
                                           and Capital One, National Association, in their respective
                                           capacities as joint lead arrangers (in such capacities, the “Joint
                                           Lead Arrangers”) for the DIP Facility.

Co-Syndication Agents:                     Bank of America, N.A. and Wells Fargo Bank, National
                                           Association.

Co-Documentation Agents:                   Canadian Imperial Bank of Commerce, New York Branch,
                                           Comerica Bank, Credit Suisse AG, Cayman Islands Branch,
                                           Royal Bank of Canada and ABN AMRO Capital USA LLC.

Venue:                                     Debtors will file a voluntary petition for relief under Chapter 11
                                           of the Bankruptcy Code in the United States Bankruptcy Court
                                           for the Southern District of Texas (the “Bankruptcy Court”,
                                           and the date the Debtors’ bankruptcy cases (the “Chapter 11
                                           Cases”) are commenced, the “Petition Date”).

DIP Facility:                              A priming senior secured super priority debtor-in-possession
                                           revolving credit facility of up to $615,000,000 (such amount,
                                           the “Maximum Credit Amount”, such facility the “DIP



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                          Facility”, and the commitments under such DIP Facility, the
                          “DIP Commitments”), consisting of (a) the Roll-Up Amount
                          (as defined below) upon entry of the Interim Order and the
                          Final Order (as each term is defined below), as the case may be
                          and (b) new money commitments in an aggregate amount not to
                          exceed the difference of $614,000,000 minus the Roll-Up
                          Amount (this clause (b), the “New Money DIP Commitment”).
                          Upon entry of the Interim Order and on the Closing Date, the
                          DIP Commitments will be an amount equal to $614,000,000.

                          Until the entry of the Final Order, a maximum amount of up to
                          $25,000,000 (the “New Money Interim Cap”) will be available
                          to be drawn from the New Money DIP Commitments on an
                          interim basis. The actual amounts available to be borrowed
                          under the DIP Facility will be subject to the conditions set forth
                          in this DIP Term Sheet.

                          The loans (including the deemed issuance of any Roll-Up Loans
                          (as defined below)) under the DIP Facility are collectively
                          referred to as “DIP Loans”.

                          (a) Upon entry of the Interim Order, (i) all outstanding Pre-
                          Petition Letters of Credit (as defined below) issued by any Pre-
                          Petition Lender (to the extent it is a Post-Petition Lender) shall
                          be deemed to be issued as DIP Letters of Credit (as defined
                          below) under the DIP Facility and shall constitute obligations
                          due under the DIP Facility (the “Roll-Up Letters of Credit”)
                          and (ii) a portion of the principal amount of the outstanding Pre-
                          Petition Loans (as defined below) held by the Pre-Petition
                          Lenders (to the extent they are Post-Petition Lenders) in an
                          amount equal to $185,000,000 shall be deemed to be refinanced
                          under the DIP Facility as a DIP Loan ratably based on the Post-
                          Petition Lenders’ allocation of the DIP Commitment and shall
                          constitute obligations due under the DIP Facility (the “Interim
                          Roll-Up Loans”), and (b) upon entry of the Final Order, the
                          remaining principal amount of all outstanding Pre-Petition
                          Loans not rolled-up pursuant to the foregoing clauses (a)(ii) that
                          are held by the Pre-Petition Lenders (to the extent they are Post-
                          Petition Lenders), other than $1,000,000 of Pre-Petition Loans
                          (the “Retained Pre-Petition Claim”), shall be deemed to be
                          refinanced under the DIP Facility as a DIP Loan ratably based
                          on the Post-Petition Lenders’ allocation of the DIP
                          Commitment and shall constitute obligations due under the DIP
                          Facility (the “Final Roll-Up Loans”, and together with the
                          Interim Roll-Up Loans, the “Roll-Up Loans”) (the aggregate
                          amount under the foregoing clauses (a) and (b), the “Roll-Up
                          Amount”). Any unpaid interest and fees due in respect of the
                          Pre-Petition Secured Indebtedness described in the above
                          clauses (a) and (b) as of the date of the Interim Order shall also
                          be rolled into the DIP Facility and deemed to constitute
                          obligations due under the DIP Facility.
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                                     The DIP Facility will be more fully described and documented
                                     in the Financing Orders (as defined below) and a senior secured
                                     super priority debtor-in-possession credit agreement entered
                                     into by and among the Debtors, the Post-Petition Agent and the
                                     Post-Petition Lenders, in each case, which must be in form and
                                     substance acceptable to the Borrower, the Post-Petition Agent
                                     and the Post-Petition Lenders (the “Post-Petition Credit
                                     Agreement”).

                                     The closing date of the DIP Facility is hereinafter referred to as
                                     the “Closing Date”.

Pre-Petition Secured Indebtedness:   All indebtedness and other obligations under the Pre-Petition
                                     Credit Agreement and Credit Documents (as defined in the Pre-
                                     Petition Credit Agreement), comprised of (collectively, the
                                     “Pre-Petition Secured Indebtedness”): (a) 100% of the
                                     principal amount of the outstanding “Loans” (as defined in the
                                     Pre-Petition Credit Agreement) (such outstanding loans, the
                                     “Pre-Petition Loans”), (b) 100% of the “Letters of Credit
                                     Outstanding” (as defined in the Pre-Petition Credit Agreement)
                                     (such outstanding letters of credit, the “Pre-Petition Letters of
                                     Credit”), and (c) any obligations owing under any treasury and
                                     cash management arrangements that are entered into prior the
                                     Petition Date with any Pre-Petition Lender or any affiliate of a
                                     Pre-Petition Lender.

Pre-Petition Hedges:                 Any obligations owing by the Debtors under any hedging
                                     transactions that were entered into prior to the Petition Date by
                                     the Debtors with a counterparty that is a Pre-Petition Lender or
                                     any affiliate of a Pre-Petition Lender (collectively, the “Pre-
                                     Petition Hedges”).

Purpose / Use of Proceeds:           All proceeds of DIP Loans shall be used to, among other things,
                                     (a) pay fees, interest, and expenses associated with the DIP
                                     Facility, (b) provide for the ongoing working capital and capital
                                     expenditure needs of the Debtors during the pendency of the
                                     Chapter 11 Cases strictly in accordance with the Budget (as
                                     updated from time to time as set forth herein), subject to the
                                     Permitted Variances (as defined below), including to pay
                                     obligations under any DIP Hedges as they become due, (c) fund
                                     the adequate protection payments as authorized by the
                                     Bankruptcy Court in the Financing Orders, (d) fund the costs of
                                     the administration of the Chapter 11 Cases (including the Carve
                                     Out (as defined below)) strictly in accordance with the Budget
                                     (as updated from time to time as set forth herein), subject to the
                                     Permitted Variances, and (e) to refinance the portion of the Pre-
                                     Petition Secured Indebtedness constituting the Roll-Up Amount
                                     (which, for the avoidance of doubt, does not include the
                                     Retained Pre-Petition Claim).

                                     DIP Letters of Credit shall be used by the Borrower and its
                                     subsidiaries for general corporate purposes, including, without
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                                 limitation, to secure bids, tenders, bonds and contracts entered
                                 into in the ordinary course of the Debtors’ business and to
                                 support deposits required under purchase agreements pursuant
                                 to which the Borrower or one or more subsidiaries may acquire
                                 oil and gas assets (in each case, to the extent such transactions
                                 are permitted under the Post-Petition Credit Agreement and so
                                 long as issued strictly in accordance with the Budget, as
                                 updated from time to time as set forth herein and subject to the
                                 Permitted Variances).

Availability:                    So long as the Total Outstandings (as defined below) do not
                                 exceed the lesser of (i) the DIP Loan Limit (as defined below)
                                 and (ii) the amount then authorized by any Financing Order:
                                 (A) DIP Loans will be available to be made at any time (on
                                 same day notice in the case of ABR (as defined in Annex I)
                                 Loans) prior to the Maturity Date (as defined below), in
                                 minimum principal amounts of $1,000,000 or increments of
                                 $100,000 in excess thereof, (B) DIP Letters of Credit will be
                                 issued and renewed as described in the section entitled “Letters
                                 of Credit” below and (C) amounts repaid under the DIP Facility
                                 may be reborrowed.

                                 “Total Outstandings” means, at any time, the aggregate
                                 principal amount of the DIP Loans then outstanding plus the
                                 aggregate stated amount of all issued but undrawn DIP Letters
                                 of Credit and, without duplication, all unreimbursed
                                 disbursements on any DIP Letter of Credit as of such date
                                 (unless cash collateralized or backstopped pursuant to
                                 arrangements reasonably acceptable to the Issuing Lender (as
                                 hereinafter defined)).

                                 “DIP Loan Limit” means, the least of (i) the DIP
                                 Commitments, (ii) the Borrowing Base (as hereinafter defined),
                                 less the amount of any Carve-Out Reserve (as defined on Annex
                                 II hereto) and (iii) the Maximum Credit Amount.

Borrowing Base:                  The borrowing base for the DIP Facility will be based on the
                                 loan value of the Debtors’ proved oil and gas reserves as
                                 reflected in a Reserve Report (as hereinafter defined) and other
                                 oil and gas properties of the Debtors, in each case located
                                 within the geographic boundaries of the United States or the
                                 outer continental shelf adjacent to the United States, determined
                                 in accordance with the terms set forth below (the “Borrowing
                                 Base”).

                                 The Borrowing Base as of the Closing Date will be
                                 $615,000,000 based on the reserve report as of December 31,
                                 2019 delivered under, and pursuant to the terms of, the Pre-
                                 Petition Credit Agreement (the “Initial Reserve Report”) and
                                 will remain at such level until the next re-determination date,
                                 which re-determination date shall be subject to adjustment as
                                 set forth in the Post-Petition Credit Agreement. The Borrowing
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                          Base shall be re-determined on January 1, 2021 and July 1,
                          2021 (or, in each case, such date reasonably practicable
                          thereafter), based upon a reserve report prepared as of the
                          immediately preceding September 30, 2020 (with regard to the
                          January 1, 2021 redetermination) and December 31, 2020 (with
                          regard to the July 1, 2021 redetermination), and delivered on or
                          before December 1, 2020 (with regard to the January 1, 2021
                          redetermination) and June 1, 2021 (with regard to the July 1,
                          2021 redetermination) (each such reserve report, together with
                          the Initial Reserve Report, each a “Reserve Report”), and other
                          related information, if any, required to be delivered to the Post-
                          Petition Agent in accordance with the Post-Petition Credit
                          Agreement. Each Reserve Report shall be in form and
                          substance reasonably satisfactory to the Post-Petition Agent.
                          The Reserve Report prepared as of September 30, 2020 shall be
                          prepared by or under the supervision of the chief engineer of the
                          Borrower who shall certify such Reserve Report to be true and
                          accurate in all material respects and to have been prepared in
                          accordance with procedures used in the Initial Reserve Report.
                          The Reserve Report prepared as of December 31, 2020 shall be
                          prepared by (a) DeGolyer and MacNaughton, (b) Netherland,
                          Sewell & Associates, Inc., (c) Cawley, Gillespie &
                          Associates, Inc., (d) Ryder Scott Company, L.P., or (e) at the
                          Borrower’s election, such other independent petroleum
                          engineering firm reasonably acceptable to the Post-Petition
                          Agent.

                          The Borrowing Base shall be proposed by the Post-Petition
                          Agent and approved by all of the Post-Petition Lenders (in the
                          case of increases) or the Required Post-Petition Lenders (as
                          hereinafter defined) (in the case of decreases or reaffirmation)
                          as provided below. Each determination of the Borrowing Base
                          shall be made by the Post-Petition Agent and, (i) to the extent
                          any determination represents an increase in the Borrowing Base
                          in effect immediately prior to such determination, all of the
                          Post-Petition Lenders, and (ii) to the extent any determination
                          represents a decrease in or reaffirmation of the Borrowing Base
                          in effect immediately prior to such determination, the Required
                          Post-Petition Lenders, in each case, in their respective sole
                          discretion, but in good faith in accordance with their respective
                          usual and customary oil and gas lending criteria as they exist at
                          the particular time and as specified in the DIP Facility
                          Documentation; provided that no Post-Petition Lender shall be
                          required to increase its commitment amount under the DIP
                          Facility in connection with an increase in the Borrowing Base.

                          To the extent any re-determination represents an increase in the
                          Borrowing Base in effect immediately prior to such re-
                          determination, such Borrowing Base will be the largest amount
                          approved by all of the Post-Petition Lenders, and to the extent
                          any re-determination represents a decrease in, or reaffirmation
                          of, the Borrowing Base in effect prior to such re-determination,
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                                 such Borrowing Base will be the largest amount approved by
                                 the Required Post-Petition Lenders.

Interest Rates and Fees:         As set forth on Annex I attached hereto.

Default Rate:                    With respect to overdue principal, the applicable interest rate
                                 plus 2.00% per annum, and with respect to any other overdue
                                 amount, including overdue interest, the interest rate applicable
                                 to ABR Loans plus 2.00% per annum.

Letters of Credit:               A portion of the DIP Facility in an aggregate amount not to
                                 exceed $100,000,000 (as may be increased solely with the
                                 consent of the Post-Petition Agent and the Issuing Lender) will
                                 be available to the Debtors for the purpose of issuing standby
                                 letters of credit (the “DIP Letters of Credit”). DIP Letters of
                                 Credit will be issued by JPMCB or any of its affiliates (the
                                 “Issuing Lender”). For the avoidance of doubt, upon entry of
                                 the Interim Order, all outstanding Pre-Prepetition Letters of
                                 Credit issued by any Pre-Petition Lender (to the extent it is a
                                 Post-Petition Lender) shall be deemed to be issued as DIP
                                 Letters of Credit under the DIP Facility and shall constitute
                                 obligations due under the DIP Facility.

                                 Drawings under any DIP Letter of Credit shall be reimbursed by
                                 the Borrower (whether with its own funds or with the proceeds
                                 of borrowings under the DIP Facility) within one business day
                                 after notice of such drawing is received by the Borrower from
                                 the Issuing Lender. To the extent that the Borrower does not
                                 reimburse the Issuing Lender within the time period specified
                                 above, the Post-Petition Lenders under the DIP Facility shall be
                                 irrevocably obligated to reimburse the Issuing Lender pro rata
                                 based upon their respective DIP Commitments.

Final Maturity:                  All commitments of the Post-Petition Lenders under the DIP
                                 Facility shall terminate at the earliest of (herein, a “Post-
                                 Petition Default”, and the earliest of which, the “Maturity
                                 Date”): (a) the date which is twelve (12) months after the
                                 Petition Date; (b) the consummation of a sale of all or
                                 substantially all of the Debtors’ assets pursuant to Section 363
                                 of the Bankruptcy Code; (c) the effective date of any plan of
                                 reorganization; (d) the entry of an order for the conversion of
                                 any of the Debtors’ bankruptcy cases to a case under Chapter 7
                                 of the Bankruptcy Code; (e) the entry of an order for the
                                 dismissal of any of the Debtors’ bankruptcy cases; (f) the date
                                 of acceleration of the DIP Obligations and the termination of
                                 the DIP Commitments upon and during the continuance of an
                                 Event of Default, in accordance with the DIP Facility
                                 Documentation; (g) thirty-five (35) days after the Petition Date,
                                 if the Final Order has not been entered by such date (which date
                                 may be extended with the prior written consent of the Post-
                                 Petition Agent); or (h) appointment of a chapter 11 trustee in
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                                   any of the Chapter 11 Cases.

DIP Obligations / Guarantees:      All obligations of the Debtors under (i) the DIP Facility and the
                                   DIP Facility Documentation, but excluding, for the avoidance
                                   of doubt, the Retained Pre-Petition Claim, (ii) (a) any amounts
                                   owing by the Debtors under any Pre-Petition Hedges with a
                                   counterparty that is a Pre-Petition Lender or any affiliate of a
                                   Pre-Petition Lender, in either case in respect of which such Pre-
                                   Petition Lender or affiliate thereof enters into, within 30 days
                                   after the Petition Date (at the expense of the Debtors, which
                                   shall pay each counterparty’s out of pocket legal expenses), (1)
                                   an amended and restated Schedule to the ISDA Master
                                   Agreement (a “Post-Petition ISDA Schedule”) between the
                                   applicable Debtor and the applicable counterparty that is
                                   mutually acceptable to the parties, providing among other
                                   things, that such counterparty shall not terminate such Pre-
                                   Petition Hedges during the pendency of the Chapter 11 Cases
                                   solely as a result of a termination event or event of default
                                   under the Pre-Petition Hedges that occurred and/or existed on
                                   the Petition Date as a result of the filing of the Chapter 11
                                   Cases, the insolvency of any Debtor or any default or event of
                                   default (howsoever defined) relating to pre-petition
                                   indebtedness of any Debtor and (2) contemporaneously with
                                   entering into the Post-Petition ISDA Schedule, a further
                                   amended and restated ISDA Schedule that will automatically
                                   replace the Post-Petition ISDA Schedule upon effectiveness of
                                   the Exit Credit Facility so long as the Exit Credit Facility
                                   conforms in all applicable material respects with the Exit Credit
                                   Facility Term Sheet and subject to conditions to be mutually
                                   agreed to by the parties in the Post-Petition ISDA Schedule and
                                   (b) any post-petition hedging transaction with a Post-Petition
                                   Lender or an affiliate of a Post-Petition Lender, in each case, to
                                   the extent permitted under the Financing Orders (including
                                   hedging orders) (all hedges in this clause (ii), the “DIP
                                   Hedges”) and (iii) treasury and cash management arrangements
                                   that are entered into prior to or after the Petition Date with any
                                   Post-Petition Lender or any affiliate of a Post-Petition Lender
                                   (all obligations described in the foregoing clauses (i) through
                                   (iii), the “DIP Obligations”) will, in each case, be
                                   unconditionally guaranteed jointly and severally (the
                                   “Guarantees”) by each of the Debtors (other than the
                                   Borrower).

Adequate Protection Payments and   As adequate protection of the interests of the Pre-Petition
Liens:                             Lenders as a result of the DIP Facility advances, use of cash
                                   collateral and other collateral or the imposition of the automatic
                                   stay to the extent of any post-petition diminution in value of the
                                   Pre-Petition Lenders’ collateral, the Pre-Petition Lenders will
                                   receive, subject and junior to the Carve Out: (a) valid and
                                   automatically perfected first-priority replacement liens and
                                   security interests in and upon the DIP Collateral (as defined
                                   below), but junior to the liens and security interests securing the
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                                 DIP Facility (the “Adequate Protection Liens”), (b) adequate
                                 protection payments consisting of cash reimbursement of the
                                 reasonable and documented (in summary format) fees, costs,
                                 and expenses (including reasonable professional fees) of the
                                 Pre-Petition Agent and the Pre-Petition Lenders, and (c) super-
                                 priority administrative expense claims under Section 507(b) of
                                 the Bankruptcy Code and junior to the Superpriority Claims (as
                                 defined below); provided, however, that (x) the Adequate
                                 Protection Liens and adequate protection payments described
                                 above shall be paid or granted to the extent that the stay under
                                 Bankruptcy Code Section 362, use, sale, or lease under
                                 Bankruptcy Code 363 of this title, or any grant of a lien under
                                 Bankruptcy Code 364 of this title results in a decrease in the
                                 value of such entity’s interest in such property, and (y) the
                                 Adequate Protection Liens and adequate protection payments
                                 described above shall not attach to any Avoidance Actions but
                                 shall attach to any Avoidance Proceeds, subject to entry of the
                                 Final Order.

                                 The Financing Orders shall provide for adequate protection in
                                 the form of replacement liens and superpriority claims, financial
                                 reporting and rights of access and information, payment of fees
                                 and expenses of professionals (as described below) mutually
                                 acceptable to the Post-Petition Agent and the Second Lien
                                 Notes Trustee for the benefit of the Second Lien Notes Trustee
                                 and the Second Lien Ad Hoc Group and all members thereof.


Security:                        All DIP Obligations will be secured by (in each case, other than
                                 Excluded Assets (as defined below) and subject to Permitted
                                 Liens (to be defined in the DIP Facility Documentation) and
                                 junior to the Carve Out): (i) superpriority priming liens on all
                                 property of the Debtors secured by valid, unavoidable and
                                 perfected security interests and liens securing any Pre-Petition
                                 Secured Indebtedness or Pre-Petition Hedges as of the Petition
                                 Date (the “Priority Lien”); (ii) junior liens on any property of
                                 the Debtors secured by valid, unavoidable and perfected
                                 security interests and liens of any parties (other than the Pre-
                                 Petition Lenders) securing any indebtedness (other than the Pre-
                                 Petition Secured Indebtedness or Pre-Petition Hedges); and (iii)
                                 first-priority liens on all unencumbered assets of the Debtors,
                                 (A) including, without limitation, all real and personal property
                                 of the Debtors, tangible or intangible, wherever located,
                                 including, but not limited to, all cash, bank accounts, accounts
                                 receivable, inventory, equipment, patents, trademarks,
                                 copyrights, other general intangibles and membership interests
                                 that were not, as of the Petition Date, subject to valid,
                                 unavoidable and perfected security interests and liens, but (B)
                                 excluding any avoidance actions under Chapter 5 of the
                                 Bankruptcy Code, whether now existing or hereafter acquired
                                 by the Debtors and the Debtors’ bankruptcy estates
                                 (“Avoidance Actions”) other than, subject to and effective upon
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                          entry of the Final Order, all proceeds, products, rents, revenues
                          and profits of Avoidance Actions (“Avoidance Proceeds”) (the
                          foregoing clauses (i) through (iii), the “DIP Collateral”).

                          Notwithstanding anything to the contrary herein, DIP Collateral
                          shall not include the following (collectively, the “Excluded
                          Assets”): (a) any Building (as defined in the applicable “Flood
                          Insurance Regulation” or Manufactured (Mobile) Home (as
                          defined in the applicable Flood Insurance Regulation), (b)(i)
                          that certain Pipeline Financing Lease Agreement, dated as of
                          May 30, 2018 (as amended), among Denbury Onshore, LLC
                          and Genesis NEJD Pipeline, LLC, (ii) any interest, title and
                          right that the Debtors have to the “Pipeline System” (as
                          defined in the Pipeline Financing Lease Agreement)
                          (hereinafter referred to as the “Pipeline System”), (iii) any
                          proceeds received at any time resulting from the sale or other
                          disposition of all or part of the Debtors’ interest, title and
                          right to the Pipeline System, and (iv) all rents, income or
                          related fees or charges for transportation of carbon dioxide
                          or any other substance through the Pipeline System;
                          provided that, in the case of this clause (b), such assets shall
                          be excluded solely to the extent that the grant of a security
                          interest therein is prohibited by, or constitutes a breach or
                          default under or results in the termination of or gives rise to a
                          right on the part of the parties thereto other than any Debtor
                          to terminate (or materially modify) or requires any consent
                          under, the subject contract, license, agreement, instrument or
                          other document, except to the extent that the term in such
                          contract, license, agreement, instrument or other document
                          providing for such prohibition, breach, default or right of
                          termination or modification or requiring such consent is
                          ineffective under Sections 9-406, 9-407, 9-408 or 9-409 of
                          the UCC of any relevant jurisdiction or any other applicable
                          law; and (c) any deposit account which is used as an escrow
                          account or fiduciary or trust account and solely maintains
                          cash and cash equivalents made for the benefit of third
                          parties (other than the Debtors) to be used exclusively in the
                          ordinary course of the Debtors’ business for royalty
                          obligations, suspense payments, working interest payments,
                          plugging and abandonment, remediation, and similar
                          payments owed or to be made to such third parties (other
                          than the Debtors).

                          In addition, all DIP Obligations and all amounts owing by the
                          Debtors in respect thereof at all times shall constitute allowed
                          super-priority administrative expense claims, pursuant to
                          Section 364(c) of the Bankruptcy Code, in the bankruptcy
                          cases, having priority over all administrative expenses of the
                          kind specified in, or ordered pursuant to, Sections 503(b) and
                          507(b) or any other provisions of the Bankruptcy Code, subject
                          and junior only to the Carve Out (the “Superpriority Claims”).
                          All of the liens and security interests described above securing
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                                        the DIP Obligations and the Adequate Protection Liens shall be
                                        effective and perfected as of the Petition Date upon entry of the
                                        Interim Order.

                                        All liens and security interests authorized and granted pursuant
                                        to Financing Orders entered by the Bankruptcy Court approving
                                        the DIP Facility and the Adequate Protection Liens shall be
                                        deemed effective and automatically perfected as of the Petition
                                        Date, and no further filing, notice or act will be required to
                                        effect such perfection by any person. The Post-Petition
                                        Lenders, or the Post-Petition Agent on behalf of the Post-
                                        Petition Lenders, shall be permitted, but not required, to make
                                        any filings, deliver any notices, make recordations, perform any
                                        searches or take any other acts as may be desirable under law in
                                        order to reflect the security, perfection or priority of the Post-
                                        Petition Lenders’ liens, security interests, and claims described
                                        herein; provided that no actions in any non-United States
                                        jurisdiction shall be required to be taken and no security
                                        agreements or pledge agreements governed under the laws of
                                        any non-United States jurisdiction shall be required to be
                                        entered into.



No Surcharge & Marshalling / Equities   In each case, subject to and effective upon entry of the Final
of the Case Waiver:                     Order, the DIP Facility shall provide that (i) no costs or
                                        expenses of administration shall be imposed against the Post-
                                        Petition Lenders’ or the Pre-Petition Lenders’ pre-petition or
                                        post-petition collateral under Section 506(c) of the Bankruptcy
                                        Code or otherwise, and (ii) the Post-Petition Lenders’ and the
                                        Pre-Petition Lenders’ collateral shall not be subject to the
                                        doctrine of marshalling or Section 552 of the Bankruptcy Code
                                        “equities of the case” arguments.

Carve Out:                              The Financing Orders shall include a carve out (the “Carve
                                        Out”) substantially consistent with Annex II attached hereto.
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Mandatory Prepayments:          Limited to the following:

                                (a) If at any time the Total Outstandings exceed the Borrowing
                                Base as a result of scheduled redetermination of the Borrowing
                                Base (a “Borrowing Base Deficiency”), the Borrower shall,
                                within three (3) business days after written notice from the Post-
                                Petition Agent to the Borrower of such Borrowing Base
                                Deficiency, prepay the DIP Loans in an amount sufficient to
                                eliminate such Borrowing Base Deficiency (or if no DIP Loans
                                remain outstanding, cash collateralize all unreimbursed
                                disbursements on any DIP Letter of Credit in an amount
                                sufficient to eliminate such Borrowing Base Deficiency);
                                provided that any such Borrowing Base Deficiency must be
                                cured prior to the Maturity Date of the DIP Facility;

                                (b) If any Borrowing Base Deficiency results from a voluntary
                                termination of DIP Commitments, such deficiency shall be
                                required to be eliminated contemporaneously with and on the
                                date of such termination; and

                                (c) If, (i) on the first business day after the Closing Date, the
                                Debtors have any Excess Cash (as defined below), when taken
                                as a whole, in excess of $20,000,000 and (ii) on any business
                                day thereafter, the Debtors have any Excess Cash, when taken
                                as a whole, in excess of $75,000,000, in each case, the
                                Borrower shall prepay the DIP Loans within one business day
                                following such date in an amount equal to such excess amount
                                (such excess amount to be paid on the first business day after
                                the Closing Date, if any, the “Specified Excess Cash
                                Payment”).

                                “Excess Cash” means, as of any date of determination, the
                                difference, if positive, between Consolidated Cash Balance (as
                                defined below) of the Debtors as of such date and Excluded
                                Cash (as defined below) of the Debtors as of such date.

                                “Consolidated Cash Balance” means, as of any date of
                                determination, the aggregate amount of all (a) cash, (b) cash
                                equivalents and (c) any other marketable securities, treasury
                                bonds and bills, certificates of deposit, investments in money
                                market funds and commercial paper, in each case, held or
                                owned by (either directly or indirectly) any Debtor as of such
                                date.

                                “Excluded Cash” means as of any date of determination, (a)
                                any cash collateral required to cash collateralize any DIP Letter
                                of Credit, (b) any cash or cash equivalents constituting purchase
                                price deposits made by or held by an unaffiliated third party
                                pursuant to a binding and enforceable purchase and sale
                                agreement with an unaffiliated third party containing customary
                                provisions regarding the payment and refunding of such
                                deposits, (c) any cash or cash equivalents for which any Debtor
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                                       has, in the ordinary course of business, issued checks or
                                       initiated wires or ACH transfers in order to utilize such cash or
                                       cash equivalents, (d) any cash or cash equivalents set aside to
                                       pay payroll, payroll taxes, other taxes, employee wage and
                                       benefits payments, and trust and fiduciary obligations or other
                                       similar obligations of the Debtors then due and owing to third
                                       parties and for which the Debtors have issued checks or
                                       initiated wires or ACH transfers (or, in their respective good
                                       faith discretion, will issue checks or initiate wires or ACH wires
                                       within five business days in order to make such payments), (e)
                                       any cash or cash equivalents set aside to pay royalty
                                       obligations, working interest obligations, production payments,
                                       vendor payments, suspense payments, severance and ad
                                       valorem taxes of the Debtors then due and owing to third parties
                                       and for which the Debtors have issued checks or initiated wires
                                       or ACH transfers (or, in their respective good faith discretion,
                                       will issue checks or initiate wires or ACH wires within five
                                       business days in order to make such payments) and (f) any cash
                                       or cash equivalents in any escrow accounts or fiduciary or
                                       trust accounts that are used exclusively in the ordinary
                                       course of the Debtors’ business for plugging and
                                       abandonment, remediation, and similar obligations owed to
                                       third parties.

                                       The application of proceeds from mandatory prepayments shall
                                       not reduce the aggregate amount of DIP Commitments and
                                       amounts prepaid may be reborrowed, subject to availability and
                                       the other conditions to borrowing set forth below.

Voluntary Prepayments and Reductions   Voluntary reductions of the unutilized portion of the DIP
in Commitments:                        Commitments and voluntary prepayments of outstanding DIP
                                       Loans by the Borrower will be permitted at any time, in
                                       minimum principal amounts of $500,000 or increments of
                                       $100,000 in excess thereof, without premium or penalty, subject
                                       to reimbursement of the Post-Petition Lenders’ redeployment
                                       costs in the case of a prepayment of LIBOR (as defined in
                                       Annex I) Loan other than on the last day of the relevant interest
                                       period.

Documentation:                         The definitive documentation for the DIP Facility, including the
                                       Post-Petition Credit Agreement, the Financing Orders, and all
                                       other related agreements and documents creating, evidencing,
                                       or securing indebtedness or obligations of any of the Debtors to
                                       the Post-Petition Agent and the Post-Petition Lenders on
                                       account of the DIP Facility or granting or perfecting liens or
                                       security interests by any of the Debtors in favor of and for the
                                       benefit of the Post-Petition Agent, for itself and for and on
                                       behalf of the Post-Petition Lenders, on account of the DIP
                                       Facility (the “DIP Facility Documentation”) shall contain the
                                       terms set forth in this DIP Term Sheet and shall otherwise be
                                       negotiated in good faith. The Post-Petition Credit Agreement
                                       shall take into account the terms and conditions consistent with
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                                        the Pre-Petition Credit Agreement (as modified to reflect the
                                        terms and provisions of this DIP Term Sheet) and subject to (i)
                                        materiality qualifications and other exceptions that give effect
                                        to, permit, and/or accommodate the DIP Facility Milestones (as
                                        defined below), (ii) provisions to reflect (A) the transactions
                                        and business operations contemplated by the Budget and (B) the
                                        Post-Petition Agent’s required agency and other form updates
                                        (including with respect to replacement of LIBOR) and (iii)
                                        other modifications as mutually agreed by the parties.

Conditions to Closing of DIP Facility   Customary for facilities and transactions of this type, the
and Roll-Up on Closing Date:            effectiveness of the DIP Facility and the deemed issuance and
                                        incurrence of the Roll-Up Letters of Credit and the Interim
                                        Roll-Up Loans on the Closing Date shall be subject to the
                                        following conditions precedent, including, without limitation:

                                        (a)    the entry of an order by the Bankruptcy Court approving
                                               a cash management system for the Debtors and other
                                               “first day” orders satisfactory to the Post-Petition Agent
                                               (it being understood and agreed that drafts approved by
                                               counsel to the Post-Petition Agent on or prior to the
                                               Closing Date are satisfactory to the Post-Petition Agent);

                                        (b)    execution and delivery of satisfactory DIP Facility
                                               Documentation;

                                        (c)    receipt of satisfactory Budget approved by the Post-
                                               Petition Agent in its reasonable discretion;

                                        (d)    Bankruptcy Court’s entry within three (3) business days
                                               of the Petition Date as part of the “first day” orders of an
                                               interim order approving the DIP Facility (including the
                                               roll-up of the Interim Roll-Up Loans and the Roll-Up
                                               Letters of Credit) and use of cash collateral and other
                                               arrangements described herein, in form and substance
                                               acceptable to the Post-Petition Agent (the “Interim
                                               Order”);

                                        (e)    reimbursement of all documented (in summary form)
                                               fees and expenses of the Pre-Petition Agent, the Pre-
                                               Petition Lenders, the Joint Lead Arrangers and Post-
                                               Petition Agent and Post-Petition Lenders payable under
                                               the Pre-Petition Credit Agreement or under the DIP
                                               Facility Documentation (including the unpaid
                                               documented (in summary form) fees and expenses of
                                               Vinson & Elkins LLP, Opportune LLP and the other
                                               professionals retained by any of the foregoing) that are
                                               invoiced to the Borrower at least two (2) Business Days
                                               prior to the Closing Date;

                                        (f)    all representations and warranties of the Debtors in the
                                               Post-Petition Credit Agreement shall be true and correct
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                                                 in all material respects, and there shall be no default,
                                                 Event of Default or Post-Petition Default in existence;

                                          (g)    the Post-Petition Agent and the Post-Petition Lenders
                                                 shall have received, by at least three (3) business days
                                                 (or such later date as agreed by the Post-Petition Agent
                                                 in its sole discretion) prior to the Closing Date, “know
                                                 your customer” and similar information required by
                                                 bank regulatory authorities that is requested at least eight
                                                 (8) business days (or such later date as agreed by the
                                                 Borrower in its sole discretion) prior to the Closing
                                                 Date;

                                          (h)    receipt of appropriate UCC lien search results for each
                                                 jurisdiction reasonably requested by the Post-Petition
                                                 Agent;

                                          (i)    the Petition Date shall have occurred, and each Debtor
                                                 shall be a “debtor-in-possession” in the Chapter 11
                                                 Cases;

                                          (j)    the Restructuring Support Agreement shall be in full
                                                 force and effect and no termination of such agreement
                                                 by any party thereto shall have occurred pursuant to the
                                                 terms thereof; and

                                          (k)    the delivery of customary secretary and officer
                                                 certificates.

Conditions to All Extensions of Credit:   The making of DIP Loans and issuance/renewal of DIP Letters
                                          of Credit at any time and from time to time shall be subject
                                          solely to the satisfaction of the following conditions precedent:

                                          (a)    all representations and warranties of the Debtors in the
                                                 DIP Facility Documentation shall be true and correct in
                                                 all material respects (without duplication of any
                                                 materiality or material adverse effect or material adverse
                                                 change qualifier therein), and there shall be no default,
                                                 Event of Default or Post-Petition Default in existence at
                                                 the time of, or after giving effect to the making of, such
                                                 funding;

                                          (b)    solely with respect to the making of the first DIP Loan
                                                 or issuance of a DIP Letter of Credit (other than the
                                                 deemed issuance and incurrence of any Roll-Up Loans
                                                 and Roll-Up Letters of Credit), the Specified Excess
                                                 Cash Payment shall have been made prior to making
                                                 such requested credit extension;

                                          (c)    with respect to borrowings or issuances of DIP Letters of
                                                 Credit that would cause the Total Outstandings
                                                 (assuming the deemed funding under the DIP Facility of
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                                         100% of the Roll-Up Loans and deemed issuance of
                                         100% the Roll-Up Letters of Credit as such time of
                                         determination) to exceed the sum of the Roll-Up
                                         Amount plus the New Money Interim Cap, Bankruptcy
                                         Court’s entry within thirty-five (35) days after the
                                         Petition Date of a final order approving the DIP Facility
                                         and use of cash collateral and other arrangements
                                         described herein, in form and substance acceptable to the
                                         Post-Petition Agent (the “Final Order”, and the Interim
                                         Order and Final Order collectively are referred to herein
                                         as the “Financing Orders”);

                                  (d)    the Interim Order or Final Order, if and as applicable,
                                         shall be in full force and effect and shall not have been
                                         stayed, reversed, vacated or otherwise modified;

                                  (e)    other than with respect to the deemed issuance and
                                         incurrence of any Roll-Up Loans and Roll-Up Letters of
                                         Credit, delivery of a borrowing request certifying as to,
                                         among other things, that the DIP Loan and/or issuance
                                         of a DIP Letter of Credit will be utilized in accordance
                                         with the Budget;

                                  (f)    the making of the requested credit extension would not
                                         cause Total Outstandings to be greater than the lesser of
                                         (A) the DIP Loan Limit and (B) the amount then
                                         authorized by any Financing Order; and

                                  (g)    other than with respect to the deemed issuance and
                                         incurrence of any Roll-Up Loans and Roll-Up Letters of
                                         Credit, the making of the requested credit extension
                                         would not cause the Debtors to have Excess Cash in
                                         excess of $75,000,000.

Representations and Warranties:   The Post-Petition Credit Agreement shall contain
                                  representations and warranties substantially similar to those
                                  contained in the Pre-Petition Credit Agreement, subject to
                                  modifications customarily found in the loan agreements for
                                  debtor-in-possession financings, as reasonably agreed to by the
                                  Post-Petition Agent and the Borrower.

Affirmative Covenants:            The Post-Petition Credit Agreement shall contain affirmative
                                  covenants substantially similar to those in the Pre-Petition
                                  Credit Agreement, subject to modifications customarily found
                                  in the loan agreements for debtor-in-possession financings, as
                                  reasonably agreed to by the Post-Petition Agent and the
                                  Borrower, including, without limitation, the following, in each
                                  case, with exceptions and materiality qualifications and
                                  thresholds to be agreed: (a) comply with customary reporting
                                  requirements, including audited annual financial reports,
                                  quarterly and monthly consolidated financial reports; monthly
                                  reports detailing results of operations and cash flow; bi-monthly
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                                reports showing variance from the Budget (in addition to the
                                Variance Report) and updates on cash flow and projections for
                                the following rolling thirteen week period; notice of any
                                material change in projected disbursements in an aggregate
                                amount through anticipated emergence; other reporting
                                covenants to be mutually agreed; (b) maintenance of
                                organizational existence and rights and privileges; (c)
                                maintenance of properties and collateral; (d) permit inspections
                                and host lender meetings; (e) maintain current financial records
                                in accordance with GAAP, (f) maintain insurance; (g)
                                acknowledge the right of the Post-Petition Agent and Pre-
                                Petition Agent, as applicable, to credit bid at any sale of the
                                Debtors’ assets (whether 363 sale or otherwise) in accordance
                                with the DIP Facility Documentation or the Pre-Petition Credit
                                Agreement, as applicable; and (h) monthly Variance Report as
                                set forth under the heading “Budget and Variances” herein.
Negative Covenants:             The Post-Petition Credit Agreement shall contain negative
                                covenants substantially similar to those in the Pre-Petition
                                Credit Agreement, subject to modifications customarily found
                                in the loan agreements for debtor-in-possession financings, as
                                reasonably agreed to by the Post-Petition Agent and the
                                Borrower, including, without limitation, covenants that none of
                                the Debtors shall, in each case, with baskets, materiality
                                thresholds and other exceptions to be mutually agreed:
                                (a) merge, divide or consolidate with any other entity, transfer
                                or otherwise dispose of any assets other than inventory in the
                                ordinary course of business or assets that constitute worn-out,
                                excess, unused or non-useful equipment, or make any
                                fundamental changes in its corporate structure;
                                (b) create or permit to exist any lien or encumbrance on any
                                asset, except as permitted by the Post-Petition Credit
                                Agreement;

                                (c) incur or permit to exist any financing under Section 364 of
                                the Bankruptcy Code or any other indebtedness or contingent
                                obligations, except as permitted by the Post-Petition Credit
                                Agreement;

                                (d) create or permit to exist any superpriority administrative
                                expense claim except as specifically permitted by the Post-
                                Petition Agent (other than with respect to the DIP Facility);

                                (e) make investments (to be defined in a manner consistent with
                                the Pre-Petition Credit Agreement) (except as permitted in the
                                Budget);

                                (f) declare or pay dividends or make any distributions to
                                equityholders or pay amounts with respect to indebtedness
                                except as specifically permitted by the Post-Petition Credit
                                Agreement;
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                                 (g) enter into early monetizations or early terminations of any
                                 hedge or swap position, except as permitted by the Post-Petition
                                 Credit Agreement;

                                 (h) use cash collateral or the proceeds of the DIP Facility except
                                 in accordance with the Budget and Permitted Variances; and

                                 (i) fail to operate strictly in accordance with the Budget (subject
                                 to the Permitted Variances).

Case Milestones:                 The Debtors shall comply with the following deadlines (each of
                                 which may be extended with the written consent of the Majority
                                 Post-Petition Lenders without the consent of any other person
                                 or any further order of the Bankruptcy Court) (the “DIP
                                 Facility Milestones”):


                                 DIP Facility

                                 (a) on the Petition Date, filing of a motion seeking approval of
                                 the DIP Facility;

                                 (b) not later than three (3) business days after the Petition Date,
                                 entry of the Interim Order; and

                                 (c) not later than thirty-five (35) days after the Petition Date,
                                 entry of the Final Order approving the DIP Facility and the use
                                 of cash collateral, in form and substance satisfactory to the
                                 Post-Petition Agent.

                                 Plan

                                 (a) not later than September 6, 2020, the Bankruptcy Court
                                 shall have entered an order (the “Confirmation Order”)
                                 approving the chapter 11 plan (the “Plan”) and corresponding
                                 disclosure statement (the “Disclosure Statement”), in each
                                 case, in form and substance acceptable to the Post-Petition
                                 Agent and the Pre-Petition Agent;

                                 (b) not later than 14 days after entry of the Confirmation Order,
                                 the occurrence of the effective date of the Plan, and the
                                 discharge of the obligations under the DIP Facility by (i)
                                 indefeasible payment in full in cash (including via conversion
                                 into the Exit Credit Facility) or (ii) such other treatment under
                                 the Plan as may be agreed to by the Majority Post-Petition
                                 Lenders and the Debtors.

Financial Covenant (Budget and   As a condition precedent to the DIP Facility, there shall be
Variances):                      established a 13 week cash flow budget updated on a rolling
                                 four week basis acceptable to the Post-Petition Agent (the
                                 “Initial Budget”) for the Debtors’ cash receipts and expenses
                                 (including professional fees and expenses), which shall provide,
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                                among other things, for the payment of interest in respect of the
                                DIP Facility on a monthly basis to the Post-Petition Lenders,
                                and the adequate protection amounts set forth above.

                                The Debtors shall provide to the Post-Petition Agent an updated
                                budget (the “Proposed Budget”). Each Proposed Budget shall
                                be due on each 4-week anniversary (or, if such day is not a
                                business day, the immediately succeeding business day) of the
                                previous rolling four-week Budget period, with the first
                                Proposed Budget after the Initial Budget to be delivered on or
                                prior to August 27, 2020.

                                Such Proposed Budget, once approved by the Post-Petition
                                Agent, shall constitute the approved budget (the “Approved
                                Budget”) for the immediately succeeding Testing Period (as
                                defined below). To the extent that any Proposed Budget is not
                                approved by the Post-Petition Agent by the end of the then-
                                effective Testing Period, the then-existing Approved Budget
                                will remain the Approved Budget until replaced by a Proposed
                                Budget that is approved by the Post-Petition Agent.

                                On the Friday (or, if such Friday is not a business day, the
                                immediately succeeding Business Day) immediately after the
                                last day of each rolling four-week period after the delivery of
                                the Initial Budget (for the avoidance of doubt, such first date to
                                be August 28, 2020) until the payment in full in cash of the DIP
                                Obligations (each such delivery date, a “Compliance Date”),
                                the Borrower shall deliver to the Post-Petition Agent a variance
                                report (the “Variance Report”) (a) detailing the Debtors’
                                receipts and disbursements for such Testing Period and a
                                comparison to the amounts set forth in the Budget therefor for
                                the Testing Period ending prior to such Compliance Date (on an
                                aggregate and a line item by line item basis in the case of
                                disbursements) and (b) including reasonably detailed
                                calculations demonstrating compliance with the Permitted
                                Variance for such Testing Period.

                                As used herein, “Permitted Variance” shall mean, with respect
                                to the period of four consecutive calendar weeks ending on the
                                day immediately prior to any Compliance Date (each such four-
                                week period, a “Testing Period”), any variance within the
                                following parameters: (i) the aggregate actual disbursements by
                                the Debtors for such Testing Period shall not exceed 110% of
                                the aggregate forecasted disbursements (excluding professional
                                fees) as set forth in the Budget for such Testing Period and (ii)
                                actual disbursements for certain line items to be agreed by the
                                Debtors for such Testing Period shall not exceed 115% of the
                                forecasted disbursements for such line items as set forth in the
                                Budget for such Testing Period.

Other Financial Covenants:      (a) Minimum Liquidity: At all times, the Borrower will not
                                permit the sum of (i) unused DIP Commitments plus (ii) the
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                               Debtors’ unrestricted cash and cash equivalents on hand to be
                               less than an amount to be determined based on the initial
                               Budget.

                               (b) Asset Coverage Ratio: The Borrower shall not permit, as of
                               the last day of every other calendar month, beginning with the
                               calendar month ending August 30, 2020, the ratio of (a) the sum
                               of (i) the total present value (using a discount rate of 10% and
                               utilizing 5-year NYMEX strip pricing with pricing held flat
                               each year thereafter) of projected future net revenues from
                               proved developed producing reserves as reflected in the most
                               recently delivered Reserve Report and (ii) the net mark-to-
                               market value of the Debtors’ hedging agreements in connection
                               with such reserves as of such date to (b) the sum of (i) Total
                               Outstandings as of such date plus (ii) the outstanding principal
                               amount of the Pre-Petition Loans as of such date to be less than
                               1.50 to 1.0.

Commodity Hedging:             The Debtors may enter into hedging arrangements with (i) any
                               Post-Petition Lender, the Post-Petition Agent and any affiliate
                               of a Post-Petition Lender or the Post-Petition Agent or (ii)
                               Approved Counterparties, which hedges shall not be for
                               speculative purposes and, with respect to commodity hedges,
                               shall be limited to no more than 85% of the reasonably
                               anticipated forecasted production from the proved oil and gas
                               properties of the Debtors (based on the most recent Reserve
                               Report) for the period not exceeding 60 months from the date
                               such hedging arrangement is created.

                               As used herein, “Approved Counterparty” means, with respect
                               to any hedging arrangement with a Debtor, any person if such
                               person or its credit support provider has a long-term senior
                               unsecured debt rating of BBB+/Baa1 by S&P or Moody’s (or
                               their equivalent) or higher at the time of entering into such
                               hedging arrangement.

                               It is understood that for purposes hereof, the following hedging
                               agreements shall not be deemed speculative or entered into for
                               speculative purposes: (a) any commodity hedging agreement
                               intended, at inception of execution, to hedge or manage any of
                               the risks related to existing and/or forecasted oil and gas
                               production (based on the most recently delivered Reserve
                               Report) of the Borrower or any other Debtor (whether or not
                               contracted) and (b) any hedging agreement intended, at
                               inception of execution, (i) to hedge or manage the interest rate
                               exposure associated with any debt securities, debt facilities or
                               leases (existing or forecasted) of the Borrower or any other
                               Debtor, (ii) for foreign exchange or currency exchange
                               management, (iii) to manage commodity portfolio exposure
                               associated with changes in commodity prices or (iv) to hedge
                               any exposure that the Borrower or any other Debtor may have
                               to counterparties under other hedging agreements such that the
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                                 combination of such hedging agreements is not speculative
                                 taken as a whole.

Events of Default:               Events of default customary for transactions of this type,
                                 including, without limitation:

                                 (a)   nonpayment of principal, interest or mandatory
                                       prepayments when due (with a 3 business day grace
                                       period for non-principal payments), including, as
                                       applicable, the Debtors failure to timely pay any amount
                                       required to be paid to the Pre-Petition Agent, the Pre-
                                       Petition Lenders, the Post-Petition Agent, or the Post-
                                       Petition Lenders under the Financing Orders or the
                                       Approved Budget (subject to the Permitted Variance);

                                 (b)   the failure or breach of any warranties, representations,
                                       agreements, or covenants of the Debtors (subject to a
                                       grace period with respect to certain affirmative
                                       covenants and materiality thresholds, to be further
                                       specified in the Post-Petition Credit Agreement);

                                 (c)   entry of an order for the dismissal or conversion to
                                       Chapter 7 of any Debtor’s bankruptcy case; the
                                       appointment of a bankruptcy trustee or examiner except
                                       with the express written consent of the Pre-Petition
                                       Agent and the Post-Petition Agent in any Chapter 11
                                       Case; the granting of any other superpriority
                                       administrative expense claim (if not in favor of the Post-
                                       Petition Agent or the Pre-Petition Agent) except with the
                                       express written consent of the Post-Petition Agent; the
                                       grant of any security interest in any of the DIP Collateral
                                       that is pari passu with or senior to the liens of the Post-
                                       Petition Agent or the Adequate Protection Liens of the
                                       Pre-Petition Agent; any Debtor shall attempt to vacate or
                                       modify the Interim Order or the Final Order over the
                                       objection of the Post-Petition Agent; the entry of any
                                       order modifying, reversing, revoking, staying,
                                       rescinding, vacating, or amending any Financing Order
                                       without the consent of the Post-Petition Agent; any
                                       Debtor shall institute any proceeding or investigation or
                                       support same by any other person who seeks to
                                       challenge the status and/or validity of the liens of the
                                       Pre-Petition Agent or the Post-Petition Agent (as
                                       security for the Pre-Petition Lenders and the Post-
                                       Petition Lenders, respectively) or the claims of any of
                                       the Pre-Petition Agent, the Pre-Petition Lenders, the
                                       Post-Petition Agent, or the Post-Petition Lenders; or any
                                       Debtor shall file a motion or other pleading or support
                                       any other motion or other pleading filed seeking any of
                                       the foregoing;

                                 (d)   the Bankruptcy Court shall enter an order or orders
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                                 granting relief from the automatic stay to the holder or
                                 holders of any security interest or lien (other than Post-
                                 Petition Lenders) to permit the pursuit of any judicial or
                                 non-judicial transfer or other remedy against any DIP
                                 Collateral, in each case involving assets with an
                                 aggregate value in excess of $1,000,000; provided that
                                 any order granting relief from the automatic stay to
                                 permit prepetition litigation to which the Debtors are a
                                 party to proceed shall not constitute an event of default;

                          (e)    the Debtors shall fail to meet any DIP Facility Milestone
                                 beyond any grace period applicable thereto;

                          (f)    entry of a sale order unless such order contemplates
                                 either indefeasible payment in full in cash of the DIP
                                 Obligations upon consummation of the sale or is
                                 otherwise consented to in writing by the Post-Petition
                                 Agent; and

                          (g)    the filing or support by the Debtors of any plan of
                                 reorganization that (i) does not provide for termination
                                 of the unused commitments under the DIP Facility and
                                 indefeasible payment in full in cash of all of the DIP
                                 Obligations and (ii) is not otherwise acceptable to the
                                 Post-Petition Agent in its sole discretion.

                          Immediately upon the earlier of (x) the date that is 35 days after
                          the Petition Date if the Final Order has not been entered by the
                          Court on or before such date (unless such period is extended by
                          mutual agreement of the Debtors and the Majority Post-Petition
                          Lenders, notice of which will be filed with the Bankruptcy
                          Court) and (y) five (5) business days (any such five-business-
                          day period of time, the “Default Notice Period”) following the
                          delivery of a written notice (with a copy filed with the
                          Bankruptcy Court) (a “Default Notice”) by the Post-Petition
                          Agent to the Debtors of the occurrence of an Event of Default
                          unless such occurrence is cured by the Debtors prior to the
                          expiration of the Default Notice Period or such occurrence is
                          waived in writing by the requisite Post-Petition Lenders in their
                          sole discretion and in accordance with “Voting” section below,
                          one or more of the following shall occur to the extent elected by
                          the Majority Post-Petition Lenders in their sole discretion: (i)
                          the automatic stay shall terminate, (ii) authority to use cash
                          collateral shall terminate, (iii) the DIP Loans shall accelerate,
                          and (iv) the Post-Petition Agent may exercise its other rights
                          and remedies in accordance with the DIP Facility
                          Documentation and applicable law; provided that during the
                          Default Notice Period, the Debtors shall be entitled to continue
                          to use Cash Collateral in accordance with the terms of the
                          Financing Orders; provided, further, that the Post-Petition
                          Agent shall be required to seek relief and shall be entitled to an
                          emergency hearing regarding the termination of the automatic
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                                  stay as to clause (iv) above before expiration of the Default
                                  Notice Period.

                                  Notwithstanding the foregoing, and irrespective of the Default
                                  Notice Period, the Post-Petition Lenders shall not be obligated
                                  to provide any DIP Loans at any time a default, an Event of
                                  Default, or a Post-Petition Default has occurred and is
                                  continuing.



Releases / Covenant Not to Sue:   The Debtors shall provide each of the Pre-Petition Agent, the
                                  Pre-Petition Lenders, and their respective partners,
                                  equityholders, directors, members, principals, agents advisors,
                                  officers, professionals (including, but not limited to, counsel),
                                  subsidiaries and affiliates a standard release and covenant not to
                                  sue as to any and all claims and causes of action against any of
                                  them as of the Petition Date. This release and covenant not to
                                  sue shall be without prejudice to any review period as to any
                                  appointed creditors’ committee or any other party in interest as
                                  more fully set forth in the Financing Orders.

Credit Bid:                       The DIP Facility shall include a provision that, in connection
                                  with any sale of any or all of the Debtors’ assets under section
                                  363 of the Bankruptcy Code, a Chapter 11 plan of
                                  reorganization or liquidation, or any equivalent thereof under
                                  any other law, the Post-Petition Agent, at the direction of the
                                  Majority Post-Petition Lenders, shall have the absolute right to
                                  credit bid any portion, up to the full amount, of all DIP
                                  Obligations.
Voting:                           Amendments and waivers of the DIP Facility Documentation
                                  for the DIP Facility will require the approval of Post-Petition
                                  Lenders holding more than 50% of the aggregate amount of the
                                  commitments then outstanding under the DIP Facility (the
                                  “Majority Post-Petition Lenders”), except that:

                                  (i) the consent of each Post-Petition Lender directly and
                                      adversely affected thereby shall be required with respect to:
                                      (A) increases in the commitment of such Post-Petition
                                      Lender, (B) reductions of principal, interest or fees owing to
                                      such Post-Petition Lender (or any extension or
                                      postponement of such payments), and (C) extensions or
                                      postponement of final maturity of the DIP Facility,

                                  (ii) the consent of 100% of the Post-Petition Lenders will be
                                      required with respect to releases of all or substantially all of
                                      the value of the Guarantees or releases of liens on all or
                                      substantially all of the DIP Collateral (other than in
                                      connection with any sale of DIP Collateral or the release or
                                      sale of the relevant guarantor permitted by the DIP Facility),
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                                 (iii) the consent of 100% of the Post-Petition Lenders will be
                                     required with respect to modifications to any of the voting
                                     percentages or such modifications that would alter the
                                     ratable allocation / priority of payments to the holders of
                                     DIP Obligations,

                                 (iv) the consent of all of the Post-Petition Lenders will be
                                     required with respect to increases in the Borrowing Base and
                                     to certain provisions related to adjustment to the Borrowing
                                     Base,

                                 (v) the consent of 100% of the Post-Petition Lenders will be
                                     required with respect to amendments, modifications or
                                     waivers of any provisions in the Post-Petition Credit
                                     Agreement substantially equivalent to the provisions of
                                     Sections 13.17 and 13.22 of the Pre-Petition Credit
                                     Agreement,

                                 (vi) the consent of Post-Petition Lenders holding not less than
                                     66⅔% of the aggregate amount of the commitments then
                                     outstanding under the DIP Facility (the “Required Post-
                                     Petition Lenders”) will be required in the case of decreases
                                     in, or reaffirmations of, the Borrowing Base, and

                                 (vii) customary protections for the Post-Petition Agent and the
                                     Issuing Lender will be provided.

                                 The DIP Facility contains customary provisions permitting the
                                 Borrower to replace non-consenting Post-Petition Lenders in
                                 connection with amendments and waivers requiring greater than
                                 a Majority Post-Petition Lender or Required Post-Petition
                                 Lender vote or the consent of all Post-Petition Lenders or of all
                                 Post-Petition Lenders directly affected thereby so long as the
                                 Majority Post-Petition Lenders shall have consented thereto.

                                 The DIP Facility also contains usual and customary provisions
                                 regarding “Defaulting Lenders”.

                                 The DIP Facility shall include provisions substantially
                                 equivalent to the provisions of Sections 13.17 and 13.22 of the
                                 Pre-Petition Credit Agreement, with such modifications to be
                                 mutually agreed upon.

Cost and Yield Protection:       Usual for facilities and transactions of this type, with provisions
                                 protecting the Post-Petition Lenders from withholding tax
                                 liabilities; provided that requests for additional payments due to
                                 increased costs from market disruption shall be limited to
                                 circumstances generally affecting the banking market or when
                                 the Majority Post-Petition Lenders have made such a request.
                                 The DIP Facility contains provisions regarding the timing for
                                 asserting a claim under these provisions and permitting the
                                 Borrower to replace a Post-Petition Lender who asserts such
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                                  claim without premium or penalty.

Assignments and Participations:   The DIP Facility will contains customary provisions regarding
                                  assignments and participations that are substantially similar to
                                  those in the Pre-Petition Credit Agreement, subject to
                                  modifications customarily found in the loan agreements for
                                  debtor-in-possession financings, as agreed to by the Post-
                                  Petition Agent and the Borrower.

Expenses and Indemnification:     All documented (in summary form) fees, expenses, and costs
                                  (including but not limited to due diligence) of the Pre-Petition
                                  Agent, the Post-Petition Agent, the Post-Petition Lenders, and
                                  the Pre-Petition Lenders (including without limitation the
                                  documented fees, disbursements and other charges of counsel,
                                  financial advisors, engineers and environmental consultants) in
                                  the making, administration, collection, enforcement, or pursuing
                                  remedies related to the Pre-Petition Secured Indebtedness or
                                  DIP Facility shall be paid by the Debtors upon demand (subject
                                  to the Financing Orders).

                                  The Debtors will indemnify the Post-Petition Agent, the Post-
                                  Petition Lenders and their respective officers, directors,
                                  employees, affiliates, agents, attorneys, financial advisors, and
                                  controlling persons (each, an “Indemnified Person”) and hold
                                  them harmless from and against all documented costs, expenses
                                  (including fees, disbursements and other charges of counsel)
                                  and liabilities of any such indemnified person arising out of or
                                  relating to any claim arising out of or relating to any claim or
                                  litigation or other proceedings (regardless of whether any such
                                  indemnified person is a party thereto), that relate to the
                                  transactions contemplated hereby or any transaction connected
                                  therewith; provided that no Indemnified Person will be
                                  indemnified for any losses, claims, damages, liabilities or
                                  related expenses to the extent that they have resulted from (i)
                                  the bad faith, willful misconduct or gross negligence of such
                                  Indemnified Person, including any of such Indemnified
                                  Person’s affiliates or any of its or their respective officers,
                                  directors, employees, agents, controlling persons, members or
                                  the successors of any of the foregoing, (as determined by a
                                  court of competent jurisdiction in a final and non-appealable
                                  decision), (ii) a material breach of the obligations of such
                                  Indemnified Person (or any of such Indemnified Person’s
                                  affiliates or any of its or their respective officers, directors,
                                  employees, agents, controlling persons, members or the
                                  successors of any of the foregoing) or (iii) any proceeding not
                                  arising from any act or omission by the Borrower or its
                                  affiliates that is brought by an Indemnified Person against any
                                  other Indemnified Person (other than disputes involving claims
                                  against the Joint Lead Arrangers or the Post-Petition Agent in
                                  its capacity as such).
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DIP to Exit Conversion:                 On the date upon which the conditions precedent to the
                                        effectiveness of an “exit credit facility” shall have been
                                        satisfied or waived (the “Conversion Date”) as contemplated
                                        by the terms specified in the Exit Credit Facility Term Sheet
                                        attached as Exhibit A (the “Exit Credit Facility Term Sheet”)
                                        to that certain Exit Facility Commitment Letter (the “Exit
                                        Facility Commitment Letter”) by and among the Debtors and
                                        the Commitment Parties (as defined therein) (the following
                                        clauses (a) through (d), collectively, the “DIP Debt
                                        Conversion”): (a) all DIP Loans outstanding as of such date
                                        and any Pre-Petition Secured Indebtedness that was not
                                        converted into the DIP Facility shall, in each case, be
                                        automatically converted on a dollar-for-dollar basis for
                                        “Revolving Loans” (as defined in the Exit Credit Facility Term
                                        Sheet) under the Exit Credit Facility, (b) all outstanding DIP
                                        Letters of Credit shall be deemed to be issued as “Letters of
                                        Credit” (as defined in the Exit Credit Facility Term Sheet)
                                        under the Exit Credit Facility, (c) all outstanding DIP Hedges
                                        with a Lender or an affiliate of a Lender under the DIP Facility
                                        shall be deemed to be included in the Exit Credit Facility, and
                                        (d) all outstanding treasury management arrangements with a
                                        Lender or an affiliate of a Lender under the DIP Facility shall
                                        be deemed to be included in the Exit Credit Facility. Upon
                                        payment in full of the DIP Obligations (including all or in part
                                        as a result of the DIP Debt Conversion), the DIP Facility will
                                        terminate and be superseded and replaced in its entirety by the
                                        Exit Credit Facility.

Governing Law and Forum:                New York.

Counsel to the Pre-Petition Agent and   Vinson & Elkins L.L.P.
the Post-Petition Agent:
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                                                                                              ANNEX I

Interest Rates:           The Borrower may elect that the DIP Loans comprising each borrowing
                          bear interest at a rate per annum equal to: (i) ABR plus the Applicable
                          Margin or (ii) LIBOR plus the Applicable Margin.

                          The Borrower may elect interest periods of 1, 2, 3 or 6 months (or, if
                          available to all relevant Post-Petition Lenders, 12 months or a shorter
                          period (including 1 week or 2 weeks)) for LIBOR borrowings.

                          Calculation of interest shall be on the basis of the actual days elapsed in a
                          year of 360 days (or 365 or 366 days, as the case may be, in the case of
                          ABR Loans based on the prime rate) and interest shall be payable at the
                          end of each interest period and, in any event, at least every 3 months.

                          “ABR” means the Alternate Base Rate, which is the highest of (a) the
                          Post-Petition Agent’s Prime Rate, (b) the Federal Funds Effective Rate
                          plus 1/2 of 1.0% and (c) one-month LIBOR plus 1.0%..

                          “LIBOR” means the London interbank offered rate for dollars, subject to
                          a 1.0% floor.

                          “Applicable Margin” means for any day, with respect to any LIBOR or
                          ABR borrowing or with respect to any Unused Commitment Fee, the
                          applicable rate per annum set forth below.

                             DIP Facility        Unused                   Applicable Margin
                               Usage          Commitment Fee
                                                                    ABR Loans         LIBOR Loans
                              X <25%               0.500%             2.00%              3.00%
                           > 25% X <50%            0.500%             2.25%              3.25%
                           > 50% X <75%            0.500%             2.50%              3.50%
                           > 75% X <90%            0.500%             2.75%              3.75%
                              X > 90%              0.500%             3.00%              4.00%

                          “DIP Facility Usage” means, as of any date and for all purposes, the
                          quotient, expressed as a percentage, of (i) Total Outstandings divided by
                          (ii) the aggregate DIP Commitment.

Letters of Credit Fees:   A per annum fee equal to the Applicable Margin then in effect for LIBOR
                          borrowings will accrue on the aggregate face amount of outstanding DIP
                          Letters of Credit, payable in arrears at the end of each quarter and upon
                          the termination of the DIP Facility, in each case for the actual number of
                          days elapsed over a 360-day year. Such fees shall be distributed to the
                          Post-Petition Lenders pro rata in accordance with the amount of each
                          such Post-Petition Lender’s DIP Commitment. In addition, the Borrower
                          shall pay to the Issuing Lender, for its own account, (a) a fronting fee
                          equal to 0.125% per annum of the aggregate face amount of outstanding
                          DIP Letters of Credit or such other amount as may be agreed by the
                          Borrower and the Issuing Lender, payable in arrears at the end of each
                          quarter and upon the termination of the DIP Facility, calculated based
                          upon the actual number of days elapsed over a 360-day year, and (b)


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                       customary issuance and administration fees to be mutually agreed.

Commitment Fees:       The Borrower will pay a fee (the “Commitment Fee”), in an amount
                       computed on a daily basis equal to the total DIP Commitments of the
                       Post-Petition Lenders less the Total Outstandings on each day, multiplied
                       by the applicable percentage specified as the “Unused Commitment Fee”
                       in the table set forth under the definition of “Applicable Margin”
                       corresponding to the DIP Facility Usage as of the end of such day. The
                       Commitment Fee is payable quarterly in arrears commencing after the
                       Closing Date.

Upfront Fees:          20.0 bps per year for the Post-Petition Lenders, payable on the Closing
                       Date in proportion to each Lender’s final allocation of its New Money
                       DIP Commitment.




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                                                                                                        ANNEX II
                                                   Carve Out

         1.       Carve Out.

                  (a)      Carve Out.          Notwithstanding anything to the contrary in this

[Final/Interim] Order, any DIP Documents (as defined in the Financing Orders), or any other

order of the Court, all of the DIP Liens, the DIP Superpriority Claims, the Adequate Protection

Liens, and the Adequate Protection Superpriority Claims (each as defined in the Financing

Orders) shall be subject and subordinate only to the payment of the Carve-Out as and only to the

extent set forth in this [Final/Interim] Order. As used in this [Final/Interim] Order, the “Carve

Out” means the sum of (i) all fees required to be paid to the Clerk of the Court and to the Office

of the United States Trustee under section 1930(a) of title 28 of the United States Code plus

interest at the statutory rate (without regard to the notice set forth in (iii) below); (ii) all

reasonable fees and expenses up to $[50,000] incurred by a trustee under section 726(b) of the

Bankruptcy Code (without regard to the notice set forth in (iii) below); (iii) to the extent allowed

at any time, whether by interim order, procedural order, or otherwise, all unpaid fees and

expenses, other than any restructuring, sale, success, or other transaction fee of any investment

bankers or financial advisors of the Debtors or any committee1 (the “Allowed Professional

Fees”) incurred by persons or firms retained by the Debtors pursuant to section 327, 328, or 363

of the Bankruptcy Code (the “Debtor Professionals”) and any official committee appointed in the

Chapter 11 Cases (each, a “Committee”) pursuant to section 328 or 1103 of the Bankruptcy

Code (the “Committee Professionals” and, together with the Debtor Professionals,

the “Professional Persons”) at any time before or on the first business day following delivery by


1        Any fee due and payable to a Professional Person that is employed as an investment banker or financial
advisor arising from the consummation of any transaction shall be payable only to the extent allowed by the Court
and as and to the extent set forth in such Professional Person’s engagement letter, and solely from the proceeds
received by the Debtors resulting from the consummation of such transaction, free and clear of the liens of the Post-
Petition Agent and the Post-Petition Lenders.

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the Post-Petition Agent of a Carve Out Trigger Notice (as defined below), whether allowed by

the Court prior to or after delivery of a Carve Out Trigger Notice; and (iv) Allowed Professional

Fees of Professional Persons in an aggregate amount not to exceed $2,750,000 incurred after the

first business day following delivery by the Post-Petition Agent of the Carve Out Trigger Notice,

to the extent allowed at any time, whether by interim order, procedural order, or otherwise (the

amounts set forth in this clause (iv) being the “Post-Carve Out Trigger Notice Cap”). For

purposes of the foregoing, “Carve Out Trigger Notice” shall mean a written notice delivered by

email (or other electronic means) by the Post-Petition Agent to the Debtors, their lead

restructuring counsel, the U.S. Trustee, and counsel to any Committee, which notice may be

delivered following the occurrence and during the continuation of an Event of Default and

acceleration of the DIP Obligations under the DIP Facility, stating that the Post-Carve Out

Trigger Notice Cap has been invoked.

               (b)    Fee Estimates. Not later than 7:00 p.m. New York time on the third

business day of each week starting with the first full calendar week following the [Closing Date],

each Professional Person shall deliver to the Debtors a statement setting forth a good-faith

estimate of the amount of fees and expenses (collectively, “Estimated Fees and Expenses”)

incurred during the preceding week by such Professional Person (through Saturday of such week,

the “Calculation Date”), along with a good-faith estimate of the cumulative total amount of

unreimbursed fees and expenses incurred through the applicable Calculation Date and a

statement of the amount of such fees and expenses that have been paid to date by the Debtors

(each such statement, a “Weekly Statement”); provided, that within one business day of the

occurrence of the Termination Declaration Date (as defined below), each Professional Person

shall deliver to the Debtors one additional statement (the “Final Statement”) setting forth a good-

faith estimate of the amount of fees and expenses incurred during the period commencing on the

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calendar day after the most recent Calculation Date for which a Weekly Statement has been

delivered and concluding on the Termination Declaration Date (and the Debtors shall cause such

Weekly Statement and Final Statement to be delivered on the same day received to the Post-

Petition Agent). If any Professional Person fails to deliver a Weekly Statement or the Final

Statement within three calendar days after such Weekly Statement or Final Statement is due,

such Professional Person’s entitlement (if any) to any funds in the Pre-Carve Out Trigger Notice

Reserve (as defined below) with respect to the aggregate unpaid amount of Allowed Professional

Fees of such Professional Person for the applicable period(s) for which such Professional Person

failed to deliver a Weekly Statement or Final Statement covering such period shall be limited to

the aggregate unpaid amount of Allowed Professional Fees included in the Budget (as defined in

the Post-Petition Credit Agreement, the “Budget”) for such period for such Professional Person;

provided, that such Professional Person shall be entitled to be paid any unpaid amount of

Allowed Professional Fees in excess of Allowed Professional Fees included in the Budget for

such period for such Professional Person from a reserve to be funded by the Debtors from all

cash on hand as of such date and any available cash thereafter held by any Debtor pursuant to

paragraph [●](c) below. Solely as it relates to the Post-Petition Agent and the Post-Petition

Lenders, any deemed draw and borrowing pursuant to paragraph [●](c)(i)(x) for amounts under

paragraph [●](a)(iii) above shall be limited to the greater of (x) the sum of (I) the aggregate

unpaid amount of Estimated Fees and Expenses included in such Weekly Statements timely

received by the Debtors prior to the Termination Declaration Date plus, without duplication, (II)

the lesser of (1) the aggregate unpaid amount of Estimated Fees and Expenses included in the

Final Statements timely received by the Debtors pertaining to the period through and including

the Termination Declaration Date and (2) the Budgeted Cushion Amount (as defined below), and

(y) the aggregate unpaid amount of Allowed Professional Fees included in the Budget for the

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period prior to the Termination Declaration Date (such amount, the “DIP Professional Fee Carve

Out Cap”). For the avoidance of doubt, the Post-Petition Agent shall be entitled to maintain at

all times a reserve (the “Carve-Out Reserve”) against availability under the DIP Facility in an

amount (the “Carve-Out Reserve Amount”) equal to the sum of (i) the greater of (x) the

aggregate unpaid amount of Estimated Fees and Expenses included in all Weekly Statements

timely received by the Debtors, and (y) the aggregate amount of Allowed Professional Fees

contemplated to be unpaid in the Budget at the applicable time, plus (ii) the Post-Carve Out

Trigger Notice Cap, plus (iii) the amounts contemplated under paragraph [●](a)(i) and [●](a)(ii)

above, plus (iv) an amount equal to the amount of Allowed Professional Fees set forth in the

Budget for the then current week occurring after the most recent Calculation Date and the two

weeks succeeding such current week (such amount set forth in (iv), regardless of whether such

reserve is maintained, the “Budgeted Cushion Amount”). Not later than 7:00 p.m. New York

time on the fourth business day of each week starting with the first full calendar week following

the [Closing Date], the Debtors shall deliver to the Post-Petition Agent a report setting forth the

Carve-Out Reserve Amount as of such time, and, in setting the Carve-Out Reserve, the Post-

Petition Agent shall be entitled to rely upon such reports in accordance with section [●] of

the Post-Petition Credit Agreement. Prior to the delivery of the first report setting forth the

Carve-Out Reserve Amount, the Post-Petition Agent shall calculate the Carve-Out Reserve

Amount by reference to the Budget for subsection (i) of the Carve-Out Reserve Amount.

               (c)    Carve Out Reserves.

                      (i)     On the day on which a Carve Out Trigger Notice is given by

the Post-Petition Agent to the Debtors and their lead restructuring counsel with a copy to counsel

to any Committee (the “Termination Declaration Date”), the Carve Out Trigger Notice shall (x)

be deemed a draw request and notice of borrowing by the Borrower for the DIP Loans under the

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DIP Facility, in an amount equal to the sum of (1) the amounts set forth in paragraphs [●](a)(i)

and [●](a)(ii) above, and (2) the lesser of (a) the then unpaid amounts of the Allowed

Professional Fees and (b) the DIP Professional Fee Carve Out Cap (any such amounts actually

advanced shall constitute DIP Loans) and (y) also constitute a demand to the Debtors to utilize

all cash on hand as of such date and any available cash thereafter held by any Debtor to fund a

reserve in an amount equal to the sum of the amounts set forth in paragraphs [●](a)(i)–(iii)

above. The Debtors shall deposit and hold such amounts in a segregated account at the Post-

Petition Agent in trust to pay such then unpaid Allowed Professional Fees (the “Pre-Carve Out

Trigger Notice Reserve”) prior to any and all other claims.

                      (ii)    On the Termination Declaration Date, the Carve Out Trigger

Notice shall also (x) be deemed a request by the Debtors for DIP Loans under the DIP Facility,

in an amount equal to the Post-Carve Out Trigger Notice Cap (any such amounts actually

advanced shall constitute DIP Loans) and (y) constitute a demand to the Debtors to utilize all

cash on hand as of such date and any available cash thereafter held by any Debtor, after funding

the Pre-Carve Out Trigger Notice Reserve, to fund a reserve in an amount equal to the

Post-Carve Out Trigger Notice Cap. The Debtors shall deposit and hold such amounts in a

segregated account at the Post-Petition Agent in trust to pay such Allowed Professional Fees

benefiting from the Post-Carve Out Trigger Notice Cap (the “Post-Carve Out Trigger Notice

Reserve” and, together with the Pre-Carve Out Trigger Notice Reserve, the “Carve Out

Reserves”) prior to any and all other claims.

                      (iii)   On the first business day after the Post-Petition Agent gives such

notice to such Post-Petition Lenders, notwithstanding anything in the Post-Petition Credit

Agreement to the contrary, including with respect to the existence of a Default or Event of

Default (as such terms are defined in the Post-Petition Credit Agreement), the failure of the

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Debtors to satisfy any or all of the conditions precedent for DIP Loans under the DIP Facility,

any termination of the DIP Commitments following an Event of Default, or the occurrence of the

Maturity Date, each Post-Petition Lender with an outstanding DIP Commitment (on a pro rata

basis based on the then outstanding DIP Commitments) shall make available to the Post-Petition

Agent such Post-Petition Lender’s pro rata share with respect to such borrowing in accordance

with the DIP Facility; provided that in no event shall the Post-Petition Agent or the Post-Petition

Lenders be required to extend DIP Loans pursuant to a deemed draw and borrowing pursuant to

paragraphs [●](c)(i)(x) and [●](c)(ii)(x) in an aggregate amount exceeding the Carve-Out

Reserve Amount.

                       (iv)    All funds in the Pre-Carve Out Trigger Notice Reserve shall be

used first to pay the obligations set forth in clauses (i) through (iii) of the definition of Carve Out

set forth above (the “Pre-Carve Out Amounts”), but not, for the avoidance of doubt, the Post-

Carve Out Trigger Notice Cap, until paid in full, and then, to the extent the Pre-Carve Out

Trigger Notice Reserve has not been reduced to zero, to pay the Post-Petition Agent for the

benefit of the Post-Petition Lenders, unless the DIP Obligations have been indefeasibly paid in

full, in cash, and all DIP Commitments have been terminated, in which case any such excess

shall be paid to the [Prepetition Secured Creditors] in accordance with their rights and priorities

as of the Petition Date. All funds in the Post-Carve Out Trigger Notice Reserve shall be used

first to pay the obligations set forth in clause (iv) of the definition of Carve Out set forth above

(the “Post-Carve Out Amounts”), and then, to the extent the Post-Carve Out Trigger Notice

Reserve has not been reduced to zero, to pay the Post-Petition Agent for the benefit of the Post-

Petition Lenders, unless the DIP Obligations have been indefeasibly paid in full, in cash, and all

DIP Commitments have been terminated, in which case any such excess shall be paid to the




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[Prepetition Secured Creditors] in accordance with their rights and priorities as of the Petition

Date.

                       (v)     Notwithstanding anything to the contrary in the DIP Documents, or

this [Final/Interim] Order, if either of the Carve Out Reserves is not funded in full in the amounts

set forth in this paragraph [●], then, any excess funds in one of the Carve Out Reserves following

the payment of the Pre-Carve Out Amounts and Post-Carve Out Amounts, respectively, shall be

used to fund the other Carve Out Reserve, up to the applicable amount set forth in this paragraph

[●], prior to making any payments to the Post-Petition Agent or the [Prepetition Secured

Creditors], as applicable. Notwithstanding anything to the contrary in the DIP Documents or this

[Final/Interim] Order, following delivery of a Carve Out Trigger Notice, the Post-Petition Agent

and the Pre-Petition Agent shall not sweep or foreclose on cash (including cash received as a

result of the sale or other disposition of any assets) of the Debtors until the Carve Out Reserves

have been fully funded, but shall have a security interest in any residual interest in the Carve Out

Reserves, with any excess paid to the Post-Petition Agent for application in accordance with the

DIP Documents. Further, notwithstanding anything to the contrary in this [Final/Interim] Order,

(i) disbursements by the Debtors from the Carve Out Reserves shall not constitute DIP Loans or

increase or reduce the DIP Obligations, (ii) the failure of the Carve Out Reserves to satisfy in full

the Allowed Professional Fees shall not affect the priority of the Carve Out, and (iii) in no way

shall the Initial Budget, Budget, Carve Out, Post-Carve Out Trigger Notice Cap, Carve Out

Reserves, or any of the foregoing be construed as a cap or limitation on the amount of the

Allowed Professional Fees due and payable by the Debtors. For the avoidance of doubt and

notwithstanding anything to the contrary in this [Final/Interim] Order, the DIP Facility, the

Prepetition RBL Facility, or the Second Lien Notes Indenture, the Carve Out shall be senior to

all liens and claims securing the DIP Facility, the Adequate Protection Liens, and the 507(b)

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Claim, and any and all other forms of adequate protection, liens, or claims securing the DIP

Obligations or the [Prepetition Secured Obligations].

               (d)    Payment of Allowed Professional Fees Prior to the Termination

Declaration Date.     Any payment or reimbursement made prior to the occurrence of the

Termination Declaration Date in respect of any Allowed Professional Fees shall not reduce the

Carve Out.

               (e)    No Direct Obligation To Pay Allowed Professional Fees. None of the

Post-Petition Agent, Post-Petition Lenders, or the [Prepetition Secured Creditors] shall be

responsible for the payment or reimbursement of any fees or disbursements of any Professional

Person incurred in connection with the Chapter 11 Cases or any successor cases under any

chapter of the Bankruptcy Code. Nothing in this [Final/Interim] Order or otherwise shall be

construed to obligate the Post-Petition Agent, the Post-Petition Lenders, or the [Prepetition

Secured Creditors], in any way, to pay compensation to, or to reimburse expenses of, any

Professional Person or to guarantee that the Debtors have sufficient funds to pay such

compensation or reimbursement.

               (f)    Payment of Carve Out On or After the Termination Declaration Date.

Any payment or reimbursement made on or after the occurrence of the Termination Declaration

Date in respect of any Allowed Professional Fees shall permanently reduce the Carve Out on a

dollar-for-dollar basis. Any funding of the Carve Out shall be added to, and made a part of,

the DIP Obligations secured by the DIP Collateral and shall be otherwise entitled to the

protections granted under this [Final/Interim] Order, the DIP Documents, the Bankruptcy Code,

and applicable law.




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                            Annex 2(a)

                      Exit Commitment Letter
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                                                                                    Execution Version

   JPMORGAN CHASE            BANK OF AMERICA,          WELLS FARGO BANK,            CAPITAL ONE,
       BANK, N.A.                    N.A.                  NATIONAL                   NATIONAL
     2200 Ross Avenue          1 Cowboys Way              ASSOCIATION               ASSOCIATION
         3rd Floor                 Suite 500             1445 Ross Avenue        201 St. Charles Avenue
     Dallas, TX 75201          Frisco, TX 75034             Suite 4500                  18th Floor
                                                         Dallas, TX 75202        New Orleans, LA 70170

   CREDIT SUISSE AG,          ROYAL BANK OF            ABN AMRO CAPITAL           COMERICA BANK
   CAYMAN ISLANDS                 CANADA                     USA LLC               P.O. Box 650282
        BRANCH                 200 Vesey Street           100 Park Avenue        Dallas, TX 75265-0282
  Eleven Madison Avenue           12th Floor                 17th Floor
         11th Floor          New York, NY 10281         New York, NY 10017
   New York, NY 10010-
           3629

 CANADIAN IMPERIAL            ING CAPITAL LLC             TRUIST BANK            KEYBANK NATIONAL
 BANK OF COMMERCE,             1111 Bagby Street       401 East Jackson Street       ASSOCIATION
  NEW YORK BRANCH                 Suite 2650             Mail Code – 4104           127 Public Square
    1001 Fannin Street         Houston, TX 77002         Tampa, FL 33602              Second Floor
       Suite 4450                                                                 Cleveland, OH 44114-
   Houston, TX 77002                                                                      1306

                             FIFTH THIRD BANK,          GOLDMAN SACHS
                                  NATIONAL                 BANK USA
                                ASSOCIATION               200 West Street
                             515 North Flagler Drive    New York, NY 10282
                                   Suite 703
                              West Palm Beach, FL
                                     33401


                                                                                    CONFIDENTIAL

                                                                                          July 28, 2020


Denbury Resources Inc.
5320 Legacy Drive
Plano, Texas 75024
Attention: Mark C. Allen

                   Senior Secured Revolving Credit Facility Commitment Letter

Ladies and Gentlemen:

       Denbury Resources Inc., a Delaware corporation (the “Borrower” or “you”) has advised
JPMorgan Chase Bank, N.A. (“JPMorgan”), Bank of America, N.A. (“BofA”), Wells Fargo
Bank, National Association (“Wells”), Capital One, National Association (“Capital One”), Credit
Suisse AG, Cayman Islands Branch (“CSAG”), Royal Bank of Canada (“RBC”), ABN AMRO
Capital USA LLC (“ABN”), Comerica Bank (“Comerica”), Canadian Imperial Bank of
Commerce, New York Branch (“CIBC”), ING Capital LLC (“ING”), Truist Bank (“Truist”),
KeyBank National Association (“KeyBank”), Fifth Third Bank, National Association (“Fifth
Third”) and Goldman Sachs Bank USA (“Goldman”, and together with JPMorgan, BofA, Wells,


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Capital One, CSAG, RBC, ABN, Comerica, CIBC, ING, Truist, KeyBank and Fifth Third,
collectively, the “Initial Lenders”, “we”, “our” or “us”) that the Borrower and certain of its
subsidiaries (collectively with the Borrower, the “Credit Parties”) will on or about the date hereof
file voluntary petitions commencing cases under title 11 of the United States Code (the “Chapter
11 Cases”, and such code, the “Bankruptcy Code”) in the United States Bankruptcy Court for
the Southern District of Texas (the “Bankruptcy Court”) in order to implement the Transactions
(as defined below). In connection therewith, you have requested that the Initial Lenders provide
financing to (a) refinance (the “Refinancing”) any outstanding Pre-Petition Secured Indebtedness
(as defined in the DIP Term Sheet (as defined below)) that was not converted into DIP Obligations
(as defined in the Exit Facility Term Sheet (as defined below)) and any outstanding indebtedness
under that certain Senior Secured Super Priority Debtor-In-Possession Credit Agreement, to be
dated on or about the date hereof (as amended from time to time, the “DIP Credit Agreement”),
among the Borrower, the other Credit Parties party thereto and each of the Initial Lenders party
thereto, via a cashless conversion on the Conversion Date (as defined in the Exit Facility Term
Sheet) in accordance with the terms of the Exit Facility Term Sheet, (b) pay fees, commissions
and expenses in connection with the Transactions and (c) finance ongoing working capital
requirements and other general corporate purposes of the Credit Parties, all as more fully described
in the Exit Facility Term Sheet (as defined below).

         This Commitment Letter (as defined below) describes the general terms and conditions for
a senior secured exit facility constituting a reserve-based revolving credit facility of up to an
aggregate maximum credit amount of $615,000,000 (the “Revolving Facility”) on substantially
the terms described in, and subject to the conditions precedent set forth in, the Exit Facility Term
Sheet attached hereto as Exhibit A (the “Exit Facility Term Sheet”), with availability thereunder
being subject to an initial borrowing base (the “Initial Borrowing Base”), which Initial Borrowing
Base will not, in any event, be greater than the borrowing base in effect under the DIP Credit
Agreement immediately prior to the Conversion Date. The Initial Borrowing Base will be
determined in accordance with the terms of the Exit Facility Term Sheet and will be determined
by the Administrative Agent (and approved by the Initial Lenders constituting the Required
Lenders (as defined in the Exit Facility Term Sheet), including JPMorgan) in good faith in their
sole discretion, based upon the Initial Reserve Report and such other reports, data and
supplemental information (including status of title information with respect to proved oil and gas
properties, the Credit Parties’ other assets, liabilities, fixed charges, cash flow, business, properties,
prospects, hedged and unhedged exposure of the Credit Parties to price, price and production
scenarios, interest rate and operating cost changes) as the Administrative Agent deems appropriate
in its sole discretion, acting in good faith and consistent with its normal oil and gas lending criteria
as it exists at such time for such purpose with respect to similar oil and gas reserve-based credits
for similarly situated borrowers.

        As used herein, the term “Transactions” means, collectively, (a) the restructuring
contemplated under the Chapter 11 Cases, (b) the Refinancing, (c) the initial borrowings and other
extensions of credit under the Revolving Facility on the Conversion Date and (d) the payment of
fees, commissions and expenses in connection with each of the foregoing. This letter, including
the Exit Facility Term Sheet and any other annexes, exhibits or other attachments hereto, are
hereinafter collectively referred to as the “Commitment Letter”.



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        Capitalized terms used but not defined herein are used with the meanings assigned to them
in the Exit Facility Term Sheet attached hereto.

1.      Commitments and Undertakings

        In connection with the Transactions, subject to the terms and conditions set forth in this
Commitment Letter, each of the Initial Lenders is pleased to advise you of its several (and not
joint) commitment to provide the following percentages with respect to the Initial Borrowing Base
under the Revolving Facility: (i) JPMorgan, 10.646242907%, (ii) BofA, 10.380086836%, (iii)
Wells, 10.380086836%, (iv) Capital One, 9.861086021%, (v) CSAG, 8.596841229%, (vi) RBC,
8.144375824%, (vii) ABN, 8.144339324%, (viii) Comerica, 8.143868860%, (ix) CIBC,
7.300280850%, (x) ING, 5.748971171%, (xi) Truist, 4.562675532%, (xii) KeyBank,
3.832647447%, (xiii) Fifth Third, 3.193872872% and (xiv) Goldman, 1.064624291%, which in
the aggregate for all Initial Lenders, equals 100% of the Revolving Facility.

2.      Titles and Roles

        It is agreed that (a) JPMorgan will act as a lead arranger and bookrunner for the Revolving
Facility (acting in such capacities, the “Lead Arranger”) and (b) JPMorgan will act as
administrative agent and collateral agent for the Revolving Facility. You further agree that the
Lead Arranger shall not have any other responsibilities except as otherwise mutually agreed. You
agree that, except as otherwise set forth in the Exit Facility Term Sheet, (i) no other agents, co-
agents, arrangers, co-arrangers, bookrunners, co-bookrunners, managers or co-managers will be
appointed and (ii) no other titles will be awarded unless you and JPMorgan shall so reasonably
agree. You further agree that no compensation (other than that expressly contemplated by this
Commitment Letter and the Fee Letter referred to below) will be paid in connection with the
Revolving Facility unless you and JPMorgan shall so reasonably agree (it being understood and
agreed that no other agent, co-agent, arranger, co-arranger, bookrunner, co-bookrunner, manager
or co-manager shall be entitled to greater economics in respect of the Revolving Facility than
JPMorgan).

3.      Information

        You hereby represent and warrant that (a) all written information (including all financial
information, reserve information and reports, information to conduct diligence and Projections (as
defined below), that JPMorgan may reasonably request in connection with the arrangement of the
Revolving Facility (the “Information Materials”)), other than (x) the financial projections and
other forward-looking information (collectively, the “Projections”) and (y) information of a
general economic or general industry nature (the “Information”), that has been or will be made
available to us by you or any of your representatives in connection with the transactions
contemplated hereby, when taken as a whole, does not or will not, when furnished to us, contain
any untrue statement of a material fact or omit to state a material fact necessary in order to make
the statements contained therein not materially misleading in light of the circumstances under
which such statements are made (giving effect to all supplements thereto) and (b) the Projections
that have been or will be made available to us by you or any of your representatives in connection
with the transactions contemplated hereby have been or will be prepared in good faith based upon
assumptions believed by you to be reasonable at the time furnished to us (it being recognized by

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the Initial Lenders that such Projections are not to be viewed as facts and that actual results during
the period or periods covered by any such Projections may differ from the projected results, and
such differences may be material). You agree that if, at any time prior to the Conversion Date, you
become aware that any of the representations in the preceding sentence would be incorrect if such
Information or Projections were furnished at such time and such representations were remade, in
any material respect, then you will promptly supplement the Information and the Projections so
that such representations when remade would be correct, in all material respects, under those
circumstances. You understand that in arranging the Revolving Facility we may use and rely on
the Information and Projections without independent verification thereof.

         You will assist us in preparing Information Materials, including but not limited to a
confidential information memorandum or lender slides, for distribution to the Lenders (as defined
in the Exit Facility Term Sheet). If requested, you also will assist us in preparing an additional
version of the Information Materials (the “Public-Side Version”) to be used by the Lenders’
public-side employees and representatives (“Public-Siders”) who do not wish to receive material
non-public information (within the meaning of United States federal securities laws) with respect
to the Borrower, its affiliates and any of their respective securities (“MNPI”) and who may be
engaged in investment and other market related activities with respect to the Borrower’s or its
affiliates’ securities or loans. Before distribution of any Information Materials, you agree to
execute and deliver to us (i) a letter in which you authorize distribution of the Information
Materials to a Lender’s employees willing to receive MNPI (“Private-Siders”) and (ii) a separate
letter in which you authorize distribution of the Public-Side Version to Public-Siders and represent
that either (x) no MNPI is contained therein or (y) neither the Borrower nor any of its controlling
or controlled entities has any debt or equity securities issued pursuant to a public offering or
Rule 144A private placement and agree that if the Borrower or any of its controlling or controlled
entities becomes the issuer of any debt or equity securities issued pursuant to a public offering or
Rule 144A private placement thereafter, you will publicly disclose any information contained in
the Information Materials delivered to Public-Siders that constitutes MNPI at such time.

        You hereby authorize JPMorgan to download copies of the Credit Parties’ trademark logos
from its website and post copies thereof and any Information Materials to a deal site on
IntraLinksTM, DebtDomain, SyndTrak, ClearPar or any other electronic platform chosen by
JPMorgan to be its electronic transmission system (an “Electronic Platform”) established by
JPMorgan to perform services in its capacity as the administrative agent of the Revolving Facility
and to use the Credit Parties’ trademark logos on any confidential information memoranda,
presentations and other marketing materials prepared in connection with the administration of the
Revolving Facility, with your consent (which consent not to be unreasonably withheld,
conditioned or delayed), in any advertisements that we may place after the closing of the Revolving
Facility in financial and other newspapers, journals, the World Wide Web, our home page or
otherwise, at our own expense describing our services to the Credit Parties hereunder. You also
understand and acknowledge that we may provide to market data collectors, such as league table,
or other service providers to the lending industry, information regarding the closing date, size,
type, purpose of, and parties to, the Revolving Facility.




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4.      Fees

        As consideration for the commitments and agreements of the Initial Lenders hereunder,
you agree to pay or cause to be paid the fees described in that certain DIP and Exit Facilities Fee
Letter, dated as of the date hereof and delivered herewith (the “Fee Letter”) on the terms and
subject to the conditions set forth therein.

5.      Conditions

        Each Initial Lender’s commitments and agreements hereunder are subject to the conditions
set forth in the Exit Facility Term Sheet under the heading “Conditions to Initial Borrowing and
Closing of Revolving Facility”. It being understood and agreed that there are no conditions
(implied or otherwise) to the commitments hereunder, including compliance with the terms of this
Commitment Letter, the Fee Letter and the Revolving Facility Documentation other than those
expressly stated in this Section 5. Notwithstanding anything to the contrary in this Commitment
Letter or the Fee Letter, your obligations hereunder and thereunder are subject to the entry of the
Final Order (as defined in the DIP Term Sheet attached as Exhibit B hereto (the “DIP Term
Sheet”) by the Bankruptcy Court.

6.      Indemnification and Expenses

        You agree (a) to indemnify and hold harmless the Initial Lenders, the Lead Arranger and
any other arrangers or agents in respect of the Revolving Facility appointed pursuant to this
Commitment Letter, their affiliates and their respective directors, officers, employees, advisors,
agents and other representatives (each, an “indemnified person”) from and against any and all
losses, claims, damages and liabilities to which any such indemnified person may become subject
arising out of or in connection with this Commitment Letter, the Fee Letter, the Revolving Facility,
the use of the proceeds thereof, or the Transactions or any claim, litigation, investigation or
proceeding relating to any of the foregoing (including in relation to enforcing the terms of this
paragraph) (each, a “Proceeding”), regardless of whether any indemnified person is a party
thereto, whether or not such Proceedings are brought by you, your equity holders, affiliates,
creditors or any other person, and to reimburse each indemnified person upon written demand with
customary backup documentation for any reasonable and documented out-of-pocket legal or other
reasonable and documented out-of-pocket expenses incurred in connection with investigating or
defending any of the foregoing (limited, in the case of counsel, to the reasonably and documented
out-of-pocket fees, disbursements and other charges of a single outside counsel to all indemnified
persons, taken as a whole, including (if necessary) one local counsel in each relevant jurisdiction
and solely in the event of a conflict of interest, one additional counsel (and if necessary, one local
counsel in each relevant jurisdiction) to each group of similarly situated affected indemnified
persons), provided that the foregoing indemnity will not, as to any indemnified person, apply (i) to
losses, claims, damages, liabilities or related expenses to the extent they are found by a final,
nonappealable judgment of a court of competent jurisdiction to arise or result from the willful
misconduct, bad faith or gross negligence of such indemnified person or its affiliates, directors,
officers or employees, advisors or agents (collectively, the “Related Parties”), (ii) to losses,
claims, damages, liabilities or related expenses to the extent they are found by a final,
nonappealable judgment of a court of competent jurisdiction to arise or result from a material
breach of the obligations of such indemnified person or affiliate of such indemnified person under

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this Commitment Letter or the Revolving Facility or (iii) to the extent arising from any dispute
solely among indemnified persons (other than a Proceeding against any indemnified person in its
capacity or in fulfilling its role as the Lead Arranger, administrative agent, collateral agent,
bookrunner, lender, letter of credit issuer or any other similar role in connection with this
Commitment Letter, the Fee Letter, the Revolving Facility or the use of the proceeds thereof) not
arising out of any act or omission on the part of you or your affiliates; and (b) regardless of whether
the Conversion Date occurs, to reimburse each Initial Lender and its affiliates for all reasonable
and documented out-of-pocket expenses (including, without limitation, due diligence expenses,
syndication expenses, financial advisor’s fees, consultant’s fees, travel expenses, and the fees,
charges and disbursements of a single outside counsel) incurred in connection with the Revolving
Facility and any related documentation (including this Commitment Letter, the Fee Letter and the
definitive financing documentation in connection with the Revolving Facility) or the
administration, amendment, modification or waiver thereof (limited, in the case of counsel, to the
reasonable and documented out-of-pocket fees, disbursements and other charges of a single outside
counsel to the indemnified persons, including (if necessary) one local counsel in each relevant
jurisdiction and solely in the event of a conflict of interest, one additional counsel (and if necessary,
one local counsel in each relevant jurisdiction) to each group of similarly situated affected
persons). No indemnified person shall be liable for any damages arising from the use by others of
the Information or other materials obtained through electronic, telecommunications or other
information transmission systems, including an Electronic Platform or otherwise via the internet,
or for any special, indirect, consequential or punitive damages in connection with the Revolving
Facility, or in connection with its activities related to the Revolving Facility, and you agree, to the
extent permitted by applicable law, not to assert any claims against any indemnified person with
respect to the foregoing. None of the indemnified persons or you or any of your or their respective
Related Parties shall be liable for any indirect, special, punitive or consequential damages in
connection with this Commitment Letter, the Fee Letter, the Revolving Facility, or the transactions
contemplated hereby, provided that nothing contained in this sentence shall limit your indemnity
obligations to the extent set forth in this Section 6.

        You shall not, without the prior written consent of an indemnified person (which consent
shall not be unreasonably withheld, conditioned or delayed), effect any settlement of any pending
or threatened Proceedings in respect of which indemnity could have been sought hereunder by
such indemnified person unless such settlement (x) includes a full and unconditional release of
such indemnified person in form and substance reasonably satisfactory to such indemnified person
from all liability on claims that are the subject matter of such Proceedings and (y) does not include
any statement as to or any admission of fault, culpability or a failure to act by or on behalf of any
indemnified person or any injunctive relief or other non-monetary remedy. You acknowledge that
any failure to comply with your obligations under the preceding sentence may cause irreparable
harm to JPMorgan, any other Initial Lender, the Lead Arranger and the other indemnified persons.

7.      Sharing of Information, Affiliate Activities, Absence of Fiduciary Relationship

        JPMorgan, the other Initial Lenders and the Lead Arranger may employ the services of
their respective affiliates in providing certain services hereunder and, in connection with the
provision of such services, may exchange with such affiliates information concerning you and the
other companies that may be the subject of the Transactions contemplated by this Commitment
Letter, and, to the extent so employed, such affiliates shall be entitled to the benefits, and be subject

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to the obligations, of JPMorgan, the other Initial Lenders and the Lead Arranger hereunder.
JPMorgan, each other Initial Lender and the Lead Arranger shall be responsible for its respective
affiliates’ failure to comply with such obligations under this Commitment Letter.

         You acknowledge that any of the Initial Lenders or their respective affiliates may be
providing debt financing, equity capital or other services (including financial advisory services) to
other companies in respect of which you may have conflicting interests regarding the transactions
described herein and otherwise. Each Initial Lender agrees severally (and not jointly) that it will
not use confidential information obtained from you by virtue of the transactions contemplated by
this Commitment Letter or its other relationships with you in connection with the performance by
it of services for other companies, and it will not furnish any such information to other companies.
You also acknowledge that the Initial Lenders have no obligation to use in connection with the
transactions contemplated by this Commitment Letter, or to furnish to you, confidential
information obtained from other companies.

        You further acknowledge that each Initial Lender is a full service securities or banking firm
engaged in securities trading and brokerage activities as well as providing investment banking and
other financial services. In the ordinary course of business, an Initial Lender and/or its affiliates
may provide investment banking and other financial services to, and/or acquire, hold or sell, for
its own accounts and the accounts of customers, equity, debt and other securities and financial
instruments (including bank loans and other obligations) of, you and other companies with which
you may have commercial or other relationships. With respect to any securities and/or financial
instruments so held by an Initial Lender, its affiliates or any of its respective customers, all rights
in respect of such securities and financial instruments, including any voting rights, will be
exercised by the holder of the rights, in its sole discretion.

         You agree that the Initial Lenders and the Lead Arranger will act under this Commitment
Letter as independent contractors and that nothing in this Commitment Letter will be deemed to
create an advisory, fiduciary or agency relationship or fiduciary or other implied duty between any
Initial Lender or the Lead Arranger and you, your respective equity holders or your and their
respective affiliates. You acknowledge and agree that (a) the transactions contemplated by this
Commitment Letter are arm’s-length commercial transactions between each Initial Lender or the
Lead Arranger and, if applicable, its affiliates, on the one hand, and you, on the other, (b) in
connection therewith and with the process leading to such transaction each Initial Lender and the
Lead Arranger and, if applicable, its respective affiliates, is acting solely as a principal and has not
been, is not and will not be acting as an advisor, agent or fiduciary of you, your management,
equity holders, creditors, affiliates or any other person and (c) each Initial Lender and the Lead
Arranger, if applicable, and each of their respective affiliates, has not assumed an advisory or
fiduciary responsibility or any other obligation in favor of you or your affiliates with respect to the
transactions contemplated hereby or the process leading thereto (irrespective of whether such
Initial Lender or the Lead Arranger or any of its respective affiliates has advised or is currently
advising you or your affiliates on other matters) except the obligations expressly set forth in this
Commitment Letter. You further acknowledge and agree that (x) you are responsible for making
your own independent judgment with respect to such transactions and the process leading thereto,
(y) you are capable of evaluating and you understand and accept the terms, risks and conditions of
the transactions contemplated hereby, and neither JPMorgan, nor any other Initial Lender or the
Lead Arranger shall have any responsibility or liability to you with respect thereto, and (z) no

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Initial Lender or the Lead Arranger is advising the Credit Parties as to any legal, tax, investment,
accounting, regulatory or any other matters in any jurisdiction, and you shall consult with your
own advisors concerning such matters and you shall be responsible for making your own
independent investigation and appraisal of the transactions contemplated hereby. Any review by
JPMorgan or any other Initial Lender or the Lead Arranger of the Credit Parties, the transactions
contemplated hereby or other matters relating to such transactions will be performed solely for the
benefit of JPMorgan or such other Initial Lender or the Lead Arranger, respectively, and shall not
be on behalf of the Credit Parties. You agree that you will not assert any claim against JPMorgan
or any other Initial Lender or the Lead Arranger based on an alleged breach of fiduciary duty by
JPMorgan or such other Initial Lender or the Lead Arranger in connection with this Commitment
Letter and the transactions contemplated hereby.

8.      Confidentiality

        This Commitment Letter is delivered to you on the understanding that neither this
Commitment Letter nor the Fee Letter nor any of their terms or substance shall be disclosed by
you, directly or indirectly, to any other person, except (a) to you and your officers, directors,
employees, affiliates, members, partners, stockholders, attorneys, accountants, agents and
advisors, in each case on a confidential and need-to-know basis, (b) as may be required by or in
any legal, judicial or administrative proceeding or as otherwise required by law or regulation or as
requested by a governmental or regulatory authority (in which case you agree, to the extent
permitted by law, to inform us promptly thereof), (c) if the Initial Lenders consent in writing to
such proposed disclosure, (d) in connection with the enforcement of your rights hereunder or under
the Fee Letter or (e) this Commitment Letter and the existence and contents hereof (but not the
Fee Letter or the contents thereof other than the existence thereof and the contents thereof as part
of projections, pro forma information and a generic disclosure of aggregate sources and uses to the
extent customary in marketing materials and other required filings) may be disclosed (x) in
connection with the syndication or arrangement of the Revolving Facility or in connection with,
and as may be required for, any public filing and (y) to the parties to that certain Restructuring
Support Agreement dated as of even date herewith to which this Commitment Letter will be
attached to and to any party required by the Bankruptcy Court. Notwithstanding anything to the
contrary in the foregoing, you shall be permitted to file the Fee Letter with the Bankruptcy Court
under seal in form and substance reasonably satisfactory to JPMorgan or in a redacted manner in
form and substance reasonably satisfactory to JPMorgan and provide an unredacted copy of the
Fee Letter to (u) the Bankruptcy Court, (v) the Office of the United States Trustee for the Southern
District of Texas, (w) the advisors to the official committee of unsecured creditors appointed in
the Chapter 11 Cases, (x) Paul, Weiss, Rifkind, Wharton and Garrison LLP, as counsel to the
holders of the Second Lien Notes (as defined in the Plan), (y) Akin Gump Strauss Hauer & Feld
LLP as counsel to the holders of the Convertible Notes (as defined in the Plan), and (z) any other
party or advisor as required by the Bankruptcy Court; provided, that the disclosure of the Fee
Letter to such advisors is on a confidential, “professionals only” basis.

         Each Initial Lender severally (and not jointly) shall use all nonpublic information received
by it in connection with the Revolving Facility and the related transactions solely for the purposes
of providing the services that are the subject of this Commitment Letter and shall treat
confidentially all such information; provided, however, that nothing herein shall prevent any Initial
Lender from disclosing any such information (a) to any Lenders or participants or prospective

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Lenders or participants, (b) in any legal, judicial, administrative proceeding or other compulsory
process or as required by applicable law or regulations (in which case such Initial Lender shall
promptly notify you, in advance, to the extent permitted by law), (c) upon the request or demand
of any regulatory authority (including any self-regulatory authority) or other governmental
authority purporting to have jurisdiction over JPMorgan, an Initial Lender or the Lead Arranger,
or any of its respective affiliates (in which case such person agrees (except with respect to any
audit or examination conducted by bank accountants or any self-regulatory authority or
governmental or regulatory authority exercising examination or regulatory authority), to the extent
practicable and not prohibited by applicable law or regulation, to inform you promptly thereof
prior to disclosure), (d) to the employees, legal counsel, independent auditors, professionals and
other experts or agents of such Initial Lender (collectively, “Representatives”) who are informed
of the confidential nature of such information and are or have been advised of their obligation to
keep information of this type confidential, (e) to any of its respective affiliates (provided that any
such affiliate is advised of its obligation to retain such information as confidential, and such Initial
Lender shall be responsible for its respective affiliates’ compliance with this paragraph) solely in
connection with the Transactions, (f) to the extent any such information becomes publicly
available other than by reason of disclosure by such Initial Lender, its affiliates or Representatives
in breach of this Commitment Letter or any applicable confidentiality obligation to you, (g) for
purposes of establishing a “due diligence” defense, (h) in connection with the exercise of any
remedies hereunder or under the Fee Letter or any suit, action or proceeding relating to this
Commitment Letter, the Fee Letter or the Revolving Facility and (i) pursuant to customary
disclosure about the terms of the financing contemplated hereby in the ordinary course of business
to market data collectors and similar service providers to the loan industry for league table
purposes; provided that the disclosure of any such information to any Lenders or prospective
Lenders or participants or prospective participants referred to above shall be made subject to the
acknowledgment and acceptance in writing by such Lender or prospective Lender or participant
or prospective participant that such information is being disseminated on a confidential basis in
accordance with the standard syndication processes of such Initial Lender or customary market
standards for dissemination of such type of information. The provisions of this paragraph shall
automatically terminate on the earlier of (a) the Conversion Date and (b) one year following the
date of this Commitment Letter.

9.      Assignments

        This Commitment Letter shall not be assignable by you without the prior written consent
of each Initial Lender (and any purported assignment without such consent shall be null and void),
is intended to be solely for the benefit of the parties hereto and the indemnified persons and is not
intended to and does not confer any benefits upon, or create any rights in favor of, any person other
than the parties hereto and the indemnified persons to the extent expressly set forth herein.

10.     Acceptance/ Expiration of Commitments

       If the foregoing correctly sets forth our agreement, please indicate your acceptance of the
terms of this Commitment Letter and the Fee Letter by returning to us executed counterparts of
this Commitment Letter and the Fee Letter not later than 11:59 p.m., Dallas, Texas time, on July
29, 2020 (the “Acceptance Deadline”). This offer will automatically expire at such time if we
have not received such executed counterparts in accordance with the preceding sentence. In the

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event that the initial borrowings or the roll-up under the DIP Facility do not occur on or before the
Expiration Date (as defined below), then this Commitment Letter and the commitments hereunder
(including, for the avoidance of doubt, the commitments with respect to the Revolving Facility)
shall automatically terminate unless the Initial Lenders shall, in their discretion, agree to an
extension. In addition, if not otherwise terminated in accordance with the immediately preceding
sentence, this Commitment Letter and the commitments hereunder shall automatically terminate
without further action or notice on the first day after the Maturity Date (as defined under the DIP
Term Sheet) if the Conversion Date shall not have occurred by such time.

       For purposes of this Commitment Letter, “Expiration Date” means 5:00 p.m., Dallas,
Texas time on the date that is thirty-five (35) days after the Petition Date (as defined in the DIP
Term Sheet) if the Final Order (as defined in the DIP Term Sheet) has not been entered by the
Bankruptcy Court on or prior to such date.

11.     Miscellaneous

        Each Initial Lender reserves the right to employ the services of its affiliates in providing
services contemplated hereby and to allocate, in whole or in part, to its affiliates certain fees
payable to such Initial Lender in such manner as such Initial Lender and its affiliates may agree in
their sole discretion. This Commitment Letter may not be amended or waived except by an
instrument in writing signed by you and each Initial Lender. This Commitment Letter may be
executed in any number of counterparts, each of which shall be an original, and all of which, when
taken together, shall constitute one agreement. Delivery of an executed signature page of this
Commitment Letter by facsimile or electronic transmission (e.g., “pdf” or “tif” shall be effective
as delivery of a manually executed counterpart hereof. This Commitment Letter and the Fee Letter
are the only agreements that have been entered into among us and you with respect to the
Revolving Facility and set forth the entire understanding of the parties with respect thereto.

     THIS COMMITMENT LETTER AND THE FEE LETTER AND ANY CLAIM OR
CONTROVERSY ARISING HEREUNDER OR RELATED HERETO (INCLUDING,
WITHOUT LIMITATION, ANY CLAIMS SOUNDING IN CONTRACT LAW OR TORT
LAW ARISING OUT OF THE SUBJECT MATTER HEREOF OR THEREOF) SHALL
BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK, WITHOUT REFERENCE TO ANY
OTHER CONFLICTS OR CHOICE OF LAW PRINCIPLES THEREOF AND, TO THE
EXTENT APPLICABLE, TITLE 11 OF THE UNITED STATES CODE. YOU AND WE
HEREBY IRREVOCABLY AGREE TO WAIVE TRIAL BY JURY IN ANY SUIT,
ACTION, PROCEEDING, CLAIM OR COUNTERCLAIM BROUGHT BY OR ON
BEHALF OF ANY PARTY RELATED TO OR ARISING OUT OF THE
TRANSACTIONS, THIS COMMITMENT LETTER OR THE FEE LETTER OR THE
PERFORMANCE OF SERVICES HEREUNDER OR THEREUNDER.

       You and we hereby irrevocably and unconditionally submit to the exclusive jurisdiction of
the Bankruptcy Court or any state or Federal court sitting in the Borough of Manhattan in the City
of New York, over any suit, action or proceeding arising out of or relating to the Transactions or
the other transactions contemplated hereby, this Commitment Letter or the Fee Letter or the
performance of services hereunder or thereunder. You and we agree that service of any process,

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summons, notice or document by registered mail addressed to you or us shall be effective service
of process for any suit, action or proceeding brought in any such court. You and we hereby
irrevocably and unconditionally waive any objection to the laying of venue of any such suit, action
or proceeding brought in any such court and any claim that any such suit, action or proceeding has
been brought in any inconvenient forum. Each of the Initial Lenders hereby notifies you that,
pursuant to the requirements of the USA PATRIOT Act, Title III of Pub. L. 107-56 (signed into
law on October 26, 2001) (the “PATRIOT Act”), it is required to obtain, verify and record
information that identifies the Borrower and each Guarantor, which information includes names,
addresses, tax identification numbers and other information that will allow such Lender to identify
the Borrower and each Guarantor in accordance with the PATRIOT Act. This notice is given in
accordance with the requirements of the PATRIOT Act and is effective for the Initial Lenders and
each Lender.

       Section headings used herein are for convenience of reference only and are not to affect
the construction of, or to be taken into consideration in interpreting, this Commitment Letter.

        The indemnification, fee, expense, jurisdiction, information and confidentiality provisions
contained herein and in the Fee Letter shall remain in full force and effect regardless of whether
definitive financing documentation for the Revolving Facility shall be executed and delivered and
notwithstanding the termination of this Commitment Letter or the commitments hereunder;
provided that your obligations under this Commitment Letter (other than your obligations with
respect to confidentiality) shall automatically terminate and be superseded, to the extent
comparable, by the provisions of the Revolving Facility Documentation upon the occurrence of
the effectiveness thereof.

                                    [Signature Pages Follow]




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                                 Exhibit A

                         Exit Facility Term Sheet

                               [See attached.]




           Exhibit A to Commitment Letter – Denbury Resources Inc.
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                                                                                       CONFIDENTIAL

                                                                                             EXHIBIT A

                                   DENBURY RESOURCES INC.
                         $615,000,000 Senior Secured Revolving Credit Facility

Borrower:                                 Denbury Resources Inc., a Delaware corporation (the
                                          “Borrower”).

Administrative Agent:                     JPMorgan Chase Bank, N.A. (“JPMCB”) in its capacity as
                                          administrative agent and collateral agent (in such capacities,
                                          the “Administrative Agent”) in respect of the Revolving
                                          Facility (as hereinafter defined) for a syndicate of banks,
                                          financial institutions and other institutional lenders from time
                                          to time party thereto (together with JPMCB and the Initial
                                          Lenders, the “Lenders”). On the Conversion Date (as defined
                                          below), the Lenders shall constitute all of the Existing
                                          Lenders (as defined below) participating in the DIP Facility
                                          (as defined below).

Joint Bookrunners and Lead Arrangers:     JPMCB, Bank of America, N.A., Wells Fargo Securities, LLC
                                          and Capital One, National Association, in their respective
                                          capacities as joint lead arrangers (in such capacities, the
                                          “Joint Lead Arrangers”) for the Revolving Facility.

Co-Syndication Agents:                    Bank of America, N.A. and Wells Fargo Bank, National
                                          Association.

Co-Documentation Agents:                  Canadian Imperial Bank of Commerce, New York Branch,
                                          Comerica Bank, Credit Suisse AG, Cayman Islands Branch,
                                          Royal Bank of Canada and ABN AMRO Capital USA LLC.

Revolving Credit Facility:                A senior secured revolving credit facility (the “Revolving
                                          Facility”, and the commitments thereunder, the “RBL
                                          Commitments”) in an aggregate maximum principal amount
                                          of $615,000,000 (the “Maximum Amount”), subject to
                                          availability as described under the heading “Availability”
                                          below.      The loans under the Revolving Facility are
                                          collectively referred to as “Revolving Loans” or the “Loans”.

Swingline:                                In connection with the Revolving Facility, JPMCB (in such
                                          capacity, the “Swingline Lender”) will make available to the
                                          Borrower a swingline facility in U.S. dollars under which the
                                          Borrower may make short term borrowings upon same day
                                          notice up to an aggregate amount not to exceed $25,000,000
                                          in minimum principal amounts of $100,000 or increments of
                                          $10,000 in excess thereof subject to customary notice
                                          requirements. Any such swingline borrowing will reduce
                                          availability under the Revolving Facility on a dollar-for-dollar
                                          basis.

                                          Upon notice from the Swingline Lender, the Lenders will be
                                          unconditionally obligated to purchase participations in any



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                                 swingline loan pro rata based upon their RBL Commitments.

Purpose / Use of Proceeds:       (A)    The proceeds of borrowings under the Revolving
                                        Facility may be used by the Borrower (i) for payments
                                        of certain fees, costs and expenses in connection with
                                        the Borrower’s exit from chapter 11 and refinancing
                                        certain debt in connection therewith (including,
                                        without limitation, the DIP Facility (as defined in the
                                        DIP Term Sheet)), (ii) to make investments, payments,
                                        dividends or distributions on, or redemptions of, the
                                        Borrower’s capital stock to the extent permitted under
                                        the Revolving Facility, (iii) to provide for the working
                                        capital needs of the Borrower and its subsidiaries, (iv)
                                        to pay the fees and expenses related to the Revolving
                                        Facility, and (v) for other general corporate purposes,
                                        including, without limitation, the exploration,
                                        acquisition and development of oil and gas properties.

                                 (B)    Letters of credit are used by the Borrower and its
                                        restricted subsidiaries for general corporate purposes,
                                        including, without limitation, to secure bids, tenders,
                                        bonds and contracts entered into in the ordinary course
                                        of the Borrower’s business and to support deposits
                                        required under purchase agreements pursuant to which
                                        the Borrower or one or more restricted subsidiaries
                                        may acquire oil and gas assets.

Availability:                    So long as the Total Outstandings (as defined below) do not
                                 exceed the Revolving Loan Limit (as defined below): (i)
                                 Revolving Loans will be available at any time (on same day
                                 notice in the case of ABR (as defined in Annex I) Loans) prior
                                 to the Maturity Date (as defined below), in minimum principal
                                 amounts of $1,000,000 or increments of $100,000 in excess
                                 thereof, (ii) Letters of Credit under the Revolving Facility will
                                 be issued as described in the section entitled “Letters of
                                 Credit” below and (iii) amounts repaid under the Revolving
                                 Facility may be reborrowed.

                                 “Total Outstandings” means, at any time, the aggregate
                                 principal amount of Revolving Loans then outstanding plus
                                 the aggregate stated amount of all issued but undrawn Letters
                                 of Credit (as hereinafter defined) and, without duplication, all
                                 unreimbursed disbursements on any Letter of Credit as of
                                 such date (unless cash collateralized or backstopped pursuant
                                 to arrangements reasonably acceptable to the Issuing Lender
                                 (as hereinafter defined)).

                                 “Revolving Loan Limit” means, the least of (i) the RBL
                                 Commitments, (ii) the Borrowing Base (as hereinafter
                                 defined) and (iii) the Maximum Amount.
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                                For purposes hereof, “Availability” shall mean an amount (if
                                positive) equal to the Revolving Loan Limit less Total
                                Outstandings.

Borrowing Base:                 The borrowing base for the Revolving Facility will be based
                                on the loan value of the Credit Parties’ (as hereinafter defined)
                                proved oil and gas reserves as reflected in a Reserve Report
                                (as hereinafter defined) and other oil and gas properties of the
                                Credit Parties, in each case located within the geographic
                                boundaries of the United States or the outer continental shelf
                                adjacent to the United States, determined in accordance with
                                the terms set forth below (the “Borrowing Base”).

                                The initial Borrowing Base as of the Conversion Date will be
                                an amount determined by the Required Lenders based on the
                                Initial Reserve Report (as defined below) (but will not, in any
                                event, be an amount in excess of the borrowing base in effect
                                under the DIP Facility immediately prior to the Conversion
                                Date) and will remain at such level until, subject to the
                                Borrower’s right of optional re-determination and any
                                Adjustment (as hereafter defined), the next re-determination
                                date, which re-determination date shall be subject to
                                adjustment as set forth in the Revolving Facility. The
                                Borrowing Base shall be re-determined semi-annually on or
                                about May 1 and November 1 of each year (or in each case,
                                such date reasonably practicable thereafter), beginning on the
                                first May 1 or November 1 after the Conversion Date (as
                                defined below), based upon a reserve report prepared as of the
                                immediately preceding June 30 (with regard to the November
                                1 redetermination) or December 31 (with regard to the May 1
                                redetermination), and delivered on or before October 1 (with
                                regard to the November 1 redetermination) and April 1 (with
                                regard to the May 1 redetermination), as applicable (each such
                                report, a “Reserve Report”), and other related information, if
                                any, required to be delivered to the Administrative Agent;
                                provided that if the Conversion Date occurs less than 90 days
                                prior to the first May 1 or November 1 thereafter, then the
                                first scheduled Borrowing Base redetermination after the
                                Conversion Date shall occur on the next May 1 or November
                                1, whichever is first. Each Reserve Report shall be in a form
                                reasonably acceptable to the Administrative Agent. Subject to
                                the following two sentences, all Reserve Reports, including
                                those prepared in connection with a re-determination, may be
                                prepared internally by petroleum engineers who are
                                employees of the Borrower or its subsidiaries.            Each
                                December 31st Reserve Report shall be prepared by (a)
                                DeGolyer and MacNaughton, (b) Netherland, Sewell &
                                Associates, Inc., (c) Cawley, Gillespie & Associates, Inc.,
                                (d) Ryder Scott Company, L.P., or (e) at the Borrower’s
                                election, such other independent petroleum engineering firm
                                reasonably acceptable to the Administrative Agent (each, an
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                          “Approved Petroleum Engineer”). Each June 30th Reserve
                          Report will be prepared, at the Borrower’s option, by an
                          Approved Petroleum Engineer or internally under the
                          supervision of the chief petroleum engineer of the Borrower
                          who shall certify such Reserve Report to be true and accurate
                          in all material respects and to have been prepared in
                          accordance with the procedures used in the immediately
                          preceding December 31st Reserve Report.

                          The Borrowing Base shall be proposed by the Administrative
                          Agent and approved by all of the Lenders (in the case of
                          increases) or the Required Lenders (as hereinafter defined) (in
                          the case of decreases or reaffirmation) as provided below.
                          Each determination of the Borrowing Base shall be made by
                          the Administrative Agent and, to the extent any determination
                          represents an increase in the Borrowing Base in effect
                          immediately prior to such determination, all of the Lenders,
                          and to the extent any determination represents a decrease in or
                          reaffirmation of, the Borrowing Base in effect immediately
                          prior to such determination, the Required Lenders, in each
                          case, in their respective sole discretion, but in good faith in
                          accordance with their respective usual and customary oil and
                          gas lending criteria as they exist at the particular time and as
                          specified in the Revolving Facility Documentation (as defined
                          below); provided that no Lender shall be required to increase
                          its commitment amount under the Revolving Facility in
                          connection with an increase in the Borrowing Base.

                          The Borrower and the Administrative Agent (at the direction
                          of the Required Lenders) shall each have the option to request
                          one unscheduled re-determination of the Borrowing Base
                          between each scheduled redetermination (including prior to
                          the first scheduled re-determination date). To the extent any
                          re-determination represents an increase in the Borrowing Base
                          in effect immediately prior to such re-determination, such
                          Borrowing Base will be the largest amount approved by all of
                          the Lenders, and to the extent any re-determination represents
                          a decrease in, or reaffirmation of, the Borrowing Base in
                          effect prior to such re-determination, such Borrowing Base
                          will be the largest amount approved by the Required Lenders.

                          In addition to the foregoing scheduled and unscheduled re-
                          determinations, the Borrowing Base is also subject to
                          adjustments (each, an “Adjustment”) between re-
                          determinations in connection with:

                          (i) sales or other dispositions (including in connection with
                              the designation of unrestricted subsidiaries and
                              investments) of Borrowing Base Properties (as hereinafter
                              defined) and early monetization or early termination of any
                              hedge or swap positions relied on by the Lenders (as
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                                   determined by the Administrative Agent) in determining
                                   the Borrowing Base, in each case since the later of (A) the
                                   most recent re-determination date and (B) the last
                                   adjustment made pursuant to this clause (i), and with an
                                   aggregate value (together with the economic value of any
                                   earlier sales or dispositions during such period or any early
                                   monetization or early termination of any hedge or swap
                                   positions relied on by the Lenders (as determined by the
                                   Administrative Agent) in determining the Borrowing Base
                                   (net of (x) any positions entered into (1)
                                   contemporaneously with such early monetization or
                                   termination or (2) since the last re-determination of the
                                   Borrowing Base and (y) acquisitions consummated since
                                   the last re-determination with respect to which the
                                   Borrower has delivered a Reserve Report and other
                                   engineering information reasonably satisfactory to the
                                   Administrative Agent)) exceeding 5% of the Borrowing
                                   Base then in effect;

                                (ii) at the Borrower’s election, acquisitions (including in
                                    connection with the designation of an unrestricted
                                    subsidiary as a restricted subsidiary) of domestic oil and
                                    gas properties between scheduled redeterminations, with
                                    an aggregate value (together with the economic value of
                                    any earlier such acquisitions during such period)
                                    exceeding 5% of the Borrowing Base then in effect; and

                                (iii) upon the issuance of any senior unsecured or senior
                                    subordinated loans or notes after the Conversion Date
                                    (“Specified Additional Debt”), other than permitted
                                    refinancing debt in respect thereof, the Borrowing Base
                                    will be immediately reduced by $0.25 for every $1.00 of
                                    the principal amount of Specified Additional Debt.

                                The Borrower may on any re-determination date elect a
                                reduced Borrowing Base.

Accordion:                      The Revolving Facility shall permit the Borrower to increase
                                commitments under the Revolving Facility (any such increase,
                                an “Incremental Increase”) at any time and from time to time
                                in a minimum amount per increase of at least $25,000,000
                                (and increments of $1,000,000 above that minimum), up to a
                                maximum aggregate incremental commitment such that after
                                giving effect thereto the total RBL Commitments shall not
                                exceed the lesser of (a) the Borrowing Base then in effect and
                                (b) the Maximum Amount; provided that (i) no existing
                                Lender will be required to participate in any such Incremental
                                Increase without its consent, (ii) no Event of Default under the
                                Revolving Facility shall exist after giving effect thereto, (iii)
                                the Administrative Agent, the Swingline Lender and the
                                Issuing Lender shall have been given notice of the
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                                 Incremental Increase, (iv) the Borrower shall have paid to the
                                 Administrative Agent, for payment to any increasing Lender
                                 or Additional Lender, as applicable, any fees payable in the
                                 amounts and at the times separately agreed upon among the
                                 Borrower, the Administrative Agent and each such Lender or
                                 Lenders and (v) such Incremental Increase shall be on the
                                 same terms (including the same maturity date) and pursuant to
                                 the same documentation applicable to the Revolving Facility
                                 (other than with respect to any arrangement, structuring,
                                 upfront or other fees or discounts payable in connection with
                                 such Incremental Increase (provided that the Applicable
                                 Margin of the Revolving Facility may be increased to be
                                 consistent with the applicable margin for such Incremental
                                 Increase)).

                                 The Borrower may seek commitments in respect of the
                                 Incremental Increase, in its sole discretion, from either
                                 existing Lenders (each of which shall be entitled to agree or
                                 decline to participate in its sole discretion) or from additional
                                 banks, financial institutions and other institutional lenders or
                                 investors who will become Lenders in connection therewith
                                 (in each case (i.e., existing or new Lenders), with the consent
                                 of the Administrative Agent, the Swingline Lender and the
                                 Issuing Lender (in each case, such consent not to be
                                 unreasonably withheld or delayed)) (“Additional Lenders”) or
                                 from both existing Lenders and Additional Lenders.

Interest Rates and Fees:         As set forth on Annex I to this Exhibit A.

Default Rate:                    With respect to overdue principal, the applicable interest rate
                                 plus 2.00% per annum, and with respect to any other overdue
                                 amount, including overdue interest, the interest rate applicable
                                 to ABR Loans plus 2.00% per annum.

Letters of Credit:               An aggregate amount of $100,000,000 (as may be increased
                                 solely with the consent of the Administrative Agent and the
                                 Issuing Lender) of the Revolving Facility shall be available to
                                 the Borrower for the purpose of issuing standby letters of
                                 credit (the “Letters of Credit”). Letters of Credit will be
                                 issued by JPMCB or any of its affiliates or any replacement or
                                 successor thereof (the “Issuing Lender”). The Administrative
                                 Agent will be promptly notified by the Borrower and the
                                 Issuing Lender of each issuance, extension or amendment of a
                                 Letter of Credit. Each Letter of Credit shall expire not later
                                 than the earlier of (a) 12 months (or 18 months in the case of
                                 Letters of Credit issued in favor of the Texas Railroad
                                 Commission) after its date of issuance or such longer period
                                 of time as may be agreed by the Issuing Lender and (b) the
                                 fifth business day prior to the Maturity Date; provided that
                                 any Letter of Credit may provide for automatic renewal
                                 thereof for additional periods of up to 12 months (or 18
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                                 months in the case of Letters of Credit issued in favor of the
                                 Texas Railroad Commission) or such longer period of time as
                                 may be agreed by the Issuing Lender (which in no event shall
                                 extend beyond the date referred to in clause (b) above, except
                                 to the extent cash collateralized or backstopped pursuant to
                                 arrangements reasonably acceptable to the Issuing Lender;
                                 provided that no Lender shall be required to fund
                                 participations in Letters of Credit after the maturity date
                                 applicable to its commitments).

                                 Drawings under any Letter of Credit shall be reimbursed by
                                 the Borrower (whether with its own funds or with the
                                 proceeds of borrowings under the Revolving Facility) within
                                 one business day after notice of such drawing is received by
                                 the Borrower from the Issuing Lender. To the extent that the
                                 Borrower does not reimburse the Issuing Lender within the
                                 time period specified above, the Lenders under the Revolving
                                 Facility shall be irrevocably obligated to reimburse the Issuing
                                 Lender pro rata based upon their respective Revolving Facility
                                 commitments.

                                 On the Conversion Date, all outstanding “DIP Letters of
                                 Credit” (as defined in the DIP Term Sheet) under the DIP
                                 Facility shall automatically be deemed issued under the
                                 Revolving Facility as “Letter of Credit”.

Final Maturity:                  The Revolving Facility will mature, and lending commitments
                                 will terminate, on the date that is 42 months after the Petition
                                 Date (as defined in the DIP Term Sheet, as defined below)
                                 (the “Maturity Date”).

Guarantees:                      All obligations of the Credit Parties (the “Obligations”) under
                                 (i) the Revolving Facility and Revolving Facility
                                 Documentation, (ii) interest rate protection, commodity
                                 trading or hedging, currency exchange or other non-
                                 speculative hedging or swap arrangements entered into with
                                 any Lender or any affiliate of a Lender (including any hedging
                                 agreements entered into with such Lender or affiliate thereof
                                 under the DIP Facility prior to the Conversion Date) (the
                                 “Hedging Arrangements”) and (iii) treasury management
                                 arrangements entered into with any Lender or any affiliate of
                                 a Lender (including any treasury agreements entered into with
                                 such Lender or affiliate thereof under the DIP Facility prior to
                                 the Conversion Date) (“Treasury Arrangements”) will, in
                                 each case, be unconditionally guaranteed jointly and severally
                                 on a pari passu senior secured basis (the “Guarantees”) by
                                 each existing and subsequently acquired or organized direct or
                                 indirect subsidiary of the Borrower other than an Excluded
                                 Subsidiary (as defined below) (the “Guarantors”; together
                                 with the Borrower, the “Credit Parties”). Notwithstanding
                                 the foregoing, any subsidiary that owns Borrowing Base
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                                 Properties shall be required to be a Guarantor.

                                 The Borrower will not be permitted to create or acquire any
                                 foreign subsidiaries without the prior written consent of the
                                 Administrative Agent.

                                 “Approved Counterparty” means any person if such person or
                                 its credit support provider has a long-term senior unsecured
                                 debt rating of BBB+/Baa1 by S&P or Moody’s (or their
                                 equivalent) or higher.

                                 The Revolving Facility Documentation contains customary
                                 provisions to address the status of Guarantors as eligible
                                 contract participants.

                                 Subject to the investments covenant in the Revolving Facility
                                 Documentation and other customary limitations, the Borrower
                                 may designate any subsidiary as an “unrestricted subsidiary”
                                 and subsequently redesignate any such unrestricted subsidiary
                                 as a restricted subsidiary. Unrestricted subsidiaries are not
                                 subject to the representations and warranties, covenants,
                                 events of default or other provisions of the Revolving Facility
                                 Documentation, and the results of operations and indebtedness
                                 of unrestricted subsidiaries will not be taken into account for
                                 purposes of calculating any financial metric contained in the
                                 Revolving Facility Documentation except to the extent that
                                 distributions in the form of cash or cash equivalents are
                                 received by a Credit Party therefrom.

Security:                        Subject to the limitations set forth below in the Revolving
                                 Facility, the Obligations, including in respect of the
                                 Guarantees and any Hedging Arrangements or Treasury
                                 Arrangements, shall be secured by the following (collectively,
                                 but excluding the Excluded Assets (as hereinafter defined),
                                 the “Collateral”): (a) substantially all personal property of the
                                 Credit Parties, including, without limitation, (i) a first-priority
                                 (subject to permitted liens) perfected pledge of all the equity
                                 interests of each direct material wholly-owned restricted U.S.
                                 subsidiary held by any Credit Party and the equity interests of
                                 any Guarantor, (ii) a first priority (subject to permitted liens)
                                 perfected security interest in all of the Credit Parties’
                                 commodity hedge contracts and the proceeds thereof and (iii)
                                 a first-priority (subject to permitted liens) perfected security
                                 interest in all deposit accounts, securities accounts and
                                 commodity accounts of the Credit Parties other than Excluded
                                 Accounts (as defined below); and (b) first-priority (subject to
                                 permitted liens) perfected real property mortgages on oil and
                                 gas reserves and related assets of the Credit Parties located in
                                 the United States included in the most recent Reserve Report
                                 delivered to the Administrative Agent (such properties, the
                                 “Borrowing Base Properties”) and representing not less than
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                          ninety percent (90%) of the PV-9 of the Borrowing Base
                          Properties.

                          The Borrower shall provide reasonably satisfactory title
                          information on at least ninety percent (90%) of the PV-9 of
                          the Borrowing Base Properties evaluated in the most recent
                          Reserve Report.

                          “PV-9” means, with respect to any proved reserves expected
                          to be produced from any oil and gas properties, the net present
                          value, discounted at 9% per annum, of the future net revenues
                          expected to accrue to the Credit Parties’ collective interests in
                          such reserves during the remaining expected economic lives
                          of such reserves, calculated in accordance with the most
                          recent bank price deck provided to the Borrower by the
                          Administrative Agent.

                          For the avoidance of doubt, the Collateral shall exclude the
                          following: (i) any real property (owned or leased), any
                          midstream assets, and any oil and gas properties (owned or
                          leased) other than those constituting Borrowing Base
                          Properties, (ii) any contract, license, agreement, instrument or
                          other document (or any items of property, subject thereto) to
                          the extent that the grant of a security interest therein is
                          prohibited by, or constitutes a breach or default under or
                          results in the termination of or gives rise to a right on the part
                          of the parties thereto other than any Credit Party to terminate
                          (or materially modify) or requires any consent not obtained
                          under, any such contract, license, agreement, instrument or
                          other document, except to the extent that the term in such
                          contract, license, agreement, instrument or other document
                          providing for such prohibition, breach, default or right of
                          termination or modification or requiring such consent is
                          ineffective under Sections 9-406, 9-407, 9-408 or 9-409 of the
                          UCC (or any successor provision or provisions) of any
                          relevant jurisdiction or any other applicable law, (iii)
                          intellectual property and licenses, including any United States
                          “intent to use” trademark applications for which a statement
                          of use has not been filed, in relation to which any applicable
                          law, or any agreement with a domain name registrar or any
                          other person entered into by any grantor, prohibits the creation
                          of a security interest therein or would otherwise invalidate or
                          result in the abandonment of any of such grantor’s right, title
                          or interest therein, (iv) any motor vehicles and other assets
                          subject to certificates of title (except to the extent the security
                          interest in such assets can be perfected by the filing of a UCC-
                          1 financing statement), (v) letter of credit rights (except to the
                          extent the security interest in such assets can be perfected by
                          the filing of a UCC-1 financing statement), (vi) margin stock,
                          (vii) any building or manufactured (mobile) home located
                          within an area having special flood hazards and in which
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                          flood insurance is available under the National Flood
                          Insurance Act of 1968, (viii) any consumer goods, (ix) any
                          Excluded Accounts, (x) equity interests in Excluded
                          Subsidiaries, (xi) the Genesis Assets (as defined below), (xii)
                          those assets as to which the Administrative Agent reasonably
                          determines that the cost or other consequences of obtaining
                          such a security interest or perfection thereof are excessive in
                          relation to the benefit to the Lenders of the security to be
                          afforded thereby, and (xiii) other exceptions to be reasonably
                          agreed by the Administrative Agent and the Borrower. The
                          foregoing described in clauses (i) through (xiii) are,
                          collectively, the “Excluded Assets”.

                          “Genesis Assets” means, collectively, (a) that certain Pipeline
                          Financing Lease Agreement, dated as of May 30, 2008 (as
                          amended), among Denbury Onshore, LLC and Genesis NEJD
                          Pipeline, LLC, (b) any interest, title and right that the Credit
                          Parties have to the “Pipeline System” (as defined in the
                          Pipeline Financing Lease Agreement) (hereinafter referred to
                          as the “Pipeline System”), (c) any proceeds received at any
                          time resulting from the sale or other disposition of all or part
                          of the Credit Parties’ interest, title and right to the Pipeline
                          System, and (d) all rents, income or related fees or charges for
                          transportation of carbon dioxide or any other substance
                          through the Pipeline System.

                          “Excluded Accounts” means, collectively, (a) any deposit
                          account, securities account or commodity account that is
                          exclusively used for trust, payroll, payroll taxes and other
                          employee wage and benefit payments to or for the benefit of
                          any employees of the Credit parties or any of their
                          subsidiaries, (b) any deposit account, securities account or
                          commodity account that is exclusively used in the ordinary
                          course of the Credit Parties’ business for (i) deposits that are
                          escrowed amounts in connection with transactions with third
                          parties or (ii) deposits that are pledged to third parties to
                          secure obligations (other than debt for borrowed money)
                          incurred in the ordinary course of the Credit Parties’ business,
                          (c) any deposit account, securities account or commodity
                          account that is exclusively used for deposits to fund one or
                          more political action committees of the Credit Parties so long
                          as the balance of all such deposit accounts, securities accounts
                          and commodity accounts does not in the aggregate exceed
                          $1,000,000 at any time, (d) any deposit account that is a zero
                          balance account, (e) any deposit account, commodity account
                          or securities account so long as the balance in each such
                          account, individually, does not at any time exceed $1,000,000
                          and the aggregate balance of all such deposit accounts,
                          commodity accounts and securities accounts does not at any
                          time exceed $3,000,000, (f) any deposit account which is used
                          as an escrow account or fiduciary or trust account and solely
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                          maintains cash and cash equivalents made for the benefit of
                          third parties (other than the Debtors) to be used exclusively in
                          the ordinary course of the Debtors’ business for royalty
                          obligations, suspense payments, working interest payments,
                          plugging and abandonment, remediation, and similar
                          payments owed or to be made to such third parties (other than
                          the Debtors), and (g) the Professional Fee Escrow Account (as
                          defined in the Plan (as defined in the DIP Term Sheet)) so
                          long as, at any time, the balance in such account includes only
                          the amounts deposited therein on or prior to the Conversion
                          Date in accordance with the Plan.

                          “Excluded Subsidiary” means (a) any subsidiary that is not a
                          wholly-owned domestic Material Subsidiary, “Material
                          Subsidiary” shall mean each subsidiary whose revenues or
                          total assets are less than 7.5% of the consolidated revenues or
                          total assets of the Borrower and its restricted subsidiaries
                          (provided that if at any time the aggregate amount of revenues
                          or total assets of all such subsidiaries of the Borrower
                          excluded as Guarantors pursuant to this clause (a) exceeds
                          10% of the consolidated revenues or total assets, respectively,
                          of the Borrower and its restricted subsidiaries (as of the end of
                          any period of four fiscal quarters), the Borrower shall
                          designate sufficient subsidiaries as Guarantors to eliminate
                          such excess (unless such designation would not be permitted
                          pursuant to clauses (c), (d), (e) or (f) below)), (b) any
                          unrestricted subsidiary, (c) any subsidiary that owns no
                          material assets other than the Stock or Indebtedness of one or
                          more direct or indirect foreign subsidiaries, (d) each
                          subsidiary that, subject to customary limitations, is acquired
                          pursuant to a permitted acquisition and is prohibited from
                          guaranteeing or providing liens to secure the obligations by
                          the financing documentation relating to such permitted
                          acquisition, (e) that is not permitted by law, such subsidiary’s
                          organizational documents, regulation or contract to provide
                          the guarantee or liens to secure the obligations, or would
                          require governmental or regulatory consent, approval, license
                          or authorization to provide such guarantee or such liens
                          (unless such consent, approval, license or authorization has
                          been received), (f) for which the provision of the guarantee of
                          the obligations would result in a material adverse tax
                          consequence to the Borrower or one of its subsidiaries (as
                          reasonably determined by the Borrower), or (g) for which the
                          Administrative Agent reasonably determines that the cost or
                          other consequences of providing such a guarantee is excessive
                          in relation to the value afforded thereby

                          It is understood and agreed that (a) no actions in any non-U.S.
                          jurisdiction or required by the laws of any non-U.S.
                          jurisdiction shall be required to be taken to create any security
                          interests in assets located or titled outside of the U.S. or to
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                          perfect or make enforceable any security interests in any
                          assets (it being understood that there shall be no security
                          agreements or pledge agreements governed under the laws of
                          any non-U.S. jurisdiction) and (b) with respect to all assets of
                          the Credit Parties other than the Borrowing Base Properties,
                          the Credit Parties shall not be required to take any action to
                          perfect a lien on any such assets unless such perfection may
                          be accomplished by (i) the filing of a UCC-1 financing
                          statement or other equivalent filing, (ii) delivery of certificates
                          representing any pledged equity consisting of certificated
                          securities, and delivery of tangible paper, documents or
                          instruments, in each case, with appropriate endorsements or
                          transfer powers, or (iii) delivery of control agreements in
                          respect of deposit accounts, commodity accounts and
                          securities accounts (other than Excluded Accounts).
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Mandatory Prepayments / Adjustments   Other than as a result of an Adjustment, if the Total
of the Borrowing Base:                Outstandings exceed the Borrowing Base (a “Borrowing Base
                                      Deficiency”), the Borrower shall, within ten (10) business
                                      days after written notice from the Administrative Agent to the
                                      Borrower of such Borrowing Base Deficiency, notify the
                                      Administrative Agent that it elects to take one or more of the
                                      following actions (provided that if the Borrower fails to elect
                                      an option, option (c) shall be designated by default):

                                      (a) within thirty (30) days after such election, provide
                                      additional Borrowing Base Properties to the extent necessary
                                      to eliminate such Borrowing Base Deficiency;

                                      (b) within thirty (30) days after such election, prepay the
                                      Revolving Loans in an amount sufficient to eliminate such
                                      Borrowing Base Deficiency (or if no Revolving Loans remain
                                      outstanding, cash collateralize all unreimbursed disbursements
                                      on any Letter of Credit in an amount sufficient to eliminate
                                      such Borrowing Base Deficiency);

                                      (c) prepay such Borrowing Base Deficiency in six equal
                                      monthly installments with interest beginning on the 30th day
                                      after the Borrower’s receipt of notice of such Borrowing Base
                                      Deficiency from the Administrative Agent (as such
                                      Borrowing Base Deficiency may be reduced during such six-
                                      month period as a result of a Borrowing Base re-
                                      determination or Adjustment); or

                                      (d) take any combination of actions set forth in clauses (a)
                                      through (c) above;

                                      provided, in each case, that any such Borrowing Base
                                      Deficiency must be cured prior to the Maturity Date.

                                      If the Borrowing Base is adjusted as the result of an asset sale,
                                      disposition, early monetization or termination of any hedge
                                      position or issuance of Specified Additional Debt (as
                                      described in the section entitled “Borrowing Base”) and a
                                      Borrowing Base Deficiency results from such adjustment,
                                      then no later than three business days following the date it
                                      receives written notice of the adjustment or determination of
                                      the Borrowing Base and the resulting Borrowing Base
                                      Deficiency, the Borrower shall eliminate such Borrowing
                                      Base Deficiency.       Additionally, any Borrowing Base
                                      Deficiency resulting from a voluntary termination of
                                      commitments shall be required to be eliminated
                                      contemporaneously with and on the date of such termination.

                                      If, on the last business day of any calendar week (or, on any
                                      business day if a Borrowing Base Deficiency or Event of
                                      Default then exists and is continuing), the Debtors have any
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                          Excess Cash (as defined below) as of the end of such day in
                          excess of $75,000,000, the Borrower shall prepay the Loans
                          within one business day following such date in an amount
                          equal to such excess.

                          “Excess Cash” means, as of any date of determination, the
                          difference, if positive, between Consolidated Cash Balance
                          (as defined below) of the Credit Parties and their restricted
                          subsidiaries as of such date and Excluded Cash (as defined
                          below) of the Credit Parties and their restricted subsidiaries as
                          of such date.

                          “Consolidated Cash Balance” means, as of any date of
                          determination, the aggregate amount of all (a) cash, (b) cash
                          equivalents and (c) any other marketable securities, treasury
                          bonds and bills, certificates of deposit, investments in money
                          market funds and commercial paper, in each case, held or
                          owned by (either directly or indirectly) any Credit Party or
                          any restricted subsidiary as of such date.

                           “Excluded Cash” means as of any date of determination, (a)
                          cash or cash equivalents of the Credit Parties and their
                          restricted subsidiaries from (i) the issuance of any Specified
                          Additional Debt or other unsecured indebtedness permitted to
                          be incurred pursuant to the Revolving Facility
                          Documentation, (ii) the issuance by the Borrower of any
                          equity interests in the Borrower, or (iii) any disposition of
                          property, in each case so long as the Borrower and the other
                          Credit Parties keep any such proceeds in segregated accounts
                          until such proceeds are used for the purpose(s) obtained, as
                          the case may be, (b) without duplication of clauses (f), (g) and
                          (h) below, and other than cash and cash equivalents held or
                          maintained in accounts described in clause (e) of the
                          definition of Excluded Accounts, any cash or cash equivalents
                          in Excluded Accounts, (c) any cash collateral required to cash
                          collateralize any Letter of Credit, (d) any cash or cash
                          equivalents constituting purchase price deposits made by or
                          held by an unaffiliated third party pursuant to a binding and
                          enforceable purchase and sale agreement with an unaffiliated
                          third party containing customary provisions regarding the
                          payment and refunding of such deposits, (e) any cash or cash
                          equivalents for which any Credit Party or any restricted
                          subsidiary has, in the ordinary course of business, issued
                          checks or initiated wires or ACH transfers in order to utilize
                          such cash or cash equivalents, (f) any cash or cash equivalents
                          set aside to pay payroll, payroll taxes, other taxes, employee
                          wage and benefits payments, and trust and fiduciary
                          obligations or other similar obligations of the Credit Parties
                          then due and owing to third parties and for which the Debtors
                          have issued checks or initiated wires or ACH transfers (or, in
                          their respective good faith discretion, will issue checks or
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                                       initiate wires or ACH wires within five business days in order
                                       to make such payments), (g) any cash or cash equivalents set
                                       aside to pay royalty obligations, working interest obligations,
                                       production payments, vendor payments, suspense payments,
                                       severance and ad valorem taxes of the Credit Parties and their
                                       restricted subsidiaries then due and owing to third parties and
                                       for which the Credit Parties and their restricted subsidiaries
                                       have issued checks or initiated wires or ACH transfers (or, in
                                       their respective good faith discretion, will issue checks or
                                       initiate wires or ACH wires within five business days in order
                                       to make such payments) and (h) any cash or cash equivalents
                                       in any escrow accounts or fiduciary or trust accounts that are
                                       used exclusively in the ordinary course of the Debtors’
                                       business for plugging and abandonment, remediation, and
                                       similar obligations owed to third parties.

                                       The application of proceeds from mandatory prepayments
                                       shall not reduce the aggregate amount of commitments under
                                       the Revolving Facility and amounts prepaid may be
                                       reborrowed, subject to Availability and the other conditions to
                                       borrowing set forth below.

Voluntary Prepayments and Reductions   Voluntary reductions of the unutilized portion of the RBL
in Commitments:                        Commitments and voluntary prepayments of borrowings
                                       under the Revolving Facility will be permitted at any time, in
                                       minimum principal amounts of $500,000 or increments of
                                       $100,000 in excess thereof, without premium or penalty,
                                       subject to reimbursement of the Lenders’ redeployment costs
                                       in the case of a prepayment of LIBOR Loans (as defined in
                                       Annex I) other than on the last day of the relevant interest
                                       period.

Documentation:                         The definitive documentation for the Revolving Facility,
                                       including all other related agreements and documents
                                       creating, evidencing or securing indebtedness or obligations
                                       of any of the Credit Parties to the Administrative Agent or
                                       granting or perfecting liens or security interests by any of the
                                       Credit Parties in favor of and for the benefit of the
                                       Administrative Agent, for itself and for and on behalf of the
                                       Lenders, on account of the Revolving Facility (the “Revolving
                                       Facility Documentation”) shall contain the terms set forth
                                       herein and shall otherwise be negotiated in good faith within a
                                       reasonable time period to be determined based on the
                                       expected Conversion Date.           The Revolving Facility
                                       Documentation will be based on the applicable “Credit
                                       Documents” under and as defined in that certain Amended
                                       and Restated Credit Agreement dated as of December 9, 2014
                                       (as in effect immediately prior to the Eighth Amendment
                                       thereto dated as of June 26, 2020, the “Existing RBL Credit
                                       Agreement”; and, the lenders thereunder, the “Existing
                                       Lenders”), among the Borrower, JPMCB, as administrative
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                                      agent, and the lenders from time to time party thereto, with
                                      changes consistent with this Exit Credit Facility Term Sheet
                                      and taking into account recent precedent credit agreements
                                      negotiated between the Administrative Agent and similarly
                                      situated companies to the Borrower, and otherwise to reflect
                                      customary lender form updates, including without limitation
                                      updated LIBOR replacement provisions, and modifications to
                                      baskets and materiality thresholds to be agreed (the
                                      “Documentation Principles”).

Conditions to Initial Borrowing and   The availability of the initial borrowing under the Revolving
Closing of Revolving Facility:        Facility shall be conditioned upon satisfaction of the
                                      following conditions precedent (the date upon which all such
                                      conditions precedent shall be satisfied or waived, the
                                      “Conversion Date”):

                                      (a) the negotiation, execution, and delivery of reasonably
                                          satisfactory   Revolving     Facility  Documentation,
                                          including security documentation, promissory notes and
                                          other usual and customary closing documents,
                                          certificates, and authorizing resolutions for the
                                          Revolving Facility;
                                      (b) the Lenders, the Joint Lead Arrangers and the
                                          Administrative Agent shall have received all reasonable
                                          and documented out-of-pocket fees and expenses
                                          required to be paid on or before the Conversion Date
                                          (including the reasonable and documented fees and
                                          expenses of professional retained by the foregoing)
                                          invoiced at least two business days prior thereto;
                                      (c) all representations and warranties of the Credit Parties in
                                          the Revolving Facility Documentation shall be true and
                                          correct in all respects, and there shall be no default or
                                          event of default, in existence at the time of, or after
                                          giving effect to the making of, such funding on such
                                          date;
                                      (d) receipt and reasonably satisfactory review of (i)
                                          Borrower’s audited financial statements for the most
                                          recent fiscal year ending at least 90 days prior to the
                                          Conversion Date, (ii) Borrower’s unaudited financial
                                          statements for the most recent fiscal quarter ending at
                                          least 60 days prior to the Conversion Date, (iii) pro
                                          forma financial statements of the Borrower (after giving
                                          effect to closing) and (iv) detailed financial projections
                                          (to be mutually agreed upon) of the Borrower (prepared
                                          on a quarterly basis for the first two fiscal years
                                          following the Conversion Date and on an annual basis
                                          for the subsequent two fiscal years);
                                      (e) receipt and reasonably satisfactory review of the reserve
                                          reports and engineering reports prepared internally by
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                                petroleum engineers who are employees of the Borrower
                                or its subsidiaries with an “as of” date to be determined;
                                provided that if the Conversion Date has not occurred by
                                July 1, 2021, such reserve report shall be prepared by an
                                independent petroleum engineering firm reasonably
                                acceptable to the Administrative Agent (the “Initial
                                Reserve Report”);
                          (f)   reasonably satisfactory title information as reasonably
                                required by the Administrative Agent on at least 90% of
                                the PV-9 of the initial Borrowing Base Properties;
                          (g) receipt of mortgages and security agreements providing
                              perfected, first priority (subject to permitted liens to be
                              as defined in the Revolving Facility Documentation)
                              liens and security interests on (i) all personal property
                              assets of the Borrower and the Guarantors constituting
                              Collateral, and (ii) not less than 90% of the PV-9 of the
                              initial Borrowing Base Properties;
                          (h) all governmental and third party approvals necessary in
                              connection with the financing contemplated hereby shall
                              have been obtained and be in full force and effect;
                          (i)   the Administrative Agent shall have received lien search
                                results and be reasonably satisfied that there are no liens
                                and security interests on the Borrower’s and Guarantor’s
                                property other than (i) those being released and (ii) other
                                liens to be agreed upon;
                          (j)   the Lenders shall have received such legal opinions,
                                including, as applicable, opinions of local counsel
                                (which opinions shall include, among other things, the
                                enforceability of the Revolving Facility Documentation
                                under applicable local law), documents and other
                                instruments as are customary for transactions of this type
                                or as they may reasonably request;
                          (k) the Administrative Agent and the Lenders shall have
                              received, by at least three (3) business days prior to the
                              Conversion Date, “know your customer” and similar
                              information required by bank regulatory authorities at
                              least eight (8) business days prior to the Conversion
                              Date;
                          (l)   reasonably satisfactory review of the legal, corporate,
                                and capital structure of the Borrower and its subsidiaries,
                                upon closing;
                          (m) no material adverse change from the Petition Date until
                              closing (excluding the pendency of the bankruptcy
                              cases);
                          (n) satisfaction of the Administrative Agent with the
                              Confirmation Order (as defined in the DIP Term Sheet)
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                                                and the entry thereof by the Bankruptcy Court;
                                          (o) the effective date of the Plan (and which Plan shall be
                                              satisfactory to the Administrative Agent) shall have
                                              occurred (or shall occur concurrently with the
                                              Conversion Date);
                                          (p) immediately prior to giving effect to closing, the sum of
                                               the unused DIP Commitments (as defined in the DIP
                                               Term Sheet) and unrestricted cash and cash equivalents
                                               of the Credit Parties on hand shall be not less than
                                               $[285,000,000];
                                          (q) the making of any requested credit extension on the
                                              Conversion Date would not cause Total Outstandings to
                                              be greater than $[275,000,000];
                                          (r)   subject to the section titled “Commodity Hedging”
                                                herein, on or prior to the Conversion Date (solely in the
                                                event the Conversion Date occurs after December 31,
                                                2020), the Borrower shall, or shall have caused another
                                                Credit Party to, enter into commodity swap agreements,
                                                collar agreements or put agreements (whether deferred
                                                premium or fully-paid) with Approved Counterparties to
                                                hedge notional amounts of crude oil covering not less
                                                than, for the period beginning August 1, 2020 through
                                                July 31, 2021 (the “Initial Measurement Period”), 65%
                                                of the reasonably anticipated production of such crude
                                                oil constituting proved, developed, producing oil and gas
                                                properties for such Initial Measurement Period as such
                                                anticipated production is set forth in the Initial Reserve
                                                Report; provided that, such swap, collar or put
                                                agreements (whether deferred premium or fully-paid)
                                                shall have effective floor prices of not less than the lesser
                                                of (x) the prices set forth in JPMCB’s price deck or (y)
                                                the NYMEX strip price less 10%, in each case, for the
                                                applicable maturity dates of such hedges as of the date
                                                such swap, collar or put agreement (whether deferred
                                                premium or fully-paid) is entered into; and
                                          (s) after giving effect to any requested credit extension on
                                              the Conversion Date, the Borrower and its subsidiaries
                                              shall have no outstanding debt except for the (i)
                                              Obligations, (ii) debt arising as a result of the “Genesis
                                              Pipeline Dropdown Transaction” (as such term is
                                              defined under the Existing RBL Credit Agreement) to
                                              the extent permitted under the Revolving Facility
                                              Documentation, and (iii) capital leases in an amount not
                                              to exceed $1,000,000 in the aggregate.
Conditions to All Extensions of Credit:   Limited to the following: (a) the accuracy of representations
                                          and warranties set forth in the Revolving Facility
                                          Documentation in all material respects, (b) delivery of a
                                          customary borrowing notice, (c) before and after giving effect
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                                  to such borrowing Availability shall not be less than zero, (d)
                                  the absence of defaults or events of default at the time of, and
                                  after giving effect to the making of, such extension of credit
                                  and (e) immediately before and after giving effect to such
                                  Borrowing, the Borrower and the other Credit Parties not
                                  having any Excess Cash in excess of $75,000,000 after giving
                                  pro forma effect thereto.

Representations and Warranties:   Representations and warranties, applicable to the Borrower
                                  and its restricted subsidiaries (other than certain customary
                                  representations and warranties that will be applicable to
                                  restricted subsidiaries and unrestricted subsidiaries) subject to
                                  customary exceptions, baskets and materiality qualifiers to be
                                  agreed and otherwise consistent with the Documentation
                                  Principles, including: existence and organizational status;
                                  power and authority; qualification; execution, delivery and
                                  enforceability of Revolving Facility Documentation;
                                  compliance with laws; with respect to the execution, delivery
                                  and performance of the Revolving Facility Documentation, no
                                  violation of, or conflict with, law, charter documents or
                                  material agreements; litigation; margin regulations; licenses
                                  and permits; governmental approvals and other consents with
                                  respect to the execution, delivery and performance of the
                                  Revolving Facility; Investment Company Act; PATRIOT Act;
                                  absence of undisclosed liabilities; accuracy of disclosure and
                                  financial statements; since the Conversion Date, no material
                                  adverse effect (as hereinafter defined); no defaults; insurance;
                                  taxes; ERISA; creation and perfection of security interests;
                                  environmental laws; ownership of properties; subsidiaries and
                                  equity interests; sanctions laws/OFAC; direct benefit and
                                  consolidated solvency.


Affirmative Covenants:            Affirmative covenants, applicable to the Borrower and its
                                  restricted subsidiaries, subject to customary exceptions,
                                  baskets and materiality qualifiers to be agreed and otherwise
                                  consistent with the Documentation Principles, including:
                                  delivery of annual and quarterly financial statements and other
                                  information (with annual financial statements to be
                                  accompanied by an audit opinion from nationally recognized
                                  auditors that is not subject to qualification as to “going
                                  concern” or the scope of such audit other than solely with
                                  respect to, or resulting solely from (i) an upcoming maturity
                                  date under the Revolving Facility occurring within one year
                                  from the time such opinion is delivered or (ii) any potential
                                  inability to satisfy any financial maintenance covenant on a
                                  future date or in a future period); certificates and other
                                  information; delivery of notices of defaults, certain material
                                  events and changes in beneficial ownership; inspections
                                  (including books and records); maintenance of organizational
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                                existence and rights and privileges; maintenance of insurance;
                                payment of taxes; corporate franchises; compliance with laws
                                (including environmental laws); maintenance of properties;
                                reasonably satisfactory title review on at least ninety percent
                                (90%) of the PV-9 of the Borrowing Base Properties
                                evaluated in the most recent Reserve Report; operations;
                                ERISA; additional guarantors and collateral; use of proceeds;
                                know-your-customer information; sanctions laws/OFAC/anti-
                                money laundering laws; further assurances on collateral
                                matters; ECP guarantor/keepwell and reserve reports.
Negative Covenants:             Negative covenants, applicable to the Borrower and its
                                restricted subsidiaries, subject to customary exceptions,
                                baskets and materiality qualifiers to be agreed and otherwise
                                consistent with the Documentation Principles, including:
                                (a) incurrence of debt, with exceptions for, among other
                                things, (i) the Revolving Facility (including any Incremental
                                Increase), (ii) capital lease arrangements up to a cap to be
                                agreed, (iii) the Genesis Pipeline Dropdown Transactions, (iv)
                                non-speculative hedging and swap arrangements, including,
                                without limitation, in respect of interest rate protection,
                                commodity hedging, or currency exchange and (v) Specified
                                Additional Debt in an aggregate principal amount not to
                                exceed $150,000,000, but subject to pro forma compliance
                                with the financial covenants, no default, event of default or
                                Borrowing Base Deficiency existing at the time or resulting
                                from the incurrence thereof, the maturity of such debt being at
                                least 180 days after the Maturity Date, there being no
                                scheduled amortization or principal payments before 180 days
                                after the Maturity Date, no restrictions on the ability of the
                                Borrower and its restricted subsidiaries to guarantee the
                                Revolving Facility, no covenants (other than financial
                                maintenance covenants) or events of default that are more
                                onerous, taken as a whole than those in the Revolving
                                Facility, no financial maintenance covenants that are more
                                onerous that those in the Revolving Facility, no mandatory
                                prepayment or redemption in priority to the Revolving
                                Facility, no prohibition on prior repayment of the Revolving
                                Facility, and a reduction in Borrowing Base in the manner
                                described in section above with the heading titled “Borrowing
                                Base”;
                                (b) liens, which shall permit, among other things, liens (i)
                                created under the Revolving Facility Documentation
                                (including those liens securing the Revolving Facility, the
                                Guarantees, any Hedging Arrangements and any Treasury
                                Arrangements), (ii) in respect of the Genesis Pipeline
                                Dropdown Transactions, and (iii) in respect of purchase
                                money or capital lease arrangements up to a cap to be agreed;
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                          (c) fundamental changes;

                          (d) asset sales and early monetization or early termination of
                          any hedge or swap positions relied on by the Lenders (as
                          determined by the Administrative Agent) in determining the
                          Borrowing Base, which shall permit, among other things,
                          (i) asset sales or dispositions of Borrowing Base Properties (or
                          subsidiaries or affiliates which own or lease Borrowing Base
                          Properties) and early monetization or early termination of any
                          hedge or swap positions relied on by the Lenders (as
                          determined by the Administrative Agent) in determining the
                          Borrowing Base, in each case, subject only to Adjustments,
                          and compliance with the mandatory prepayment provisions of
                          the Revolving Facility Documentation to the extent any
                          Borrowing Base Deficiency results therefrom; (ii) sales or
                          dispositions of any assets that are not Borrowing Base
                          Properties (“Non-Borrowing Base Properties”) without limit
                          (provided that during the continuation of an Event of Default
                          or Borrowing Base Deficiency, 100% of the net proceeds of
                          such disposition shall be used to pay any outstanding
                          Revolving Loans), including, without limitation, any oil and
                          gas properties not included in the Borrowing Base and any
                          subsidiaries or affiliates which own or lease oil and gas
                          properties not included in the Borrowing Base; provided that
                          all proved oil and gas properties included in the Reserve
                          Report for which the most recent Borrowing Base has been
                          established and all commodity hedge contracts entered into on
                          or prior to the date on which the most recent Borrowing Base
                          has been established shall be deemed to have been included in
                          the determination of the then existing Borrowing Base and
                          (iii) other asset sales or dispositions of other assets under
                          specified baskets to be set forth in the RBL Facility
                          Documentation;

                          (e) investments, which shall permit (i) investments consisting
                          of acquisitions, farm-outs, farm-ins, and similar joint ventures
                          without limit; (ii) other investments under specified baskets to
                          be set forth in the Revolving Facility Documentation and (ii)
                          loans and advances; provided no limitation on intercompany
                          investments among Credit Parties or permitted acquisitions
                          (subject to compliance with guarantee and collateral
                          requirements described below, if applicable);

                          (f) dividends or distributions on, or redemptions of, Borrower
                          capital stock;

                          (g) exchanges, prepayments or redemptions in respect of
                          indebtedness;

                          (h) limitations on negative pledges and limitations on the
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                                prohibition of subsidiary distributions;

                                (i) commodity hedging that does not exceed the limits set
                                forth under “Commodity Hedging” below;

                                (j) transactions with affiliates;

                                (k) change in nature of business; and

                                (l) use of proceeds.

Financial Covenants:            Limited to the following:

                                (i) a maximum ratio of Consolidated Total Debt to
                                Consolidated EBITDAX for the most recently completed four
                                fiscal quarter period not to exceed 3.50 to 1.0 and (ii) a
                                minimum ratio of Consolidated Current Assets to
                                Consolidated Current Liabilities as of the most recently
                                completed fiscal quarter of 1.0 to 1.0.

                                The financial covenants will be tested in accordance with
                                GAAP as in effect on the Conversion Date with respect to the
                                Borrower and its restricted subsidiaries on a consolidated
                                basis beginning with the last day of the fiscal quarter of the
                                Borrower and thereafter will be tested as of the last day of
                                each fiscal quarter ended thereafter for which financial
                                statements are delivered.

Commodity Hedging:              Commodity hedging arrangements shall be with (i) any
                                Lender or any affiliate of a Lender or (ii) an Approved
                                Counterparty, shall not be for speculative purposes and shall
                                be limited to no more than 85% of the reasonably anticipated
                                forecasted production from the proved oil and gas properties
                                of the Credit Parties (based on the most recent Reserve
                                Report) for the period not exceeding 60 months from the date
                                such hedging arrangement is created (collectively, the
                                “Ongoing Hedges”); provided that, in addition to the Ongoing
                                Hedges, in connection with a proposed acquisition (each, a
                                “Proposed Acquisition”) by a Credit Party of oil and gas
                                properties, the Credit Parties may also enter into incremental
                                hedging contracts from and after the date on which such
                                Credit Party signs a definitive acquisition agreement in
                                connection with a Proposed Acquisition (but not earlier than
                                90 days prior to the anticipated closing date of the Proposed
                                Acquisition) with respect to the reasonably anticipated
                                forecasted production from the oil and gas reserves
                                attributable to such Proposed Acquisition (based on the
                                Borrower’s internal engineering reports) having notional
                                volumes not in excess of 70% of such projected production
                                for a period not exceeding 36 months from the date such
                                hedging arrangement is created; provided further that if the
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                          Proposed Acquisition has not been consummated within 90
                          days after such definitive acquisition agreement was executed
                          (or such longer period as to which the Administrative Agent
                          may agree) or if the Proposed Acquisition terminates or is
                          terminated, then within 15 days after the earlier of such 90
                          day period (or longer) or such termination, the Borrower shall
                          novate, unwind or otherwise dispose of such incremental
                          hedging contracts to the extent necessary to be in compliance
                          with the hedging covenants concerning Ongoing Hedges.

                          It is understood that for purposes hereof, the following
                          hedging agreements shall not be deemed speculative or
                          entered into for speculative purposes: (a) any commodity
                          hedging agreement intended, at inception of execution, to
                          hedge or manage any of the risks related to existing and or
                          forecasted oil and gas production (based on the most recently
                          delivered Reserve Report) of the Borrower or its restricted
                          subsidiaries (whether or not contracted) and (b) any hedging
                          agreement intended, at the time of execution, (i) to hedge or
                          manage the interest rate exposure associated with any debt
                          securities, debt facilities or leases (existing or forecasted) of
                          the Borrower or its restricted subsidiaries, (ii) for foreign
                          exchange or currency exchange management, (iii) to manage
                          commodity portfolio exposure associated with changes in
                          interest rates or (iv) to hedge any exposure that the Borrower
                          or its restricted subsidiaries may have to counterparties under
                          other hedging agreements such that the combination of such
                          hedging agreements is not speculative taken as a whole.

                          The Credit Parties shall provide evidence satisfactory to the
                          Administrative Agent of the Credit Parties having entered into
                          commodity swap agreements, collar agreements or put
                          agreements (whether deferred premium or fully-paid) with
                          Approved Counterparties hedging notional volumes of crude
                          oil covering not less than (i) if the Conversion Date occurs on
                          or prior to December 31, 2020, 65% of the reasonably
                          anticipated production of such crude oil constituting proved,
                          developed, producing oil and gas properties for the Initial
                          Measurement Period as such anticipated production is set
                          forth in the Initial Reserve Report by no later than December
                          31, 2020, (ii) 17.5% of the reasonably anticipated production
                          of crude oil constituting proved, developed, producing oil and
                          gas properties for the period of 12 consecutive calendar
                          months following the Initial Measurement Period by no later
                          than December 31, 2020 and (iii) 35% of the reasonably
                          anticipated production of crude oil constituting proved,
                          developed, producing oil and gas properties for the period of
                          12 consecutive calendar months following the Initial
                          Measurement Period, as such anticipated production is set
                          forth in the Initial Reserve Report by the later of (A) 60 days
                          following the Conversion Date and (B) December 31, 2020;
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                                 provided that, such swap, collar or put agreements (whether
                                 deferred premium or fully-paid) shall have effective floor
                                 prices of not less than the lesser of (x) the prices set forth in
                                 JPMCB’s price deck or (y) the NYMEX strip price less 10%,
                                 in each case, for the applicable maturity dates of such hedges
                                 as of the date such swap, collateral or put agreement (whether
                                 deferred premium or fully-paid) is entered into.

Events of Default:               Events of default, subject to customary exceptions, grace/cure
                                 periods, and materiality qualifiers to be agreed and otherwise
                                 consistent with the Documentation Principles, including:
                                 nonpayment of principal, interest or other amounts (subject, in
                                 the case of non-principal nonpayments, to a 3-business day
                                 grace period); violation of covenants (subject, in the case of
                                 certain affirmative covenants, to a 30-day grace period);
                                 inaccuracy of representations and warranties in any material
                                 respect; cross-payment default and cross-acceleration of
                                 material indebtedness in excess of $50,000,000; bankruptcy
                                 events; judgments in excess of $50,000,000; ERISA events;
                                 actual or asserted revocation or invalidity of Guarantees or
                                 Collateral documents; and change of control.

Voting:                          Amendments and waivers of the Revolving Facility
                                 Documentation for the Revolving Facility will require the
                                 approval of Lenders holding more than 50% of the aggregate
                                 amount of the commitments then outstanding under the
                                 Revolving Facility (the “Majority Lenders”), except that:

                                 (i) the consent of each Lender directly and adversely affected
                                     thereby shall be required with respect to: (A) increases in
                                     the commitment of such Lender, (B) reductions of
                                     principal, interest or fees owing to such Lender (or any
                                     extension or postponement of such payments), and (C)
                                     extensions or postponement of the Maturity Date,

                                 (ii) the consent of 100% of Lenders will be required with
                                      respect to releases of all or substantially all of the value of
                                      the Guarantees or releases of liens on all or substantially
                                      all of the Collateral (other than in connection with any sale
                                      of Collateral or the release or sale of the relevant guarantor
                                      permitted by the Revolving Facility),

                                 (iii) the consent of 100% of the Lenders will be required with
                                     respect to modifications to any of the voting percentages
                                     or such modifications that would alter the ratable
                                     allocation / priority of payments to the holders of the
                                     Obligations,

                                 (iv) the consent of 100% of the Lenders will be required with
                                     respect to increases in the Borrowing Base and to certain
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                                     provisions related to adjustment to the Borrowing Base,

                                  (v) the consent of 100% of the Lenders will be required with
                                     respect to amendments, modifications or waivers of any
                                     provisions in the Revolving Facility substantially
                                     equivalent to the provisions of Sections 13.17 and 13.22 of
                                     the Existing RBL Credit Agreement,

                                  (vi) the consent of Lenders holding not less than 66⅔% of the
                                      aggregate amount of the commitments then outstanding
                                      under the Revolving Facility (the “Required Lenders”)
                                      will be required in the case of decreases in, or
                                      reaffirmations of, the Borrowing Base; and

                                  (vii) customary protections for the Administrative Agent, the
                                      Issuing Lender and the Swingline Lender will be provided.

                                  The Revolving Facility contains customary provisions
                                  permitting the Borrower to replace non-consenting Lenders in
                                  connection with amendments and waivers requiring greater
                                  than a Majority Lender or Required Lender vote or the
                                  consent of all Lenders or of all Lenders directly affected
                                  thereby so long as the Majority Lenders shall have consented
                                  thereto.

                                  The Revolving Facility also contains usual and customary
                                  provisions regarding “Defaulting Lenders”.

                                  The Revolving Facility shall include provisions substantially
                                  equivalent to the provisions of Sections 13.17 and 13.22 of the
                                  Existing RBL Credit Agreement, with such modifications to
                                  be mutually agreed upon.

Cost and Yield Protection:        Usual for facilities and transactions of this type, with
                                  provisions protecting the Lenders from withholding tax
                                  liabilities; provided that requests for additional payments due
                                  to increased costs from market disruption shall be limited to
                                  circumstances generally affecting the banking market or when
                                  Majority Lenders have made such a request. The Revolving
                                  Facility shall contain provisions regarding the timing for
                                  asserting a claim under these provisions and permitting the
                                  Borrower to replace a Lender who asserts such claim without
                                  premium or penalty.

Assignments and Participations:   The Lenders are permitted to assign Loans and RBL
                                  Commitments with the consent of the Borrower (not to be
                                  unreasonably withheld or delayed); provided that no consent
                                  of the Borrower shall be required after the occurrence and
                                  during the continuance of a payment or bankruptcy event of
                                  default (with respect to any Credit Party). All assignments
                                  will require the consent of the Administrative Agent, the
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                                Swingline Lender and the Issuing Lender (in each case, not to
                                be unreasonably withheld or delayed). No assignments or
                                participations shall be made to (i) natural persons, (ii) the
                                Borrower or its subsidiaries, or (iii) Industry Competitors (to
                                be defined in the Revolving Facility Documentation in a
                                manner to be agreed, which definition shall in any event be
                                limited to oil and gas companies that are competitors of, and
                                have primary oil and gas exploration and production
                                operations within the same geographical basins as, the
                                Borrower). Each assignment will be not less than $5,000,000
                                (and increments of $1,000,000 in excess thereof) or, if less, all
                                of such Lender’s remaining loans and commitments of the
                                applicable class. The Administrative Agent shall receive a
                                processing and recordation fee of $3,500 for each assignment
                                (unless waived by the Administrative Agent).

                                The Lenders are permitted to sell participations in the
                                Revolving Facility without restriction, other than as set forth
                                in the next sentence, and in accordance with applicable law.
                                Voting rights of participants, as among the applicable Lender
                                and the participant, shall be limited to matters in respect of
                                (a) increases in commitments participated to such participants,
                                (b) reductions of principal, interest or fees, (c) extensions of
                                the Maturity Date and (d) releases of all or substantially all of
                                the value of the Guarantees or all or substantially all of the
                                Collateral.

Expenses and Indemnification:   The Borrower shall pay all reasonable and documented out-
                                of-pocket expenses of the Administrative Agent and the Joint
                                Lead Arrangers in connection with the syndication of the
                                Revolving Facility and the preparation, execution, delivery,
                                administration, amendment, waiver or modification and
                                enforcement of the Revolving Facility Documentation
                                (including the reasonable and documented fees and expenses
                                of a single outside counsel identified herein and of a single
                                firm of local counsel in each appropriate jurisdiction or
                                otherwise retained with the Borrower’s consent).

                                The Borrower will indemnify and hold harmless the
                                Administrative Agent, the Joint Lead Arrangers and the
                                Lenders and their respective affiliates, and the officers,
                                directors, employees, agents, controlling persons, members
                                and the successors of the foregoing (each, an “Indemnified
                                Person”) from and against any and all losses, claims,
                                damages and liabilities of any kind or nature (regardless of
                                whether any such Indemnified Person is a party thereto and
                                whether any such proceeding is brought by the Borrower or
                                any other person) in connection with the transactions
                                contemplated hereby or arising under the Revolving Facility
                                Documentation and all reasonable and documented out-of-
                                pocket fees and expenses incurred in connection with
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                                investigating or defending any of the foregoing, including,
                                without limitation, reasonable and documented fees,
                                disbursements and other charges of one firm of outside
                                counsel for all Indemnified Persons, taken as a whole, and, if
                                necessary, a single firm of local counsel in each appropriate
                                jurisdiction for all Indemnified Persons, taken as a whole
                                (unless representation of all such Indemnified Persons in such
                                matter by a single counsel would be inappropriate due to the
                                existence of an actual or reasonably perceived conflict of
                                interest in which case each such affected Indemnified Person
                                may, with your consent (not to be unreasonably withheld or
                                delayed), retain its own counsel and you shall be required to
                                reimburse such Indemnified Person(s) for the reasonable and
                                documented out-of-pocket legal fees and expenses of such
                                additional counsel); provided that no Indemnified Person will
                                be indemnified for any losses, claims, damages, liabilities or
                                related expenses to the extent that they have resulted from (i)
                                the bad faith, willful misconduct or gross negligence of such
                                Indemnified Person, including any of such Indemnified
                                Person’s affiliates or any of its or their respective officers,
                                directors, employees, agents, controlling persons, members or
                                the successors of any of the foregoing, (as determined by a
                                court of competent jurisdiction in a final and non-appealable
                                decision), (ii) a material breach (or, in the case of a
                                proceeding brought by the Borrower, a breach) of the
                                obligations of such Indemnified Person (or any of such
                                Indemnified Person’s affiliates or any of its or their respective
                                officers, directors, employees, agents, controlling persons,
                                members or the successors of any of the foregoing) or
                                (iii) any proceeding not arising from any act or omission by
                                the Borrower or its affiliates that is brought by an Indemnified
                                Person against any other Indemnified Person (other than
                                disputes involving claims against the Joint Lead Arrangers or
                                Administrative Agent in its capacity as such).

DIP to Exit Conversion:         On the Conversion Date, (the following clauses (i) through
                                (iv), collectively, the “DIP Debt Conversion”): (i) all “DIP
                                Loans” under and as defined in that certain DIP Term Sheet
                                attached hereto as Exhibit A (the “DIP Term Sheet”) that are
                                outstanding as of such date and any Pre-Petition Secured
                                Indebtedness (as defined in the DIP Term Sheet) that was not
                                converted into the DIP Facility shall, in each case, be
                                automatically converted on a dollar-for-dollar basis for
                                Revolving Loans under the Revolving Facility, (ii) all
                                outstanding “DIP Letters of Credit” (as defined in the DIP
                                Term Sheet) shall be deemed to be issued as Letters of Credit
                                under the Revolving Facility, (iii) all outstanding “DIP
                                Hedges” (as defined in the DIP Term Sheet) with a Lender or
                                an affiliate of a Lender under the DIP Facility shall be
                                deemed to be included in the Revolving Facility, and the
                                Credit Parties shall receive credit therefor for purposes of
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                                       satisfying the minimum hedging requirements set forth herein
                                       (but solely to the extent satisfying the conditions in the
                                       section titled “Commodity Hedging” herein), and (iv) all
                                       outstanding treasury management arrangements with a Lender
                                       or an affiliate of a Lender under the DIP Facility shall be
                                       deemed to be included in the Revolving Facility. Upon
                                       payment in full of the DIP Obligations (as defined in the DIP
                                       Term Sheet, including all or in part as a result of the DIP Debt
                                       Conversion (as defined therein)), the DIP Facility will
                                       terminate and be superseded and replaced in its entirety by the
                                       Revolving Facility.

Governing Law and Forum:               New York.

Counsel to the Administrative Agent:   Vinson & Elkins L.L.P.
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                                                                                              ANNEX I

Interest Rates:           The Borrower may elect that the Revolving Loans comprising each
                          borrowing bear interest at a rate per annum equal to: (i) ABR plus the
                          Applicable Margin or (ii) LIBOR plus the Applicable Margin.

                          The Borrower may elect interest periods of 1, 2, 3 or 6 months (or, if
                          available to all relevant Lenders, 12 months or a shorter period (including
                          1 week or 2 weeks)) for LIBOR borrowings.

                          Calculation of interest shall be on the basis of the actual days elapsed in a
                          year of 360 days (or 365 or 366 days, as the case may be, in the case of
                          ABR Loans based on the prime rate) and interest shall be payable at the
                          end of each interest period and, in any event, at least every 3 months.

                          “ABR” means the Alternate Base Rate, which is the highest of the
                          Administrative Agent’s Prime Rate, the Federal Funds Effective Rate
                          plus 1/2 of 1.0% and one-month LIBOR plus 1.0%.

                          “LIBOR” means the London interbank offered rate for dollars, subject to
                          a 1.0% floor.

                          “Applicable Margin” means for any day, with respect to any LIBOR or
                          ABR borrowing or with respect to any Unused Commitment Fee, the
                          applicable rate per annum set forth below.

                             Borrowing           Unused                   Applicable Margin
                             Base Usage       Commitment Fee
                                                                    ABR Loans         LIBOR Loans
                              X <25%              0.500%              2.00%              3.00%
                           > 25% X <50%           0.500%              2.25%              3.25%
                           > 50% X <75%           0.500%              2.50%              3.50%
                           > 75% X <90%           0.500%              2.75%              3.75%
                              X > 90%             0.500%              3.00%              4.00%

                          “Borrowing Base Usage” means, as of any date and for all purposes, the
                          quotient, expressed as a percentage, of (i) Total Outstandings divided by
                          (ii) the Borrowing Base.

Letters of Credit Fees:   A per annum fee equal to the Applicable Margin then in effect for LIBOR
                          borrowings will accrue on the aggregate face amount of outstanding
                          Letters of Credit, payable in arrears at the end of each quarter and upon
                          the termination of the Revolving Facility, in each case for the actual
                          number of days elapsed over a 360-day year. Such fees shall be
                          distributed to the Lenders pro rata in accordance with the amount of each
                          such Lender’s RBL Commitment. In addition, the Borrower shall pay to
                          the Issuing Lender, for its own account, (a) a fronting fee equal to
                          0.125% per annum of the aggregate face amount of outstanding Letters of
                          Credit or such other amount as may be agreed by the Borrower and the
                          Issuing Lender, payable in arrears at the end of each quarter and upon the
                          termination of the Revolving Facility, calculated based upon the actual
                          number of days elapsed over a 360-day year, and (b) customary issuance
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                       and administration fees to be mutually agreed.

Commitment Fees:       The Borrower will pay a fee (the “Commitment Fee”), in an amount
                       computed on a daily basis equal to the Revolving Loan Limit less the
                       Total Outstandings on each day, multiplied by the applicable percentage
                       specified as the “Unused Commitment Fee” in the table set forth under
                       the definition of “Applicable Margin” corresponding to the Borrowing
                       Base Usage as of the end of such day. The Commitment Fee is payable
                       quarterly in arrears commencing after the Conversion Date.

Upfront Fees:          20.0 bps per year (for the period commencing on the Conversion Date
                       and ending on the Maturity Date) for the Lenders, payable on each
                       Lender’s final allocation of its RBL Commitment.
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                                 Exhibit B

                             DIP Term Sheet

                              [See attached.]




           Exhibit B to Commitment Letter – Denbury Resources Inc.
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                                                                                          CONFIDENTIAL



                                      DENBURY RESOURCES INC.

       $615,000,000 Senior Secured Super Priority Debtor-in-Possession Revolving Credit Facility
                             Summary of Principal Terms and Conditions

Unless specifically defined herein, capitalized terms used herein shall have the meanings ascribed to such
terms in the Amended and Restated Credit Agreement dated as of December 9, 2014 (as amended,
restated, amended and restated, supplemented or otherwise modified prior to the Petition Date (as defined
below), the “Pre-Petition Credit Agreement”), among Denbury Resources Inc, a Delaware corporation
(the “Borrower”), the lenders party thereto (the “Pre-Petition Lenders”) and JPMorgan Chase Bank,
N.A., as administrative agent for the Pre-Petition Lenders (the “Pre-Petition Agent”).

Borrower:                                  Denbury Resources Inc., a Delaware corporation.

Debtors:                                   The Borrower and each of its direct and indirect subsidiaries
                                           (collectively, the “Debtors”).

Post-Petition Agent / Post-Petition        JPMorgan Chase Bank, N.A. (“JPMCB”) in its capacity as
Lenders:                                   administrative agent and collateral agent (in such capacities, the
                                           “Post-Petition Agent”) in respect of the DIP Facility (as
                                           hereinafter defined) for the Pre-Petition Lenders under the Pre-
                                           Petition Credit Agreement participating in the DIP Facility
                                           (together with JPMCB, the “Post-Petition Lenders). To the
                                           extent that all of the Pre-Petition Lenders participate in the Post-
                                           Petition Credit Agreement, their respective commitments
                                           thereunder will be in accordance with their pro rata
                                           commitments under the Pre-Petition Credit Agreement as in
                                           effect immediately prior to the Petition Date.

Joint Bookrunners and Lead Arrangers:      JPMCB, Bank of America, N.A., Wells Fargo Securities, LLC
                                           and Capital One, National Association, in their respective
                                           capacities as joint lead arrangers (in such capacities, the “Joint
                                           Lead Arrangers”) for the DIP Facility.

Co-Syndication Agents:                     Bank of America, N.A. and Wells Fargo Bank, National
                                           Association.

Co-Documentation Agents:                   Canadian Imperial Bank of Commerce, New York Branch,
                                           Comerica Bank, Credit Suisse AG, Cayman Islands Branch,
                                           Royal Bank of Canada and ABN AMRO Capital USA LLC.

Venue:                                     Debtors will file a voluntary petition for relief under Chapter 11
                                           of the Bankruptcy Code in the United States Bankruptcy Court
                                           for the Southern District of Texas (the “Bankruptcy Court”,
                                           and the date the Debtors’ bankruptcy cases (the “Chapter 11
                                           Cases”) are commenced, the “Petition Date”).

DIP Facility:                              A priming senior secured super priority debtor-in-possession
                                           revolving credit facility of up to $615,000,000 (such amount,
                                           the “Maximum Credit Amount”, such facility the “DIP



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                          Facility”, and the commitments under such DIP Facility, the
                          “DIP Commitments”), consisting of (a) the Roll-Up Amount
                          (as defined below) upon entry of the Interim Order and the
                          Final Order (as each term is defined below), as the case may be
                          and (b) new money commitments in an aggregate amount not to
                          exceed the difference of $614,000,000 minus the Roll-Up
                          Amount (this clause (b), the “New Money DIP Commitment”).
                          Upon entry of the Interim Order and on the Closing Date, the
                          DIP Commitments will be an amount equal to $614,000,000.

                          Until the entry of the Final Order, a maximum amount of up to
                          $25,000,000 (the “New Money Interim Cap”) will be available
                          to be drawn from the New Money DIP Commitments on an
                          interim basis. The actual amounts available to be borrowed
                          under the DIP Facility will be subject to the conditions set forth
                          in this DIP Term Sheet.

                          The loans (including the deemed issuance of any Roll-Up Loans
                          (as defined below)) under the DIP Facility are collectively
                          referred to as “DIP Loans”.

                          (a) Upon entry of the Interim Order, (i) all outstanding Pre-
                          Petition Letters of Credit (as defined below) issued by any Pre-
                          Petition Lender (to the extent it is a Post-Petition Lender) shall
                          be deemed to be issued as DIP Letters of Credit (as defined
                          below) under the DIP Facility and shall constitute obligations
                          due under the DIP Facility (the “Roll-Up Letters of Credit”)
                          and (ii) a portion of the principal amount of the outstanding Pre-
                          Petition Loans (as defined below) held by the Pre-Petition
                          Lenders (to the extent they are Post-Petition Lenders) in an
                          amount equal to $185,000,000 shall be deemed to be refinanced
                          under the DIP Facility as a DIP Loan ratably based on the Post-
                          Petition Lenders’ allocation of the DIP Commitment and shall
                          constitute obligations due under the DIP Facility (the “Interim
                          Roll-Up Loans”), and (b) upon entry of the Final Order, the
                          remaining principal amount of all outstanding Pre-Petition
                          Loans not rolled-up pursuant to the foregoing clauses (a)(ii) that
                          are held by the Pre-Petition Lenders (to the extent they are Post-
                          Petition Lenders), other than $1,000,000 of Pre-Petition Loans
                          (the “Retained Pre-Petition Claim”), shall be deemed to be
                          refinanced under the DIP Facility as a DIP Loan ratably based
                          on the Post-Petition Lenders’ allocation of the DIP
                          Commitment and shall constitute obligations due under the DIP
                          Facility (the “Final Roll-Up Loans”, and together with the
                          Interim Roll-Up Loans, the “Roll-Up Loans”) (the aggregate
                          amount under the foregoing clauses (a) and (b), the “Roll-Up
                          Amount”). Any unpaid interest and fees due in respect of the
                          Pre-Petition Secured Indebtedness described in the above
                          clauses (a) and (b) as of the date of the Interim Order shall also
                          be rolled into the DIP Facility and deemed to constitute
                          obligations due under the DIP Facility.
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                                     The DIP Facility will be more fully described and documented
                                     in the Financing Orders (as defined below) and a senior secured
                                     super priority debtor-in-possession credit agreement entered
                                     into by and among the Debtors, the Post-Petition Agent and the
                                     Post-Petition Lenders, in each case, which must be in form and
                                     substance acceptable to the Borrower, the Post-Petition Agent
                                     and the Post-Petition Lenders (the “Post-Petition Credit
                                     Agreement”).

                                     The closing date of the DIP Facility is hereinafter referred to as
                                     the “Closing Date”.

Pre-Petition Secured Indebtedness:   All indebtedness and other obligations under the Pre-Petition
                                     Credit Agreement and Credit Documents (as defined in the Pre-
                                     Petition Credit Agreement), comprised of (collectively, the
                                     “Pre-Petition Secured Indebtedness”): (a) 100% of the
                                     principal amount of the outstanding “Loans” (as defined in the
                                     Pre-Petition Credit Agreement) (such outstanding loans, the
                                     “Pre-Petition Loans”), (b) 100% of the “Letters of Credit
                                     Outstanding” (as defined in the Pre-Petition Credit Agreement)
                                     (such outstanding letters of credit, the “Pre-Petition Letters of
                                     Credit”), and (c) any obligations owing under any treasury and
                                     cash management arrangements that are entered into prior the
                                     Petition Date with any Pre-Petition Lender or any affiliate of a
                                     Pre-Petition Lender.

Pre-Petition Hedges:                 Any obligations owing by the Debtors under any hedging
                                     transactions that were entered into prior to the Petition Date by
                                     the Debtors with a counterparty that is a Pre-Petition Lender or
                                     any affiliate of a Pre-Petition Lender (collectively, the “Pre-
                                     Petition Hedges”).

Purpose / Use of Proceeds:           All proceeds of DIP Loans shall be used to, among other things,
                                     (a) pay fees, interest, and expenses associated with the DIP
                                     Facility, (b) provide for the ongoing working capital and capital
                                     expenditure needs of the Debtors during the pendency of the
                                     Chapter 11 Cases strictly in accordance with the Budget (as
                                     updated from time to time as set forth herein), subject to the
                                     Permitted Variances (as defined below), including to pay
                                     obligations under any DIP Hedges as they become due, (c) fund
                                     the adequate protection payments as authorized by the
                                     Bankruptcy Court in the Financing Orders, (d) fund the costs of
                                     the administration of the Chapter 11 Cases (including the Carve
                                     Out (as defined below)) strictly in accordance with the Budget
                                     (as updated from time to time as set forth herein), subject to the
                                     Permitted Variances, and (e) to refinance the portion of the Pre-
                                     Petition Secured Indebtedness constituting the Roll-Up Amount
                                     (which, for the avoidance of doubt, does not include the
                                     Retained Pre-Petition Claim).

                                     DIP Letters of Credit shall be used by the Borrower and its
                                     subsidiaries for general corporate purposes, including, without
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                                 limitation, to secure bids, tenders, bonds and contracts entered
                                 into in the ordinary course of the Debtors’ business and to
                                 support deposits required under purchase agreements pursuant
                                 to which the Borrower or one or more subsidiaries may acquire
                                 oil and gas assets (in each case, to the extent such transactions
                                 are permitted under the Post-Petition Credit Agreement and so
                                 long as issued strictly in accordance with the Budget, as
                                 updated from time to time as set forth herein and subject to the
                                 Permitted Variances).

Availability:                    So long as the Total Outstandings (as defined below) do not
                                 exceed the lesser of (i) the DIP Loan Limit (as defined below)
                                 and (ii) the amount then authorized by any Financing Order:
                                 (A) DIP Loans will be available to be made at any time (on
                                 same day notice in the case of ABR (as defined in Annex I)
                                 Loans) prior to the Maturity Date (as defined below), in
                                 minimum principal amounts of $1,000,000 or increments of
                                 $100,000 in excess thereof, (B) DIP Letters of Credit will be
                                 issued and renewed as described in the section entitled “Letters
                                 of Credit” below and (C) amounts repaid under the DIP Facility
                                 may be reborrowed.

                                 “Total Outstandings” means, at any time, the aggregate
                                 principal amount of the DIP Loans then outstanding plus the
                                 aggregate stated amount of all issued but undrawn DIP Letters
                                 of Credit and, without duplication, all unreimbursed
                                 disbursements on any DIP Letter of Credit as of such date
                                 (unless cash collateralized or backstopped pursuant to
                                 arrangements reasonably acceptable to the Issuing Lender (as
                                 hereinafter defined)).

                                 “DIP Loan Limit” means, the least of (i) the DIP
                                 Commitments, (ii) the Borrowing Base (as hereinafter defined),
                                 less the amount of any Carve-Out Reserve (as defined on Annex
                                 II hereto) and (iii) the Maximum Credit Amount.

Borrowing Base:                  The borrowing base for the DIP Facility will be based on the
                                 loan value of the Debtors’ proved oil and gas reserves as
                                 reflected in a Reserve Report (as hereinafter defined) and other
                                 oil and gas properties of the Debtors, in each case located
                                 within the geographic boundaries of the United States or the
                                 outer continental shelf adjacent to the United States, determined
                                 in accordance with the terms set forth below (the “Borrowing
                                 Base”).

                                 The Borrowing Base as of the Closing Date will be
                                 $615,000,000 based on the reserve report as of December 31,
                                 2019 delivered under, and pursuant to the terms of, the Pre-
                                 Petition Credit Agreement (the “Initial Reserve Report”) and
                                 will remain at such level until the next re-determination date,
                                 which re-determination date shall be subject to adjustment as
                                 set forth in the Post-Petition Credit Agreement. The Borrowing
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                          Base shall be re-determined on January 1, 2021 and July 1,
                          2021 (or, in each case, such date reasonably practicable
                          thereafter), based upon a reserve report prepared as of the
                          immediately preceding September 30, 2020 (with regard to the
                          January 1, 2021 redetermination) and December 31, 2020 (with
                          regard to the July 1, 2021 redetermination), and delivered on or
                          before December 1, 2020 (with regard to the January 1, 2021
                          redetermination) and June 1, 2021 (with regard to the July 1,
                          2021 redetermination) (each such reserve report, together with
                          the Initial Reserve Report, each a “Reserve Report”), and other
                          related information, if any, required to be delivered to the Post-
                          Petition Agent in accordance with the Post-Petition Credit
                          Agreement. Each Reserve Report shall be in form and
                          substance reasonably satisfactory to the Post-Petition Agent.
                          The Reserve Report prepared as of September 30, 2020 shall be
                          prepared by or under the supervision of the chief engineer of the
                          Borrower who shall certify such Reserve Report to be true and
                          accurate in all material respects and to have been prepared in
                          accordance with procedures used in the Initial Reserve Report.
                          The Reserve Report prepared as of December 31, 2020 shall be
                          prepared by (a) DeGolyer and MacNaughton, (b) Netherland,
                          Sewell & Associates, Inc., (c) Cawley, Gillespie &
                          Associates, Inc., (d) Ryder Scott Company, L.P., or (e) at the
                          Borrower’s election, such other independent petroleum
                          engineering firm reasonably acceptable to the Post-Petition
                          Agent.

                          The Borrowing Base shall be proposed by the Post-Petition
                          Agent and approved by all of the Post-Petition Lenders (in the
                          case of increases) or the Required Post-Petition Lenders (as
                          hereinafter defined) (in the case of decreases or reaffirmation)
                          as provided below. Each determination of the Borrowing Base
                          shall be made by the Post-Petition Agent and, (i) to the extent
                          any determination represents an increase in the Borrowing Base
                          in effect immediately prior to such determination, all of the
                          Post-Petition Lenders, and (ii) to the extent any determination
                          represents a decrease in or reaffirmation of the Borrowing Base
                          in effect immediately prior to such determination, the Required
                          Post-Petition Lenders, in each case, in their respective sole
                          discretion, but in good faith in accordance with their respective
                          usual and customary oil and gas lending criteria as they exist at
                          the particular time and as specified in the DIP Facility
                          Documentation; provided that no Post-Petition Lender shall be
                          required to increase its commitment amount under the DIP
                          Facility in connection with an increase in the Borrowing Base.

                          To the extent any re-determination represents an increase in the
                          Borrowing Base in effect immediately prior to such re-
                          determination, such Borrowing Base will be the largest amount
                          approved by all of the Post-Petition Lenders, and to the extent
                          any re-determination represents a decrease in, or reaffirmation
                          of, the Borrowing Base in effect prior to such re-determination,
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                                 such Borrowing Base will be the largest amount approved by
                                 the Required Post-Petition Lenders.

Interest Rates and Fees:         As set forth on Annex I attached hereto.

Default Rate:                    With respect to overdue principal, the applicable interest rate
                                 plus 2.00% per annum, and with respect to any other overdue
                                 amount, including overdue interest, the interest rate applicable
                                 to ABR Loans plus 2.00% per annum.

Letters of Credit:               A portion of the DIP Facility in an aggregate amount not to
                                 exceed $100,000,000 (as may be increased solely with the
                                 consent of the Post-Petition Agent and the Issuing Lender) will
                                 be available to the Debtors for the purpose of issuing standby
                                 letters of credit (the “DIP Letters of Credit”). DIP Letters of
                                 Credit will be issued by JPMCB or any of its affiliates (the
                                 “Issuing Lender”). For the avoidance of doubt, upon entry of
                                 the Interim Order, all outstanding Pre-Prepetition Letters of
                                 Credit issued by any Pre-Petition Lender (to the extent it is a
                                 Post-Petition Lender) shall be deemed to be issued as DIP
                                 Letters of Credit under the DIP Facility and shall constitute
                                 obligations due under the DIP Facility.

                                 Drawings under any DIP Letter of Credit shall be reimbursed by
                                 the Borrower (whether with its own funds or with the proceeds
                                 of borrowings under the DIP Facility) within one business day
                                 after notice of such drawing is received by the Borrower from
                                 the Issuing Lender. To the extent that the Borrower does not
                                 reimburse the Issuing Lender within the time period specified
                                 above, the Post-Petition Lenders under the DIP Facility shall be
                                 irrevocably obligated to reimburse the Issuing Lender pro rata
                                 based upon their respective DIP Commitments.

Final Maturity:                  All commitments of the Post-Petition Lenders under the DIP
                                 Facility shall terminate at the earliest of (herein, a “Post-
                                 Petition Default”, and the earliest of which, the “Maturity
                                 Date”): (a) the date which is twelve (12) months after the
                                 Petition Date; (b) the consummation of a sale of all or
                                 substantially all of the Debtors’ assets pursuant to Section 363
                                 of the Bankruptcy Code; (c) the effective date of any plan of
                                 reorganization; (d) the entry of an order for the conversion of
                                 any of the Debtors’ bankruptcy cases to a case under Chapter 7
                                 of the Bankruptcy Code; (e) the entry of an order for the
                                 dismissal of any of the Debtors’ bankruptcy cases; (f) the date
                                 of acceleration of the DIP Obligations and the termination of
                                 the DIP Commitments upon and during the continuance of an
                                 Event of Default, in accordance with the DIP Facility
                                 Documentation; (g) thirty-five (35) days after the Petition Date,
                                 if the Final Order has not been entered by such date (which date
                                 may be extended with the prior written consent of the Post-
                                 Petition Agent); or (h) appointment of a chapter 11 trustee in
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                                   any of the Chapter 11 Cases.

DIP Obligations / Guarantees:      All obligations of the Debtors under (i) the DIP Facility and the
                                   DIP Facility Documentation, but excluding, for the avoidance
                                   of doubt, the Retained Pre-Petition Claim, (ii) (a) any amounts
                                   owing by the Debtors under any Pre-Petition Hedges with a
                                   counterparty that is a Pre-Petition Lender or any affiliate of a
                                   Pre-Petition Lender, in either case in respect of which such Pre-
                                   Petition Lender or affiliate thereof enters into, within 30 days
                                   after the Petition Date (at the expense of the Debtors, which
                                   shall pay each counterparty’s out of pocket legal expenses), (1)
                                   an amended and restated Schedule to the ISDA Master
                                   Agreement (a “Post-Petition ISDA Schedule”) between the
                                   applicable Debtor and the applicable counterparty that is
                                   mutually acceptable to the parties, providing among other
                                   things, that such counterparty shall not terminate such Pre-
                                   Petition Hedges during the pendency of the Chapter 11 Cases
                                   solely as a result of a termination event or event of default
                                   under the Pre-Petition Hedges that occurred and/or existed on
                                   the Petition Date as a result of the filing of the Chapter 11
                                   Cases, the insolvency of any Debtor or any default or event of
                                   default (howsoever defined) relating to pre-petition
                                   indebtedness of any Debtor and (2) contemporaneously with
                                   entering into the Post-Petition ISDA Schedule, a further
                                   amended and restated ISDA Schedule that will automatically
                                   replace the Post-Petition ISDA Schedule upon effectiveness of
                                   the Exit Credit Facility so long as the Exit Credit Facility
                                   conforms in all applicable material respects with the Exit Credit
                                   Facility Term Sheet and subject to conditions to be mutually
                                   agreed to by the parties in the Post-Petition ISDA Schedule and
                                   (b) any post-petition hedging transaction with a Post-Petition
                                   Lender or an affiliate of a Post-Petition Lender, in each case, to
                                   the extent permitted under the Financing Orders (including
                                   hedging orders) (all hedges in this clause (ii), the “DIP
                                   Hedges”) and (iii) treasury and cash management arrangements
                                   that are entered into prior to or after the Petition Date with any
                                   Post-Petition Lender or any affiliate of a Post-Petition Lender
                                   (all obligations described in the foregoing clauses (i) through
                                   (iii), the “DIP Obligations”) will, in each case, be
                                   unconditionally guaranteed jointly and severally (the
                                   “Guarantees”) by each of the Debtors (other than the
                                   Borrower).

Adequate Protection Payments and   As adequate protection of the interests of the Pre-Petition
Liens:                             Lenders as a result of the DIP Facility advances, use of cash
                                   collateral and other collateral or the imposition of the automatic
                                   stay to the extent of any post-petition diminution in value of the
                                   Pre-Petition Lenders’ collateral, the Pre-Petition Lenders will
                                   receive, subject and junior to the Carve Out: (a) valid and
                                   automatically perfected first-priority replacement liens and
                                   security interests in and upon the DIP Collateral (as defined
                                   below), but junior to the liens and security interests securing the
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                                 DIP Facility (the “Adequate Protection Liens”), (b) adequate
                                 protection payments consisting of cash reimbursement of the
                                 reasonable and documented (in summary format) fees, costs,
                                 and expenses (including reasonable professional fees) of the
                                 Pre-Petition Agent and the Pre-Petition Lenders, and (c) super-
                                 priority administrative expense claims under Section 507(b) of
                                 the Bankruptcy Code and junior to the Superpriority Claims (as
                                 defined below); provided, however, that (x) the Adequate
                                 Protection Liens and adequate protection payments described
                                 above shall be paid or granted to the extent that the stay under
                                 Bankruptcy Code Section 362, use, sale, or lease under
                                 Bankruptcy Code 363 of this title, or any grant of a lien under
                                 Bankruptcy Code 364 of this title results in a decrease in the
                                 value of such entity’s interest in such property, and (y) the
                                 Adequate Protection Liens and adequate protection payments
                                 described above shall not attach to any Avoidance Actions but
                                 shall attach to any Avoidance Proceeds, subject to entry of the
                                 Final Order.

                                 The Financing Orders shall provide for adequate protection in
                                 the form of replacement liens and superpriority claims, financial
                                 reporting and rights of access and information, payment of fees
                                 and expenses of professionals (as described below) mutually
                                 acceptable to the Post-Petition Agent and the Second Lien
                                 Notes Trustee for the benefit of the Second Lien Notes Trustee
                                 and the Second Lien Ad Hoc Group and all members thereof.


Security:                        All DIP Obligations will be secured by (in each case, other than
                                 Excluded Assets (as defined below) and subject to Permitted
                                 Liens (to be defined in the DIP Facility Documentation) and
                                 junior to the Carve Out): (i) superpriority priming liens on all
                                 property of the Debtors secured by valid, unavoidable and
                                 perfected security interests and liens securing any Pre-Petition
                                 Secured Indebtedness or Pre-Petition Hedges as of the Petition
                                 Date (the “Priority Lien”); (ii) junior liens on any property of
                                 the Debtors secured by valid, unavoidable and perfected
                                 security interests and liens of any parties (other than the Pre-
                                 Petition Lenders) securing any indebtedness (other than the Pre-
                                 Petition Secured Indebtedness or Pre-Petition Hedges); and (iii)
                                 first-priority liens on all unencumbered assets of the Debtors,
                                 (A) including, without limitation, all real and personal property
                                 of the Debtors, tangible or intangible, wherever located,
                                 including, but not limited to, all cash, bank accounts, accounts
                                 receivable, inventory, equipment, patents, trademarks,
                                 copyrights, other general intangibles and membership interests
                                 that were not, as of the Petition Date, subject to valid,
                                 unavoidable and perfected security interests and liens, but (B)
                                 excluding any avoidance actions under Chapter 5 of the
                                 Bankruptcy Code, whether now existing or hereafter acquired
                                 by the Debtors and the Debtors’ bankruptcy estates
                                 (“Avoidance Actions”) other than, subject to and effective upon
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                          entry of the Final Order, all proceeds, products, rents, revenues
                          and profits of Avoidance Actions (“Avoidance Proceeds”) (the
                          foregoing clauses (i) through (iii), the “DIP Collateral”).

                          Notwithstanding anything to the contrary herein, DIP Collateral
                          shall not include the following (collectively, the “Excluded
                          Assets”): (a) any Building (as defined in the applicable “Flood
                          Insurance Regulation” or Manufactured (Mobile) Home (as
                          defined in the applicable Flood Insurance Regulation), (b)(i)
                          that certain Pipeline Financing Lease Agreement, dated as of
                          May 30, 2018 (as amended), among Denbury Onshore, LLC
                          and Genesis NEJD Pipeline, LLC, (ii) any interest, title and
                          right that the Debtors have to the “Pipeline System” (as
                          defined in the Pipeline Financing Lease Agreement)
                          (hereinafter referred to as the “Pipeline System”), (iii) any
                          proceeds received at any time resulting from the sale or other
                          disposition of all or part of the Debtors’ interest, title and
                          right to the Pipeline System, and (iv) all rents, income or
                          related fees or charges for transportation of carbon dioxide
                          or any other substance through the Pipeline System;
                          provided that, in the case of this clause (b), such assets shall
                          be excluded solely to the extent that the grant of a security
                          interest therein is prohibited by, or constitutes a breach or
                          default under or results in the termination of or gives rise to a
                          right on the part of the parties thereto other than any Debtor
                          to terminate (or materially modify) or requires any consent
                          under, the subject contract, license, agreement, instrument or
                          other document, except to the extent that the term in such
                          contract, license, agreement, instrument or other document
                          providing for such prohibition, breach, default or right of
                          termination or modification or requiring such consent is
                          ineffective under Sections 9-406, 9-407, 9-408 or 9-409 of
                          the UCC of any relevant jurisdiction or any other applicable
                          law; and (c) any deposit account which is used as an escrow
                          account or fiduciary or trust account and solely maintains
                          cash and cash equivalents made for the benefit of third
                          parties (other than the Debtors) to be used exclusively in the
                          ordinary course of the Debtors’ business for royalty
                          obligations, suspense payments, working interest payments,
                          plugging and abandonment, remediation, and similar
                          payments owed or to be made to such third parties (other
                          than the Debtors).

                          In addition, all DIP Obligations and all amounts owing by the
                          Debtors in respect thereof at all times shall constitute allowed
                          super-priority administrative expense claims, pursuant to
                          Section 364(c) of the Bankruptcy Code, in the bankruptcy
                          cases, having priority over all administrative expenses of the
                          kind specified in, or ordered pursuant to, Sections 503(b) and
                          507(b) or any other provisions of the Bankruptcy Code, subject
                          and junior only to the Carve Out (the “Superpriority Claims”).
                          All of the liens and security interests described above securing
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                                        the DIP Obligations and the Adequate Protection Liens shall be
                                        effective and perfected as of the Petition Date upon entry of the
                                        Interim Order.

                                        All liens and security interests authorized and granted pursuant
                                        to Financing Orders entered by the Bankruptcy Court approving
                                        the DIP Facility and the Adequate Protection Liens shall be
                                        deemed effective and automatically perfected as of the Petition
                                        Date, and no further filing, notice or act will be required to
                                        effect such perfection by any person. The Post-Petition
                                        Lenders, or the Post-Petition Agent on behalf of the Post-
                                        Petition Lenders, shall be permitted, but not required, to make
                                        any filings, deliver any notices, make recordations, perform any
                                        searches or take any other acts as may be desirable under law in
                                        order to reflect the security, perfection or priority of the Post-
                                        Petition Lenders’ liens, security interests, and claims described
                                        herein; provided that no actions in any non-United States
                                        jurisdiction shall be required to be taken and no security
                                        agreements or pledge agreements governed under the laws of
                                        any non-United States jurisdiction shall be required to be
                                        entered into.



No Surcharge & Marshalling / Equities   In each case, subject to and effective upon entry of the Final
of the Case Waiver:                     Order, the DIP Facility shall provide that (i) no costs or
                                        expenses of administration shall be imposed against the Post-
                                        Petition Lenders’ or the Pre-Petition Lenders’ pre-petition or
                                        post-petition collateral under Section 506(c) of the Bankruptcy
                                        Code or otherwise, and (ii) the Post-Petition Lenders’ and the
                                        Pre-Petition Lenders’ collateral shall not be subject to the
                                        doctrine of marshalling or Section 552 of the Bankruptcy Code
                                        “equities of the case” arguments.

Carve Out:                              The Financing Orders shall include a carve out (the “Carve
                                        Out”) substantially consistent with Annex II attached hereto.
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Mandatory Prepayments:          Limited to the following:

                                (a) If at any time the Total Outstandings exceed the Borrowing
                                Base as a result of scheduled redetermination of the Borrowing
                                Base (a “Borrowing Base Deficiency”), the Borrower shall,
                                within three (3) business days after written notice from the Post-
                                Petition Agent to the Borrower of such Borrowing Base
                                Deficiency, prepay the DIP Loans in an amount sufficient to
                                eliminate such Borrowing Base Deficiency (or if no DIP Loans
                                remain outstanding, cash collateralize all unreimbursed
                                disbursements on any DIP Letter of Credit in an amount
                                sufficient to eliminate such Borrowing Base Deficiency);
                                provided that any such Borrowing Base Deficiency must be
                                cured prior to the Maturity Date of the DIP Facility;

                                (b) If any Borrowing Base Deficiency results from a voluntary
                                termination of DIP Commitments, such deficiency shall be
                                required to be eliminated contemporaneously with and on the
                                date of such termination; and

                                (c) If, (i) on the first business day after the Closing Date, the
                                Debtors have any Excess Cash (as defined below), when taken
                                as a whole, in excess of $20,000,000 and (ii) on any business
                                day thereafter, the Debtors have any Excess Cash, when taken
                                as a whole, in excess of $75,000,000, in each case, the
                                Borrower shall prepay the DIP Loans within one business day
                                following such date in an amount equal to such excess amount
                                (such excess amount to be paid on the first business day after
                                the Closing Date, if any, the “Specified Excess Cash
                                Payment”).

                                “Excess Cash” means, as of any date of determination, the
                                difference, if positive, between Consolidated Cash Balance (as
                                defined below) of the Debtors as of such date and Excluded
                                Cash (as defined below) of the Debtors as of such date.

                                “Consolidated Cash Balance” means, as of any date of
                                determination, the aggregate amount of all (a) cash, (b) cash
                                equivalents and (c) any other marketable securities, treasury
                                bonds and bills, certificates of deposit, investments in money
                                market funds and commercial paper, in each case, held or
                                owned by (either directly or indirectly) any Debtor as of such
                                date.

                                “Excluded Cash” means as of any date of determination, (a)
                                any cash collateral required to cash collateralize any DIP Letter
                                of Credit, (b) any cash or cash equivalents constituting purchase
                                price deposits made by or held by an unaffiliated third party
                                pursuant to a binding and enforceable purchase and sale
                                agreement with an unaffiliated third party containing customary
                                provisions regarding the payment and refunding of such
                                deposits, (c) any cash or cash equivalents for which any Debtor
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                                       has, in the ordinary course of business, issued checks or
                                       initiated wires or ACH transfers in order to utilize such cash or
                                       cash equivalents, (d) any cash or cash equivalents set aside to
                                       pay payroll, payroll taxes, other taxes, employee wage and
                                       benefits payments, and trust and fiduciary obligations or other
                                       similar obligations of the Debtors then due and owing to third
                                       parties and for which the Debtors have issued checks or
                                       initiated wires or ACH transfers (or, in their respective good
                                       faith discretion, will issue checks or initiate wires or ACH wires
                                       within five business days in order to make such payments), (e)
                                       any cash or cash equivalents set aside to pay royalty
                                       obligations, working interest obligations, production payments,
                                       vendor payments, suspense payments, severance and ad
                                       valorem taxes of the Debtors then due and owing to third parties
                                       and for which the Debtors have issued checks or initiated wires
                                       or ACH transfers (or, in their respective good faith discretion,
                                       will issue checks or initiate wires or ACH wires within five
                                       business days in order to make such payments) and (f) any cash
                                       or cash equivalents in any escrow accounts or fiduciary or
                                       trust accounts that are used exclusively in the ordinary
                                       course of the Debtors’ business for plugging and
                                       abandonment, remediation, and similar obligations owed to
                                       third parties.

                                       The application of proceeds from mandatory prepayments shall
                                       not reduce the aggregate amount of DIP Commitments and
                                       amounts prepaid may be reborrowed, subject to availability and
                                       the other conditions to borrowing set forth below.

Voluntary Prepayments and Reductions   Voluntary reductions of the unutilized portion of the DIP
in Commitments:                        Commitments and voluntary prepayments of outstanding DIP
                                       Loans by the Borrower will be permitted at any time, in
                                       minimum principal amounts of $500,000 or increments of
                                       $100,000 in excess thereof, without premium or penalty, subject
                                       to reimbursement of the Post-Petition Lenders’ redeployment
                                       costs in the case of a prepayment of LIBOR (as defined in
                                       Annex I) Loan other than on the last day of the relevant interest
                                       period.

Documentation:                         The definitive documentation for the DIP Facility, including the
                                       Post-Petition Credit Agreement, the Financing Orders, and all
                                       other related agreements and documents creating, evidencing,
                                       or securing indebtedness or obligations of any of the Debtors to
                                       the Post-Petition Agent and the Post-Petition Lenders on
                                       account of the DIP Facility or granting or perfecting liens or
                                       security interests by any of the Debtors in favor of and for the
                                       benefit of the Post-Petition Agent, for itself and for and on
                                       behalf of the Post-Petition Lenders, on account of the DIP
                                       Facility (the “DIP Facility Documentation”) shall contain the
                                       terms set forth in this DIP Term Sheet and shall otherwise be
                                       negotiated in good faith. The Post-Petition Credit Agreement
                                       shall take into account the terms and conditions consistent with
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                                        the Pre-Petition Credit Agreement (as modified to reflect the
                                        terms and provisions of this DIP Term Sheet) and subject to (i)
                                        materiality qualifications and other exceptions that give effect
                                        to, permit, and/or accommodate the DIP Facility Milestones (as
                                        defined below), (ii) provisions to reflect (A) the transactions
                                        and business operations contemplated by the Budget and (B) the
                                        Post-Petition Agent’s required agency and other form updates
                                        (including with respect to replacement of LIBOR) and (iii)
                                        other modifications as mutually agreed by the parties.

Conditions to Closing of DIP Facility   Customary for facilities and transactions of this type, the
and Roll-Up on Closing Date:            effectiveness of the DIP Facility and the deemed issuance and
                                        incurrence of the Roll-Up Letters of Credit and the Interim
                                        Roll-Up Loans on the Closing Date shall be subject to the
                                        following conditions precedent, including, without limitation:

                                        (a)    the entry of an order by the Bankruptcy Court approving
                                               a cash management system for the Debtors and other
                                               “first day” orders satisfactory to the Post-Petition Agent
                                               (it being understood and agreed that drafts approved by
                                               counsel to the Post-Petition Agent on or prior to the
                                               Closing Date are satisfactory to the Post-Petition Agent);

                                        (b)    execution and delivery of satisfactory DIP Facility
                                               Documentation;

                                        (c)    receipt of satisfactory Budget approved by the Post-
                                               Petition Agent in its reasonable discretion;

                                        (d)    Bankruptcy Court’s entry within three (3) business days
                                               of the Petition Date as part of the “first day” orders of an
                                               interim order approving the DIP Facility (including the
                                               roll-up of the Interim Roll-Up Loans and the Roll-Up
                                               Letters of Credit) and use of cash collateral and other
                                               arrangements described herein, in form and substance
                                               acceptable to the Post-Petition Agent (the “Interim
                                               Order”);

                                        (e)    reimbursement of all documented (in summary form)
                                               fees and expenses of the Pre-Petition Agent, the Pre-
                                               Petition Lenders, the Joint Lead Arrangers and Post-
                                               Petition Agent and Post-Petition Lenders payable under
                                               the Pre-Petition Credit Agreement or under the DIP
                                               Facility Documentation (including the unpaid
                                               documented (in summary form) fees and expenses of
                                               Vinson & Elkins LLP, Opportune LLP and the other
                                               professionals retained by any of the foregoing) that are
                                               invoiced to the Borrower at least two (2) Business Days
                                               prior to the Closing Date;

                                        (f)    all representations and warranties of the Debtors in the
                                               Post-Petition Credit Agreement shall be true and correct
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                                                 in all material respects, and there shall be no default,
                                                 Event of Default or Post-Petition Default in existence;

                                          (g)    the Post-Petition Agent and the Post-Petition Lenders
                                                 shall have received, by at least three (3) business days
                                                 (or such later date as agreed by the Post-Petition Agent
                                                 in its sole discretion) prior to the Closing Date, “know
                                                 your customer” and similar information required by
                                                 bank regulatory authorities that is requested at least eight
                                                 (8) business days (or such later date as agreed by the
                                                 Borrower in its sole discretion) prior to the Closing
                                                 Date;

                                          (h)    receipt of appropriate UCC lien search results for each
                                                 jurisdiction reasonably requested by the Post-Petition
                                                 Agent;

                                          (i)    the Petition Date shall have occurred, and each Debtor
                                                 shall be a “debtor-in-possession” in the Chapter 11
                                                 Cases;

                                          (j)    the Restructuring Support Agreement shall be in full
                                                 force and effect and no termination of such agreement
                                                 by any party thereto shall have occurred pursuant to the
                                                 terms thereof; and

                                          (k)    the delivery of customary secretary and officer
                                                 certificates.

Conditions to All Extensions of Credit:   The making of DIP Loans and issuance/renewal of DIP Letters
                                          of Credit at any time and from time to time shall be subject
                                          solely to the satisfaction of the following conditions precedent:

                                          (a)    all representations and warranties of the Debtors in the
                                                 DIP Facility Documentation shall be true and correct in
                                                 all material respects (without duplication of any
                                                 materiality or material adverse effect or material adverse
                                                 change qualifier therein), and there shall be no default,
                                                 Event of Default or Post-Petition Default in existence at
                                                 the time of, or after giving effect to the making of, such
                                                 funding;

                                          (b)    solely with respect to the making of the first DIP Loan
                                                 or issuance of a DIP Letter of Credit (other than the
                                                 deemed issuance and incurrence of any Roll-Up Loans
                                                 and Roll-Up Letters of Credit), the Specified Excess
                                                 Cash Payment shall have been made prior to making
                                                 such requested credit extension;

                                          (c)    with respect to borrowings or issuances of DIP Letters of
                                                 Credit that would cause the Total Outstandings
                                                 (assuming the deemed funding under the DIP Facility of
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                                         100% of the Roll-Up Loans and deemed issuance of
                                         100% the Roll-Up Letters of Credit as such time of
                                         determination) to exceed the sum of the Roll-Up
                                         Amount plus the New Money Interim Cap, Bankruptcy
                                         Court’s entry within thirty-five (35) days after the
                                         Petition Date of a final order approving the DIP Facility
                                         and use of cash collateral and other arrangements
                                         described herein, in form and substance acceptable to the
                                         Post-Petition Agent (the “Final Order”, and the Interim
                                         Order and Final Order collectively are referred to herein
                                         as the “Financing Orders”);

                                  (d)    the Interim Order or Final Order, if and as applicable,
                                         shall be in full force and effect and shall not have been
                                         stayed, reversed, vacated or otherwise modified;

                                  (e)    other than with respect to the deemed issuance and
                                         incurrence of any Roll-Up Loans and Roll-Up Letters of
                                         Credit, delivery of a borrowing request certifying as to,
                                         among other things, that the DIP Loan and/or issuance
                                         of a DIP Letter of Credit will be utilized in accordance
                                         with the Budget;

                                  (f)    the making of the requested credit extension would not
                                         cause Total Outstandings to be greater than the lesser of
                                         (A) the DIP Loan Limit and (B) the amount then
                                         authorized by any Financing Order; and

                                  (g)    other than with respect to the deemed issuance and
                                         incurrence of any Roll-Up Loans and Roll-Up Letters of
                                         Credit, the making of the requested credit extension
                                         would not cause the Debtors to have Excess Cash in
                                         excess of $75,000,000.

Representations and Warranties:   The Post-Petition Credit Agreement shall contain
                                  representations and warranties substantially similar to those
                                  contained in the Pre-Petition Credit Agreement, subject to
                                  modifications customarily found in the loan agreements for
                                  debtor-in-possession financings, as reasonably agreed to by the
                                  Post-Petition Agent and the Borrower.

Affirmative Covenants:            The Post-Petition Credit Agreement shall contain affirmative
                                  covenants substantially similar to those in the Pre-Petition
                                  Credit Agreement, subject to modifications customarily found
                                  in the loan agreements for debtor-in-possession financings, as
                                  reasonably agreed to by the Post-Petition Agent and the
                                  Borrower, including, without limitation, the following, in each
                                  case, with exceptions and materiality qualifications and
                                  thresholds to be agreed: (a) comply with customary reporting
                                  requirements, including audited annual financial reports,
                                  quarterly and monthly consolidated financial reports; monthly
                                  reports detailing results of operations and cash flow; bi-monthly
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                                reports showing variance from the Budget (in addition to the
                                Variance Report) and updates on cash flow and projections for
                                the following rolling thirteen week period; notice of any
                                material change in projected disbursements in an aggregate
                                amount through anticipated emergence; other reporting
                                covenants to be mutually agreed; (b) maintenance of
                                organizational existence and rights and privileges; (c)
                                maintenance of properties and collateral; (d) permit inspections
                                and host lender meetings; (e) maintain current financial records
                                in accordance with GAAP, (f) maintain insurance; (g)
                                acknowledge the right of the Post-Petition Agent and Pre-
                                Petition Agent, as applicable, to credit bid at any sale of the
                                Debtors’ assets (whether 363 sale or otherwise) in accordance
                                with the DIP Facility Documentation or the Pre-Petition Credit
                                Agreement, as applicable; and (h) monthly Variance Report as
                                set forth under the heading “Budget and Variances” herein.
Negative Covenants:             The Post-Petition Credit Agreement shall contain negative
                                covenants substantially similar to those in the Pre-Petition
                                Credit Agreement, subject to modifications customarily found
                                in the loan agreements for debtor-in-possession financings, as
                                reasonably agreed to by the Post-Petition Agent and the
                                Borrower, including, without limitation, covenants that none of
                                the Debtors shall, in each case, with baskets, materiality
                                thresholds and other exceptions to be mutually agreed:
                                (a) merge, divide or consolidate with any other entity, transfer
                                or otherwise dispose of any assets other than inventory in the
                                ordinary course of business or assets that constitute worn-out,
                                excess, unused or non-useful equipment, or make any
                                fundamental changes in its corporate structure;
                                (b) create or permit to exist any lien or encumbrance on any
                                asset, except as permitted by the Post-Petition Credit
                                Agreement;

                                (c) incur or permit to exist any financing under Section 364 of
                                the Bankruptcy Code or any other indebtedness or contingent
                                obligations, except as permitted by the Post-Petition Credit
                                Agreement;

                                (d) create or permit to exist any superpriority administrative
                                expense claim except as specifically permitted by the Post-
                                Petition Agent (other than with respect to the DIP Facility);

                                (e) make investments (to be defined in a manner consistent with
                                the Pre-Petition Credit Agreement) (except as permitted in the
                                Budget);

                                (f) declare or pay dividends or make any distributions to
                                equityholders or pay amounts with respect to indebtedness
                                except as specifically permitted by the Post-Petition Credit
                                Agreement;
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                                 (g) enter into early monetizations or early terminations of any
                                 hedge or swap position, except as permitted by the Post-Petition
                                 Credit Agreement;

                                 (h) use cash collateral or the proceeds of the DIP Facility except
                                 in accordance with the Budget and Permitted Variances; and

                                 (i) fail to operate strictly in accordance with the Budget (subject
                                 to the Permitted Variances).

Case Milestones:                 The Debtors shall comply with the following deadlines (each of
                                 which may be extended with the written consent of the Majority
                                 Post-Petition Lenders without the consent of any other person
                                 or any further order of the Bankruptcy Court) (the “DIP
                                 Facility Milestones”):


                                 DIP Facility

                                 (a) on the Petition Date, filing of a motion seeking approval of
                                 the DIP Facility;

                                 (b) not later than three (3) business days after the Petition Date,
                                 entry of the Interim Order; and

                                 (c) not later than thirty-five (35) days after the Petition Date,
                                 entry of the Final Order approving the DIP Facility and the use
                                 of cash collateral, in form and substance satisfactory to the
                                 Post-Petition Agent.

                                 Plan

                                 (a) not later than September 6, 2020, the Bankruptcy Court
                                 shall have entered an order (the “Confirmation Order”)
                                 approving the chapter 11 plan (the “Plan”) and corresponding
                                 disclosure statement (the “Disclosure Statement”), in each
                                 case, in form and substance acceptable to the Post-Petition
                                 Agent and the Pre-Petition Agent;

                                 (b) not later than 14 days after entry of the Confirmation Order,
                                 the occurrence of the effective date of the Plan, and the
                                 discharge of the obligations under the DIP Facility by (i)
                                 indefeasible payment in full in cash (including via conversion
                                 into the Exit Credit Facility) or (ii) such other treatment under
                                 the Plan as may be agreed to by the Majority Post-Petition
                                 Lenders and the Debtors.

Financial Covenant (Budget and   As a condition precedent to the DIP Facility, there shall be
Variances):                      established a 13 week cash flow budget updated on a rolling
                                 four week basis acceptable to the Post-Petition Agent (the
                                 “Initial Budget”) for the Debtors’ cash receipts and expenses
                                 (including professional fees and expenses), which shall provide,
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                                among other things, for the payment of interest in respect of the
                                DIP Facility on a monthly basis to the Post-Petition Lenders,
                                and the adequate protection amounts set forth above.

                                The Debtors shall provide to the Post-Petition Agent an updated
                                budget (the “Proposed Budget”). Each Proposed Budget shall
                                be due on each 4-week anniversary (or, if such day is not a
                                business day, the immediately succeeding business day) of the
                                previous rolling four-week Budget period, with the first
                                Proposed Budget after the Initial Budget to be delivered on or
                                prior to August 27, 2020.

                                Such Proposed Budget, once approved by the Post-Petition
                                Agent, shall constitute the approved budget (the “Approved
                                Budget”) for the immediately succeeding Testing Period (as
                                defined below). To the extent that any Proposed Budget is not
                                approved by the Post-Petition Agent by the end of the then-
                                effective Testing Period, the then-existing Approved Budget
                                will remain the Approved Budget until replaced by a Proposed
                                Budget that is approved by the Post-Petition Agent.

                                On the Friday (or, if such Friday is not a business day, the
                                immediately succeeding Business Day) immediately after the
                                last day of each rolling four-week period after the delivery of
                                the Initial Budget (for the avoidance of doubt, such first date to
                                be August 28, 2020) until the payment in full in cash of the DIP
                                Obligations (each such delivery date, a “Compliance Date”),
                                the Borrower shall deliver to the Post-Petition Agent a variance
                                report (the “Variance Report”) (a) detailing the Debtors’
                                receipts and disbursements for such Testing Period and a
                                comparison to the amounts set forth in the Budget therefor for
                                the Testing Period ending prior to such Compliance Date (on an
                                aggregate and a line item by line item basis in the case of
                                disbursements) and (b) including reasonably detailed
                                calculations demonstrating compliance with the Permitted
                                Variance for such Testing Period.

                                As used herein, “Permitted Variance” shall mean, with respect
                                to the period of four consecutive calendar weeks ending on the
                                day immediately prior to any Compliance Date (each such four-
                                week period, a “Testing Period”), any variance within the
                                following parameters: (i) the aggregate actual disbursements by
                                the Debtors for such Testing Period shall not exceed 110% of
                                the aggregate forecasted disbursements (excluding professional
                                fees) as set forth in the Budget for such Testing Period and (ii)
                                actual disbursements for certain line items to be agreed by the
                                Debtors for such Testing Period shall not exceed 115% of the
                                forecasted disbursements for such line items as set forth in the
                                Budget for such Testing Period.

Other Financial Covenants:      (a) Minimum Liquidity: At all times, the Borrower will not
                                permit the sum of (i) unused DIP Commitments plus (ii) the
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                               Debtors’ unrestricted cash and cash equivalents on hand to be
                               less than an amount to be determined based on the initial
                               Budget.

                               (b) Asset Coverage Ratio: The Borrower shall not permit, as of
                               the last day of every other calendar month, beginning with the
                               calendar month ending August 30, 2020, the ratio of (a) the sum
                               of (i) the total present value (using a discount rate of 10% and
                               utilizing 5-year NYMEX strip pricing with pricing held flat
                               each year thereafter) of projected future net revenues from
                               proved developed producing reserves as reflected in the most
                               recently delivered Reserve Report and (ii) the net mark-to-
                               market value of the Debtors’ hedging agreements in connection
                               with such reserves as of such date to (b) the sum of (i) Total
                               Outstandings as of such date plus (ii) the outstanding principal
                               amount of the Pre-Petition Loans as of such date to be less than
                               1.50 to 1.0.

Commodity Hedging:             The Debtors may enter into hedging arrangements with (i) any
                               Post-Petition Lender, the Post-Petition Agent and any affiliate
                               of a Post-Petition Lender or the Post-Petition Agent or (ii)
                               Approved Counterparties, which hedges shall not be for
                               speculative purposes and, with respect to commodity hedges,
                               shall be limited to no more than 85% of the reasonably
                               anticipated forecasted production from the proved oil and gas
                               properties of the Debtors (based on the most recent Reserve
                               Report) for the period not exceeding 60 months from the date
                               such hedging arrangement is created.

                               As used herein, “Approved Counterparty” means, with respect
                               to any hedging arrangement with a Debtor, any person if such
                               person or its credit support provider has a long-term senior
                               unsecured debt rating of BBB+/Baa1 by S&P or Moody’s (or
                               their equivalent) or higher at the time of entering into such
                               hedging arrangement.

                               It is understood that for purposes hereof, the following hedging
                               agreements shall not be deemed speculative or entered into for
                               speculative purposes: (a) any commodity hedging agreement
                               intended, at inception of execution, to hedge or manage any of
                               the risks related to existing and/or forecasted oil and gas
                               production (based on the most recently delivered Reserve
                               Report) of the Borrower or any other Debtor (whether or not
                               contracted) and (b) any hedging agreement intended, at
                               inception of execution, (i) to hedge or manage the interest rate
                               exposure associated with any debt securities, debt facilities or
                               leases (existing or forecasted) of the Borrower or any other
                               Debtor, (ii) for foreign exchange or currency exchange
                               management, (iii) to manage commodity portfolio exposure
                               associated with changes in commodity prices or (iv) to hedge
                               any exposure that the Borrower or any other Debtor may have
                               to counterparties under other hedging agreements such that the
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                                 combination of such hedging agreements is not speculative
                                 taken as a whole.

Events of Default:               Events of default customary for transactions of this type,
                                 including, without limitation:

                                 (a)   nonpayment of principal, interest or mandatory
                                       prepayments when due (with a 3 business day grace
                                       period for non-principal payments), including, as
                                       applicable, the Debtors failure to timely pay any amount
                                       required to be paid to the Pre-Petition Agent, the Pre-
                                       Petition Lenders, the Post-Petition Agent, or the Post-
                                       Petition Lenders under the Financing Orders or the
                                       Approved Budget (subject to the Permitted Variance);

                                 (b)   the failure or breach of any warranties, representations,
                                       agreements, or covenants of the Debtors (subject to a
                                       grace period with respect to certain affirmative
                                       covenants and materiality thresholds, to be further
                                       specified in the Post-Petition Credit Agreement);

                                 (c)   entry of an order for the dismissal or conversion to
                                       Chapter 7 of any Debtor’s bankruptcy case; the
                                       appointment of a bankruptcy trustee or examiner except
                                       with the express written consent of the Pre-Petition
                                       Agent and the Post-Petition Agent in any Chapter 11
                                       Case; the granting of any other superpriority
                                       administrative expense claim (if not in favor of the Post-
                                       Petition Agent or the Pre-Petition Agent) except with the
                                       express written consent of the Post-Petition Agent; the
                                       grant of any security interest in any of the DIP Collateral
                                       that is pari passu with or senior to the liens of the Post-
                                       Petition Agent or the Adequate Protection Liens of the
                                       Pre-Petition Agent; any Debtor shall attempt to vacate or
                                       modify the Interim Order or the Final Order over the
                                       objection of the Post-Petition Agent; the entry of any
                                       order modifying, reversing, revoking, staying,
                                       rescinding, vacating, or amending any Financing Order
                                       without the consent of the Post-Petition Agent; any
                                       Debtor shall institute any proceeding or investigation or
                                       support same by any other person who seeks to
                                       challenge the status and/or validity of the liens of the
                                       Pre-Petition Agent or the Post-Petition Agent (as
                                       security for the Pre-Petition Lenders and the Post-
                                       Petition Lenders, respectively) or the claims of any of
                                       the Pre-Petition Agent, the Pre-Petition Lenders, the
                                       Post-Petition Agent, or the Post-Petition Lenders; or any
                                       Debtor shall file a motion or other pleading or support
                                       any other motion or other pleading filed seeking any of
                                       the foregoing;

                                 (d)   the Bankruptcy Court shall enter an order or orders
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                                 granting relief from the automatic stay to the holder or
                                 holders of any security interest or lien (other than Post-
                                 Petition Lenders) to permit the pursuit of any judicial or
                                 non-judicial transfer or other remedy against any DIP
                                 Collateral, in each case involving assets with an
                                 aggregate value in excess of $1,000,000; provided that
                                 any order granting relief from the automatic stay to
                                 permit prepetition litigation to which the Debtors are a
                                 party to proceed shall not constitute an event of default;

                          (e)    the Debtors shall fail to meet any DIP Facility Milestone
                                 beyond any grace period applicable thereto;

                          (f)    entry of a sale order unless such order contemplates
                                 either indefeasible payment in full in cash of the DIP
                                 Obligations upon consummation of the sale or is
                                 otherwise consented to in writing by the Post-Petition
                                 Agent; and

                          (g)    the filing or support by the Debtors of any plan of
                                 reorganization that (i) does not provide for termination
                                 of the unused commitments under the DIP Facility and
                                 indefeasible payment in full in cash of all of the DIP
                                 Obligations and (ii) is not otherwise acceptable to the
                                 Post-Petition Agent in its sole discretion.

                          Immediately upon the earlier of (x) the date that is 35 days after
                          the Petition Date if the Final Order has not been entered by the
                          Court on or before such date (unless such period is extended by
                          mutual agreement of the Debtors and the Majority Post-Petition
                          Lenders, notice of which will be filed with the Bankruptcy
                          Court) and (y) five (5) business days (any such five-business-
                          day period of time, the “Default Notice Period”) following the
                          delivery of a written notice (with a copy filed with the
                          Bankruptcy Court) (a “Default Notice”) by the Post-Petition
                          Agent to the Debtors of the occurrence of an Event of Default
                          unless such occurrence is cured by the Debtors prior to the
                          expiration of the Default Notice Period or such occurrence is
                          waived in writing by the requisite Post-Petition Lenders in their
                          sole discretion and in accordance with “Voting” section below,
                          one or more of the following shall occur to the extent elected by
                          the Majority Post-Petition Lenders in their sole discretion: (i)
                          the automatic stay shall terminate, (ii) authority to use cash
                          collateral shall terminate, (iii) the DIP Loans shall accelerate,
                          and (iv) the Post-Petition Agent may exercise its other rights
                          and remedies in accordance with the DIP Facility
                          Documentation and applicable law; provided that during the
                          Default Notice Period, the Debtors shall be entitled to continue
                          to use Cash Collateral in accordance with the terms of the
                          Financing Orders; provided, further, that the Post-Petition
                          Agent shall be required to seek relief and shall be entitled to an
                          emergency hearing regarding the termination of the automatic
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                                  stay as to clause (iv) above before expiration of the Default
                                  Notice Period.

                                  Notwithstanding the foregoing, and irrespective of the Default
                                  Notice Period, the Post-Petition Lenders shall not be obligated
                                  to provide any DIP Loans at any time a default, an Event of
                                  Default, or a Post-Petition Default has occurred and is
                                  continuing.



Releases / Covenant Not to Sue:   The Debtors shall provide each of the Pre-Petition Agent, the
                                  Pre-Petition Lenders, and their respective partners,
                                  equityholders, directors, members, principals, agents advisors,
                                  officers, professionals (including, but not limited to, counsel),
                                  subsidiaries and affiliates a standard release and covenant not to
                                  sue as to any and all claims and causes of action against any of
                                  them as of the Petition Date. This release and covenant not to
                                  sue shall be without prejudice to any review period as to any
                                  appointed creditors’ committee or any other party in interest as
                                  more fully set forth in the Financing Orders.

Credit Bid:                       The DIP Facility shall include a provision that, in connection
                                  with any sale of any or all of the Debtors’ assets under section
                                  363 of the Bankruptcy Code, a Chapter 11 plan of
                                  reorganization or liquidation, or any equivalent thereof under
                                  any other law, the Post-Petition Agent, at the direction of the
                                  Majority Post-Petition Lenders, shall have the absolute right to
                                  credit bid any portion, up to the full amount, of all DIP
                                  Obligations.
Voting:                           Amendments and waivers of the DIP Facility Documentation
                                  for the DIP Facility will require the approval of Post-Petition
                                  Lenders holding more than 50% of the aggregate amount of the
                                  commitments then outstanding under the DIP Facility (the
                                  “Majority Post-Petition Lenders”), except that:

                                  (i) the consent of each Post-Petition Lender directly and
                                      adversely affected thereby shall be required with respect to:
                                      (A) increases in the commitment of such Post-Petition
                                      Lender, (B) reductions of principal, interest or fees owing to
                                      such Post-Petition Lender (or any extension or
                                      postponement of such payments), and (C) extensions or
                                      postponement of final maturity of the DIP Facility,

                                  (ii) the consent of 100% of the Post-Petition Lenders will be
                                      required with respect to releases of all or substantially all of
                                      the value of the Guarantees or releases of liens on all or
                                      substantially all of the DIP Collateral (other than in
                                      connection with any sale of DIP Collateral or the release or
                                      sale of the relevant guarantor permitted by the DIP Facility),
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                                 (iii) the consent of 100% of the Post-Petition Lenders will be
                                     required with respect to modifications to any of the voting
                                     percentages or such modifications that would alter the
                                     ratable allocation / priority of payments to the holders of
                                     DIP Obligations,

                                 (iv) the consent of all of the Post-Petition Lenders will be
                                     required with respect to increases in the Borrowing Base and
                                     to certain provisions related to adjustment to the Borrowing
                                     Base,

                                 (v) the consent of 100% of the Post-Petition Lenders will be
                                     required with respect to amendments, modifications or
                                     waivers of any provisions in the Post-Petition Credit
                                     Agreement substantially equivalent to the provisions of
                                     Sections 13.17 and 13.22 of the Pre-Petition Credit
                                     Agreement,

                                 (vi) the consent of Post-Petition Lenders holding not less than
                                     66⅔% of the aggregate amount of the commitments then
                                     outstanding under the DIP Facility (the “Required Post-
                                     Petition Lenders”) will be required in the case of decreases
                                     in, or reaffirmations of, the Borrowing Base, and

                                 (vii) customary protections for the Post-Petition Agent and the
                                     Issuing Lender will be provided.

                                 The DIP Facility contains customary provisions permitting the
                                 Borrower to replace non-consenting Post-Petition Lenders in
                                 connection with amendments and waivers requiring greater than
                                 a Majority Post-Petition Lender or Required Post-Petition
                                 Lender vote or the consent of all Post-Petition Lenders or of all
                                 Post-Petition Lenders directly affected thereby so long as the
                                 Majority Post-Petition Lenders shall have consented thereto.

                                 The DIP Facility also contains usual and customary provisions
                                 regarding “Defaulting Lenders”.

                                 The DIP Facility shall include provisions substantially
                                 equivalent to the provisions of Sections 13.17 and 13.22 of the
                                 Pre-Petition Credit Agreement, with such modifications to be
                                 mutually agreed upon.

Cost and Yield Protection:       Usual for facilities and transactions of this type, with provisions
                                 protecting the Post-Petition Lenders from withholding tax
                                 liabilities; provided that requests for additional payments due to
                                 increased costs from market disruption shall be limited to
                                 circumstances generally affecting the banking market or when
                                 the Majority Post-Petition Lenders have made such a request.
                                 The DIP Facility contains provisions regarding the timing for
                                 asserting a claim under these provisions and permitting the
                                 Borrower to replace a Post-Petition Lender who asserts such
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                                  claim without premium or penalty.

Assignments and Participations:   The DIP Facility will contains customary provisions regarding
                                  assignments and participations that are substantially similar to
                                  those in the Pre-Petition Credit Agreement, subject to
                                  modifications customarily found in the loan agreements for
                                  debtor-in-possession financings, as agreed to by the Post-
                                  Petition Agent and the Borrower.

Expenses and Indemnification:     All documented (in summary form) fees, expenses, and costs
                                  (including but not limited to due diligence) of the Pre-Petition
                                  Agent, the Post-Petition Agent, the Post-Petition Lenders, and
                                  the Pre-Petition Lenders (including without limitation the
                                  documented fees, disbursements and other charges of counsel,
                                  financial advisors, engineers and environmental consultants) in
                                  the making, administration, collection, enforcement, or pursuing
                                  remedies related to the Pre-Petition Secured Indebtedness or
                                  DIP Facility shall be paid by the Debtors upon demand (subject
                                  to the Financing Orders).

                                  The Debtors will indemnify the Post-Petition Agent, the Post-
                                  Petition Lenders and their respective officers, directors,
                                  employees, affiliates, agents, attorneys, financial advisors, and
                                  controlling persons (each, an “Indemnified Person”) and hold
                                  them harmless from and against all documented costs, expenses
                                  (including fees, disbursements and other charges of counsel)
                                  and liabilities of any such indemnified person arising out of or
                                  relating to any claim arising out of or relating to any claim or
                                  litigation or other proceedings (regardless of whether any such
                                  indemnified person is a party thereto), that relate to the
                                  transactions contemplated hereby or any transaction connected
                                  therewith; provided that no Indemnified Person will be
                                  indemnified for any losses, claims, damages, liabilities or
                                  related expenses to the extent that they have resulted from (i)
                                  the bad faith, willful misconduct or gross negligence of such
                                  Indemnified Person, including any of such Indemnified
                                  Person’s affiliates or any of its or their respective officers,
                                  directors, employees, agents, controlling persons, members or
                                  the successors of any of the foregoing, (as determined by a
                                  court of competent jurisdiction in a final and non-appealable
                                  decision), (ii) a material breach of the obligations of such
                                  Indemnified Person (or any of such Indemnified Person’s
                                  affiliates or any of its or their respective officers, directors,
                                  employees, agents, controlling persons, members or the
                                  successors of any of the foregoing) or (iii) any proceeding not
                                  arising from any act or omission by the Borrower or its
                                  affiliates that is brought by an Indemnified Person against any
                                  other Indemnified Person (other than disputes involving claims
                                  against the Joint Lead Arrangers or the Post-Petition Agent in
                                  its capacity as such).
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DIP to Exit Conversion:                 On the date upon which the conditions precedent to the
                                        effectiveness of an “exit credit facility” shall have been
                                        satisfied or waived (the “Conversion Date”) as contemplated
                                        by the terms specified in the Exit Credit Facility Term Sheet
                                        attached as Exhibit A (the “Exit Credit Facility Term Sheet”)
                                        to that certain Exit Facility Commitment Letter (the “Exit
                                        Facility Commitment Letter”) by and among the Debtors and
                                        the Commitment Parties (as defined therein) (the following
                                        clauses (a) through (d), collectively, the “DIP Debt
                                        Conversion”): (a) all DIP Loans outstanding as of such date
                                        and any Pre-Petition Secured Indebtedness that was not
                                        converted into the DIP Facility shall, in each case, be
                                        automatically converted on a dollar-for-dollar basis for
                                        “Revolving Loans” (as defined in the Exit Credit Facility Term
                                        Sheet) under the Exit Credit Facility, (b) all outstanding DIP
                                        Letters of Credit shall be deemed to be issued as “Letters of
                                        Credit” (as defined in the Exit Credit Facility Term Sheet)
                                        under the Exit Credit Facility, (c) all outstanding DIP Hedges
                                        with a Lender or an affiliate of a Lender under the DIP Facility
                                        shall be deemed to be included in the Exit Credit Facility, and
                                        (d) all outstanding treasury management arrangements with a
                                        Lender or an affiliate of a Lender under the DIP Facility shall
                                        be deemed to be included in the Exit Credit Facility. Upon
                                        payment in full of the DIP Obligations (including all or in part
                                        as a result of the DIP Debt Conversion), the DIP Facility will
                                        terminate and be superseded and replaced in its entirety by the
                                        Exit Credit Facility.

Governing Law and Forum:                New York.

Counsel to the Pre-Petition Agent and   Vinson & Elkins L.L.P.
the Post-Petition Agent:
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                                                                                              ANNEX I

Interest Rates:           The Borrower may elect that the DIP Loans comprising each borrowing
                          bear interest at a rate per annum equal to: (i) ABR plus the Applicable
                          Margin or (ii) LIBOR plus the Applicable Margin.

                          The Borrower may elect interest periods of 1, 2, 3 or 6 months (or, if
                          available to all relevant Post-Petition Lenders, 12 months or a shorter
                          period (including 1 week or 2 weeks)) for LIBOR borrowings.

                          Calculation of interest shall be on the basis of the actual days elapsed in a
                          year of 360 days (or 365 or 366 days, as the case may be, in the case of
                          ABR Loans based on the prime rate) and interest shall be payable at the
                          end of each interest period and, in any event, at least every 3 months.

                          “ABR” means the Alternate Base Rate, which is the highest of (a) the
                          Post-Petition Agent’s Prime Rate, (b) the Federal Funds Effective Rate
                          plus 1/2 of 1.0% and (c) one-month LIBOR plus 1.0%..

                          “LIBOR” means the London interbank offered rate for dollars, subject to
                          a 1.0% floor.

                          “Applicable Margin” means for any day, with respect to any LIBOR or
                          ABR borrowing or with respect to any Unused Commitment Fee, the
                          applicable rate per annum set forth below.

                             DIP Facility        Unused                   Applicable Margin
                               Usage          Commitment Fee
                                                                    ABR Loans         LIBOR Loans
                              X <25%               0.500%             2.00%              3.00%
                           > 25% X <50%            0.500%             2.25%              3.25%
                           > 50% X <75%            0.500%             2.50%              3.50%
                           > 75% X <90%            0.500%             2.75%              3.75%
                              X > 90%              0.500%             3.00%              4.00%

                          “DIP Facility Usage” means, as of any date and for all purposes, the
                          quotient, expressed as a percentage, of (i) Total Outstandings divided by
                          (ii) the aggregate DIP Commitment.

Letters of Credit Fees:   A per annum fee equal to the Applicable Margin then in effect for LIBOR
                          borrowings will accrue on the aggregate face amount of outstanding DIP
                          Letters of Credit, payable in arrears at the end of each quarter and upon
                          the termination of the DIP Facility, in each case for the actual number of
                          days elapsed over a 360-day year. Such fees shall be distributed to the
                          Post-Petition Lenders pro rata in accordance with the amount of each
                          such Post-Petition Lender’s DIP Commitment. In addition, the Borrower
                          shall pay to the Issuing Lender, for its own account, (a) a fronting fee
                          equal to 0.125% per annum of the aggregate face amount of outstanding
                          DIP Letters of Credit or such other amount as may be agreed by the
                          Borrower and the Issuing Lender, payable in arrears at the end of each
                          quarter and upon the termination of the DIP Facility, calculated based
                          upon the actual number of days elapsed over a 360-day year, and (b)


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                       customary issuance and administration fees to be mutually agreed.

Commitment Fees:       The Borrower will pay a fee (the “Commitment Fee”), in an amount
                       computed on a daily basis equal to the total DIP Commitments of the
                       Post-Petition Lenders less the Total Outstandings on each day, multiplied
                       by the applicable percentage specified as the “Unused Commitment Fee”
                       in the table set forth under the definition of “Applicable Margin”
                       corresponding to the DIP Facility Usage as of the end of such day. The
                       Commitment Fee is payable quarterly in arrears commencing after the
                       Closing Date.

Upfront Fees:          20.0 bps per year for the Post-Petition Lenders, payable on the Closing
                       Date in proportion to each Lender’s final allocation of its New Money
                       DIP Commitment.




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                                                                                                        ANNEX II
                                                   Carve Out

         1.       Carve Out.

                  (a)      Carve Out.          Notwithstanding anything to the contrary in this

[Final/Interim] Order, any DIP Documents (as defined in the Financing Orders), or any other

order of the Court, all of the DIP Liens, the DIP Superpriority Claims, the Adequate Protection

Liens, and the Adequate Protection Superpriority Claims (each as defined in the Financing

Orders) shall be subject and subordinate only to the payment of the Carve-Out as and only to the

extent set forth in this [Final/Interim] Order. As used in this [Final/Interim] Order, the “Carve

Out” means the sum of (i) all fees required to be paid to the Clerk of the Court and to the Office

of the United States Trustee under section 1930(a) of title 28 of the United States Code plus

interest at the statutory rate (without regard to the notice set forth in (iii) below); (ii) all

reasonable fees and expenses up to $[50,000] incurred by a trustee under section 726(b) of the

Bankruptcy Code (without regard to the notice set forth in (iii) below); (iii) to the extent allowed

at any time, whether by interim order, procedural order, or otherwise, all unpaid fees and

expenses, other than any restructuring, sale, success, or other transaction fee of any investment

bankers or financial advisors of the Debtors or any committee1 (the “Allowed Professional

Fees”) incurred by persons or firms retained by the Debtors pursuant to section 327, 328, or 363

of the Bankruptcy Code (the “Debtor Professionals”) and any official committee appointed in the

Chapter 11 Cases (each, a “Committee”) pursuant to section 328 or 1103 of the Bankruptcy

Code (the “Committee Professionals” and, together with the Debtor Professionals,

the “Professional Persons”) at any time before or on the first business day following delivery by


1        Any fee due and payable to a Professional Person that is employed as an investment banker or financial
advisor arising from the consummation of any transaction shall be payable only to the extent allowed by the Court
and as and to the extent set forth in such Professional Person’s engagement letter, and solely from the proceeds
received by the Debtors resulting from the consummation of such transaction, free and clear of the liens of the Post-
Petition Agent and the Post-Petition Lenders.

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the Post-Petition Agent of a Carve Out Trigger Notice (as defined below), whether allowed by

the Court prior to or after delivery of a Carve Out Trigger Notice; and (iv) Allowed Professional

Fees of Professional Persons in an aggregate amount not to exceed $2,750,000 incurred after the

first business day following delivery by the Post-Petition Agent of the Carve Out Trigger Notice,

to the extent allowed at any time, whether by interim order, procedural order, or otherwise (the

amounts set forth in this clause (iv) being the “Post-Carve Out Trigger Notice Cap”). For

purposes of the foregoing, “Carve Out Trigger Notice” shall mean a written notice delivered by

email (or other electronic means) by the Post-Petition Agent to the Debtors, their lead

restructuring counsel, the U.S. Trustee, and counsel to any Committee, which notice may be

delivered following the occurrence and during the continuation of an Event of Default and

acceleration of the DIP Obligations under the DIP Facility, stating that the Post-Carve Out

Trigger Notice Cap has been invoked.

               (b)    Fee Estimates. Not later than 7:00 p.m. New York time on the third

business day of each week starting with the first full calendar week following the [Closing Date],

each Professional Person shall deliver to the Debtors a statement setting forth a good-faith

estimate of the amount of fees and expenses (collectively, “Estimated Fees and Expenses”)

incurred during the preceding week by such Professional Person (through Saturday of such week,

the “Calculation Date”), along with a good-faith estimate of the cumulative total amount of

unreimbursed fees and expenses incurred through the applicable Calculation Date and a

statement of the amount of such fees and expenses that have been paid to date by the Debtors

(each such statement, a “Weekly Statement”); provided, that within one business day of the

occurrence of the Termination Declaration Date (as defined below), each Professional Person

shall deliver to the Debtors one additional statement (the “Final Statement”) setting forth a good-

faith estimate of the amount of fees and expenses incurred during the period commencing on the

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calendar day after the most recent Calculation Date for which a Weekly Statement has been

delivered and concluding on the Termination Declaration Date (and the Debtors shall cause such

Weekly Statement and Final Statement to be delivered on the same day received to the Post-

Petition Agent). If any Professional Person fails to deliver a Weekly Statement or the Final

Statement within three calendar days after such Weekly Statement or Final Statement is due,

such Professional Person’s entitlement (if any) to any funds in the Pre-Carve Out Trigger Notice

Reserve (as defined below) with respect to the aggregate unpaid amount of Allowed Professional

Fees of such Professional Person for the applicable period(s) for which such Professional Person

failed to deliver a Weekly Statement or Final Statement covering such period shall be limited to

the aggregate unpaid amount of Allowed Professional Fees included in the Budget (as defined in

the Post-Petition Credit Agreement, the “Budget”) for such period for such Professional Person;

provided, that such Professional Person shall be entitled to be paid any unpaid amount of

Allowed Professional Fees in excess of Allowed Professional Fees included in the Budget for

such period for such Professional Person from a reserve to be funded by the Debtors from all

cash on hand as of such date and any available cash thereafter held by any Debtor pursuant to

paragraph [●](c) below. Solely as it relates to the Post-Petition Agent and the Post-Petition

Lenders, any deemed draw and borrowing pursuant to paragraph [●](c)(i)(x) for amounts under

paragraph [●](a)(iii) above shall be limited to the greater of (x) the sum of (I) the aggregate

unpaid amount of Estimated Fees and Expenses included in such Weekly Statements timely

received by the Debtors prior to the Termination Declaration Date plus, without duplication, (II)

the lesser of (1) the aggregate unpaid amount of Estimated Fees and Expenses included in the

Final Statements timely received by the Debtors pertaining to the period through and including

the Termination Declaration Date and (2) the Budgeted Cushion Amount (as defined below), and

(y) the aggregate unpaid amount of Allowed Professional Fees included in the Budget for the

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period prior to the Termination Declaration Date (such amount, the “DIP Professional Fee Carve

Out Cap”). For the avoidance of doubt, the Post-Petition Agent shall be entitled to maintain at

all times a reserve (the “Carve-Out Reserve”) against availability under the DIP Facility in an

amount (the “Carve-Out Reserve Amount”) equal to the sum of (i) the greater of (x) the

aggregate unpaid amount of Estimated Fees and Expenses included in all Weekly Statements

timely received by the Debtors, and (y) the aggregate amount of Allowed Professional Fees

contemplated to be unpaid in the Budget at the applicable time, plus (ii) the Post-Carve Out

Trigger Notice Cap, plus (iii) the amounts contemplated under paragraph [●](a)(i) and [●](a)(ii)

above, plus (iv) an amount equal to the amount of Allowed Professional Fees set forth in the

Budget for the then current week occurring after the most recent Calculation Date and the two

weeks succeeding such current week (such amount set forth in (iv), regardless of whether such

reserve is maintained, the “Budgeted Cushion Amount”). Not later than 7:00 p.m. New York

time on the fourth business day of each week starting with the first full calendar week following

the [Closing Date], the Debtors shall deliver to the Post-Petition Agent a report setting forth the

Carve-Out Reserve Amount as of such time, and, in setting the Carve-Out Reserve, the Post-

Petition Agent shall be entitled to rely upon such reports in accordance with section [●] of

the Post-Petition Credit Agreement. Prior to the delivery of the first report setting forth the

Carve-Out Reserve Amount, the Post-Petition Agent shall calculate the Carve-Out Reserve

Amount by reference to the Budget for subsection (i) of the Carve-Out Reserve Amount.

               (c)    Carve Out Reserves.

                      (i)     On the day on which a Carve Out Trigger Notice is given by

the Post-Petition Agent to the Debtors and their lead restructuring counsel with a copy to counsel

to any Committee (the “Termination Declaration Date”), the Carve Out Trigger Notice shall (x)

be deemed a draw request and notice of borrowing by the Borrower for the DIP Loans under the

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DIP Facility, in an amount equal to the sum of (1) the amounts set forth in paragraphs [●](a)(i)

and [●](a)(ii) above, and (2) the lesser of (a) the then unpaid amounts of the Allowed

Professional Fees and (b) the DIP Professional Fee Carve Out Cap (any such amounts actually

advanced shall constitute DIP Loans) and (y) also constitute a demand to the Debtors to utilize

all cash on hand as of such date and any available cash thereafter held by any Debtor to fund a

reserve in an amount equal to the sum of the amounts set forth in paragraphs [●](a)(i)–(iii)

above. The Debtors shall deposit and hold such amounts in a segregated account at the Post-

Petition Agent in trust to pay such then unpaid Allowed Professional Fees (the “Pre-Carve Out

Trigger Notice Reserve”) prior to any and all other claims.

                      (ii)    On the Termination Declaration Date, the Carve Out Trigger

Notice shall also (x) be deemed a request by the Debtors for DIP Loans under the DIP Facility,

in an amount equal to the Post-Carve Out Trigger Notice Cap (any such amounts actually

advanced shall constitute DIP Loans) and (y) constitute a demand to the Debtors to utilize all

cash on hand as of such date and any available cash thereafter held by any Debtor, after funding

the Pre-Carve Out Trigger Notice Reserve, to fund a reserve in an amount equal to the

Post-Carve Out Trigger Notice Cap. The Debtors shall deposit and hold such amounts in a

segregated account at the Post-Petition Agent in trust to pay such Allowed Professional Fees

benefiting from the Post-Carve Out Trigger Notice Cap (the “Post-Carve Out Trigger Notice

Reserve” and, together with the Pre-Carve Out Trigger Notice Reserve, the “Carve Out

Reserves”) prior to any and all other claims.

                      (iii)   On the first business day after the Post-Petition Agent gives such

notice to such Post-Petition Lenders, notwithstanding anything in the Post-Petition Credit

Agreement to the contrary, including with respect to the existence of a Default or Event of

Default (as such terms are defined in the Post-Petition Credit Agreement), the failure of the

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Debtors to satisfy any or all of the conditions precedent for DIP Loans under the DIP Facility,

any termination of the DIP Commitments following an Event of Default, or the occurrence of the

Maturity Date, each Post-Petition Lender with an outstanding DIP Commitment (on a pro rata

basis based on the then outstanding DIP Commitments) shall make available to the Post-Petition

Agent such Post-Petition Lender’s pro rata share with respect to such borrowing in accordance

with the DIP Facility; provided that in no event shall the Post-Petition Agent or the Post-Petition

Lenders be required to extend DIP Loans pursuant to a deemed draw and borrowing pursuant to

paragraphs [●](c)(i)(x) and [●](c)(ii)(x) in an aggregate amount exceeding the Carve-Out

Reserve Amount.

                       (iv)    All funds in the Pre-Carve Out Trigger Notice Reserve shall be

used first to pay the obligations set forth in clauses (i) through (iii) of the definition of Carve Out

set forth above (the “Pre-Carve Out Amounts”), but not, for the avoidance of doubt, the Post-

Carve Out Trigger Notice Cap, until paid in full, and then, to the extent the Pre-Carve Out

Trigger Notice Reserve has not been reduced to zero, to pay the Post-Petition Agent for the

benefit of the Post-Petition Lenders, unless the DIP Obligations have been indefeasibly paid in

full, in cash, and all DIP Commitments have been terminated, in which case any such excess

shall be paid to the [Prepetition Secured Creditors] in accordance with their rights and priorities

as of the Petition Date. All funds in the Post-Carve Out Trigger Notice Reserve shall be used

first to pay the obligations set forth in clause (iv) of the definition of Carve Out set forth above

(the “Post-Carve Out Amounts”), and then, to the extent the Post-Carve Out Trigger Notice

Reserve has not been reduced to zero, to pay the Post-Petition Agent for the benefit of the Post-

Petition Lenders, unless the DIP Obligations have been indefeasibly paid in full, in cash, and all

DIP Commitments have been terminated, in which case any such excess shall be paid to the




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[Prepetition Secured Creditors] in accordance with their rights and priorities as of the Petition

Date.

                       (v)     Notwithstanding anything to the contrary in the DIP Documents, or

this [Final/Interim] Order, if either of the Carve Out Reserves is not funded in full in the amounts

set forth in this paragraph [●], then, any excess funds in one of the Carve Out Reserves following

the payment of the Pre-Carve Out Amounts and Post-Carve Out Amounts, respectively, shall be

used to fund the other Carve Out Reserve, up to the applicable amount set forth in this paragraph

[●], prior to making any payments to the Post-Petition Agent or the [Prepetition Secured

Creditors], as applicable. Notwithstanding anything to the contrary in the DIP Documents or this

[Final/Interim] Order, following delivery of a Carve Out Trigger Notice, the Post-Petition Agent

and the Pre-Petition Agent shall not sweep or foreclose on cash (including cash received as a

result of the sale or other disposition of any assets) of the Debtors until the Carve Out Reserves

have been fully funded, but shall have a security interest in any residual interest in the Carve Out

Reserves, with any excess paid to the Post-Petition Agent for application in accordance with the

DIP Documents. Further, notwithstanding anything to the contrary in this [Final/Interim] Order,

(i) disbursements by the Debtors from the Carve Out Reserves shall not constitute DIP Loans or

increase or reduce the DIP Obligations, (ii) the failure of the Carve Out Reserves to satisfy in full

the Allowed Professional Fees shall not affect the priority of the Carve Out, and (iii) in no way

shall the Initial Budget, Budget, Carve Out, Post-Carve Out Trigger Notice Cap, Carve Out

Reserves, or any of the foregoing be construed as a cap or limitation on the amount of the

Allowed Professional Fees due and payable by the Debtors. For the avoidance of doubt and

notwithstanding anything to the contrary in this [Final/Interim] Order, the DIP Facility, the

Prepetition RBL Facility, or the Second Lien Notes Indenture, the Carve Out shall be senior to

all liens and claims securing the DIP Facility, the Adequate Protection Liens, and the 507(b)

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Claim, and any and all other forms of adequate protection, liens, or claims securing the DIP

Obligations or the [Prepetition Secured Obligations].

               (d)    Payment of Allowed Professional Fees Prior to the Termination

Declaration Date.     Any payment or reimbursement made prior to the occurrence of the

Termination Declaration Date in respect of any Allowed Professional Fees shall not reduce the

Carve Out.

               (e)    No Direct Obligation To Pay Allowed Professional Fees. None of the

Post-Petition Agent, Post-Petition Lenders, or the [Prepetition Secured Creditors] shall be

responsible for the payment or reimbursement of any fees or disbursements of any Professional

Person incurred in connection with the Chapter 11 Cases or any successor cases under any

chapter of the Bankruptcy Code. Nothing in this [Final/Interim] Order or otherwise shall be

construed to obligate the Post-Petition Agent, the Post-Petition Lenders, or the [Prepetition

Secured Creditors], in any way, to pay compensation to, or to reimburse expenses of, any

Professional Person or to guarantee that the Debtors have sufficient funds to pay such

compensation or reimbursement.

               (f)    Payment of Carve Out On or After the Termination Declaration Date.

Any payment or reimbursement made on or after the occurrence of the Termination Declaration

Date in respect of any Allowed Professional Fees shall permanently reduce the Carve Out on a

dollar-for-dollar basis. Any funding of the Carve Out shall be added to, and made a part of,

the DIP Obligations secured by the DIP Collateral and shall be otherwise entitled to the

protections granted under this [Final/Interim] Order, the DIP Documents, the Bankruptcy Code,

and applicable law.




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                             Annex 3

                       Warrants Term Sheet
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                                                                                     Execution Version


                   _________________________________________________
                                     DENBURY RESOURCES INC.
                                      WARRANTS TERM SHEET
                                 July 28, 2020
______________________________________________________________________________
This term sheet (this “Warrants Term Sheet”) is a summary of indicative terms of the Series A Warrants
and Series B Warrants of Denbury Resources Inc. (“DNR” and, following the Restructuring,
“Reorganized DNR”), to be issued in connection with a proposed financial restructuring
(the “Restructuring”) of the existing indebtedness of, and equity interests in, DNR and each of its
affiliates party to the Restructuring Support Agreement (“RSA”), to which this Warrants Term Sheet is
attached as Annex 3. Capitalized terms used but not otherwise defined herein shall have the meaning
ascribed to such terms in the RSA, the annexes thereto, or the Plan, as applicable.

THIS WARRANTS TERM SHEET IS PRESENTED FOR DISCUSSION AND SETTLEMENT
PURPOSES, AND IS ENTITLED TO PROTECTION FROM ANY USE OR DISCLOSURE TO
ANY PERSON PURSUANT TO RULE 408 OF THE FEDERAL RULES OF EVIDENCE AND
ANY OTHER RULE OF SIMILAR IMPORT.

THIS WARRANTS TERM SHEET DOES NOT PURPORT TO SUMMARIZE ALL OF THE
TERMS, CONDITIONS, COVENANTS AND OTHER PROVISIONS THAT MAY BE
CONTAINED IN THE FULLY NEGOTIATED AND EXECUTED DEFINITIVE
DOCUMENTATION IN CONNECTION WITH THE RESTRUCTURING. THIS WARRANTS
TERM SHEET AND THE INFORMATION CONTAINED HEREIN SHALL REMAIN
STRICTLY CONFIDENTIAL.

                                          WARRANTS

Issuer                          Reorganized DNR

                                The Convertible Noteholders with respect to the Series A Warrants.
Holders
                                On the Plan Effective Date, the Convertible Noteholders shall receive
                                100 percent of the Series A Warrants (the “Convertible Notes
                                Warrant Package”).

                                The Subordinated Noteholders with respect to the Series B Warrants.
                                If the Subordinated Noteholders accept the Plan, on the Plan Effective
                                Date, the Subordinated Noteholders shall receive 54.55 percent of the
                                Series B Warrants (the “Subordinated Notes Warrant Package”).

                                Holders of Existing Equity Interests with respect to the Series B
                                Warrants. If the Subordinated Noteholders and the Holders of
                                Existing Equity Interests accept the Plan, on the Plan Effective Date,
                                Holders of Existing Equity Interests shall receive 45.45 percent of the
                                Series B Warrants (the “Existing Equity Warrant Package”).

Securities to be Issued        i.   Series A warrants (the “Series A Warrants”) to purchase up to
                                    five percent (after giving effect to the exercise of the Series A
                                    Warrants) of the New DNR Equity issued and outstanding on the


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                              Plan Effective Date (for the avoidance of doubt, not including any
                              shares issued pursuant to the Management Incentive Plan) at a
                              price that is in accordance with the Series A Strike Price Formula
                              (as defined below). The ownership percentage represented by the
                              shares of New DNR Equity issuable in respect of such Series A
                              Warrants shall be subject to dilution by the Series B Warrants, the
                              Management Incentive Plan and any other issuances of New DNR
                              Equity issued after the Plan Effective Date (other than as a result
                              of the exercise of the Series A Warrants).
                        ii. With respect to the Subordinated Notes Warrants Package, Series
                            B warrants (the “Series B Warrants” and, together with the
                            Series A Warrants, the “Warrants”) to purchase up to
                            three percent (before giving effect to the exercise of the Series B
                            Warrants, but after giving effect to the exercise of the Series A
                            Warrants) of the New DNR Equity issued and outstanding on the
                            Plan Effective Date (for the avoidance of doubt, not including any
                            shares issued pursuant to the Management Incentive Plan) at a
                            price that is in accordance with the Series B Strike Price Formula
                            (as defined below). The ownership percentage represented by the
                            shares of New DNR Equity issuable in respect of such Series B
                            Warrants shall be subject to dilution by the Management
                            Incentive Plan and any other issuance of New DNR Equity issued
                            after the Plan Effective Date (other than as a result of the exercise
                            of the Series A Warrants).
                        iii. With respect to the Existing Equity Package, Series B Warrants to
                             purchase up to two and a half percent (before giving effect to the
                             exercise of the Series B Warrants, but after giving effect to the
                             exercise of the Series A Warrants) of the New DNR Equity issued
                             and outstanding on the Plan Effective Date (for the avoidance of
                             doubt, not including any shares issued pursuant to the
                             Management Incentive Plan) at a price that is in accordance with
                             the Series B Strike Price Formula. The ownership percentage
                             represented by the shares of New DNR Equity issuable in respect
                             of such Series B Warrants shall be subject to dilution by the
                             Management Incentive Plan and any other issuance of New DNR
                             Equity issued after the Plan Effective Date (other than as a result
                             of the exercise of the Series A Warrants).
Strike Price Formula    The Series A Warrants and Series B Warrants will give the holder
                        thereof the right to purchase New DNR Equity, for cash (or on a
                        cashless basis, as set forth below), at an exercise price set at an equity
                        value at which:

                         i.   the value of all common shares issued pursuant to the Plan
                              would be equal to par plus accrued and unpaid interest on the
                              Second Lien Notes as of July 30, 2020 (for the avoidance of
                              doubt, such amount shall be decreased by the $8.0 million
                              prepayment of accrued and unpaid interest on the Second Lien
                              Notes pursuant to the RSA) (the “Series A Strike Price
                              Formula”); and



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                          ii. the value of all common shares issued pursuant to the Plan and
                              the Series A Warrants would be equal to par plus accrued and
                              unpaid interest on each of the Second Lien Notes (for the
                              avoidance of doubt, such amount shall be decreased by the $8.0
                              million prepayment of accrued and unpaid interest on the Second
                              Lien Notes pursuant to the RSA) and the Convertible Notes as of
                              July 30, 2020 (the “Series B Strike Price Formula”).
                          Such exercise prices shall be subject to adjustment from time to time
                          as provided under “Dilution/Adjustments” below.

Exercisability            Exercisable in whole or in part at any time on or prior to the
                          Expiration Date, in cash.
                          The Warrants may be exercised on a “cashless” basis at the times and
                          in the manner described as follows:
                          1. In connection with, and using the value of the New DNR Equity
                             implied by, a Sale Transaction (as defined below) for cash,
                             securities, other property, or any combination thereof; or
                          2. If the New DNR Equity is at any time listed for trading on a
                             national securities exchange or is traded over-the-counter, at any
                             such time using a value of the New DNR Equity based on the
                             average trading price for such New DNR Equity during the 10
                             trading day period immediately prior to any applicable date of
                             determination.

Sale Transaction          If a sale of Reorganized DNR is consummated prior to the Expiration
                          Date in which all of the consideration paid to non-employee
                          stockholders consists of cash or property (including securities) or part
                          cash and part property (including securities) and Reorganized DNR
                          duly and timely effects notice to the holders of Warrants pursuant to
                          the final paragraph of this “Sale Transaction,” then any Warrants that
                          are unexercised prior to the consummation of such sale of
                          Reorganized DNR shall be deemed to have expired worthless and will
                          be cancelled for no further consideration.
                          For the avoidance of doubt, holders of Warrants shall not be entitled
                          to the fair market value of the Warrants (using the Black Scholes
                          model or otherwise) in connection with a sale of Reorganized DNR,
                          but shall have the right to exercise the Warrants at any time prior to
                          any sale of Reorganized DNR.

Transfers; Registration   All Warrants will be freely tradable, and will not be subject to
Rights                    any restrictions on transfer that are not also applicable to the
                          New DNR Equity distributed pursuant to the Plan. Any
                          Convertible Noteholder that receives (together with its affiliates
                          and related funds) 4% or more of the voting Securities of New
                          DNR Equity pursuant to the Plan, on a pro forma basis for the
                          issuance of New DNR Equity upon exercise of its Series A
                          Warrants, will have registration rights with respect to the New


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                            DNR Equity issued upon exercise of its Series A Warrants.

Expiration Date             The Series A Warrants will expire five years from the Plan Effective
                            Date.
                            The Series B Warrants will expire three years from the Plan Effective
                            Date.

Voting Rights               The Convertible Noteholders, Subordinated Noteholders, and holders
                            of Existing Equity Interests shall have no voting rights in respect of
                            the Warrants. Holders of New DNR Equity issued upon exercise of
                            any Warrants shall have the same voting rights as other holders of
                            New DNR Equity.

Dividends / Distributions   The Warrants shall not be entitled to receive dividends or
                            distributions. Holders of New DNR Equity issued upon exercise of
                            any Warrants shall have the same rights with respect to dividends and
                            distributions as other holders of New DNR Equity.

Warrant Holders’            The Warrants shall include customary information rights.
Agreement

Dilution/Adjustments        The Warrants shall be subject to simple arithmetic anti-dilution
                            protection regarding the exercise price for the Warrants and amount
                            of New DNR Equity to be issued upon exercise of the Warrants only
                            for    corporate     structural    events     (e.g.,    recapitalizations,
                            reclassifications,   splits,    reverse    splits,   stock     dividends,
                            reorganizations, consolidations, mergers, and similar structural
                            transactions), not economic anti-dilution.

Amendments                  The terms and conditions of each series of Warrants may be amended
                            by the Company with the affirmative vote or written consent of
                            holders of a majority of such series of Warrants.
Administration              The Warrants will be issued in book-entry form through DTC and
                            administered by a warrant agent acceptable to the Company and the
                            recipients of the Warrants.

Governing Law               New York.


                              *        *        *       *        *




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                             Annex 4

                      Governance Term Sheet
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                                                                                                         Execution Version


                                     DENBURY RESOURCES INC.
                                CORPORATE GOVERNANCE TERM SHEET


This term sheet (this “Term Sheet”) describes the material corporate governance provisions to be in effect after the
restructuring and recapitalization transactions (the “Restructuring Transactions”) regarding certain indebtedness of
Denbury Resources Inc. (“Denbury”) and the other Company Parties. This Term Sheet shall not constitute (nor shall
it be construed as) an offer or a legally binding obligation to buy or sell, or a solicitation of an offer to buy or sell, any
of the securities referred to herein, it being understood that such an offer or solicitation, if any, only will be made in
compliance with applicable provisions of securities and/or other applicable laws.

Capitalized terms used in this Term Sheet but not defined herein shall have the meanings set forth in the Restructuring
Support Agreement.

Except as otherwise specified, the certificate of incorporation of the Company (as defined below) shall be substantially
similar to the Second Amended and Restated Certificate of Incorporation of Denbury, and the Bylaws of the Company
shall be substantially similar to the Second Amended and Restated Bylaws of Denbury, each as in effect as of the date
hereof.

         Topic                                                        Proposal
 Reorganized Issuer       Denbury, as reorganized pursuant to and under the Plan, or any successor or assign thereto,
                          by merger, amalgamation, consolidation, or otherwise, on or after the Plan Effective Date
                          (the “Company”). The Company shall use commercially reasonable best efforts to cause the
                          common stock to be issued by the Company on the Plan Effective Date to be listed on the
                          New York Stock Exchange (“NYSE”), either by retaining or succeeding to the Company’s
                          existing NYSE listing or otherwise, so long as the Company is able to satisfy the initial
                          listing requirements of the NYSE, or such alternative exchange as the Second Lien Ad Hoc
                          Committee determines if the Company is not able to satisfy the initial listing requirements
                          of the NYSE.

 Authorized Capital       The Company shall have authority to issue 300,000,000 shares, consisting of:
 Stock                    (i) 250,000,000 shares of common stock, par value $0.001 per share and (ii) 50,000,000
                          shares of blank check preferred stock, par value $0.001 per share, in each case which shall
                          be authorized on the Plan Effective Date.

 Board of Directors       Initial Board of Directors (the “Board”) to consist of: (i) the chief executive officer
                          (the “CEO”) (who shall not be the chairman of the Board), (ii) two (2) directors to be
                          selected by Fidelity Management and Research Company, (i) one (1) director to be selected
                          by GoldenTree Asset Management LP, and (iv) three (3) additional directors, or such other
                          number to be determined by the Required Consenting Second Lien Noteholders, to be
                          selected by the Second Lien Ad Hoc Committee. The Second Lien Ad Hoc Committee may
                          consider one or more current Denbury board members for initial Board membership.

                          Each Board member other than the CEO shall satisfy the independence requirements of the
                          NYSE.

                          After the Plan Effective Date, the members of the Board will be elected annually by the
                          shareholders of the Company.
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        Topic                                                   Proposal
Board Actions         A majority of the total number of directors then in office shall constitute a quorum, and the
                      affirmative vote of a majority of the directors present at a meeting at which a quorum is
                      present shall be the act of the Board.

                      The Board or any committee thereof may act by written consent executed by all of the
                      directors then in office or all members of such committee, as applicable, in lieu of a meeting.

Special Meetings of   A special meeting may be called by stockholders of the Company in the same manner and
Stockholders          upon the same thresholds as set forth in the Company’s current Certificate of Incorporation
                      and Bylaws.

Preemptive Rights     No preemptive rights.

Transfer              The common stock will be transferrable without Company consent, subject to compliance
Restrictions          with applicable securities laws.

                      No ROFRs, tag-alongs or other restrictions on transferability of common stock.

Indemnification       The organizational documents of the Company shall contain indemnification provisions and
and Limitation on     limitation on liability provisions applicable to directors and officers of the Company to the
Liability             fullest extent permitted under Delaware law.

D&O Insurance         The Company will purchase and maintain director and officer liability insurance in such
                      amounts and with such limits as reasonably determined by the Board to be appropriate.

Business              The Company shall not be governed by Section 203 of the DGCL.
Combinations with
Interested
Stockholders

Registration Rights   Customary registration rights.

Exclusive Forum       The sole and exclusive forum for actions or proceedings involving the Company as to which
                      the Delaware General Corporation Law confers jurisdiction on the Court of Chancery of the
                      State of Delaware (the “Court of Chancery”), shall be the Court of Chancery or, if and only
                      if the Court of Chancery lacks subject matter jurisdiction, any state court located within the
                      State of Delaware or, if and only if such state courts lack subject matter jurisdiction, the
                      federal district court for the District of Delaware.

Other                 Such other anti-takeover related provisions as the parties determine appropriate and as may
                      be acceptable to the Second Lien Ad Hoc Committee.




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                         Exhibit A to RSA

                        Transfer Agreement
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                                         Provision for Transfer Agreement

       The undersigned (“Transferee”) hereby acknowledges that it has read and understands the
Restructuring Support Agreement, dated as of ______________, 2020 (the “Agreement”),1 by
and among Denbury Resources Inc. and its affiliates and subsidiaries bound thereby, the
Consenting RBL Lenders, Consenting Second Lien Noteholders, and the Consenting Convertible
Noteholders, including the transferor to the Transferee of any Second Lien Notes, Convertible
Notes, Subordinated Notes, or any other claims against the Debtors (each such transferor, a
“Transferor”), and agrees to be bound by the terms and conditions thereof to the extent the
Transferor was thereby bound, and shall be deemed a “Consenting RBL Lender,”
“Consenting Second Lien Noteholder,” or “Consenting Convertible Noteholder,” as
applicable, under the terms of the Agreement.

        The Transferee specifically agrees to be bound by the terms and conditions of the
Agreement and makes all representations and warranties contained therein as of the date of the
Transfer, including the agreement to be bound by the vote of the Transferor if such vote was cast
before the effectiveness of the Transfer discussed herein.

Date Executed:

______________________________________
Name:
Title:

Address:

E-mail address(es):
Telephone:
Facsimile:
    Aggregate Amounts Beneficially Owned or Managed on Account of:
    RBL Loans                                                                      $
    Second Lien Notes (if any)                                                     $
    Convertible Notes (if any)                                                     $
    Subordinated Notes (if any)                                                    $




1     Capitalized terms not used but not otherwise defined herein shall have the meanings ascribed to such terms in the Agreement.
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                         Exhibit B to RSA

                          Form of Joinder
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                                             Joinder

    This joinder (this “Joinder”) to the Restructuring Support Agreement (the “Agreement”),
dated as of [__], 2020, by and among: (i) Denbury Resources Inc., a company incorporated under
the Laws of Delaware, and each of Denbury Air, LLC, Denbury Brookhaven Pipeline Partnership,
LP, Denbury Brookhaven Pipeline, LLC, Denbury Gathering & Marketing, Inc., Denbury Green
Pipeline-Montana, LLC; Denbury Green Pipeline-North Dakota, LLC, Denbury Green Pipeline-
Riley Ridge, LLC, Denbury Green Pipeline-Texas, LLC, Denbury Gulf Coast Pipelines, LLC;
Denbury Holdings, Inc., Denbury Onshore, LLC, Denbury Operating Company, Denbury Pipeline
Holdings, LLC, Denbury Thompson Pipeline, LLC, Encore Partners GP Holdings, LLC,
Greencore       Pipeline    Company,     LLC,     and    Plain    Energy    Holdings,     LLC
(collectively, the “Company Parties”); (ii) the Consenting RBL Lenders, Noteholders; (iii) the
Consenting Second Lien Noteholders, and (iv) the Consenting Convertible Noteholders, is
executed and delivered by [________________] (the “Joining Party”) as of
[________________]. Each capitalized term used herein but not otherwise defined shall have the
meaning ascribed to it in the Agreement.

       1.      Agreement to be Bound. The Joining Party hereby agrees to be bound by all of the
terms of the Agreement, a copy of which is attached to this Joinder as Annex A (as the same has
been or may be hereafter amended, restated, or otherwise modified from time to time in accordance
with the provisions thereof). The Joining Party shall hereafter be deemed to be a Party for all
purposes under the Agreement and one or more of the entities comprising the Consenting
Creditors.

        2.     Representations and Warranties. The Joining Party hereby represents and warrants
to each other Party to the Agreement that, as of the date hereof, such Joining Party (a) is the legal
or beneficial holder of, and has all necessary authority (including authority to bind any other legal
or beneficial holder) with respect to, the RBL, the Second Lien Notes, the Convertible Notes,
and/or the Subordinated Notes identified below its name on the signature page hereof, and
(b) makes, as of the date hereof, the representations and warranties set forth in Section 10 of the
Agreement to each other Party.

       3.      Governing Law. This Joinder shall be governed by and construed in accordance
with the internal laws of the State of New York without regard to any conflicts of law provisions
which would require the application of the law of any other jurisdiction.

      4.     Notice. All notices and other communications given or made pursuant to the
Agreement shall be sent to:

               To the Joining Party at:

               [JOINING PARTY]
               [ADDRESS]
               Attn:
               Facsimile: [FAX]
               EMAIL:
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    IN WITNESS WHEREOF, the Joining Party has caused this Joinder to be executed as of the
date first written above.



                                  [JOINING PARTY]



                                  By:

                                  Name:

                                  Title:




 Aggregate Amounts Beneficially Owned or Managed on Account of:
 RBL Loans                                                $
 Second Lien Notes (if any)                               $
 Convertible Notes (if any)                               $
 Subordinated Notes (if any)                              $
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                        Annex A to Joinder

                  Restructuring Support Agreement
